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                                                CURTIS
                                             AlroRNEYS AND COUNSEU.ORS AT LAW
                                                      I 0 I PARK AVENUE
                                              NEW YORK, NEW YORK I 0 I 78-<>0e I


Residential Capital, LLC                                                                    September 24, 2013
11 00 Virginia Drive
MC: 190_FTW-M01
                                                                                            lnv. # 1589849
Fort Washington PA 19034
                                                                                            Our Ref. 062108-000400
                                                                                            SJR
Attention:   Residential Capital, LLC

Re: General Litigation Matters




      06/04/13 TF1        Review partial pay-down motion to pay secured claims of         0.20
                          AFI and JSNs (.1 0); correspond with D. Bloom re:
                          adjournment date for SUN standing motion (.10)

      06/04/13 DAB        Draft email correspondences toT. Foudy and M.                   0.20
                          Gallagher re: status of SUN Trustee motion for standing
                          and amended pay-down motion (.20)

      06/19/13 SJ R       Review statements of JSNs with respect to PSA                   1.20
                          settlement motion and analysis of issues in connection
                          with possible lead for filing of response where Curtis is
                          acting on conflicts matters related to JSN issues (1.20)

      06/19/13 TF1        Review summary of PSA motion and key terms in                   2.50
                          connection with matters handled by Curtis (.20); review
                          revised PSA proposed order ( .1 0); review objections to
                          PSA motion and summaries thereof in connection with
                          Curtis handling portion of PSA reply as FHLB Boston and
                          Chicago, Credit Suisse and certain JSNs are conflict
                          parties (1.20); correspond with Morrison & Foerster re:
                          conflict parties and response to PSA motion (.20);
                          participate in conference call with J. Marines re: response
                          to PSA motion (.30); participate in teleconference with M.
                          Moscato, D. Bloom, B. Kotliar and E. Tobin re: draft
                          omnibus response to PSA objections (.50)



      06/19/13 MJM        Participate in teleconference re: PSA reply brief with T.       0.50
                          Foudy, E. Tobin, D. Bloom, and B. Kotliar discussing
                          Curtis handling portions of reply due to presence of actual
                          and potential conflict parties such as FHLB Boston and
                          Chicago and certain holders of the Junior Secured Notes
                          (.50)

      06/19/13 MG8        Brief review of numerous objections to and filings re:          0.60
                          Debtors' motion for authority to enter into plan support
                          agreement, in connection with Curtis' role as conflicts
                          counsel to Debtors, including those filed by conflict parties
                          Credit Suisse, FHLB Boston and Chicago and certain
                          JSNs (.60)

      06/19/13 BMK        Coordinate production of all objections and materials           5.30
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                 filed in connection with PSA motion (.20); review Curtis
                 and Morrison & Foerster retention application for actual
                 and potential conflict parties that filed objections to PSA
                 (.40); participate in teleconference with T. Foudy, M.
                 Moscato, E. Tobin, and D. Bloom re: drafting portion of
                 reply to objections to PSA motion and delegation of duties
                 between Curtis as conflicts counsel and Morrison &
                 Foerster (.50); follow-up correspondence with D. Bloom re
                 same and breakdown of project tasks and assignments re
                 global review of summaries (.50); review and summarize
                 objections to PSA motion filed by Syncora, PBGC,
                 Assured, and Amherst (3.20); correspond with D. Bloom
                 re: same and inputting to global summary document sheet
                 (.50)


  06/19/13 DAB   Review and analyze revised proposed FGIC-related PSA             11.40
                 order and detailed summary of same with attention to
                 "findings" issue (.80); review and summarize Rothstein
                 Plaintiffs' objection to PSA motion (.60); review and
                 analyze Debtors' motion seeking authority to escrow
                 $450,000 of the $1 00 million proposed settlement amount
                 allocated to the NJ Carpenters pursuant to PSA (.50);
                 review and analyze U.S. Trustee's Limited Objection to
                 PSA motion in connection with Curtis handling portions of
                 reply brief due to conflict parties FHLB Boston and
                 Chicago, Credit Suisse and certain holders of the JSNs
                 (.80); review case management order perT. Foudy
                 request to determine reply deadline to PSA objections
                 (.20); additional review and analysis of various objections
                 to PSA Motion (3.00); draft detailed memorandum
                 summarizing and analyzing same (2.30); correspond with
                 B. Kotliar re: preparation of binder re: PSA motion
                 objections (.20); review and analyze statement filed by
                 JSNs re: PSA motion (.80); summarize same and draft
                 email re: same to S. Reisman and T. Foudy (.60); review
                 and analysis of NCUAB's objection and reservation of
                 rights to PSA motion (.60); draft email memorandum re:
                 same to S. Reisman and T. Foudy (.40); draft email to B.
                 Kotliar re: same (.1 0); participate in call with T. Foudy, M.
                 Moscato, E. Tobin and B. Kotliar to discuss PSA-related
                 work (.50)




 06/19/13 ET     Participate in telephone call with T. Foudy, M. Moscato, B.      0.70
                 Kotliar, and D. Bloom re: strategy for researching and
                 drafting omnibus reply to objections to plan support
                 agreement involving multiple objections by actual and
                 potential conflict parties, including Credit Suisse, FHLB
                 Boston and Chicago, and certain JSNs (.50); follow-up
                 emails re: same (.20)

 06/20/13 SJR    Review draft memorandum analyzing objections to PSA              4.80
                 motion with respect to conflict parties, including Credit
                 Suisse, FHLB Boston and Chicago, and certain JSNs
                 (2.30); review underlying objections (1.70); attend to
                 review of section of PSA reply re: prematurity of PSA
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                 objections (.80)

  06/20/13 TF1   Correspond with M. Moscato, D. Bloom, P. Buenger and              2.50
                 B. Kotliar re: draft plan confirmation issues section of
                 omnibus reply re: PSA motion due to presence of actual
                 and potential conflict parties including Credit Suisse,
                 FHLB Boston and Chicago, and certain JSNs (.30);
                 participate in call with M. Moscato re: same (.20);
                 participate in call with M. Moscato, D. Bloom, B. Kotliar
                 and Morrison & Foerster re: objections and approach to
                 omnibus response in connection with same (1.50);
                 follow-up correspondence re: same with M. Moscato, B.
                 Kotliar and D. Bloom (.50)

  06/20/13 MJM   Correspond with T. Foudy, D. Bloom, P. Buenger and B.             4.40
                 Kotliar re: coordinating activities re: PSA reply brief due to
                 presence of actual and potential conflict parties including
                 Credit Suisse, FHLB Boston and Chicago, and certain
                 JSNs (.30); review Morrison & Foerster outline of PSA
                 reply brief re: same (.20); review General Maritime reply
                 brief to use as template for Curtis section of PSA reply
                 brief (.60); participate in call with T. Foudy re: PSA reply
                 brief (.20); participate in follow-up call with E. Tobin, D.
                 Bloom, and B. Kotliar re: same including strategy and
                 responsibilities (.50); review Curtis summary of objections
                 to PSA in connection with same (.60); participate in
                 conference call with T. Foudy, D. Bloom, B. Kotliar, and
                 Morrison & Foerster attorneys re: PSA reply brief division
                 of responsibilities and strategy re: same (1.50); follow-up
                 correspondence with T. Foudy, D. Bloom, and B. Kotliar
                 re: Curtis's section of PSA reply brief (.50)



 06/20/13 MG8    Brief review of objections to PSA motion and UMB and              0.20
                 Berkshire joinders pleadings filed in response to Debtors'
                 motion seeking authority to enter into plan support
                 agreement (.20)

 06/20/13 MAC    Review objections to PSA motion, including those filed by         3.20
                 conflict parties, Credit Suisse, FHLB Boston and Chicago
                 and certain JSNs, in connection with Curtis' role as
                 conflicts counsel and assisting Debtors' counsel with
                 response to objections and conduct research in
                 connection with same (3.20)

 06/20/13 GF     Revise index and prepare binders re: PSA motion as per            2.90
                 B. Kotliar's request, in connection with portion of reply
                 handled by Curtis due to presence of actual and potential
                 conflict parties including Credit Suisse, FHLB Boston and
                 Chicago, and certain JSNs (2.90)

 06/20/13 BMK    Correspond with E. Tobin re: PSA objections raised in            11.40
                 other bankruptcies such as General Maritime in
                 connection with drafting portion of reply handled by Curtis
                 due to presence of actual and potential conflict parties,
                 including those filed by conflict parties, Credit Suisse,
                 FHLB Boston and Chicago and certain JSNs
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                                                                                   Our Ref# 062108-000400

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                (.30); finalize global summary of objections to PSA motion
                re: same (.50); research plan support agreements filed in
                all bankruptcy cases by searching published decisions
                and case dockets to support ripeness arguments and
                responses to plan related objections re: same (3.50);
                review case dockets for General Maritime, Tronox,
                Innkeepers, and Visteon for plan support agreement
                issues raised and proposed orders from those cases re:
                same (1.90); coordinate with G. Faust re: production of all
                objections to PSA motion and PSA materials for use in
                drafting omnibus reply (.40); correspond with D. Bloom re:
                categories of objections that relate to plan confirmation re:
                same (.30); participate in teleconference with T. Foudy, M.
                Moscato, D. Bloom and Morrison & Foerster re: outline
                and drafting omnibus reply and sections handled by Curtis
                (1.50); draft citations to objections to PSA motion to be
                referenced in omnibus reply re: plan confirmation issues
                and ripeness grounds (.90); update draft reply re: same
                and review open issues re: references to various
                objections resolved via amended proposed order (.50);
                review and revise draft reply (1.1 0); correspond with D.
                Bloom and J. Weber re: same and finalizing open issues
                before sending for partner review (.50)




 06/20/13 JTW   Correspond with D. Bloom and B. Kotliar re: research            10.70
                tasks for Debtors' reply to objection to PSA motion due to
                presence of actual and potential conflict parties including
                Credit Suisse, FHLB Boston and Chicago, and certain
                JSNs (.30); conduct research in connection with same to
                identify whether objections to provisions in PSA properly
                constitute plan confirmation objections (2.60); correspond
                with D. Bloom re: research to identify whether objections
                to provisions in the PSA re: treatment and classification of
                claims properly constitute plan confirmation objections
                (.30); conduct research re: same (2.80); review supporting
                authority identified in research (2.1 0); ensure all
                supporting authority to be cited in Debtor's reply remains
                good law (1.80); insert citations and relevant supporting
                authority into Debtor's reply (.60); review Debtors' reply in
                preparation for circulation to T. Foudy and M. Moscato
                (.20)



 06/20/13 DAB   Draft memorandum analyzing objections to PSA motion             13.50
                and revisions to same in connection with Curtis handling
                portions of PSA reply due to presence of conflict parties
                FHLB Boston and Chicago, Credit Suisse and certain
                JSNs (2.50); review draft outline of omnibus reply to same
                circulated by Morrison & Foerster (.60); correspond with B
                Kotliar re: compiling chart of objections in connection with
                same (.20); draft email correspondence to B. Kotliar and J
                Weber re: research in connection with omnibus PSA reply
                (.30); correspond with M. Moscato and B. Kotliar re: PSA
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                  motion objections and proposed plan with respect to
                  research and drafting of reply to same (.50); further
                  correspondence to B. Kotliar and J. Weber re: research in
                  connection with same (.20); correspond with H. Hiznay re:
                  research in connection with same (.30); correspond with B
                  Kotliar re: RALI underwriters' objection (.1 0); review email
                  from J. Weber analyzing PSA in connection with same
                  (.20); review PSA objections perM. Moscato direction
                  with focus on potential ripeness counter-argument as
                  objections go to confirmability of plan (2.30); draft analysis
                  of same and circulate toM. Moscato (1.00); review email
                  from B. Kotliar re: Syncora objection (.1 0); correspond
                  with J. Weber re: General Maritime case in connection
                  with PSA reply (.20); review of same (.30); correspond
                  with P. Buenger re: PSA reply (.60); draft and revise
                  section of PSA reply re: prematurity of variety of PSA
                  objections (2.50); obtain transcript from Veritext for use in
                  same (.1 0); participate in call with M. Moscato, T. Foudy,
                  B. Kotliar and Morrison & Foerster to discuss draft PSA
                  reply (1.50)



  06/20/13 PJB2   Review motion to approve plan support agreement and              7.50
                  various objections in connection with objections filed by
                  certain conflict parties, including Credit Suisse, FHLB
                  Boston and Chicago, and certain JSNs, and assist in
                  drafting of omnibus reply by Debtors in response to all
                  objections filed to PSA (3.80); review case law and
                  precedent replies re: objections to disclosure statements
                  found by various courts to be premature and more
                  appropriately brought within the plan confirmation process
                  in connection with drafting omnibus reply in connection
                  with Debtors' motion to approve PSA (1.60); correspond
                  with D. Bloom and B. Kotliar re: same and draft of
                  omnibus reply section with respect to premature
                  confirmation based objections (.50); follow-up
                  correspondence with M. Moscato re: same (.30); draft
                  outline and introductory paragraph of prematurity section
                  to omnibus reply re: same and provide to D. Bloom and B.
                  Kotliar (.90); review draft section of omnibus reply and
                  provide comments to D. Bloom (.40)



  06/20/13 ET     Correspond with M. Moscato, T. Foudy and D. Bloom re:            0.80
                  research for drafting reply to objections to motion for
                  approval of PSA and follow-up with B. Kotliar re: same
                  due to presence of actual and potential conflict parties,
                  including Credit Suisse, FHLB Boston and Chicago, and
                  certain JSNs (.50); participate in portion of telephone call
                  with counsel re: strategy for drafting reply to objections to
                  motion for approval of PSA (.30)

  06/21/13 SJR    Review draft section of omnibus reply on objection to            1.10
                  settlement outlined in PSA that Curtis is handling due to
                  presence of actual and potential conflict parties, including
                  Credit Suisse, FHLB Boston and Chicago,
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                  and certain JSNs (1.1 0)

  06/21/13 TF1    Review and provide comments to draft section of omnibus        1.70
                  PSA reply re: confirmation objections that Curtis is
                  handling due to presence of actual and potential conflict
                  parties, including Credit Suisse, FHLB Boston and
                  Chicago, and certain JSNs (1.00); draft emails re: conflict
                  parties in connection with same (.20); participate in call
                  with Morrison & Foerster and Kirkland & Ellis re:
                  objections to PSA motion that Curtis is handling due to
                  presence of actual and potential conflict parties listed
                  above (.50)

  06/21/13 MJM    Edit draft of Curtis section of PSA reply brief addressing     3.30
                  argument of prematurity of objection as they are
                  confirmation objections due to presence of actual and
                  potential conflict parties, including Credit Suisse, FHLB
                  Boston and Chicago, and certain JSNs (.90); review T.
                  Foudy's additional edits to Curtis' section of PSA reply
                  brief (.30); confer with D. Bloom and J. Weber re:
                  implementing edits to same (. 70); edit revised version of
                  same (.50); correspond with D. Bloom re: edits to same
                  (.30); correspond with T. Foudy re: finalizing Curtis
                  section of PSA reply brief (.20); finalize same (.40)



  06/21/13 JTW    Confer with D. Bloom and M. Moscato re: revisions to           2.60
                  Debtor's reply to objections re: PSA motion due to
                  presence of actual and potential conflict parties, including
                  Credit Suisse, FHLB Boston and Chicago, and certain
                  JSNs (.70); review supporting authority cited in reply for
                  additional language to be included in same (1.40); review
                  completed draft re: same (.50)

  06/21/13 DAB    Draft email correspondences toM. Moscato, P. Buenger           6.50
                  and B. Kotliar re: status of draft PSA reply in connection
                  with Curtis handling portions of PSA reply due to
                  presence of conflict parties FHLB Boston and Chicago,
                  Credit Suisse and certain JSNs (.20); review T. Foudy
                  email re: same including comments to same (.20);
                  correspond with M. Moscato re: same (.50); revise same
                  perM. Moscato and T. Foudy comments (2.00); confer
                  with J. Weber and M. Moscato re: legal research in
                  connection with same (.70); review J. Weber research re:
                  ripeness issues in connection with same (.80); further
                  revise same (1.50); analyze and circulate summary of
                  JSNs' supplemental statement re: PSA motion (.60)



  06/21/13 PJB2   Correspond with D. Bloom to discuss Curtis' portion of the     1.70
                  Debtors' omnibus reply be handled as conflicts counsel in
                  connection with various objections raised by conflict
                  parties, including Credit Suisse, FHLB Boston and
                  Chicago, and certain JSNs (.30); review same and
                  provide additional comments before circulating to Debtors'
                  lead counsel for incorporation into master
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                  document (1.20); correspond with J. Weber re: same and
                  next steps to prepare omnibus reply for tiling (.20)

  06/22/13 SJR    Review chart prepared by Curtis re: omnibus reply to PSA          0.80
                  settlement and objection due to presence of actual and
                  potential conflict parties, including Credit Suisse, FHLB
                  Boston and Chicago, and certain JSNs (.80)

  06/22/13 TF1    Review various versions of draft chart prepared by Curtis         1.00
                  for inclusion with omnibus reply and draft email
                  correspondence re: same due to presence of actual and
                  potential conflict parties, including Credit Suisse, FHLB
                  Boston and Chicago, and certain JSNs (.50); review
                  emails re: research on prematurity of confirmation
                  objections in connection with same (.50)

  06/22/13 MJM    Review Debtors' reply brief in support of PSA motion and          4.90
                  accompanying chart prepared by Curtis summarizing
                  objections and replies thereto due to presence of actual
                  and potential conflict parties, including Credit Suisse,
                  FHLB Boston and Chicago, and certain JSNs (1.40);
                  correspond with P. Buenger and J. Weber re: direction for
                  revision of chart per J. Newton's specifications in
                  connection with same (.60); participate in teleconference
                  with J. Newton, P. Buenger, and J. Weber re: revising
                  same and comments to PSA reply brief (.40); follow-up
                  correspondence with P. Buenger and J. Weber re: same
                  (.70); confer with J. Weber re: finding additional Second
                  Circuit cites for PSA reply brief (.20); review revised
                  version of Debtors PSA reply brief and draft email re:
                  proposed edits to J. Newton (.90); review revised chart to
                  accompany Debtors' PSA reply brief in connection with
                  same (.70)



  06/22/13 JTW    Participate in call with J. Newton, M. Moscato and P.             7.30
                  Buenger re: Curtis drafting portion of reply to PSA motion
                  objections and accompanying chart due to presence of
                  actual and potential conflict parties, such as Credit Suisse
                  FHLB Boston and Chicago, and certain JSNs (.40);
                  follow-up correspondence with P. Buenger and M.
                  Moscato re: same (.30); review all responses and
                  objections to Debtors' PSA motion re: same (2.80); assist
                  in preparation of summary chart to be attached to Debtors'
                  reply to help classify parties multiple types of objections re
                  same (1.80); insert additional arguments raised by certain
                  objections not previously included in summary chart re:
                  same (. 70); conduct additional research for Debtors' reply
                  re: types of objections raised by parties to be properly
                  classified as plan confirmation issues re: same (.90);
                  correspond with T. Foudy re: same (.20); confer with M.
                  Moscato re: Second Circuit case citations and authorities
                  relied upon for PSA reply brief (.20)



  06/22/13 PJB2   Correspond with M. Moscato re: additional follow-up on           10.60
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                 draft omnibus reply to various objections filed against
                 motion to approve plan support agreement and working
                 with Debtors' lead counsel to handle conflict matters re:
                 same due to objections of parties such as Credit Suisse,
                 FHLB, and certain JSNs (.20); correspond with M.
                 Moscato and J. Newton of Morrison & Foerster re: same
                 and next steps (.1 0); review current draft of Debtors'
                 omnibus reply to PSA objections and provide comments
                 to same (1.30); participate in call with J. Newton, M.
                 Moscato and J. Weber re: draft of exhibit to omnibus reply
                 re: same (.40); review and revise exhibit to omnibus reply
                 and draft additional summaries of various objections and
                 responses to same with references to Debtors' reply re:
                 same (5.80); correspond with M. Moscato re: same (.40);
                 further review of circulated revised draft of omnibus reply
                 to incorporate relevant sections into exhibit re: same (.80);
                 further revisions to exhibit 1 to reply pursuant to revised
                 reply and comments from M. Moscato re: same (1.1 0);
                 draft email correspondence toM. Moscato, T. Foudy and
                 J. Newton of Morrison & Foerster providing same (.20);
                 correspond with J. Weber re: same (.30)



  06/23/13 SJR   Review drafts of Debtors omnibus reply to PSA objections        2.80
                 and comments to same handled by Curtis due to
                 presence of actual and potential conflict parties, including
                 Credit Suisse, FHLB Boston and Chicago, and certain
                 JSNs (2.80)

  06/23/13 TF1   Review summaries of objections to PSA approval motion           1.50
                 handled by Curtis due to presence of actual and potential
                 conflict parties, including Credit Suisse, FHLB Boston and
                 Chicago, and certain JSNs (.70); review drafts of Debtors'
                 reply and chart of objections in connection with same (.80)


  06/23/13 MJM   Review Creditor Committee's response in support of              4.50
                 Debtors' PSA motion in connection with Curtis handling
                 portions of PSA reply due to presence of conflict parties
                 FHLB Boston and Chicago, Credit Suisse and certain
                 JSNs (1.60); correspond with P. Buenger, D. Bloom, and
                 Morrison & Foerster attorneys, S. Lee and J. Newton, to
                 provide direction for revised and updated chart re:
                 summary of objections to PSA motion and Debtors' reply
                 thereto including draft of alternate chart listing all plan
                 supporters' arguments in response to such objections
                 (1.30); review current version of Debtors' PSA reply brief
                 re: same (.50); review revised chart summarizing
                 objections to PSA motion and Debtors' arguments in reply
                 thereto (.60); review chart listing all plan proponents
                 arguments in reply to objections to PSA (.50)



 06/23/13 DAB    Confer with P. Buenger re: Arcapita transcript cited in         6.50
                 Debtors' draft PSA reply in connection with Curtis
                 handling portions of PSA reply due to presence of
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                  conflict parties FHLB Boston and Chicago, Credit Suisse
                  and certain JSNs (.20); review P. Buenger email re:
                  necessary revisions to reply in connection with PSA (.20);
                  review and summarize RMBS Trustee's, Committee's,
                  Ally, and Debtors' pleadings in support of PSA motion for
                  purpose of constructing "B" version of global objection
                  chart for inclusion in PSA reply (3.50); draft alternate
                  version of chart of replies to PSA motion objections (2.50);
                  draft email to include draft of same toM. Moscato and P.
                  Buenger (.1 0)

  06/23/13 PJB2   Correspond with M. Moscato re: draft of separate version        7.40
                  of exhibit 1 of chart to Debtors' omnibus reply to PSA
                  objections which reflects cross references to four other
                  replies being filed by Committee, Trustees, AFI and
                  Investors in connection with Curtis handling portions of
                  PSA reply due to presence of conflict parties FHLB
                  Boston and Chicago, Credit Suisse and certain JSNs (.40)
                  confer with D. Bloom re: same and Arcapita transcript
                  (.30); correspond with M. Moscato, T. Foudy, J. Newton
                  and G. Lee of Morrison & Foerster re: comments and
                  revisions to exhibit 1 referencing only Debtors' reply (.20);
                  review and revise same (3.80); review draft replies
                  provided by Committee, Trustees and AFI in connection
                  with same (2.70)


  06/24/13 TF1    Correspond with M. Moscato re: status of finalization of        2.90
                  Debtors' reply brief and chart to PSA motion objections
                  handled by Curtis due to presence of actual and potential
                  conflict parties, including Credit Suisse, FHLB Boston and
                  Chicago, and certain JSNs (.20); participate in call with J.
                  Newton to discuss same and Morrison & Foerster
                  comments to chart re: same (.40); review and make
                  comments to final version of reply brief re: same (1.1 0);
                  review and comment on multiple versions of draft chart re:
                  same (.90); review revised PSA order language (.1 0);
                  draft correspondence to Morrison & Foerster and copy M.
                  Moscato, P. Buenger, and D. Bloom re: finalization of
                  reply brief and chart re: same (.20)



  06/24/13 MJM    Final review of Debtors' reply brief in support of PSA          2.50
                  motion handled by Curtis due to presence of actual and
                  potential conflict parties, including Credit Suisse, FHLB
                  Boston and Chicago, and certain JSNs (.80); participate in
                  call with J. Newton re: edits to reply brief re: same (.20);
                  correspond with P. Buenger, D. Bloom, T. Foudy, G. Lee,
                  and J. Newton re: finalizing chart accompanying PSA
                  reply to include summary of all objections and arguments
                  made in response to such objections by PSA proponents
                  (1.50)


  06/24/13 JTW    Correspond with D. Bloom, P. Buenger and M. Moscato re          4.00
                  revisions to exhibit 1 of chart of the Debtors' reply re:
                  objections to PSA motion handled by Curtis due to
                  presence of conflict parties FHLB Boston and Chicago,
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                  Credit Suisse and certain JSNs (.30); review drafts of
                  RMBS Trustees reply, AFI reply and Committee reply to
                  confirm citations in exhibit 1 and update argument
                  summary chart re: same (2.60); review AFI, RMBS
                  Trustees and Committee submissions to confirm
                  references in Debtors' reply re: same (.90); assist in
                  finalization of argument summary chart to be submitted
                  with Debtors' reply re: same (.20)

  06/24/13 DAB    Verify authorities relied upon in PSA objection chart per M      3.90
                  Moscato request in connection with Curtis handling
                  portions of PSA reply due to presence of conflict parties
                  FHLB Boston and Chicago, Credit Suisse and certain
                  JSNs (.70); correspond with J. Weber re: same (.20);
                  review Morrison & Foerster emails re: chart of same (.40);
                  correspond with P. Buenger re: "bar order" reference in
                  Credit Suisse objection and Debtors' response to same in
                  chart (.20); review Credit Suisse, a conflict party, objection
                  at length to augment discussion re: same (.60);
                  correspond with M. Moscato, J. Weber and P. Buenger re:
                  open issues in connection with chart (.30); review and
                  analyze Investors response re: PSA motion (.50);
                  incorporate same into draft chart (.30); prepare redline of
                  Committee revised response against earlier draft (.20);
                  review same to ensure accuracy of chart (.40);
                  correspond with J. Weber re: same (.10)



  06/24/13 PJB2   Correspond with Morrison & Foerster, M. Moscato, J.              5.50
                  Weber and D. Bloom re: further revisions and finalization
                  of exhibit 1 of chart re: all objections and replies filed in
                  connection with Debtors' motion seeking approval of plan
                  support agreement handled by Curtis due to presence of
                  conflict parties FHLB Boston and Chicago, Credit Suisse
                  and certain JSNs (.40); follow-up correspondence with D.
                  Bloom re: same (.1 0); follow-up correspondence with J.
                  Weber re: same and ensuring cross references within
                  chart to replies being filed by Committee, RMBS Trustees.
                  Ally Financial and Investors are accurate (.30); review and
                  revise exhibit 1 to omnibus reply to PSA pursuant to
                  additional comments provided by Debtors' lead counsel re
                  same (3.30); review as-filed replies of Committee. RMBS
                  Trustees, Ally Financial and Investors for checking
                  cross-references provided within exhibit to Debtors' reply
                  in connection with same (1.40)



 06/25/13 TF1     Prepare for hearing on Debtors' motion for authority to          1.70
                  enter into PSA, including review of filed versions of replies
                  filed by Committee, RMBS Trustees. supplemental JSNs'
                  statement, and Investors (1.70)

 06/25/13 GF      Assist F. Guenthner with preparation of updating materials       0.30
                  in PSA motion binders for hearing (.30)

 06/25/13 BMK     Coordinate production of materials in connection with            1.60
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                 hearing on Debtors' PSA motion with specific attention to
                 matters handled by Curtis in omnibus reply and with
                 respect to conflict parties, including those filed by conflict
                 parties, Credit Suisse, FHLB Boston and Chicago and
                 certain JSNs (1.20); monitor docket for updates including
                 agenda, late filed objections, responses, and statements
                 in connection with same (.40)


  06/25/13 DAB   Correspond with G. Faust re: Court Call for PSA motion           0.60
                 hearing in connection with Curtis handling portions of PSA
                 reply due to presence of conflict parties FHLB Boston and
                 Chicago, Credit Suisse and certain JSNs (.1 0); review and
                 summarize statement in support of PSA motion filed by
                 Steering Committee group of RMBS Holders (.20); review
                 and summarize RALI Underwriters' Rule 2019 statement
                 (.20); circulate amended agenda re: PSA motion hearing
                 to S. Reisman (.1 0)



  06/25/13 FRG   Prepare materials for hearing re: plan support agreement         3.10
                 and assemble into binder in connection with Curtis
                 handling portions of PSA reply due to presence of conflict
                 parties FHLB Boston and Chicago, Credit Suisse and
                 certain JSNs (2.50); prepare additional binder re: motion
                 to unseal Examiner report, per B. Kotliar's request (.60)


  06/26/13 TF1   Review revised proposed order granting PSA motion (.1 0)         5.80
                 prepare for PSA hearing by reviewing binder of
                 submissions by actual and potential conflict parties,
                 including Credit Suisse, FHLB Boston and Chicago, and
                 certain JSNs (1.40); attend PSA hearing before Judge
                 Glenn (3.50); begin review of Examiner report (.80)


  06/26/13 MJM   Prepare for PSA hearing before Judge Glenn by reviewing          4.90
                 binder of submissions including moving papers, objections
                 and replies re: same by actual and potential conflict
                 parties, including Credit Suisse, FHLB Boston and
                 Chicago, and certain JSNs (1.40); attend PSA hearing
                 (3.50)

 06/26/13 MG8    Brief review of summary of Examiner's report with focus          7.40
                 on issues in which Curtis has been involved as counsel to
                 ResCap (1.50); correspond with D. Bloom and G. Faust re
                 distribution and review of Examiner's report to determine
                 analysis of issues and parties being covered by Curtis as
                 conflicts counsel to Debtors, including issues relating to
                 third party releases (FHLB), CMH Holdings (Cerberus),
                 RMBS Trusts (Wells Fargo), and JSNs (.80); review
                 proposed order approving plan support agreement (.20);
                 prepare for hearing before Judge Glenn on Debtors'
                 motion seeking approval of PSA in which Curtis assisted
                 in drafting reply, by reviewing binder of submissions
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                 including moving papers, objections, and replies re: same
                 with specific attention to matters handled by Curtis as
                 conflicts counsel with respect to conflict parties such as
                 FHLB Boston and Chicago, Credit Suisse, and certain
                 JSNs (1.40); attend PSA hearing before Judge Glenn re:
                 same (3.50)

  06/26/13 MAC   Review PSA and related pleadings in connection with            1.50
                 Curtis handling portions of PSA reply due to presence of
                 conflict parties FHLB Boston and Chicago, Credit Suisse
                 and certain JSNs in advance of ruling on same (1.50)


  06/26/13 BMK   Circulate further revised proposed order in connection         0.20
                 with PSA motion in advance of hearing seeking approval
                 of PSA motion due to presence of actual and potential
                 conflict parties such as FHLB Boston and Chicago, Credit
                 Suisse, and certain JSNs (.20)

  06/26/13 JTW   Correspond with D. Bloom, P. Buenger, and B. Kotliar re:       4.00
                 distribution of work and logistics re: providing
                 comprehensive summary of Examiner's report (.80); begin
                 initial review of section VI I.E of Examiner's report re:
                 breach of fiduciary duty claims (3.20)

  06/27/13 BMK   Review and circulate memorandum opinion granting               1.90
                 Debtors' PSA motion (.20); review affiliate transactions
                 section of Examiner report, with special attention to 2006
                 bank transactions (1.70)

  06127/13 JTW   Complete review of Examiner's report section VI I.E re:        3.60
                 potential breach of fiduciary duty claims (1.70); prepare
                 initial summary of section VI I.E (1.70); correspond with J.
                 Zimmer, B. Kotliar, D. Bloom, and P. Buenger re: form
                 and depth of summary (.20)

  06/27/13 DAB   Review and analyze memorandum opinion approving                0.80
                 PSA motion in connection with Curtis handling portions of
                 PSA reply due to presence of conflict parties FHLB
                 Boston and Chicago, Credit Suisse and certain JSNs with
                 specific attention to impact on case matters moving
                 forward (.80)

  06/27/13 JZ    Attend to issues regarding review of Examiner's report in      6.70
                 connection with CMH and other Cerberus transactions
                 handled by Curtis as conflicts counsel, including
                 numerous correspondences with D. Bloom, P. Buenger, J.
                 Weber, M. Gallagher, and B. Kotliar re: delegation of
                 tasks in connection with review of relevant sections of
                 Examiner's report and preparation of summary in
                 connection with same (6. 70)

 06/28/13 TF1    Continue review of Examiner report for implications on         0.60
                 matters handled by Curtis as conflicts counsel (.60)

 06/28/13 BMK    Correspond with T. Foudy, M. Moscato, D. Bloom, P.             0.30
                 Buenger, and J. Weber re: summarization and tasks
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                    related to Examiner report relevant to matters Curtis is
                    handling as conflicts counsel (.30)

  06/28/13 JTW     Continue and complete draft summary of Examiner's                    7.90
                   report section VI I.E re: potential claims for breach of
                   fiduciary duties (3.40); correspond with T. Foudy, M.
                   Moscato, P. Buenger, D. Bloom, B. Kotliar and E. Tobin re
                   review of Examiners report and next steps with respect to
                   JSN related issues (.50); review Examiner's report section
                   VII.G (1.30); initial review of section IV.A of the
                   Examiner's report (2.70)

                                               TOTAL HOURS                            220.40



         Summa!l! of Services
                                               Title                Hours      Rate      Amount

          Steven J. Reisman                 Partner                  10.70      830       8,881.00
          Michael J. Moscato                Partner                  25.00      785      19,625.00
          Theresa A. Foudy                  Partner                  20.40      730      14,892.00
          Michael Ari Cohen                 Partner                   4.70      730       3,431.00
          Maryann Gallagher                 Counsel                   8.20      625       5,125.00
          Ellen Tobin                       Associate                 1.50      600            900.00
          Daniel A. Bloom                   Associate                43.40      480      20,832.00
          Peter Josef Buenger               Associate                32.70      425      13,897.50
          James Zimmer                      Associate                 6.70      345       2,311.50
          Bryan M. Kotliar                  Associate                20.70      305       6,313.50
          John Thomas Weber                 Associate                40.10      305      12,230.50
          Georgia Faust                     Legal Assistant           3.20      235         752.00
          Franklin R. Guenthner             Legal Assistant           3.10      235         728.50

                                                                   220.40              $109,919.50


                                                 TOTAL SERVICES                                         $109,919.50


         Summanr: of Ex[!enses
           External Photocopy Services                                  491.40

           Pacer- ECF                                                   150.40

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                                                CURTIS'
                                                 Curtis, Mallet-Prevost. Colt & Mosie llP
                                             ATTORNEYS AND COUNSEU..ORS AT LAW
                                                      I 0 I PARK AVENUE
                                              NEW YORK, NEW YORK I 0 I 78-ooe I


Residential Capital, LLC                                                                      September 24, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                              lnv. # 1589850
Fort Washington PA 19034
                                                                                              Our Ref. 062108-000410
                                                                                              SJR
Attention:   Residential Capital, LLC

Re: Adversary Proceedings and Contested Matters




      06/03/13 BMK        Correspond with E. Tobin re: previous document requests           0.70
                          filed in ResCap main case and document requests in
                          adversary proceedings in other cases in connection with
                          service of document requests and discovery on JSNs in
                          Debtors' adversary proceeding re: extent of liens and
                          underlying collateral where Wells Fargo and noteholders
                          UBS and Loomis are conflict parties (.50); review
                          documents relating to conflicts checks filed by Morrison &
                          Foerster on main docket re: same (.20)



      06/03/13 DAB        Review and analyze Debtors' amended pay-down motion               1.00
                          and implications of same re: ongoing JSN lien litigation
                          where Wells Fargo and noteholders UBS and Loomis are
                          conflict parties (.80); draft response to email toM.
                          Gallagher re: same (.20)

      06/03/13 ET         Review relevant documents and draft discovery requests            6.20
                          to Junior Secured Noteholders in connection with lien
                          adversary proceeding against Junior Secured Noteholders
                          where Wells Fargo and noteholders UBS and Loomis are
                          conflict parties (5.70); provide same toM. Moscato for
                          review and analysis (.50)

      06/04/13 SJR        Follow-up correspondence re: litigation schedule with             1.70
                          respect to JSN litigation and issues related to same where
                          Wells Fargo and noteholders UBS and Loomis are conflict
                          parties (.40); attend to matters re: document production
                          and general update on JSN litigation in connection with
                          same (1.30)

      06/04/13 TF1        Participate in call with J. Marines and M. Moscato re:            0.50
                          meeting scheduled with JSNs in connection with
                          adversary proceeding where Wells Fargo and noteholders
                          UBS and Loomis are conflict parties (.1 0); participate in
                          call with S. Engelhardt re: same and proposed litigation
                          schedule (.20); correspond with M. Moscato on same
                          (.20)

      06/04/13 MJM        Participate in call with T. Foudy and J. Marines re:              2.90
                          meeting on JSNs litigation where Wells Fargo and
                          noteholders UBS and Loomis are conflict parties (.1 0);
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                 review and edit draft set of document requests to JSNs re:
                 same (2.30); confer with E. Tobin re: proposed edits to
                 document requests to JSNs re: same (.50)

  06/04/13 DAB   Review various Southern District of New York dockets         2.10
                 and published cases for precedent document requests
                 involving lien disputes in connection with JSN Adversary
                 Proceeding where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (1.40); review and analyze
                 results of same (.20); review JSNs' summons and notice
                 of pretrial conference for answer deadline (.1 0);
                 correspond with M. Moscato and T. Foudy re: drafting and
                 transmitting waiver re: same (.40)



  06/04/13 ET    Confer with M. Moscato re: discovery requests in             1.80
                 connection with lien adversary proceeding against Junior
                 Secured Noteholders and related parties including, UMB
                 Bank, UBS, and Wells Fargo, as conflict parties (.50);
                 review and revise document requests to JSNs re: same
                 (1.30)

  06/05/13 SJR   Attend to matters re: document production and general        4.40
                 update on JSN litigation where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (1.30);
                 attend to matters re: JSN adversary proceeding, discovery
                 schedule and document requests (1.80); review document
                 requests in connection with JSN litigation and update on
                 issues related to same (1.30)

  06/05/13 TF1   Review proposed consolidation and scheduling order for       3.20
                 JSNs' adversary proceeding and comments by Committee
                 Counsel thereto in connection with JSN Adversary
                 Proceeding where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (.30); follow-up
                 correspondence with E. Tobin re: progress of draft
                 document requests to JSNs re: same (.1 0); gather
                 background materials on JSNs' adversary proceedings for
                 use at meeting re: litigation schedule at Morrison &
                 Foerster re: same (.30); attend meeting with JSNs re:
                 same (2.00); travel to same and review materials en route
                 (.50)


  06/05/13 DAB   Review internal precedent document requests in               0.50
                 connection with preparation of draft of same for JSN
                 defendants in connection with JSN lien litigation where
                 Wells Fargo and noteholders UBS and Loomis are conflict
                 parties (.50)

  06/05/13 ET    Review relevant documents and revise Plaintiffs' first       2.30
                 request for documents to Noteholders in connection with
                 lien adversary proceeding against Noteholders, UMB
                 Bank and Wells Fargo, as conflict parties (1.60);
                 correspond with B. Kotliar and D. Bloom re: same (.50);
                 correspond with T. Foudy re: rules governing discovery in
                 adversary proceedings in connection with same (.20)
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  06/06/13 SJR   Attend to matters re: document requests to JSNs and             1.20
                 update on litigation where Wells Fargo and noteholders
                 UBS and Loomis are conflict parties (1.20)

  06/06/13 TF1   Review and edit draft document requests to JSNs in              2.20
                 connection with JSN Adversary Proceeding where Wells
                 Fargo and noteholders UBS and Loomis are conflict
                 parties (1.70); confer with E. Tobin and M. Moscato re:
                 comments to same (.50)

  06/06/13 MJM   Review and edit current draft of document requests to           2.60
                 JSN Ad Hoc Group and its members in connection with
                 JSN adversary proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (1.20);
                 confer with T. Foudy and E. Tobin re: draft document
                 requests to Ad Hoc Group and its members in connection
                 with same (.50); review re-draft of same (.50); correspond
                 with E. Tobin re: edits to same (.40)

  06/06/13 BMK   Review Committee's adversary proceeding docket for              1.60
                 served document requests in connection with drafting
                 document requests and other discovery to serve on JSNs
                 in Debtors' adversary proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.40);
                 review Debtors' filed and amended schedules of
                 intercompany claims in connection with same for
                 preparation of document requests (.70); correspond with
                 E. Tobin and D. Bloom re: same and defining
                 "intercompany claims" for document requests (.50)



  06/06/13 DAB   Review and analyze Second Circuit's order granting              0.90
                 motion of GM Committee for leave to appeal lien
                 termination decision, in connection with tracking issue
                 pertaining to JSN lien litigation where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.20);
                 circulate same toT. Foudy with summary and recap of
                 relevancy of issue (.20); review notice of Committee's
                 filing of document requests on defendants in Committee's
                 JSN adversary proceeding (.20); correspond with B.
                 Kotliar and E. Tobin re: same (.30)

 06/06/13 ET     Confer with M. Moscato and T. Foudy re: discovery               5.60
                 requests to be served by Debtors in lien adversary
                 proceeding against certain Noteholders, UMB Bank and
                 Wells Fargo as conflict parties (.50); continue to review
                 relevant documents and draft and revise Plaintiffs' first set
                 of document requests to Noteholders in connection with
                 same (1.30); review document requests served by
                 Creditors' Committee on UMB Bank and Wells Fargo, and
                 other relevant documents, and draft document requests to
                 UMB Bank in connection with same (3.50); correspond
                 with B. Kotliar and D. Bloom re: same (.30)



 06/07/13 SJR    Attend to matters re: JSN litigation where defendants           2.40
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                 Wells Fargo and noteholders UBS and Loomis are conflict
                 parties, such as document production and scheduling
                 relating to litigation strategy (.80); attend to issues re:
                 same, including correspondence with T. Foudy, E. Tobin
                 and M. Moscato re: update on document requests and
                 timeline (1.60)

  06/07/13 TF1   Follow-up correspondence re: collection of information re:     3.10
                 staffing availability for JSNs' litigation where Wells Fargo
                 and noteholders UBS and Loomis are conflict parties (.50)
                 participate in call with S. Engelhardt re: responses to
                 document requests from Wells Fargo conflict party re:
                 same (.1 0); review and provide comments to responses to
                 document requests (.80); correspond with M. Moscato, S.
                 Reisman and E. Tobin re: staffing of JSN litigation as well
                 as draft document requests to Noteholders (.30); review
                 and edit draft document requests to JSNs (.90);
                 participate in call with J. Morris from Pachulski,
                 Committee conflicts counsel, re: discovery requests to
                 UMB and Wells Fargo in Committee adversary (.1 0);
                 review same (.40)


 06/07/13 MJM    Correspond with T. Foudy, E. Tobin, and S. Reisman re:         1.50
                 staffing of JSN litigation where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.30);
                 review current version of document requests to Ad Hoc
                 Group in connection with same (.90); correspond with E.
                 Tobin re: edits to document requests to Ad Hoc Group in
                 connection with same (.30)

  06/07/13 DAB   Review and analyze agreements underlying JSN dispute           1.90
                 in connection with drafting of document requests to UMB
                 and Wells Fargo in connection with Curtis' role as conflicts
                 counsel, as Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (1.00); correspond with E.
                 Tobin re: same (.20); draft revised definitions for UMB and
                 Wells Fargo for inclusion in document requests in
                 connection with same (.40); review Wells Fargo and UMB
                 proofs of claim in connection with draft document requests
                 (.30)

 06/07/13 ET     Conduct research re: strategic issues in connection with       5.30
                 lien adversary proceeding against Noteholders, UBS and
                 Wells Fargo, as potential conflict parties (1.70); review
                 and revise Plaintiffs' first set of document requests to
                 Noteholders (1.40); review relevant documents and draft
                 Plaintiffs' first set of document requests to UMB Bank, and
                 provide to M. Moscato and T. Foudy for review (2.20)


 06/08/13 TF1    Review correspondence re: comments and questions for           0.30
                 adapting draft document requests for UMB and Wells
                 Fargo in connection with JSN Adversary Proceeding
                 where Wells Fargo and noteholders UBS and Loomis are
                 conflict parties (.30)

 06/08/13 ET     Review and revise Plaintiffs' first set of document            0.50
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                                                                                   Our Ref# 062108-000410

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                   requests to UMB Bank as per comments from M. Moscato
                   and T. Foudy, in connection wth JSN lien litigation against
                   among others, Wells Fargo and noteholders UBS and
                   Loomis (.50)

  06/10/13 SJR     Follow-up correspondence with T. Foudy, M. Moscato,           0.40
                   and E. Tobin re: matters related to JSN litigation where
                   Wells Fargo and noteholders UBS and Loomis are conflict
                   parties and scheduling of matters regarding same (.40)


  06/1 0/13 TF 1   Participate in call with Debtors, Committee, and Secured      2.40
                   Parties re: proposed scheduling order in connection with
                   JSN Adversary Proceeding where Wells Fargo and
                   noteholders UBS and Loomis are conflict parties (.70);
                   review and edit draft document requests to UMB Bank in
                   connection with same (1.20); review draft scheduling
                   order and email correspondences re: same (.50)


  06/10/13 DAB     Correspond with B. Kotliar re: assembly of materials for      0.20
                   JSN litigation status conference in connection with JSN
                   Adversary Proceeding where defendants Wells Fargo,
                   noteholders UBS and Loomis are conflict parties (.20)

  06/10/13 ET      Review relevant documents and continue drafting and           1.90
                   revising Plaintiffs' first set of document requests to UMB
                   Bank and Wells Fargo, in connection with lien adversary
                   proceeding against Noteholders, UBS and Wells Fargo,
                   as potential conflict parties (1.70); provide same toT.
                   Foudy and M. Moscato for review highlighting open issues
                   (.20)

 06/11/13 SJR      Attend to issues re: proposed JSN counterclaims in            2.20
                   connection with JSN Adversary Proceeding where Wells
                   Fargo and noteholders UBS and Loomis are conflict
                   parties (.70); review outline of potential counterdaims and
                   update on status in connection with same (1.1 0); review
                   update re: chambers conference on scheduling order with
                   respect to same (.40)

 06/11/13 TF1      Revise and edit document requests to UMB and Wells            6.70
                   Fargo in connection with JSN Adversary Proceeding
                   where Wells Fargo and noteholders UBS and Loomis are
                   conflict parties (1.50); draft email fowarding same to
                   Morrison & Foerster (.20); review submissions to Judge
                   Glenn re: scheduling order for JSNs' disputes (.40); confer
                   with B. Kotliar re: preparing outline of issues for use in
                   discovery (.30); review background materials on issues,
                   including JSNs' presentation to Debtors and research
                   memos on legal issues and draft list of JSN counterclaims
                   (2.00); travel to and from Court for chambers conference
                   re: scheduling, while reviewing documents in preparation
                   for same [billed at half-time] (.50); attend chambers
                   conference re: scheduling order for JSNs' litigation (1.80)
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 06/11/13 GF     Assist D. Bloom with preparation of materials for status         1.90
                 conference in connection with adversary proceedings
                 against JSNs where defendants Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (1.90)

 06/11/13 BMK    Confer with T. Foudy re: assignment on outline and               7.10
                 summary of adversary proceedings in connection with
                 Debtors' and Committee's adversary proceedings against
                 JSNs where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (.30); review Debtor and
                 Committee complaints in order to prepare "cheat sheet"
                 summary of both for quick reference (3.50); begin drafting
                 summary of counts of the complaint and underlying
                 transactions (3.30)

 06/11/13 DAB    Supervise preparation of materials in connection with            1.20
                 status conference re: consolidation of JSN litigation where
                 Wells Fargo and noteholders UBS and Loomis are conflict
                 parties (.30); participate in portion of telephonic hearing re
                 same (.60); review correspondence re: JSN litigation
                 scheduling issues (.30)



 06/11/13 ET     Draft and revise Plaintiffs' first set of document requests to   1.70
                 UMB Bank and Wells Fargo in connection with lien
                 adversary proceeding against Junior Secured Noteholders
                 where Wells Fargo and noteholders UBS and Loomis are
                 conflict parties (1.30); correspond with T. Foudy and M.
                 Moscato re: same (.40)

 06/12/13 SJR    Attend to issues re: JSN litigation where Wells Fargo and        2.30
                 noteholders UBS and Loomis are conflict parties,
                 chambers conference and certain issues potentially
                 concerning mediation of same (2.30)

 06/12/13 TF 1   Draft summary of chambers conference re: JSNs' litigation        0.50
                 where Wells Fargo and noteholders UBS and Loomis are
                 conflict parties and impact on litigation strategy (.30);
                 review memo on rules pertinent to discovery and conduct
                 of motion practice and trial in JSNs litigation (.20)


 06/12/13 BMK    Correspond with E. Tobin re: certain potential mediation         6.20
                 issues with respect to JSNs and consolidated adversary
                 proceedings where Wells Fargo and noteholders UBS and
                 Loomis are potential conflict parties (.30); continue
                 drafting "cheat sheet" summary of Debtor and committee
                 claims against JSNs focusing on relevant prepetition case
                 background, documents underlying the transactions such
                 as AFI LOC, AFI Revolver, JSN Pledge, and JSN
                 Indenture, and important post-bankruptcy events such as
                 asset sales to Ocwen/Berkshire and postpetition
                 assertions made by JSNs (4.1 0); review and revise same
                 with attention to relevance to counts of committee and
                 debtor complaints (1.80)
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  06/12/13 DAB   Review T. Foudy summary regarding 6/11 chambers                  2.80
                 conference in connection with JSN Adversary Proceeding
                 where Wells Fargo and noteholders UBS and Loomis are
                 conflict parties (.40); research case law re: trading walls in
                 connection with potential Vitro order in ResCap cases and
                 case law re: mediation issues in connection with same
                 (2.30); draft email to E. Tobin and B. Kotliar re: same (.1 0)


  06/13/13 SJR   Review JSN litigation issues in preparation for discovery        1.30
                 and moving forward with trial in connection with JSN
                 Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (1.30)

  06/13/13 TF1   Review new proposed scheduling order for JSNs' dispute           0.60
                 circulated by counsel for Debtors in connection with JSN
                 Adversary Proceeding where defendants Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.20);
                 continue review of memos analyzing JSNs' issues in
                 preparation for participation in discovery and trial (.40)


  06/13/13 BMK   Outline portion of Debtors' complaint against JSNs with          5.90
                 specific attention to facts underlying transactions and
                 elements necessary to prove claims in connection with
                 JSN Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are potential conflict parties
                 (3.70); review and revise same to finalize for circulation
                 (2.70); correspond with T. Foudy, M. Moscato, and E.
                 Tobin re: same including draft summary and highlighting
                 specific issues with respect to consolidated JSN
                 adversary proceeding (.50)

 06/13/13 DAB    Correspond with B. Kotliar re: summary of Debtors'               1.10
                 complaint against JSNs where defendants Wells Fargo,
                 UBS and Loomis are conflict parties (.40); review and
                 comment on same (.60); provide Vitro order toT. Foudy in
                 connection with possible mediation of same (.1 0)


 06/14/13 TF 1   Correspond with M. Moscato re: status of JSNs' litigation        1.00
                 where Wells Fargo and noteholders UBS and Loomis are
                 potential conflict parties (.30); review background memos
                 on JSNs' matter, including B. Kotliar memo summarizing
                 claims for use in discovery (.70)


 06/17/13 TF1    Participate in brief call with S. Engelhardt re: JSNs'           0.10
                 litigation where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (.1 0)

 06/18/13 SJR    Review background re: JSN matter and summary memos               0.90
                 from B. Kotliar re: same in connection with JSN Adversary
                 Proceeding where defendants Wells Fargo, UBS and
                 Loomis are conflict parties (.90)
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  06/18/13 BMK   Correspond with T. Foudy re: open issues re: draft             2.40
                 summary of consolidated JSN litigation such as AFI DIP
                 order stipulations, indenture trustees v. collateral agents,
                 value of Committee action, and bankruptcy law issues re:
                 interest in connection with JSN Adversary Proceeding
                 (.1 0); begin research re: same by reviewing case
                 documents and complaints in connection with same (1 .20)
                 review AFI DIP order stipulations and Committee
                 complaint for effect of stipulations and Debtor's preclusion
                 from arguing same (.50); input research findings to draft
                 summary and update per edits and comments ofT. Foudy
                 (.60)


  06/19/13 SJR   Attend to comments on amended JSN complaint where              3.10
                 defendants Wells Fargo, UBS and Loomis are conflict
                 parties and review draft of same (1.40); review objection
                 of Ad Hoc Group of Junior Secured Noteholders to
                 Debtor's motion to approve settlement agreement with
                 FGIC and matters related to same in connection with JSN
                 Adversary Proceeding where Wells Fargo, UBS and
                 Loomis are conflict parties ( 1. 70)



  06/19/13 TF1   Review and provide comments to various drafts of               2.10
                 amended JSNs' complaint where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (1.30);
                 review memo re: goodwill as part of JSNs' lien value in
                 connection with allegations in Debtor complaint re: same
                 (.50); review proposed scheduling order submitted to
                 Judge Glenn highlighting differences re: same (.30)


  06/19/13 MJM   Review draft amended complaint against JSNs where              0.90
                 defendants Wells Fargo, UBS and Loomis are conflict
                 parties (.60); draft email to T. Foudy and S. Reisman re:
                 proposed edits to above draft amended complaint against
                 JSNs re: same (.30)

  06/19/13 BMK   Review amended draft complaint received from Morrison          3.30
                 & Foerster and review correspondences re: same and
                 issues resolved by amendments in connection with JSN
                 Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.50);
                 research duties and obligations of indenture trustees and
                 collateral agents with respect to bond indentures and
                 pledge and security agreements in connection with same
                 (1.1 0); incorporate findings into draft summary of counts
                 asserted in consolidated JSN adversary proceeding (.50);
                 draft email summarizing stipulations contained in AFI DIP
                 order and relationship to counts of Committee complaint
                 in JSN adversary proceeding (.70); update draft summary
                 to incorporate same and also include dollars and specific
                 figures of each count where applicable (.50)



  06/19/13 DAB   Review and comment on Debtors' amended JSN                     1.20
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                 complaint and draft stipulations in DIP order in relation to
                 same in connection with JSN adversary proceeding where
                 defendants Wells Fargo, UBS and Loomis are conflict
                 parties (.80); review and analyze JSNs' proposed
                 counterclaims re: same (.30); draft email to S. Reisman re
                 Debtors' amended complaint (.1 0)

  06/20/13 SJR   Attend to review of ResCap amended complaint against           1.30
                 JSNs where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties and notes re: issues related to
                 same (1.30)

  06/20/13 GF    Assist B. Kotliar with preparation of binders re: Debtors'     1.80
                 first amended complaint filed on June 19, 2013 in ResCap
                 v. UMB Bank adversary case where defendants Wells
                 Fargo, UBS and Loomis are conflict parties (1.80)


 06/21/13 GF     Correspond with D. Bloom re: hearing dates and                 0.40
                 scheduling order in connection with JSN litigation where
                 Wells Fargo and noteholders UBS and Loomis are conflict
                 parties (.40)

 06/21/13 DAB    Review and circulate consolidation and scheduling order        0.90
                 entered in JSN litigation where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.50);
                 correspond with G. Faust re: scheduling in connection
                 with same (.20); draft email to E. Tobin re: JSN litigation
                 binders of recent documents re: same (.20)

 06/21/13 ET     Review scheduling order entered by the Court in Debtor         0.30
                 and Committee's adversary proceedings where Wells
                 Fargo and noteholders UBS and Loomis are conflict
                 parties, and correspond with M. Moscato and D. Bloom re:
                 same (.30)

 06/24/13 SJR    Attend to matters re: JSN litigation where defendants          3.20
                 Wells Fargo, UBS and Loomis are conflict parties and
                 review consolidated action plan re: motion practice,
                 discovery, fact depositions, expert depositions, trial as
                 well as time-line for same in preparation for meeting with
                 T. Foudy and M. Moscato re: same (1.30); attend meeting
                 with T. Foudy and M. Moscato to discuss litigation
                 preparation, motion practice, discovery and other matters
                 related to ResCap JSN litigation (.80); review order with
                 time-line for JSN litigation (.40); review Ally Financial
                 Inc.'s reply in support of motion for order authorizing plan
                 support agreement and approval of same (.70)



 06/24/13 TF1    Participate in call with M. Moscato and S. Engelhardt re:      2.30
                 document requests to JSN defendants where Wells Fargo
                 and noteholders UBS and Loomis are conflict parties (.40)
                 correspond with E. Tobin re: revising document requests
                 in light of same (.20); review scheduling order entered by
                 Judge Glenn (.30); review draft work plan for JSNs'
                 litigation circulated by
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                 Morrison & Foerster (.20); attend meeting with S.
                 Reisman and M. Moscato to discuss same (.80); meet
                 with E. Tobin, J. Berman, and M. Moscato to discuss work
                 flow in connection with same (.40)

  06/24/13 MJM   Participate in portion of call with S. Engelhardt and T.       1.50
                 Foudy re: workplan for JSN litigation and document
                 requests to Defendants in JSN litigation (.30); attend
                 meeting with S. Reisman and T. Foudy re: same re: JSN
                 litigation strategy and workplan (.80); meet with T. Foudy,
                 E. Tobin, and J. Berman re: workplan for JSN litigation in
                 connection with same and follow-up with D. Bloom re:
                 same (.40)

  06/24/13 DAB   Correspond with S. Reisman re: status of JSN conflict          4.30
                 issues in connection with JSN Adversary Proceeding
                 where Wells Fargo, UBS and Loomis are conflict parties
                 (.20); correspond with M. Moscato and E. Tobin re: same
                 (.1 0); draft list of key dates, deadlines and provisions
                 contained in amended scheduling order entered by Court
                 in connection with same (2.50); circulate rough draft to M.
                 Moscato (.20); revise draft re: same including summary of
                 litigation scheduling order and circulate same to S.
                 Reisman, M. Moscato and T. Foudy for review (1.30)



  06/24/13 ET    Continue to review relevant documents and draft and            3.40
                 revise Debtors' document requests to Ad Hoc Committee
                 of JSNs, UMB Bank and Wells Fargo, in connection with
                 Curtis's role as conflicts counsel, as defendants Wells
                 Fargo, UBS and Loomis are conflict parties (2.90);
                 correspond with M. Moscato and T. Foudy re: same (.1 0);
                 meet with M. Moscato, T. Foudy and J. Berman re: case
                 strategy in connection with same and follow-up with D.
                 Bloom re: same (.40)

  06/24/13 JCB   Initial review of materials relating to claims against JSNs    1.70
                 in connection with Curtis' role as conflicts counsel, as
                 Wells Fargo and noteholders UBS and Loomis are conflict
                 parties (1.30); meet with M. Moscato, T. Foudy, and E.
                 Tobin to discuss status of case and next steps re: same
                 (.40)

  06/25/13 TF1   Review and revise multiple drafts of document requests to      2.80
                 UMB, Wells Fargo, and Ad Hoc Group in connection with
                 JSN Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (2.20);
                 participate in call with S. Engelhardt re: revisions to same
                 (.1 0); review calendar entries of key dates from
                 scheduling order re: same (.1 0); meet with J. Berman to
                 discuss tasks and preparation of work flow re: same (.40)



  06/25/13 MJM   Review revised document requests to JSNs, UMB, and             2.60
                 Wells Fargo in connection with JSN Adversary
                 Proceeding where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (1.30); confer with E.
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                 Tobin re: edits to document requests to JSNs, Wells
                 Fargo, and UMB Bank re: same (.50); review next turn of
                 document requests re: same (.20); review draft list of
                 potential JSN counterclaims re: same (.30); review
                 submissions to Examiner by JSNs and Debtors re: issues
                 raised by complaint against JSNs (.30)

  06/25/13 MG8   Review scheduling order for JSN adversary proceedings          0.40
                 where Wells Fargo and noteholders UBS and Loomis are
                 conflict parties and related summary prepared by D.
                 Bloom (.40)

  06/25/13 GF    Correspond with D. Bloom re: summary of scheduling             1.80
                 order in connection with JSN litigation where Wells Fargo,
                 UBS and Loomis are conflict parties (.60); update internal
                 case calendar re: scheduling important dates and
                 deadlines in JSN litigation for circulation at request of D.
                 Bloom (1.20)

  06/25/13 BMK   Correspond with J. Berman, E. Tobin, and D. Bloom re:          2.20
                 JSN litigation where Wells Fargo and noteholders UBS
                 and Loomis are conflict parties, including project workflow
                 chart and next steps (.50); coordinate production of
                 necessary materials re: same such as complaints, exhibits
                 motions to dismiss and answers (1.20); update summary
                 of JSN adversary proceedings by incorporating recent
                 filings such as answers and scheduling order (.50)



  06/25/13 DAB   Draft email to E. Tobin re: calendar of dates and              1.00
                 deadlines in JSN consolidated proceeding where Wells
                 Fargo and noteholders UBS and Loomis are conflict
                 parties (.20); correspond with G. Faust re: same (.50);
                 correspond with E. Tobin and J. Berman re: work plan
                 meeting for JSN litigation and JSN litigation staffing (.30)


  06/25/13 SS2   Per B. Kotliar's request, prepare binders titled "Adversary    5.50
                 Proceedings v. JSNs" and "Pleadings Filed in the
                 Committee Adversary Proceeding Against the JSNs" in
                 connection with JSN adversary proceeding where Wells
                 Fargo, noteholders UBS and Loomis are conflict parties
                 (5.50)

  06/25/13 ET    Review and revise Debtors' discovery requests to               4.10
                 defendants, Wells Fargo, UMB, and the Ad Hoc Group in
                 the JSN Adversay Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (2.20);
                 provide same toT. Foudy and M. Moscato for review (.30)
                 confer with M. Moscato re: same (.50); meet with J.
                 Berman re: planning and strategy for Debtors' adversary
                 action in connection with same (1.1 0)


 06/25/13 JCB    Meet with E. Tobin re: review of issues and                    1.70
                 responsibilities for preparation of work product in
                 connection with Curtis' role as conflicts counsel in
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                  connection with JSN Adversary Proceeding, as Wells
                  Fargo and noteholders UBS and Loomis are potential
                  conflict parties (1.1 0); meet with T. Foudy re: same (.40);
                  review work in process document in connection with same
                  (.20)

  06/26/13 TPS    Review Examiner report as it relates to claims against         0.40
                  CMH Holdings in connection with such matters handled
                  by Curtis as conflicts counsel (.30); confer with M.
                  Gallagher re: same (.1 0)

  06/26/13 TF 1   Participate in call with Committee counsel re: draft           1.60
                  document requests to JSNs in connection with JSN
                  Adversary Proceeding where Wells Fargo and
                  noteholders UBS and Loomis are conflict parties (.20);
                  participate in call with S. Engelhardt re: same and
                  discovery work plan (.30); finalize document requests by
                  performing final review and comment as well as attend to
                  questions re: signatures and service in connection with
                  same (1.10)

  06/26/13 MJM    Meet with J. Berman, E. Tobin, D. Bloom, and B. Kotliar re     3.10
                  workplan for JSN litigation where Wells Fargo,
                  noteholders UBS and Loomis are conflict parties (1.1 0);
                  begin review of sections of Examiner report relevant to
                  JSN litigation (2.00)

  06/26/13 MG8    Attend to review of Examiner's report as it relates to CMH     0.40
                  Holdings transaction with Cerberus in connection with
                  such matters handled by Curtis as conflicts counsel (.30);
                  confer with T. Smith re: portion of Examiner's report
                  discussing CMH Holdings transaction with Cerberus (.1 0)


  06/26/13 BMK    Prepare necessary materials and review draft                   3.90
                  memorandum, summaries, and pleadings re: JSN
                  litigation where Wells Fargo and noteholders UBS and
                  Loomis are conflict parties (.50); meet with M. Moscato, E.
                  Tobin, J. Berman, and D. Bloom to discuss work flow
                  chart, open issues, and scheduling order re: Debtors'
                  litigation against JSNs and matters handled by Curtis
                  (1.1 0); coordinate with B. Patane re: production of
                  Examiner report relevant to JSN issues for discussion in
                  connection with JSN adversary proceedings (.20);
                  correspond with E. Tobin and D. Bloom re: email service
                  of attorneys for counsel to UMB Bank, Wells Fargo, and
                  Ad Hoc Group of JSNs re: service of document requests
                  (.50); coordinate with F. Guenthner re: production of
                  affidavit of service re: same (.50); correspond with E.
                  Tobin re: same and updating service list to reflect
                  additional parties (.30); review research and analysis
                  performed with respect to counts of Debtor complaint
                  against JSNs to begin work in process flow chart (.70);
                  confer with D. Bloom re: Examiner report issues
                  underlying JSN adversary proceeding and project next
                  steps (.1 0)
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  06/26/13 DAB   Review sample work in process chart for use in JSN              6.10
                 litigation per J. Berman's request in connection with JSN
                 Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.30);
                 confer with B. Kotliar re: work product for meeting in
                 connection with same (.1 0); meet with M. Moscato, E.
                 Tobin, B. Kotliar and J. Berman to plan JSN litigation
                 workflow and discuss dates and deadlines re: same (1.1 0)
                 review T. Foudy's email re: Morrison & Foerster's draft
                 work plan for JSN litigation (.20); review subsequent
                 correspondence from Morrison & Foerster re: same (.40);
                 draft and send email to E. Tobin re: signature of JSN
                 pleadings and service of filings in JSN adversary action
                 and review dockets in connection with same (.60); draft
                 and revise list of service parties for service of discovery
                 requests on JSNs (.80); correspond with B. Kotliar and E.
                 Tobin re: same (.10); draft response to J. Berman email re
                 Morrison & Foersterworkplan (.10); review and analyze
                 section of Examiner report detailing prepetition credit
                 agreement and JSN issues in connection with releases of
                 collateral for purpose of assessing impact on JSN
                 litigation (1.80); draft and circulate email summarizing
                 same to M. Moscato and T. Foudy (.60)



  06/26/13 FRG   Prepare binder re: adversary proceedings against JSNs           1.00
                 per B. Kotliar's request in connection with JSN adversary
                 proceeding where defendants Wells Fargo, noteholders
                 UBS and Loomis are conflict parties (.50); draft service list
                 for document requests re: same and submit to B. Kotliar
                 for review (.50)

  06/26/13 ET    Meet with M. Moscato, J. Berman, D. Bloom and B. Kotliar        3.40
                 re: planning and strategy for Debtors' adversary action
                 against JSNs where Wells Fargo and noteholders UBS
                 and Loomis are conflict parties (1.10); review and revise
                 Debtors' discovery requests to Ad Hoc Committee of
                 JSNs, Wells Fargo and UMB Bank (.90); correspond with
                 M. Moscato and T. Foudy re: same (.40); serve Debtors'
                 discovery requests by email on all counsel in Debtors' and
                 Committee's adversary actions (.10); correspond with D.
                 Bloom and B. Kotliar re: same (.40); begin review of
                 Examiner's report, focusing on issues related to JSN
                 adversary action re: same (.50)



 06/26/13 JZ     Review Examiner's report in connection with CMH, other          5.90
                 Cerberus transactions handled by Curtis as conflicts
                 counsel, as well as treatment of certain estate causes of
                 action, including correspondences with D. Bloom, P.
                 Buenger, J. Weber, M. Gallagher, and B. Kotliar re:
                 delegation of tasks in connection with review of relevant
                 sections of Examiner's report and preparation of summary
                 in connection with same (5.90)
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  06/26/13 JCB   Meet with M. Moscato, E. Tobin, D. Bloom, and B. Kotliar        7.20
                 to discuss upcoming deadlines in connection with JSN
                 Adversary Proceeding and preparation of work product in
                 connection with Curtis' role as conflicts counsel, as Wells
                 Fargo and noteholders UBS and Loomis are potential
                 conflict parties (1.1 0); preliminary review of Examiner
                 report in connection with same (1.50); review core case
                 documents, including committee complaint, partial
                 answers, motion to dismiss and underlying agreements in
                 connection with same (4.60)



  06/27/13 TPS   Review summary of Examiner's conclusions re: issues in          0.40
                 connection with CMH Holdings matters handled by Curtis
                 as conflicts counsel, as Cerberus is a conflict party (.40)


  06/27/13 TF1   Draft email correspondence re: service of various               1.50
                 document requests and "meet and confer'' disputes re:
                 same in connection with JSN Adversary Proceeding
                 where Wells Fargo and noteholders UBS and Loomis are
                 conflict parties (.40); confer with M. Moscato on same and
                 review of Examiner report re: conclusions with respect to
                 JSN claims (.20); continue review of Examiner report re:
                 same (.90)

  06/27/13 MJM   Review JSNs' and other defendants' document requests            4.50
                 and interrogatories in connection with JSN Adversary
                 Proceeding where Wells Fargo, noteholders UBS and
                 Loomis are conflict parties (1.1 0); confer with T. Foudy re:
                 review of Examiner report (.20); continue review of
                 sections of Examiner's report relevant to JSNs litigation
                 (3.1 0); review email correspondences re: discovery
                 requests and "meet-and-confer'' scheduling in connection
                 with same (.1 0)

 06/27/13 BMK    Review documents and materials underlying transactions          3.30
                 subject to Debtor and Committee adversary proceedings
                 against JSNs where defendants Wells Fargo, UBS and
                 Loomis are conflict parties in order to streamline
                 procedures and update work flow process chart (.90);
                 correspond with D. Bloom re: same, including work in
                 process chart, next steps, and open issues (.30); review
                 and provide comments to work flow chart and finalize for
                 circulation (.30); coordinate with S. Soriano re: production
                 of document requests filed by Debtors against defendants
                 to JSN Adversary Proceeding and all document requests
                 filed by all parties either on Debtors or in Debtor
                 proceeding against JSNs (.50); coordinate with F.
                 Guenthner and update certificate of service re: document
                 requests on JSN adversary proceeding defendants (.40);
                 correspond with E. Tobin re: same and document
                 requests (.30); review introduction to Examiner report with
                 specific attention to issues relating to JSNs' loan
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                 agreements and liens (.60)

  06/27/13 DAB   Draft and edit work in process chart mapping out Curtis'       8.00
                 and Morrison & Foerster's work allocation, dates and
                 deadlines for JSN litigation where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties and
                 incorporate key dates and deadlines from scheduling
                 order, Morrison & Foerster workflow emails and chart, and
                 internal dates and deadlines list (3.40); review local rules
                 with respect to interrogatories for J. Berman and follow-up
                 correspondence re: same (.60); correspond with B. Kotliar
                 re: same (.20); review and analyze Wells Fargo's
                 document requests and interrogatory requests per
                 direction of J. Berman in connection with same (1.00);
                 review email from Committee counsel to Reed Smith re:
                 scope of discovery in connection with same (.1 0); review
                 M. Moscato email re: discovery correspondence in
                 connection with same (.20); review Kramer Levin email re:
                 meet and confer in connection with same (.1 0); revise
                 work in process chart per J. Berman, E. Tobin, and M.
                 Moscato comments in connection with same (.80); revise
                 summary of scheduling order key dates and deadlines per
                 M. Moscato and J. Berman comments to same (.50); draft
                 email toM. Moscato re: collection of discovery related
                 documents in connection with same (.1 0); correspond with
                 E. Tobin, B. Forman, B. Kotliar and S. Soriano re:
                 document request binders in connection with JSN
                 adversary proceedings where Wells Fargo, noteholders
                 UBS and Loomis are potential conflict parties (.60); review
                 draft binder index re: same (.40)




 06/27/13 FRG    Prepare Certificate of Service for document requests in        0.70
                 Wells Fargo adversary proceeding, per B. Kotliar's
                 request in connection with JSN Adversary Proceedings
                 where Wells Fargo, noteholders UBS and Loomis are
                 conflict parties (.70)

  06/27/13 SS2   Prepare binder "Initial Document Requests and                  5.50
                 Interrogatories JSN Litigation June 26, 2013" forM.
                 Moscato, J. Berman, T. Foudy, E. Tobin, S. Reisman, D.
                 Bloom and B. Kotliar in connection with JSN adversary
                 proceedings where Wells Fargo, noteholders UBS and
                 Loomis are conflict parties (5.50)

 06/27/13 ET     Correspond with D. Bloom and B. Kotliar re: discovery          0.50
                 requests served in Debtors' and Committee's adversary
                 actions against JSNs, in connection with Curtis' role as
                 conflicts counsel, as defendants Wells Fargo, noteholders
                 UBS and Loomis are conflict parties (.50)

 06/27/13 JZ     Draft correspondence toT. Smith re: condusion of               0.30
                 Examiner's report with respect to CMH transaction in
                 connection with such matters handled by Curtis as
                 conflicts counsel (.30)

 06/27/13 JCB    Prepare work in process document in connection with            5.10
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                  JSN Adversary Proceeding where defendants Wells
                  Fargo, UBS and Loomis are conflict parties (.20); review
                  local bankruptcy rule re: interrogatories in connection with
                  same (.20); review document requests and interrogatories
                  served upon Debtors and Committee in connection with
                  same (.40); review Curtis work product analyzing claims in
                  adversary proceedings re: same (1.70); review Examiner
                  report re: same (2.60)



  06/28/13 SJR    Review correspondence from Chris Shore at White &              1.60
                  Case re: JSN's allegations of potential conflict and
                  discovery matters and follow-up correspondence with T.
                  Foudy and M. Moscato re: response to same (1.60)

  06/28/13 TF 1   Correspond with J. Marines of Morrison & Foerster re: C.       1.50
                  Shore letter discussing inter-company claims, and
                  mediation status in connection with JSN Adversary
                  Proceeding where Wells Fargo and noteholders UBS and
                  Loomis are conflict parties (.20); review letter from C.
                  Shore re: intercompany claims (.20); meet with M.
                  Moscato, B. Kotliar, D. Bloom, E. Tobin, M. Gallagher and
                  J. Berman to discuss review of Examiner report in
                  connection with same (.60); review emails concerning
                  "meet and confer" on document requests re: same (.40);
                  correspond with S. Reisman re: mediation of JSNs'
                  dispute (.1 0)


  06/28/13 MJM    Meet with T. Foudy, J. Berman, M. Gallagher, D. Bloom, E       0.60
                  Tobin and B. Kotliar to discuss issues related to JSN
                  litigation where Wells Fargo, noteholders UBS and
                  Loomis are conflict parties, including review of Examiner
                  report in connection with same (.60)

  06/28/13 MG8    Meet with T. Foudy, M. Moscato, D. Bloom, J. Berman, T.        0.60
                  Foudy and B. Kotliar re: issues related to JSN litigation
                  where Wells Fargo and noteholders UBS and Loomis are
                  conflict parties, including Examiner's report and
                  anticipated answers and counterclaims (.60)

  06/28/13 BMK    Review and revise draft work in process chart with respect     3.40
                  to key dates, personnel, staffing, and timing issues in
                  connection with JSN consolidated litigation where Wells
                  Fargo and noteholders UBS and Loomis are conflict
                  parties (.60); correspond with D. Bloom re: same (.30);
                  attend meeting with T. Foudy, M. Moscato, J. Berman, E.
                  Tobin, M. Gallagher and D. Bloom re: same and open
                  issues (.60); correspond with D. Bloom re: impact of
                  Examiner report on certain issues in connection with
                  Debtor complaint in consolidated adversary action against
                  JSNs (.20); email correspondence with J. Berman and E.
                  Tobin re: draft chart of claims, documents, and Examiner
                  report materials and summary of complaint counts in
                  connection with same (.30); review Examiner report re:
                  2008 bank transactions for issues relevant to potential
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                 avoidance actions the JSNs assert are subject to their
                 liens (1.40)

  06/28/13 DAB   Meet with T. Foudy, M. Moscato, J. Berman, E. Tobin and        3.00
                 B. Kotliar re: Examiner report and other JSN-related
                 litigation tasks in connection with JSN Adversary
                 Proceeding where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (.60); correspond with B.
                 Kotliar re: documents required for same (.30); conduct
                 further research re: scope of interrogatories for J. Berman
                 in connection with same (.40); continue revisions to global
                 task chart for JSN litigation per J. Berman comments re:
                 same (.80); draft response toT. Foudy email re:
                 scheduling conference re: same (.1 0); draft "issue spotter"
                 for use with Examiner report review in connection with
                 JSN litigation issues and send to B. Kotliar (.80)



  06/28/13 ET    Meet with M. Moscato, T. Foudy, J. Berman, B. Kotliar, D.      1.60
                 Bloom, and M. Gallagher re: strategic issues re: Debtors'
                 and Committee's adversary actions against JSNs, in
                 connection with Curtis' role as conflicts counsel, as
                 defendants Wells Fargo, UBS and Loomis are potential
                 conflict parties (.60); review and analyze amended
                 complaint and relevant documents in connection with
                 same (1.00)

  06/28/13 JZ    Review and draft summary of Examiners report with              8.60
                 respect to CMH Holdings issues and other Cerberus
                 conflict parties handled by Curtis as well as treatment of
                 other estate causes of action (7 .1 0); correspondence
                 throughout the day with P. Buenger, D. Bloom, B. Kotliar
                 and J. Weber re: issues related to same (1.50)

  06/28/13 JCB   Meet with M. Moscato, T. Foudy, M. Gallagher, E. Tobin,        4.90
                 D. Bloom and B. Kotliar re: allocation of responsibilities,
                 review of Examiner report and other issues in connection
                 with JSN Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties and
                 related follow-up (.60); review and revise work in process
                 document in connection with same (.50); review Curtis'
                 work product to determine areas where additional legal
                 research is needed re: same ( 1.1 0); review motion papers
                 filed in adversary proceeding re: same (1.20); additional
                 review of underlying case documents re: same (1.50)



  06/29/13 SJR   Review answer, affirmative defenses and counterclaims of       9.60
                 Defendants in connection with JSN litigation where
                 defendants Wells Fargo, UBS and Loomis are conflict
                 parties (2.20); follow-up correspondence re: matters to be
                 addressed by Curtis as conflicts counsel in connection
                 with same (1.10); review internal email correspondence re
                 research in connection with counterclaims (. 70); attend to
                 matters re: counterclaims and analysis of same in
                 connection
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                 with JSN litigation (2.20); meet with T. Foudy, M. Moscato
                 M. Gallagher, J. Weber and B. Kotliar to discuss research
                 issues and matters related to JSN litigation and response
                 to counterclaims in connection with JSN Adversary
                 Proceeding (1.30); review research related to same (2.1 0)


  06/29/13 TF1   Coordinate with M. Moscato, J. Berman, B. Kotliar and M.      7.70
                 Gallagher throughout day on analysis of counterdaims in
                 connection with JSN Adversary Proceeding where Wells
                 Fargo and noteholders UBS and Loomis are conflict
                 parties and legal research on traceability in connection
                 therewith (1.10); meet with S. Reisman, M. Moscato, J.
                 Weber and B. Kotliar re: research and follow-up re: same
                 (1.30); review and revise multiple drafts of counterdaim
                 chart and review counterdaims in connection therewith
                 (2.60); confer with J. Berman on tasks re: same (.30);
                 meet with M. Jones to discuss drafting of chart re: same
                 (.20); review and provide comments to Morrison &
                 Foerster on draft letter to Judge Glenn, including drafting
                 section of letter relating to counterclaims re: same (2.20)



  06/29/13 MJM   Review JSNs' answer and counterclaims to Debtors              5.30
                 amended aomplaint in connection with JSN Adversary
                 Proceeding where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (1.30); review emails from
                 Morrison & Foerster re: legal issues to be researched in
                 connection with same (.30); correspond with T. Foudy, B.
                 Kotliar, and J. Weber re: focusing legal research to
                 address traceability of JSNs' liens on alleged direct and
                 estate claims re: same (.40); draft follow-up email
                 outlining the "tracing" issue to be researched re: same
                 (.30); review letter from JSNs re: conflicts issues with
                 respect to counsel retained in Chapter 11 cases (.20);
                 review draft letter to Judge Glenn re: JSNs' conduct (.20);
                 follow-up correspondence with T. Foudy re: chart of
                 counterclaims in connection with JSN litigation (.30) meet
                 with S. Reisman, T. Foudy, M. Gallagher, J. Weber, and B
                 Kotliar re: legal research issue and chart of counterclaims
                 re: same (1.30); review T. Foudy's edits to draft letter to
                 Judge Glenn (.20); follow-up with T. Foudy re: same and
                 status of research project re: same (.30); correspond with
                 T. Foudy, J. Berman, J. Weber, and B. Kotliar re: status of
                 legal research re: traceability of JSNs' lien on contract
                 claim recoveries against Ally (.50)




  06/29/13 MG8   Meet with M. Moscato, T. Foudy, S. Reisman, J. Weber,         1.60
                 and B. Kotliar re: research and additional tasks to
                 complete in connection with JSN's answer and
                 counterclaims to dedaratory judgment complaint where
                 Wells Fargo and noteholders UBS and Loomis are
                 potential conflict parties (1.30); review and comment on
                 draft letter to Judge Glenn requesting status
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                 conference in connection with recent actions of counsel to
                 JSNs and follow-up with T. Foudy in connection with JSN
                 Adversary Proceeding where Wells Fargo, noteholders
                 UBS and Loomis are conflict parties (.30)

  06/29/13 MPJ   Meet with T. Foudy re: background to case and                    7.20
                 assignment regarding creation of chart of Defendants'
                 counterclaims in connection with JSN Adversary
                 Proceeding where Wells Fargo and noteholders UBS and
                 Loomis are conflict parties (.20); review counterclaims
                 asserted in Defendants' affirmative defenses and
                 counterclaims in connection with same (2.00); prepare
                 and correspond with T. Foudy and J. Berman re: chart
                 summarizing each asserted counterclaim in connection
                 with same (5.00)

  06/29/13 BMK   Draft email toT. Goren at Morrison & Foerster re:               12.80
                 traceability and allocation issues regarding Ally
                 Contribution and Global Settlement as it relates to certain
                 collateral that the JSNs assert liens on in the consolidated
                 adversary proceeding where Wells Fargo and noteholders
                 UBS and Loomis are potential conflict parties (.80); email
                 correspondence with M. Moscato re: same (.50); discuss
                 follow-up research issues with M. Moscato and J. Weber
                 re: same (.50); prepare for meeting by reviewing prior
                 memorandum re: liens on avoidance actions and other
                 case law research and issues presented for additional
                 follow-up in connection with same (.30); meet with S.
                 Reisman, T. Foudy, M. Moscato, M. Gallagher and J.
                 Weber re: same and allocation of Ally Contribution issues
                 (1.30); perform initial research re: allocation of settlement
                 proceeds and traceability of same in the context of global
                 settlements (1.00); perform research re: burden of proof
                 with respect to secured creditors' assertion of liens on
                 settlement proceeds (2.10); correspond with J. Weber re:
                 same (.40); perform research re: liens on global
                 settlements and allocating global settlements (2.80);
                 follow-up correspondence with J. Weber and J. Berman re
                 same (.40); draft outline and portions of memorandum
                 summarizing research findings (.70); review research
                 project and highlight open issues for additional research
                 (1.00); supplement draft memorandum with case citations
                 re: traceability and allocation cases (.50); revise structure
                 of memorandum and potential proposals for solution (.50)




 06/29/13 JlW    Meet with T. Foudy, S. Reisman, M. Moscato, M.                  13.90
                 Gallagher and B. Kotliar re: conducting research as to
                 global settlement's effect on JSNs' liens on potential
                 causes of action Debtors' may have against Ally in
                 connection with JSN Adversary Proceeding where Wells
                 Fargo, noteholders UBS and Loomis are potential conflict
                 parties (1.30); conduct research re: same (3.1 0); conduct
                 research re: burden of proof with respect to tracing liens
                 on settlement proceeds (2. 10);
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                 conduct research re: allocation of settlement proceeds
                 (2.60); conduct research re: allocation of proceeds in
                 9019 context and correspond with D. Bloom and J.
                 Berman re: same (3.20); correspond with J. Berman and
                 B. Kotliar re: draft memorandum summarizing research for
                 Morrison & Foerster team (.40); assist in drafting of
                 memorandum with respect to language and supporting
                 authority in connection with same (1.20)

  06/29/13 DAB   Correspond throughout the day with J. Weber and B.             4.50
                 Kotliar re: time-sensitive research re: whether JSNs have
                 a lien on the Ally Contribution, and requirement of JSNs to
                 trace their lien on certain settled claims per applicable
                 case law in connection with JSN Adversary Proceeding
                 where Wells Fargo and noteholders UBS and Loomis are
                 potential conflict parties (1.50); extensive research
                 regarding same (3.00)

  06/29/13 JZ    Continue to review and draft summary of Examiner's             4.10
                 report with respect to CMH Holdings issues, including
                 numerous Cerberus conflict parties and analysis of
                 potential avoidance action issues related to same (4.1 0)


  06/29/13 JCB   Confer with T. Foudy re: preparing work product relating       6.90
                 to JSN answer and counterclaims in connection with JSN
                 Adversary Proceeding where Wells Fargo and
                 noteholders UBS and Loomis are conflict parties (.30);
                 correspond with D. Bloom, B. Kotliar and J. Weber re:
                 researching tracing and allocation issue with respect to
                 JSNs' request for a declaration that it is entitled to
                 maintain its lien on the contract claims released in Ally
                 settlement (.90); correspondences with T. Foudy and M.
                 Jones re: preparation of chart summarizing counterclaims
                 (.50); review chart summarizing counterclaims (.40);
                 research case law re: allocation of settlement proceeds
                 (3.20); draft and revise memorandum re: ability of JSNs'
                 to obtain judicial allocation of the settlement amount
                 (1.60)


  06/30/13 SJR   Review draft correspondence to Judge Glenn re: issues          1.60
                 related to JSN litigation in connection with JSN Adversary
                 Proceeding and alleged conflict with Morrison & Foerster,
                 discovery issues and other matters (1.60)


  06/30/13 TF1   Continue and finish review of counterclaims chart in           5.90
                 connection with JSN Adversary Proceeding where Wells
                 Fargo and noteholders UBS and Loomis are conflict
                 parties (3.00); draft email forwarding same to Morrison &
                 Foerster's G. Lee, T. Goren, L. Marinuzzi, J. Levitt, and S.
                 Engelhardt including analysis re: same (.60); review
                 comments from Committee counsel to draft letter to Judge
                 Glenn on C. Shore letter re: alleged conflicts of counsel
                 and JSN litigation (.20); draft emails to Morrison &
                 Foerster on same (.30); revise letter in
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                 light of Committee counsel comments re: same (.90);
                 review memorandum re: tracing of liens to AFI settlement
                 proceeds (.40); confer with M. Moscato and J. Berman re:
                 comments to same (.50)

  06/30/13 MJM   Participate in conference call with J. Berman, D. Bloom, J.       2.90
                 Weber, and B. Kotliar re: legal research concerning
                 tracing and allocation of settlement proceeds in
                 connection with JSN Adversary Proceeding where Wells
                 Fargo and noteholders UBS and Loomis are conflict
                 parties (.50); review T. Foudy's draft chart of
                 counterclaims re: same (.50); correspond with T. Foudy re
                 same (.30); review draft memorandum of law re: tracing
                 and allocation of AFI settlement proceeds (1.1 0); confer
                 with J. Berman and T. Foudy re: draft memorandum of
                 law re: tracing and allocation of settlement proceeds (.50)



  06/30/13 BMK   Review and revise memorandum focusing on relevant                 6.40
                 case background, citations to the docket, relevant case
                 pleadings regarding the JSNs' assertions and liens, and
                 cases relied upon to support arguments re: allocation of
                 AFI settlement proceeds in connection with consolidated
                 adversary action against JSNs where Wells Fargo and
                 noteholders UBS and Loomis are potential conflict parties
                 (1.20); correspond with D. Bloom and J. Weber re: same
                 (.50); participate in teleconference with M. Moscato, D.
                 Bloom, J. Berman, and J. Weber re: same (.50); perform
                 additional research re: potential arguments re: allocation
                 of proceeds and liens on settlements in light of section
                 552 of the Bankruptcy Code (2. 70); review and revise
                 memorandum re: same (.70); correspond with J. Berman
                 and D. Bloom re: resolving open research issues and
                 necessary follow-up to complete memorandum re: same
                 (.20); draft document tracking research performed and
                 materials in connection with Debtor complaint and JSN
                 counterclaims to streamline case procedures (.60)




  06/30/13 JTW   Continue research on issue of whether tracing of                 10.90
                 settlement proceeds to particular cause of action settled
                 by Ally Contribution is necessary for JSNs lien to have
                 effect in connection with JSN Adversary Proceeding
                 where Wells Fargo, noteholders UBS and Loomis are
                 conflict parties (1.40); participate in conference call with M
                 Moscato, J. Berman, D. Bloom and B. Kotliar re: status of
                 research and next steps in connection with same and
                 follow-up related to same (.50); assist in drafting
                 memorandum for Morrison & Foerster's team re: JSNs
                 lien's status on proceeds of the Ally Contribution under
                 PSA (.80); correspond with D. Bloom and B. Kotliar re:
                 same (.70); conduct research re: applicable standard in
                 adversary proceedings under Bankruptcy Rule 7001 (2) &
                 (9) to determine the extent of a party's lien (2.00); conduct
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                                                                                   lnv # 1589850
                                                                                   Our Ref# 062108-000410

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                 research re: section 506 of the Bankruptcy Code and
                 Bankruptcy Rule 3012 re: standard and process for
                 valuation of security interest in contract claim as general
                 intangible (2.20); provide comments to draft memorandum
                 (.30); correspond with B. Kotliar and D. Bloom re: next
                 steps and finalization of memorandum (.10); review
                 authority cited in memorandum re: bankruptcy Court's
                 authority to allocate settlement proceeds in connection
                 with JSN Adversary Proceedings where Wells Fargo,
                 noteholders UBS and Loomis are potential conflict parties
                 (.90); conduct further research re: same (1.60);
                 correspond with D. Bloom re: applicability of allocation of
                 Ally Contribution to JSN's established by PSA and
                 approval through Rule 9019 (.40)



  06/30/13 DAB   Correspond throughout the day with J. Weber, B. Kotliar        14.60
                 and J. Berman re: research re: tracing and allocation
                 requirement with respect to the settlement of Debtor
                 claims against AFI, including AFI contract claims in
                 connection with JSN Adversary Proceeding where Wells
                 Fargo and noteholders UBS and Loomis are potential
                 conflict parties (2.50); counduct research on case law re:
                 same within published and unpublished bankruptcy and
                 appellate case law and secondary materials (3.50);
                 participate in conference call with M. Moscato, J. Berman,
                 J. Weber and B. Kotliar re: status of research re: same
                 (.50); conduct further research re: same per guidance
                 provided by same (2.00); draft detailed memorandum
                 analyzing case law re: allocation of settlement proceeds
                 and incorporating research findings and applying same to
                 facts at issue in ResCap (3.00); correspond with J.
                 Berman re: follow-up research necessary with respect to
                 allocation of settlement proceeds (.30); perform follow-up
                 research per J. Berman's request regarding same (2.50);
                 draft analysis of additional case law per follow-up
                 research (.30)



  06/30/13 ET    Review and analyze answer and counterclaims filed by           4.40
                 UMB Bank and JSNs and revise summary and analysis of
                 same in connection with JSN Adversary Proceeding
                 where Wells Fargo and noteholders UBS and Loomis are
                 potential conflict parties (3.1 0); follow-up correspondence
                 with J. Berman re: issues related to same (.50); email
                 correspondence with M. Moscato and T. Foudy re: same
                 (.30); conduct research re: issues related to valuation of
                 secured creditors' claims re: same (.50)



  06/30/13 JZ    Continue review and draft summary of Examiner's report         3.90
                 with respect to CMH Holdings issues, including numerous
                 Cerberus conflict parties and avoidance action issues
                 related to same (3.90)

  06/30/13 JCB   Participate in conference call with M. Moscato, J.             7.30
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                   Weber, B. Kotliar and D. Bloom re: memorandum
                   analyzing JSNs' ability to obtain judicial allocation of
                   settlement proceeds in connection with JSN Adversary
                   Proceeding where Wells Fargo and noteholders UBS and
                   Loomis are conflict parties (.50); confer with T. Foudy and
                   M. Moscato re: draft memorandum of law re: tracing and
                   allocation of settlement proceeds (.50); research case law
                   for inclusion in memorandum re: same (2.30); draft and
                   revise memorandum re: same (1.80); follow-up research
                   and revisions consistent with M. Moscato and T. Foudy
                   comments re: same (1.90); correspond with E. Tobin re:
                   upcoming deadlines for JSN litigation matters and
                   allocation of responsibilities re: same (.30)



                                              TOTAL HOURS                             381.10




        Summa~ of Services

                                             Title                Hours     Rate         Amount

         Steven J. Reisman                 Partner                 37.20        830      30,876.00
        Turner P. Smith                    Partner                   0.80       830            664.00
         Michael J. Moscato                Partner                 28.40        785      22,294.00
        Theresa A. Foudy                   Partner                 46.00        730      33,580.00
         Maryann Gallagher                 Counsel                  3.00     625          1,875.00
         Ellen Tobin                       Associate               43.00     600         25,800.00
        Jeffrey C. Berman                  Associate               34.80        600      20,880.00
         Daniel A. Bloom                   Associate               55.30     480         26,544.00
         James Zimmer                      Associate               22.80        345       7,866.00
         Michael P. Jones                  Associate                7.20     305          2,196.00
         Bryan M. Kotliar                  Associate               59.20     305         18,056.00
        John Thomas Weber                  Associate               24.80     305          7,564.00
        Georgia Faust                      Legal Assistant          5.90     235          1,386.50
         Franklin R. Guenthner             Legal Assistant          1.70     235           399.50
        Sheyla Soriano                     Legal Assistant         11.00     235          2,585.00

                                                                  381.10              $202,566.00

                                                TOTAL SERVICES                                          $202,566.00

        Summa!Y of Ex~enses
          External Photocopy Services                                 944.20

          Pacer- ECF                                                    21.00

                                               TOTAL EXPENSES                                             $965.20
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                                                  CURTIS
                                                  --~-.-..-.-....-~"'""
                                                   Curtis, Mallet-Prevost, Colt & Mosie LLP

                                             A TIORNEYS AND COUNSELLORS AT LAW
                                                       101 PARK AVENUE
                                                 NEW YORK, NEW YORK 10178-0061

Residential Capital, LLC                                                                        September 24, 2013
11 00 Virginia Drive
MC: 190_FTW-M01
                                                                                                lnv. # 1589852
Fort Washington PA 19034
                                                                                                Our Ref. 062108-000500
                                                                                                SJR
Attention:   Residential Capital, LLC

Re:   Plan and Disclosure Statements




       06/14/13 SJR        Review draft of disclosure statement in ResCap case                2.70
                           and note comments re: same re: matters being
                           addressed by Curtis as conflicts counsel and attend to
                           global plan support agreement information contained
                           therein (2.70)

       06/17/13 SJR        Continue review of disclosure statement draft re:                  8.20
                           matters being addressed by Curtis and review of edits
                           to proposed disclosure statement in connection with
                           comments on same (3.40); review and comment on
                           draft of same in ResCap case in an effort to
                           communicate comments back to Morrison & Foerster
                           related to conflict matters and other matters being
                           addressed by Curtis as conflicts counsel (4.80)

       06/17/13 TF1        Begin review and comment upon draft disclosure                     3.30
                           statement including with respect to matters handled by
                           Curtis throughout Chapter 11 cases as conflicts
                           counsel, which include subordination adversary
                           proceeding involving conflict parties AIG, Allstate and
                           Prudential and JSN litigation involving conflict parties
                           Wells Fargo, UBS and Loomis (3.30)

       06/17/13 BMK        Review initial correspondence from Morrison &                      2.10
                           Foerster re: draft disclosure statement in connection
                           with matters handled by Curtis as conflicts counsel,
                           which include subordination adversary proceeding
                           involving conflict parties AIG, Allstate and Prudential
                           and JSN litigation involving conflict parties Wells Fargo,
                           UBS and Loomis (.10); review disclosure statement in
                           order to provide edits and comments to Morrison &
                           Foerster in connection with same (1.40); correspond
                           with T. Foudy re: same (.10); confer with D. Bloom (.50)

       06/17/13 DAB        Extensive review and revisions to Morrison & Foerster's            7.80
                           draft disclosure statement perT. Foudy request with
                           particular attention to description of various pre and
                           post-petition litigations and provisions in PSA and term
                           sheets to ensure accuracy with respect to matters
                           handled by Curtis as conflicts counsel (5.50);
                           correspond with B. Kotliar and T. Foudy re: issues in
                           connection with same (.50); correspond with T. Foudy
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                 re: unscheduled chambers conference and obtaining
                 transcript re: same (.30); confer with B. Kotliar re: edits
                 and comments to draft disclosure statement (.50);
                 review, analyze and summarize transcript of chambers
                 conference (1.00)

  06/18/13 SJR   Continue review and provide comments to draft                 4.80
                 disclosure statement, including review of comments
                 from attorneys at Curtis to same in ResCap case and in
                 connection with matters handled by Curtis as conflicts
                 counsel, which include subordination adversary
                 proceeding involving conflict parties AIG, Allstate and
                 Prudential and JSN litigation involving conflict parties
                 Wells Fargo, UBS and Loomis (4.80)

  06/18/13 TF1   Finish review and provide comments to draft disclosure        5.90
                 statement including with respect to matters handled by
                 Curtis throughout Chapter 11 cases as conflicts
                 counsel, which include subordination adversary
                 proceeding involving conflict parties AIG, Allstate and
                 Prudential and JSN litigation involving conflict parties
                 Wells Fargo, UBS and Loomis (4.50); review
                 comments to draft disclosure statement by B. Kotliar
                 and D. Bloom (1.30); draft email forwarding collective
                 Curtis comments to disclosure statement to Morrison &
                 Foerster (.1 0)

  06/18/13 BMK   Correspond with T. Foudy re: initial edits and                7.60
                 comments to draft disclosure statement received from
                 Morrison & Foerester in connection with matters
                 handled by Curtis as conflicts counsel (.10); review T.
                 Foudy edits and comments to same and input to global
                 document tracking Curtis comments (2.20); review and
                 revise portion of draft disclosure statement related to
                 matters handled by Curtis such as SUN Trustee
                 standing motion and subordination adversary
                 proceedings to reflect case history and status of issues
                 (.90); confer with D. Bloom re: issues raised by draft
                 disclosure statement and his edits and comments to
                 same (.50); input additional edits and comments of D.
                 Bloom to draft disclosure statement with specific
                 attention to defined terms and consistency throughout
                 document (2.20); review and revise draft disclosure
                 statement globally for defined terms, uniform
                 descriptions, and other format-type issues (1 70)

  06/18/13 DAB   Further extensive review and revisions to Morrison &          4.60
                 Foerster's draft disclosure statement perT. Foudy
                 request with particular attention to description of
                 various pre and post-petition litigations and provisions
                 in PSA and term sheets to ensure accuracy including
                 review of conflict matters handled by Curtis (3.80);
                 correspond with B. Kotliar and T. Foudy re: issues in
                 connection with same (.30); confer with B. Kotliar re:
                 edits and comments to draft disclosure statement (.50)
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                                                                               Our Ref# 062108-000500

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  06/27/13 MG8   Review opinion issued in connection with approval of        1.10
                 Debtors' motion to enter into PSA in connection with
                 Curtis' representation of Debtors with respect to
                 numerous conflicts parties, including numerous
                 investors who are defendants in subordination
                 adversary proceeding, such as AIG, Aetna, Allstate and
                 Prudential (1.10)

  06/28/13 SJR   Review draft of Joint Chapter 11 Plan proposed by           7.70
                 ResCap and Official Committee of Unsecured Creditors
                 in ResCap bankruptcy case and provide comments to
                 same (4.70); review of mark-up of draft Plan of
                 Reorganization in ResCap case with comments from
                 Official Committee of Unsecured Creditors (3.00)

  06/28/13 TF1   Begin review and marking of changes on draft Plan           4.50
                 (4.20); coordinate with M. Gallagher, M. Cohen, and B.
                 Kotliar re: providing collective comments to Morrison &
                 Foerster (.30)

  06/28/13 MG8   Review correspondence from J. Marines re: request for       3.30
                 Curtis comments to draft proposed Joint Plan circulated
                 by counsel to the Committee (.20); correspond with T
                 Foudy re: proposed Joint Plan (.40); begin review and
                 detailed comment on same, particularly with respect to
                 areas addressing JSNs, SUNs and Private Securities
                 Claims where Curtis has had a significant role due to
                 Morrison & Foerester's conflict with holders of those
                 claims, including, among others, Wells Fargo, AIG and
                 Prudential (2.70)

  06/28/13 MAC   Review and comment on proposed Joint Chapter 11             9.30
                 Plan of Reorganization in connection with Curtis' role as
                 conflicts counsel to Debtors (9.00); confer with B.
                 Kotliar re: plan issues (.30)

  06/28/13 GF    Prepare binder of materials related to PSA and              0.80
                 disclosure statement for M. Cohen as per D. Bloom's
                 request (.60); correspond with D. Bloom re: same (.20)

  06/28/13 BMK   Correspond with T Foudy and M. Gallagher re: Curtis         3.60
                 comments to draft plan to prepare for deadline to file in
                 order to comply with certain milestones under PSA
                 (.30); review plan draft and compare to term sheet and
                 provisions contemplated by the PSA specifically in
                 connection with the treatment of Private Securities
                 Claims Trust and subordination adversary proceeding
                 handled by Curtis (2.1 0); correspond with T Foudy re:
                 same and open issues resolving treatment of certain
                 securities claims not covered by Private Securities
                 Claims Trust (.70); correspond with T Foudy re: edits
                 and comments to draft plan (.20); confer with M. Cohen
                 re: issues to same (.30)

  06/29/13 SJR   Review and mark-up of comments of Plan of                   3.20
                 Reorganization of ResCap to be provided to Morrison &
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                                                                                          Our Ref# 062108-000500

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                    Foerster in connection with matters handled by Curtis
                    as conflicts counsel (3.20)

  06/29/13 TF1      Finish review of and provide comments on draft Plan to              2.50
                    Morrison & Foerster including case matters handled by
                    Curtis as conflicts counsel (2.50)

  06/29/13 MG8      Continue to review and comment on draft proposed                    5.20
                    Joint Chapter 11 plan in connection with matters
                    handled by Curtis as conflicts counsel in order to meet
                    deadline (5.00); draft follow-up correspondence to B.
                    Kotliar re: same (.20)

  06/29/13 BMK      Review and revise plan draft per edits and comments                 3.40
                    ofT. Foudy, M. Gallagher, and M. Cohen in order to
                    provide markup to Morrison & Foerster reflecting
                    collective Curtis comments in connection with matters
                    handled by Curtis as conflicts counsel (2.70);
                    correspond with T. Foudy and M. Gallagher re: same
                    (.20); draft email to Morrison & Foerster summarizing
                    major substantive issues and comments supplied by
                    Curtis (.40); follow-up email correspondences with T.
                    Foudy and M. Gallagher re: same (.1 0)

  06/30/13 MG8      Further review and comment on draft plan in                         8.50
                    connection with matters handled by Curtis as conflicts
                    counsel (8.30); correspond with B. Kotliar re: same
                    (.20)

  06/30/13 BMK      Reiew and revise draft Chapter 11 Plan of                           2.30
                    Reorganization per edits and comments of M.
                    Gallagher in connection with matters handled by Curtis
                    as conflicts counsel (2.10); follow-up correspondence
                    with M. Gallagher re: same (.20)

                                                TOTAL HOURS                           102.40




          Summart of Services
                                                Title                 Hours    Rate       Amount

          Steven J. Reisman                  Partner                   26.60    830      22,078.00

          Theresa A. Foudy                   Partner                   16.20    730      11,826.00

          Michael Ari Cohen                  Partner                    9.30    730       6,789.00

          Maryann Gallagher                  Counsel                   18.10    625      11,312.50

          Daniel A. Bloom                    Associate                 12.40    480       5,952.00

          Bryan M. Kotliar                   Associate                 19.00    305       5,795.00

          Georgia Faust                      Legal Assistant            0.80    235            188.00

                                                                      102.40            $63,940.50


                                                  TOTAL SERVICES                                        $63,940.50
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                                                              lnv # 1589852
                                                              Our Ref# 062108-000500

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                                   TOTAL THIS INVOICE                   $63,940.50
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                                            ATIORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                               NEW YORK, NEW YORK 10178-0061

Residential Capital, LLC                                                                      September 24, 2013
11 00 Virginia Drive
MC: 190_FTW-M01
                                                                                              lnv. # 1589853
Fort Washington PA 19034
                                                                                              Our Ref. 062108-000700
                                                                                              SJR
Attention:   Residential Capital, LLC

Re:   Curtis Retention/Billing/Fee Applications




       06/07/13 BMK        Review and revise March fee statement cover memo                 0.50
                           re: narratives and description of work performed for
                           March fee period (.30); correspond with D. Bloom re:
                           same (.20)

                                                       TOTAL HOURS                          0.50




                Summary of Services
                                                      Title                 Hours    Rate     Amount

                Bryan M. Kotliar                    Associate                 0.50    305          152.50

                                                                              0.50             $152.50


                                                         TOTAL SERVICES                                      $152.50




                                                        TOTAL THIS INVOICE                                  $152.50
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                                               ATTORNEYS AND COUNSELLORS AT LAW
                                                        101 PARK AVENUE
                                                  NEW YORK, NEW YORK 10178-0061

Residential Capital, LLC                                                                   October 09, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1591220
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000100
                                                                                           SJR
Attention:   Residential Capital, LLC

Re:   Case Administration




       07/02/13 BP          Update internal case calendar to reflect hearing dates       0.40
                            and deadlines as set by the court (.40)

       07/08/13 MG8         Attend to review of docket activity, including numerous      0.40
                            responses to claims objection, notices of adjournment
                            of discovery hearing, scheduling order for FGIC
                            settlement, and agenda for July 10 hearing in
                            connection with Curtis' role as Debtors' conflicts
                            counsel (.40)

       07/08/13 GF          Update internal case calendar to reflect status              0.40
                            conference re: JSN discovery and Third Interim Fee
                            Application deadline and review relevant materials on
                            same (.40)

       07/09/13 DAB         Correspond with M. Gallagher re: omnibus hearing             0.20
                            attendance (.20)

       07/09/13 BP          Update internal case calendar to reflect hearing dates       0.20
                            and deadlines as set by the court (.20)

       07/10/13 JTW         Participate in court-call re: omnibus hearing on 7/10 at     1.30
                            which the Debtors' Motion for Entry of an Order to
                            Permit the Debtors to Continue Using Cash Collateral
                            [Docket No. 3374] and related matters (1.00); draft
                            summary of Court's ruling for S. Reisman, T. Foudy, M.
                            Moscato, J. Berman, E. Tobin, D. Bloom, E. Combs, M.
                            Jones and B. Kotliar re: cash collateral and the parties
                            reservation of rights to later challenge the Debtors' use
                            of cash collateral after May 14, 2013 (.30)

       07/10/13 BP          Update internal case calendar to reflect hearing dates       0.20
                            and deadlines as set by the court (.20)

       07/11/13 MG8         Attend to review of recent docket activity in connection     0.50
                            with Curtis' role as Debtors' conflicts counsel, including
                            brief review of recently filed claims objections, motion
                            to abandon certain assets, agenda for July 15 hearings,
                            and various stipulations and orders (.50)

       07/15/13 MG8         Attend to brief review of recent docket activity in          0.60
                            connection with Curtis' role as Debtors' conflicts
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                                                                                 Inv # 1591220
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               counsel (.60)

07/15/13 GF    Coordinate CourtCall listen line for D. Bloom for               0.80
               Residential Capital 7/17 telephonic hearing (.50); attend
               to drafting and circulation of updated court dates for
               case team reference (.30)

07/16/13 MG8   Review briefly pleadings filed throughout the day in            0.60
               connection with Curtis' role as Debtors' conflicts
               counsel (.60)

07/16/13 GF    Draft and circulate adjourned omnibus hearing dates             0.70
               for internal case calendar (.70)

07/18/13 MG8   Attend to recent docket activity in connection with             0.40
               Curtis' role as Debtors' conflicts counsel (.40)

07/19/13 MG8   Review briefly recent docket activity in connection with        0.30
               Curtis' role as Debtors' conflicts counsel, including
               various filings by JSNs in addition to motion to
               disqualify, responses to claims objection, and
               objections to stay relief (.30)

07/19/13 GF    Attend to drafting and circulation of calendar updates          0.80
               regarding adjourned Omnibus Hearing dates and
               related agenda items (.80)

07/22/13 GF    Attend to drafting and circulation of several calendar          0.90
               updates re: court hearings and other important
               deadlines (.90)

07/25/13 MG8   Review agenda for hearing on July 26, and brief review          0.40
               of recent docket activity for filings relevant to actual and
               potential conflict parties (.40)

07/29/13 MG8   Attend to brief review of recent docket activity, inluding      1.60
               filings made in connection with proposed settlement
               with FGIC, such as objections by Freddie Mac, the Ad
               Hoc Group of JSNs, Monarch, the stipulation and order
               regarding payment of secure claims, responses to
               claims objections, certain objections to disclosure
               statement, and amended agenda for hearing on
               disqualification of Debtors' and Committee's
               professionals (1.60)

07/30/13 GF    Draft and circulate internal calendar update re: court          0.40
               date of hearing on interim applications (.40)

07/31/13 MG8   Attend to brief review of docket activity, including            0.40
               numerous filings related to Debtors' contested
               settlement with FGIC, and claims issue, in connection
               with Curtis' role as Debtors' conflicts counsel (.40)

                                             TOTAL HOURS                      11.50
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                                                                        Inv # 1591220
                                                                        Our Ref # 062108-000100

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       Summary of Services
                                   Title              Hours      Rate   Amount

       Maryann Gallagher         Counsel                5.20      625   3,250.00
       Daniel A. Bloom           Associate              0.20      480      96.00
       John Thomas Weber         Associate              1.30      305     396.50
       Georgia Faust             Legal Assistant        4.00      235     940.00
       Brittany Patane           Legal Assistant        0.80      235     188.00

                                                       11.50            $4,870.50


                                     TOTAL SERVICES                                  $4,870.50


       Summary of Expenses

         Courier Expense                                      39.98

         Pacer - ECF                                          10.40

                                     TOTAL EXPENSES                                    $50.38




                                     TOTAL THIS INVOICE                             $4,920.88
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                        5825         Filed 03/03/14
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                   October 10, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1591223
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000320
                                                                                           SJR
Attention:   Residential Capital, LLC
Re: Claims Administration and Objections




      07/01/13 MG8        Attend to review of Notice of Withdrawal of Claims filed by    1.10
                          PNC Mortgage and related follow-up with M. Talarico, C.
                          Laubach, J. Wishnew and M. Rothchild (.50);
                          teleconference with A. Root, counsel to PNC Mortgage
                          (.10); review filed 10th Omnibus Claims Objection and
                          related Exhibits and Declaration, as Curtis acts as
                          conflicts counsel in connection with claimants MetLife and
                          Fortress entities, among others, whose claims are subject
                          of the objection (.50)

      07/02/13 SJR        Review of Sixteenth Omnibus Claim Objection for matters        1.30
                          concerning Credit Suisse to be handled by Curtis as
                          Conflicts Counsel (1.30)

      07/03/13 SJR        Attend to review of Omnibus Objection to certain claims of     2.10
                          certain parties on which Morrison & Foerster has conflicts
                          as well as review of conflict search with respect to same
                          (1.30); review of Sixteenth Omnibus Claim Objection as
                          well as Declaration and Proposed Order in connection
                          with same for final sign-off (.80)

      07/03/13 MG8        Attend to numerous communications with J. Wishnew, S.          4.30
                          Reisman and B. Kotliar regarding parties subject to
                          Sixteenth Omnibus Claims Objections where Curtis is to
                          act as Conflicts Counsel with respect to Credit Suisse
                          (.60); review briefly Credit Suisse proof of claim to be
                          covered by Sixteenth Omnibus Claims Objection and
                          discuss same with B. Kotliar (.40); review and revise draft
                          objection papers for Sixteenth Omnibus Claims Objection
                          circulated by E. Richards of Morrison & Foerster and
                          discuss same with B. Kotliar (.60); attend to
                          correspondence with S. Reisman and M. Cohen regarding
                          Sixteenth Omnibus Claims Objection (.20); review and
                          revise specialized notice for Credit Suisse in connection
                          with Sixteenth Omnibus Claim objection, and follow up
                          with E. Richards regarding the same (.40); correspond
                          with J. Petts of Morrison & Foerster regarding parties to
                          22nd Omnibus Claims objection and whether Curtis could
                          acts as conflicts counsel with respect to ten individuals
                          where Morrison & Foerster may have a conflict, and
                          related follow-up, including review of parties (.50); attend
                          to
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               correspondence with J. Wishnew regarding potential
               objection to proof of claim of PNC Bank for contingent
               claim related to Kessler Litigation, and related follow-up
               with T. Foudy and M. Cohen (.40); review proof of claim
               filed by PNC Bank in connection with Kessler Litigation,
               draft disclosure statement language regarding Kessler
               Litigation and draft objection to claim circulated by J.
               Wishnew (1.20)

07/03/13 MAC   Review 22nd Omnibus Claims Objection and borrower                 1.00
               claims procedures in connection with Curtis' handling of
               claims objections with respect to conflicts parties who are
               individuals (1.00)

07/03/13 BMK   Review and revise draft Sixteenth Omnibus Objection to            1.20
               claims (no liability), Horst Declaration in support,
               proposed order, exhibit attaching claim information, and
               underlying proof of claim re: Credit Suisse, a conflict party
               to prepare for filing (.50); meet with M. Gallagher re: same
               (.10); review and circulate conflict party PNC proof of
               claim in connection with claim objection (.10); prepare and
               review proofs of claim and materials received from
               Morrison & Foerster re: 22nd omnibus claims objections
               and circulate same to M. Cohen and M. Gallagher
               including claims procedures order applicable to objections
               to Borrowers claims (.50)

07/08/13 MG8   Attend to correspondence with J. Petts of Morrison &              2.40
               Foerster regarding updated schedule of claims for
               Debtors' 22nd Omnibus Claim Objection, in which Curtis
               is acting as Conflicts Counsel with respect to several
               individual creditors (.30); attend to correspondence from J
               Wishnew regarding objection to proof of claim of PNC
               Bank for indemnity in connection with Kessler Class
               Action (.10); confer with M. Cohen re: PNC claim
               objection (.20); review briefly proof of claim for
               indemnification and contribution filed by PNC Bank and
               brief review of Kessler Plaintiffs' motion to certify class for
               background materials with respect to underlying litigation
               related to PNC Bank claim (1.40); correspond with M.
               Biggers of Bryan Cave, litigation counsel to Debtors in
               Kessler Litigation, regarding the same (.20); attend to
               correspondence with E. Richards regarding follow-up on
               Debtors' 16th Omnibus Claim Objection where Curtis is
               adverse to conflict party Credit-Suisse (.20)



07/08/13 MAC   Review and revise Debtors’ 22nd Omnibus Objection to              3.70
               claims (1.10); confer with M. Gallagher re: PNC claim
               objections being handled by Curtis and strategy going
               forward (.20); conduct research in connection with issues
               related to objection to PNC Bank claim (2.40)

07/09/13 SJR   Attend to matters re: PNC Bank claim objection being              1.30
               addressed by Curtis in review of underlined
               documentation with respect to same (1.30)
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07/09/13 MG8    Review plaintiffs' joint consolidated amended class action      5.80
                complaint attached to PNC Bank's proof of claim for
                contingent indemnification and contributions claims
                related to Kessler litigation as background for preparation
                of objection to PNC Bank proof of claim (2.10); confer with
                M. Cohen re: objection to PNC Bank claim (.40);
                participate in conference call with J. Wishnew of Morrison
                & Foerster, L. Marshall and M. Bigger of Bryan Cave, and
                M. Cohen to discuss PNC Bank proof of claim, related
                Kessler litigation and bases for objecting to PNC Bank
                contingent claim for indemnity or contribution (1.10);
                review correspondence from counsel to PNC Bank and
                documents and agreements related to PNC Bank proof of
                claim and arrangement by which Residential Funding
                purchased mortgages from predecessor to PNC Bank in
                connection with developing objection to PNC Bank proof
                of claim (1.60); conduct preliminary research under
                section 502(e) of the Bankruptcy Code in connection with
                preparation of objection to PNC Bank proof of claim (.60)




07/09/13 MAC    Confer with M. Gallagher re: claims objection strategy          4.50
                concerning conflict party PNC Bank claim (.40);
                teleconference with M. Biggers, C. Lee, J. Wishnew and
                M. Gallagher re: PNC claim objection being handled by
                Curtis (1.10); review and revise PNC claim objection
                prepared by Bryan Cave (1.50); conduct research in
                connection with issues related to same (1.50)


07/10/13 SJR    Attend to and review of underlying documentation in             1.30
                connection with PNC Bank claim objection (1.30)

07/10/13 MG8    Confer with P. Buenger and M. Cohen regarding content           1.10
                of and strategy for preparation of objection to $50 million
                plus proof of claim for indemnification and contribution
                filed by PNC Bank (.60); review and sign off on 22nd
                Omnibus Claims objection, updated from last week, which
                objects to claims filed by 10 conflict party individuals, and
                which contain inadequate information to determine nature
                and amount of claim (.20); review form of stand alone
                proof of claim objection recently filed by Debtors in
                connection with litigation claims for potential use as a form
                in connection with objection to PNC Bank proof of claim,
                and follow-up with P. Buenger regarding same (.30)



07/10/13 MAC    Conduct research and analysis in connection with the            2.80
                objection to PNC claim being handled by Curtis related to
                502(e) and other indemnification and contribution related
                issues (2.00); correspond with P. Buenger re: same (.20);
                confer with P. Buenger and M. Gallagher re: objection to
                PNC claim (.60)

07/10/13 PJB2   Multiple correspondence with M. Gallagher and M.                2.70
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                Cohen re: preparing objection to conflict party PNC's
                claims filed against the Debtors, precedent of same, and
                additional research required (.30); call with M. Gallagher
                and M. Cohen re: same (.60); review precedent and
                underlying documents provided by litigation counsel to the
                Debtors for underlying litigation which PNC claims are
                based upon (1.00); begin research of section 502(e)
                under the Bankruptcy Code for insert into the Debtors'
                objection to PNC Bank's proof of claim (.80)


07/11/13 TF1    Emails and call with M. Gallagher on possible objection to    0.40
                CitiBank claim for default interest (.40)

07/11/13 MG8    Review spreadsheet sent by counsel to PNC Mortgage,           4.50
                as support for its claims with respect to breaches of reps
                and warranties (.80); telephone conference with C.
                Laubach of Residential Capital regarding information
                needed in connection with PNC Mortgage rep and
                warranty claims (.40); review further correspondence from
                C. Laubach detailing types of information required from
                PNC Mortgage to evaluate PNC's claims (.30);
                correspond with A. Root, counsel to PNC Mortgage
                regarding additional information needed from PNC
                Mortgage in support of its claims and related follow-up
                (.40); telephone conference with T. Goren of Morrison &
                Foerster regarding request that Curtis handle potential
                claim objection against Citibank (.30); review cash
                collateral order and sale order for provisions relating to
                Citibank MSR facility and related follow-up in connection
                with potential claim objection (1.60); confer with P.
                Buenger and M. Cohen regarding potential objection to
                Citibank claim, and basis for the same (.40); attend to
                correspondence with T. Foudy and M. Cohen regarding
                timing of objection to Citibank claim and its relation on
                other litigation that Curtis is handling (.30)



07/11/13 MAC    Conduct research with respect to issues related to            1.50
                repurchase claims of PNC Mortgage that Curtis would be
                handling as Conflicts Counsel and similarly situated
                parties to the Debtors (1.10); confer with M. Gallagher and
                P. Buenger re: potential objection to Citibank claim for
                default interest (.40)

07/11/13 BMK    Review master claims register for KCC in connection with      0.90
                potential claims objection to Citibank MSR Facility and
                default interest rate (.30); correspond with M. Gallagher
                and P. Buenger re: same (.10); review relevant case
                pleadings such as Citibank Cash Collateral Order and
                Sale Orders in connection with same (.30); draft email
                summarizing same to M. Gallagher and M. Cohen (.20)


07/11/13 PJB2   Research of section 502(e) under the Bankruptcy Code in       6.20
                connection with objection to conflict party PNC
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                Bank's claims against the Debtors for indemnification
                and/or contribution claims and current case law within
                Southern District of New York re: same (2.60); research re
                disallowance of claims under section 502(b) of the
                Bankruptcy Code in connection with same (1.80); review
                PNC underlying claims filed on Debtors' claims registry
                and underlying litigation (1.10); confer with M. Gallagher
                and M. Cohen re: potential objection to Citibank claim
                (.40); multiple correspondence with M. Gallagher and B.
                Kotliar re: drafting objection to conflict party Citibank's
                potential claim for default interest with respect to MSR
                facility (.30)

07/12/13 TF1    Follow up in regards to procedure and research for               0.80
                objecting to claim by conflict party Citibank (.50); call with
                T. Goren, M. Gallagher, and M. Cohen on background
                relevant to same (.30)

07/12/13 MG8    Telephone conference with T. Goren, T. Foudy and M.              1.10
                Cohen regarding issues related to Citibank's claim and the
                related cash collateral order (.30); review Citibank MSR
                Facility Cash Collateral Order and Citibank statement
                regarding default interest dispute, and Debtors' operating
                reports for disclosures regarding payments to Citibank
                and its professionals in connection with the Citibank MSR
                facility in connection with potential objection to Citibank
                claim for default interest (.50); review research memo
                prepared by E. Combs regarding entitlement, if any, to
                default interest (.30)



07/12/13 MAC    Follow up with respect to potential Citibank claim               1.40
                objection and strategy for going forward (.50); conduct
                research regarding Citi objection strategy (.60); call with T
                Goren, T. Foudy, and M. Gallagher re: issues related to
                Citibank claim (.30)

07/12/13 PJB2   Multiple correspondence with M. Cohen, M. Gallagher,             4.90
                and Morrison & Foerster re: drafting of objection to conflict
                party PNC Bank's claim filed against the Debtors' for
                contingent claim for contribution and/or indemnification
                and underlying agreements and pending lawsuit in
                connection with same (.30); review of additional
                documents and background section to objection provided
                by Debtors' litigation counsel in the underlying lawsuit,
                Bryan Cave (1.70); begin drafting objection to same (2.90)


07/13/13 MG8    Attend to several correspondence with P. Buenger                 0.30
                regarding contents and structure of potential objection to
                Citibank claim for default interest (.30)

07/13/13 PJB2   Multiple correspondence with M. Gallagher re: objection to       9.30
                conflict party Citibank's claim for default interest (.30);
                review memorandum provided by E. Combs re: default
                interest with respect to drafting Debtors' objection to
                Citibank claim (.50); review of underlying
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               pleadings and documents re: same in preparation for
               drafting objection to same (.80); correspondence with M.
               Gallagher and M. Cohen re: same (.10); review of
               underlying agreements and additional documentation and
               declarations in support of objection to conflict party PNC
               Bank's claim against the Debtors provided by Morrison &
               Foerster and Bryan Cave, litigation counsel to the Debtors
               (1.80); continue drafting objection to same incorporating
               documentation and research under various sections of
               502 of the Bankruptcy Code (3.80); draft notice of
               Debtors' objection to PNC Bank claim (.80); draft
               proposed order disallowing PNC Bank claims pursuant to
               granting of relief sought in objection (1.20)



07/15/13 MG8   Telephone conference with J. Beha of Morrison &                  9.20
               Foerster regarding 22nd and 10th Omnibus Claim
               Objection and conflict party MetLife request to adjourn
               objection as it relates to MetLife proof of claims for
               securities claims and related issues (.30); follow up with M
               Cohen and P. Buenger re: potential Citibank claim
               objection (.20); brief review of all proofs of claims filed by
               Credit Suisse entities, a potential Morrison & Foerster
               conflict party, and numerous related follow-up
               communications with J. Rothberg regarding the same and
               strategy for upcoming omnibus claims objections (3.50);
               review Credit Suisse objection to Plan Support Agreement
               and transcript related to hearing on the same in order to
               confirm if Credit Suisse had out of RMBS Trust Settlement
               (.60); review proofs of claim filed by First Bank, Caterpillar
               Insurance Company LTD, Caterpillar Life Insurance Co.,
               Gemstone CDO I, Gemstone CDO II, Gemstone CDO V,
               Gemstone CDO VII, and HBK Master Fund LP as those
               parties are Morrison & Foerster conflict parties and those
               claims are to be included in upcoming Omnibus Claim
               objection related to servicing claims, and related follow-up
               with B. Kotliar (.80); telephone conference w/ E. Richards
               of Morrison & Foerster regarding timing for filing of what
               was originally to be 16th Omnibus Claim Objection
               involving proof of claim filed by Credit Suisse for rep and
               warranty claims where Debtors were neither depositor nor
               issue as well as issues relevant to Citibank MSR claim
               (.30); brief review of Citibank MSR facility documentation
               in connection with potential objection to Citibank claim to
               the extent it seeks default interest (1.20); Extensive
               review and revision of draft omnibus claims objection to
               proofs of claim for servicing-related claims filed by
               certificate holder conflict parties, including Credit Suisse
               entities, First Bank, Caterpillar Insurance Company LTD,
               Caterpillar Life Insurance Co., Gemstone CDO I,
               Gemstone CDO II, Gemstone CDO V, Gemstone CDO VII
               and HBK Master Fund LP (1.80); coordinate comments to
               same with P. Buenger (.50)
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07/15/13 MAC    Confer with M. Gallagher and P. Buenger re: Citibank           5.00
                claim objections (.20); conduct research and review
                memo in connection with default interest rates and
                objection to Citi claims (1.50); review Omnibus claims
                objection involving conflict parties being handled by Curtis
                and related proofs of claim (1.40); review documents in
                connection with Citi MSR claims (1.00); conduct analysis
                of issues in connection with developing mediation strategy
                (.90)

07/15/13 BMK    Review and circulate proofs of claim in connection with        0.90
                omnibus objection to servicing claims (.80); review email
                correspondence from Morrison & Foerster re: same (.10)


07/15/13 PJB2   Meet with M. Gallagher and M. Cohen to discuss drafting        8.20
                of objection to claim for default interest of conflict party
                Citibank, underlying documentation and next steps re:
                same (.20); review and revise draft objection of Debtors to
                conflict party PNC Bank's proof of claim for contingent
                contribution and/or indemnification claims arising out of
                class action litigation against PNC and the Debtors (1.30);
                correspondence with J. Rothberg of Morrison & Foerster
                and M. Gallagher re: draft of Debtors' omnibus objection
                to certain servicing-related proofs of claims filed by
                various creditors arising from residential mortgage-backed
                securitizations, including conflict parties to the Debtors
                lead counsel (.30); initial review of underlying proofs of
                claim filed by conflict parties such as Credit Suisse, First
                Bank, Catepillar Insurance, Gemstone, etc., included
                within omnibus objection (1.80); multiple correspondence
                throughout the day with M. Gallagher re: extensive
                revisions to omnibus objection to servicing-related proofs
                of claim and additional information and documentation
                provided by J. Rothberg (.50); review and revise
                throughout the day multiple drafts of the omnibus
                objection to certain servicing-related proofs of claim,
                including claims by Credit Suisse, First Bank, Caterpillar
                Insurance, etc. (4.10)




07/16/13 SJR    Review of draft of Residential Capital Omnibus Objection       2.40
                to servicing claims and e-mails related to same in
                connection with Curtis' representation of Residential
                Capital as Conflicts Counsel with respect to particular
                claims which need to be objected to (1.30); review claims
                filed by conflict parties Credit Suisse, First Bank,
                Catepillar Insurance, Gemstone etc. in connection with
                omnibus objection being addressed by Curtis as conflicts
                counsel (1.10)

07/16/13 MG8    Further revise Omnibus Objection for certain                   2.70
                servicing-related claims filed by several parties including
                Credit Suisse, First Bank, Catepillar
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                Insurance, and Gemstone (.50); follow up with P. Buenger
                regarding same (.20); correspond with J. Rothberg to
                transmit comments to draft Omnibus regarding servicing
                claims and related suggestions for strategy in connection
                with the same (.30); review and revise draft objection to
                PNC Bank proof of claim, including review of underlying
                documents relevant to proof of claim and objection (1.50);
                correspond with A. Root to follow up on documentation
                needed to support remaining claims of PNC Mortgage
                (.20)

07/16/13 MAC    Review proofs of claim from conflict parties in connection        2.40
                with preparation of servicing omnibus objections being
                handled by Curtis (1.40); review and revise servicing
                omnibus objection claims and provide comments to P.
                Buenger (1.00)

07/16/13 PJB2   Review of various proofs of claim and underlying                  7.80
                documentation filed against the Debtors by conflict parties
                which are being objected to pursuant to omnibus objection
                to servicing-related claims, including claims filed by Credit
                Suisse, Catepillar Insurance, Gemstone, and First Bank
                (4.60); further review and revisions to Debtors' omnibus
                objection to servicing-related claims filed by various
                creditors, including multiple conflict parties to the Debtors'
                lead counsel, Morrison & Foerster (1.80); follow up with M
                Gallagher re: same (.20); revise Debtors' omnibus
                objection to servicing-related claims filed by various
                creditors, including multiple conflict parties pursuant to
                comments provided by M. Cohen (.80); provide same and
                redline reflecting Curtis' revisions to M. Gallagher for
                sharing with working group, including Bryan Cave as
                litigation counsel to the Debtors (.40)



07/17/13 TF1    Confer with M. Cohen on status/plan regarding objection           0.20
                to conflict party Citibank's request for default interest (.20)


07/17/13 MAC    Conduct research and analysis of issues in connection             1.60
                with servicing claims by conflict parties, including claims
                filed by Credit Suisse, Catepillar Insurance, Gemstone,
                and First Bank (1.40); confer with T. Foudy on status/plan
                re: objection to Citibank claim for default interest (.20)


07/17/13 LT     Discuss with P. Buenger review and shephardizing of               3.90
                case law within Debtors' objection to conflict party PNC
                Bank's claim against the Debtors for contingent
                contribution and/or indemnification claims (.20); begin
                review and shephardizing re: same (3.70)

07/17/13 PJB2   Review and revise Debtors' objection to conflict party PNC        6.70
                Bank's claim against the Debtors for contingent
                contribution and/or indemnification claims pursuant to
                comments provided by M. Gallagher (1.50); research re:
                statutory rights of indemnification or contribution
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                under Federal RESPA statutes in connection with drafting
                objection to conflict party PNC Bank's proof of claim
                asserted against the Debtors (1.60); research re: statutory
                rights of indemnification or contribution under Federal
                RICO and HIPA statutes in connection with same (3.40);
                discuss with L. Tauro review and shephardizing of case
                law within Debtors' objection to conflict party PNC Bank's
                claim against the Debtors for contingent contribution
                and/or indemnification claims (.20)


07/18/13 MG8    Attend to review of and comment on updated Marshall           6.50
                Declaration circulated by Bryan Cave in support of
                Debtors' objection to PNC Bank proof of claim (.40); follow
                up with P. Buenger regarding same (.10); review and
                comment on further updated objection to PNC Bank proof
                of claim and review research conducted with respect to
                the same (1.80); confer throughout the day with P.
                Buenger regarding revisions to and status of draft of
                Debtors' objection to PNC Bank claim (.50); correspond
                with A. Root, counsel to PNC Mortgage, regarding issues
                relating to remaining PNC Mortgage proofs of claim (.30);
                review research related to Citibank's assertions that it is
                entitled to interest at the default rate in connection with
                the Citibank MRS facility (.80); review voluminous
                Citibank MRS loan documentation (2.30); attend to
                correspondence from J. Rothberg regarding status of
                omnibus objection related to servicing claims filed by
                certain conflicts parties, including Credit Suisse,
                Gemstone, First Bank, and Catepillar Insurance and
                related entities (.20); telephone conference with N.
                Rosenbaum regarding PNC Bank claim and Debtors'
                claim against PNC for indemnification (.10)



07/18/13 MAC    Review PNC Bank claims Objection and provide                  1.30
                comments to P. Buenger (1.30)

07/18/13 LT     Continue to review and shephardize case law within            4.90
                Debtors' objection to conflict party PNC Bank's claim
                against the Debtors for contingent contribution and/or
                indemnification claims (4.40); meet with P. Buenger re:
                same (.50)

07/18/13 PJB2   Correspondence with E. Dill of Bryan Case, litigation         7.80
                counsel to the Debtors, and M. Gallagher re: declaration
                of K. Lee Marshall in support of Debtors' objection to
                conflict party PNC Bank's proof of claim (.10); review
                same and attached exhibits provided by E. Dill to provide
                comments and revise in preparation for filing of Debtors'
                objection to PNC claim (2.40); follow up with M. Gallagher
                re: same (.10); meet with L. Tauro to discuss case law re:
                RICO, TILA, and RESPA as well as sections 502(b)(1)
                and 502(e)(1)(B) of the Bankruptcy Code in connection
                with shephardizing and updating objection section in
                Debtors' objection to PNC
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                claim (.50); review comments to same provided by M.
                Cohen and revise objection to PNC claim incorporating
                same and additional case law provided by L. Tauro (1.80);
                multiple discussions with M. Gallagher throughout the day
                re: further revisions to same (.50); continue finalizing and
                draft same (2.40)

07/19/13 MG8    Telephone conference with A. Root regarding back-up for         1.30
                PNC Mortgage proof of claim for anticipated put back
                claims (.30); correspond with M. Cohen regarding the
                same (.20); conduct research in connection with potential
                arguments under section 502 with respect to Citibank
                claims for default interest (.60); review Claims Procedure
                Order to determine appropriate notice and response times
                for objections to claims of PNC Bank and Citibank (.20)


07/19/13 MAC    Review and revise PNC Bank claims objection (1.20);             3.80
                review backup information in connection with PNC
                Servicing Reps and Warranty Claims and documents in
                connection with preparing an objection to same (2.40);
                correspond with M. Gallagher re: PNC Mortgage proof of
                claim for anticipated put back claims (.20)

07/19/13 LT     Review Table of Contents and Table of Authorities within        1.00
                Debtors' objection to conflict party PNC Bank's claim
                against the Debtors for contingent contribution and/or
                indemnification claims (.70); discuss same with P.
                Buenger (.30)

07/19/13 PJB2   Correspondence with M. Biggers of Bryan Case re:                7.90
                comments to draft Debtors' objection to conflict party PNC
                Bank's proof of claim (.10); discuss with L. Tauro
                additional revisions to Table of Contents and Table of
                Authorities and finalization of same (.30); continue drafting
                Debtors' objection to conflict party Citibank's claim for
                default interest arising under the Citibank MSR Facility
                (3.60); research re: application of section 502(e)(1)(B) of
                the Bankruptcy Code to guaranty claims against a debtor
                (2.60); draft proposed order granting relief provided in
                same (.80); draft notice of filing of objection to Citibank
                objection (.40); provide draft order, notice and objection to
                Citibank claim to M. Gallagher for review (.10)



07/20/13 MG8    Review and revise draft objection to Citibank claim for         1.60
                default interest (1.50); correspond with P. Buenger
                regarding the same (.10)

07/22/13 TF1    Discuss status of CitiBank objection with T. Goren (.10);       0.20
                draft email to M. Gallagher regarding same (.10)

07/22/13 MG8    Attend to correspondence with J. Wishnew regarding              2.30
                comments to objection to PNC Bank proof of claim (.20);
                attend to follow up correspondence with P. Buenger and
                M. Biggers of Bryan Cave regarding the same (.30);
                review and comment on further revised
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                draft of objection to PNC Bank proof of claim (.60); follow
                up with P. Buenger re: same (.10); attend to
                correspondence with J. Beha regarding adjournment of
                10th Omnibus Claims Objection with respect to MetLife
                proofs of claim (.30); attend to correspondence with T.
                Foudy and J. Beha regarding Everest response to 10th
                Omnibus Claims objection (.20); attend to
                correspondence with C. Cu of KCC regarding withdrawn
                claims of PNC Mortgage and review updated draft of
                claims register to reflect the same (.40); attend to
                correspondence with T. Foudy regarding issues with
                respect to Citibank claim for default interest (.20)

07/22/13 PJB2   Review comments and revisions to Debtors' objection to           7.80
                claim of conflict party Citibank for default interest provided
                by M. Gallagher (.70); multiple correspondence re: same
                with M. Gallagher and M. Biggers of Bryan Cave (.30);
                revise same and provide further background incorporating
                final Citibank cash collateral order and reservation of
                rights (1.80); review multiple correspondence from M.
                Bigger of Bryan Cave and J. Wishnew of Morrison
                Foerster re: further comments to Debtors' objection to
                proof of claim of conflict party PNC Bank (.20); follow up
                with M. Gallagher re: same (.10); revise Debtors' objection
                to proof of claim of conflict party PNC Bank pursuant to
                comments from co-counsels and further review of
                underlying litigation documents (2.10); revise declaration
                of K. Lee Marshall in support of Debtors' objection to PNC
                Claim pursuant to comments from M. Bigger and J.
                Wishnew (.60); review Debtors' executed Plan Support
                Agreement and Disclosure Statement in connection with
                same and incorporate previous filings by and treatment of
                Kessler Class Claimants into Objection to PNC Claim
                (1.90); provide recent draft and redlines of objection to
                PNC claim and declaration in support thereof for review to
                M. Gallagher and M. Cohen (.10)




07/23/13 TF1    Correspond with M. Gallagher re: potential CitiBank claim        0.50
                objection (.20); confer with M. Gallagher on CitiBank claim
                objection and PNC Bank/Kessler claim objection (.30)


07/23/13 MG8    Attend to correspondence with S. Martin and E. Richards          4.00
                regarding additional documents needed to complete
                potential objection to Citibank claim in connection with
                MSR Facility as well as information about Citibank
                account for which Citibank is holding collateral (.40);
                review documents received from Morrison Foerster with
                respect to Citibank MSR Facility and additional account at
                Citibank in connection with objection to Citibank Claim
                (1.60); confer with P. Buenger regarding changes to draft
                objection to PNC Bank claim (.40); telephone conference
                with A. Root regarding additional information that he will
                be sending
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                with respect to PNC Mortgage proof of claim (.20); review
                chart sent by A. Root, counsel to PNC Mortgage, and
                follow up with C. Laubauch regarding the same (.40);
                attend to correspondence from C. Laubach regarding
                additional information needed from PNC Mortgage in
                order to evaluate remaining claims (.20); attend to
                correspondence from M. Biggers regarding suggested
                change to draft objection to PNC Bank proof of claim (.30)
                confer with T. Foudy regarding including J. Walsh in
                claims objections as litigation support will likely be
                necessary for certain objections (.30); review updated
                draft of objection to PNC Mortgage proof of claim (.20)



07/23/13 MAC    Review and revise Omnibus claims objection (.80);                1.90
                conduct research in connection with potential objection to
                PNC Mortgage servicing claims (1.10)

07/23/13 PJB2   Discuss with M. Gallagher finalizing Debtors' objection to       4.00
                proof of claim by conflict party PNC Bank and providing
                same to general counsel of the Debtors for review and
                sign-off (.40); finalization and revising of same and
                provide to M. Gallagher for final review and sharing with
                the working group, including Bryan Cave and Morrison &
                Foerster (1.00); correspondence with M. Biggers of Bryan
                Cave re: same (.10); review additional underlying
                documentation and agreements provided by E. Richards
                of Morrison & Foerster re: claim for default interest of
                conflict party Citibank (1.40); follow up with E. Richards re
                additional amendments executed between Citibank and
                the Debtors in connection with same (.20); review various
                amendments to same in connection with Debtors'
                objection to Citibank claim for default interest under the
                MSR Facility (.70); correspond with J. Beha re: filing of
                notice of adjournment of objection to claim of conflict party
                Metlife pursuant to Tenth Omnibus Claims Objection (.20)




07/24/13 JJW    Conference with M. Gallagher and M. Cohen re: Citibank           2.40
                Claim, PNC Bank Claim and PNC Mortgage Claim (.60);
                review proofs of claims for Citibank Claim, PNC Bank
                Claim and PNC Mortgage Claim (.60); multiple
                correspondence with M. Gallagher re: PNC Bank claim
                (.40); review and comment on draft objection to PNC
                Bank Claim (.40); conference with P. Buenger re: same
                (.40)

07/24/13 MG8    Meet with J. Walsh and M. Cohen to discuss potential             2.10
                litigation issues related to objections to claims of Citibank,
                PNC Bank and PNC Mortgage (.60); correspond with J.
                Wishnew of Morrison & Foerster and M. Biggers of Bryan
                Cave regarding potential need for insurance counsel to
                review objection to PNC Bank proof of claim (.30);
                telephone conference with M. Biggers regarding potential
                insurance issue related to
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                objection to PNC Bank proof of claim (.20); attend to
                correspondence with P. Buenger regarding changes
                suggested by M. Bigger regarding RICO discussion in
                draft objection to PNC Bank proof of claim (.20); attend to
                correspondence with J. Walsh regarding comments to
                draft objection to PNC Bank proof of claim (.40); attend to
                correspondence with A. Root regarding information
                needed to support PNC Mortgage proof of claim (.20);
                correspond with J. Walsh regarding Committee objection
                to Citibank invoices for legal fees for work done following
                closing of Asset Sales (.20)

07/24/13 MAC    Review and revise draft PNC Bank claims objection (1.00)       2.80
                meeting with J. Walsh and M. Gallagher re: claims
                objections (.60); review case law in connection with
                potential PNC Mortgage Objection (1.20)

07/24/13 PJB2   Review of correspondence with and between M.                   2.10
                Gallagher and S. Martin, M. Al-Najjab and E. Richards of
                Morrison & Foerster re: line of credit between the Debtors
                and conflict party Citibank and funds currently held by
                Citibank (.30); correspondence with M. Al-Najjab re:
                additional documentation and amendments to Citibank
                MSR Facility in connection of Debtors' objection to
                Citibank's claim for default interest under same (.10);
                review same (.40); revise Debtors' objection to Citibank's
                claim for default interest to incorporate reference to prior
                line of credit provided to the Debtors and Citibank's
                holding of underlying security provided by the Debtors
                (.20); confer with J. Walsh re: PNC Bank claim (.40);
                correspondence with M. Biggers of Bryan Cave re:
                additional comments to Debtors' objection to conflict party
                PNC Bank's proof of claim (.10); revise same pursuant to
                comments from M. Biggers (.30); correspondence and
                review of comments with J. Walsh re: Debtors' objection
                to PNC proof of claim (.30)



07/25/13 JJW    Conference with M. Gallagher and P. Buenger re: Citibank       3.50
                Claim and PNC Bank Claim (.30); review and comment on
                proposed objection to Citibank Claim for default interest
                (.50); review research regarding claims for default interest
                (1.00); meet with E. Combs and P. Buenger re: research
                re: default interest (.20); review PNC Bank proof of claim
                and supporting documents in connection with potential
                objection (1.50)

07/25/13 MG8    Attend to correspondence from V. Chopra, Debtors'              4.90
                insurance counsel, regarding comments to draft objection
                to proof of claim of PNC Bank for indemnification (.20);
                confer with J. Walsh and P. Buenger regarding revisions
                to drafts of PNC Bank claim objection and Citibank claim
                objection (.30); review and revise updated draft of
                objection to Citbank claim for default rate interest (.80);
                review and revise updated draft of objection to PNC Bank
                proof of claim
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                for indemnity or contribution in connection with the
                Kessler Class Action (1.10); review PNC Mortgage proofs
                of claim and research potential basis for objecting on an
                omnibus basis (1.30); correspond with J. Walsh about
                PNC Mortgage proofs of claims, statute of limitations
                issue, and information sent by PNC Mortgage (.30);
                attend to correspondence from E. Richards regarding
                omnibus objection which previously included conflict party
                Credit Suisse, who has agreed to withdraw the relevant
                proof of claim (.20); review plan and disclosure statement
                provisions relevant to Kessler Class Action, as well as
                motion to certify class, in connection with objection to
                PNC Bank proof of claim for indemnification in connection
                with Kessler Class Action (.70)



07/25/13 MAC    Conduct research and review pleadings in connection with        2.00
                objection to Citibank claim (1.10); review revisions to PNC
                Bank Objection and supporting Declaration (.90)


07/25/13 EC     Research treatment of default rate interest outside the         0.80
                Second Circuit and cases evaluating solvency
                considerations (.50); meeting with J. Walsh and P.
                Buenger to discuss entitlement to default interest outside
                the Second Circuit and possible arguments strengthening
                objections against Citi's claim for default interest (.20);
                draft email to J. Walsh and P. Buenger relating to debtor
                solvency research (.10)

07/25/13 PJB2   Meet with J. Walsh and M. Gallagher re: Debtors'                5.50
                objection to claim of conflict party Citibank for default
                interest under the MSR Citibank Facility (.30); multiple
                correspondence throughout the day with J. Walsh and M.
                Gallagher re: same and additional revisions to same (.40);
                confer with J. Walsh and E. Combs re: research in
                connection with same re: decisions by Bankruptcy Courts
                denying default interest to oversecured creditor when
                Debtor is in insolvency (.20); review case law re: same
                within objection and additional cases provided by E.
                Combs to incorporate into objection (.80); review and
                revise Debtors' objection to claim of conflict party Citibank
                for default interest under the MSR Citibank Facility
                throughout the day pursuant to comments and additional
                drafts provided by J. Walsh, M. Gallagher and research
                provided by E. Combs (3.80)


07/26/13 TF1    Meet with J. Walsh to discuss status of Citibank and PNC        0.20
                claim objections and process for Omnibus Claim
                objections (.20)

07/26/13 JJW    Review and comment on proposed objection to Citibank            3.70
                Claim for default interest (1.00); review PNC Mortgage
                proof of claim and supporting documents in connection
                with potential objection (2.30); meet with T. Foudy to
                discuss status of Citibank and PNC claim
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                objections (.20); correspond with M. Gallagher and P.
                Buenger throughout the day re: same (.20)

07/26/13 MG8    Further review and revision to objection to PNC Bank             1.90
                proof of claim to conform Marshall Declaration with
                objection (.70); follow up communications with P. Buenger
                and M. Biggers of Bryan Cave regarding the same (.40);
                attend to correspondence from M. Biggers regarding B.
                Thompson sign-off on objection to PNC Bank proof of
                claim (.20); review J. Walsh suggested changes to draft
                objection to Citibank claim and follow-up communications
                with him regarding the same (.40); review further updated
                draft of objection to Citibank claim, which reflect additional
                research by E. Combs on issues of default rate interest
                (.20)

07/26/13 MAC    Review revised PNC claims objection and supporting               2.90
                documentation (.60); conduct research in connection with
                applicable interest rate related to claim objections (1.10);
                review revised Citi objection (1.20)

07/26/13 EC     Research entitlement of oversecured creditors to default         1.70
                rate interest to update and validate case law cited in draft
                motion in connection with Citibank claim objection (.70);
                review and revise draft Citibank claim objection relating to
                postpetition interest to reflect additional research (.80);
                correspondence with J. Walsh re: supporting case law
                and likely additional considerations relating to interest
                apportionment (.20)

07/26/13 DAB    Analyze and send M. Moscato certain proofs of claim per          0.50
                request, filed by conflict party Wells Fargo (.50)

07/26/13 PJB2   Multiple correspondence with M. Gallagher and J. Walsh           5.60
                re: additional revisions and comments to draft of Debtors'
                objection to claim of conflict party Citibank for default
                interest (.20); review revised draft of same provided by J.
                Walsh (.30); review schedules of assets and liabilities of
                Residential Capital and GMAC in connection with same
                and in order to determine insolvency of such Debtors (.80)
                revise Debtors' objection to proof of claim filed by conflict
                party PNC Bank pursuant to comments from M. Gallagher
                and prepare for circulating to external group for review
                over the weekend for filing next week (.90);
                correspondence with M. Gallagher and M. Cohen re:
                same (.10); correspondence with M. Gallagher and M.
                Biggers of Bryan Cave re: update and status of District
                Court class action lawsuit against PNC and Debtor RFC
                (.10); review same and revise declaration of K. Lee
                Marshall in support of Debtors' objection to PNC proof of
                claim (.40); further review and revisions to Debtors'
                objection to PNC claim pursuant to current status of
                District Court case and additional comments provided by
                M. Gallagher (1.90); create redline versions and finalize
                Declaration and Objection to PNC claim and provide to
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                M. Gallagher for further review (.20); compile all exhibits
                to be attached to Declaration in support of objection to
                PNC Claim and prepare for filing next week (.30); further
                correspondence with M. Biggers of Bryan Cave re:
                additional comments to revised objection to PNC claim
                (.10); revise same pursuant to comments by M. Biggers
                (.30)

07/29/13 SJR    Attend to review of draft objection to proof of claim of PNC   1.40
                Bank and documentation and legal analysis re: objection
                to claim (1.40)

07/29/13 MG8    Telephone conference with J. Wishnew to review status of       2.80
                potential objections to PNC Bank and PNC Mortgage
                proofs of claim, and issues related to the same (.30);
                telephone E. Frejke regarding Committee comments to
                objection to PNC Bank proof of claim, and related
                follow-up correspondence (.40); review service list and
                exhibits to PNC Bank claim objection, in consultation with
                P. Buenger (.30); follow-up call with J. Wishnew regarding
                PNC Bank claim objection (.20); follow-up call with E.
                Frejke regarding PNC Bank claim objection (.20); attend
                to correspondence with L. Marshall regarding his
                declaration to PNC Bank claim (.30); attend to
                correspondence with P. Buenger regarding timing of filing
                of objection, additional changes and related follow-up
                (.40); attend to correspondence with N. Rosenbaum
                regarding his comments to PNC Bank Claim objection and
                related follow up (.40); review proposed changes from
                Bryan Cave to PNC Bank claim objection (.30)



07/29/13 MAC    Review and revise objection to PNC Mortgage claim (.90);       3.80
                review correspondence in connection with same (.30);
                review background data in connection with potential
                objections to PNC repurchase related claims (.90);
                conduct background research in connection with
                settlement of Kessler litigation and impact on claims,
                which would be handled by Curtis as conflicts counsel to
                the Debtors as PNC Bank is a conflict party (1.70)

07/29/13 PJB2   Discuss with M. Gallagher service of Debtors' objection to     6.40
                proof of claim filed by conflict party PNC Bank based on
                indemnification and contribution claims (.30); correspond
                with C. Cu of the Debtors' claims agent re: upcoming filing
                and service of same and next steps (.20); multiple
                correspondence throughout the day with E. Dill and M.
                Gallagher re: review of Debtors' objection to proof of claim
                by conflict party PNC Bank for contribution from
                underlying litigation and review of same by Kramer Levin,
                lead counsel to the creditors' committee (.40);
                correspondence with M. Gallagher compiling exhibits to
                same and prepare same for filing (.30); review underlying
                documentation for basis of proof of claims filed by conflict
                party PNC Mortgage, including loan sale agreement
                between debtor RFC
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                and PNC Mortgage and PNC's proof of claim and
                amended proof of claim and supporting documentation
                (2.70); research recent case law re: repurchase
                obligations and the statute of limitations of same both
                within the Second Circuit and outside the Second Circuit
                (2.50)

07/30/13 MG8    Review and respond to correspondence from J. Wishnew,            1.80
                attaching letter from counsel to PNC Bank requesting
                adjustments to settlement with Kessler Class Action
                plaintiffs and requesting Curtis' assistance with issue
                raised by PNC Bank with respect to bar order as PNC
                Bank is a conflict party (.50); review letter from PNC Bank
                regarding bar order in Kessler Class Action settlement
                and attend to multiple communications with M. Cohen, P.
                Buenger, and J. Walsh regarding research required to
                address issues raised by PNC Bank (.60); attend to
                further correspondence with J. Wishnew regarding timing
                for filing of motion seeking approval of settlement with
                Kessler Class Action Plaintiffs (.20); telephone conference
                with J. Wishnew to coordinate timing of filing of objection
                to proof of claim filed by PNC Bank and update on
                anticipated comments from Committee and Morrision &
                Foerster with respect to the same (.20); attend to
                correspondence with P. Buenger and E. Dill to coordinate
                additional revisions to objection to proof of claim filed by
                PNC Bank in connection with filing of the objection (.30)




07/30/13 MAC    Conduct research and analysis of issues raised by PNC            3.60
                Bank in connection with language requests related to
                order approving settlement of Kessler litigation and bar
                order issues (2.30); review and revise omnibus claims
                objections related to conflict parties being handled by
                Curtis as PNC Mortgage is a conflict party (1.30)

07/30/13 PJB2   Multiple correspondence with M. Gallagher, E. Frejka of          9.50
                Kramer Levin, as well as J. Wishnew and N. Rosenbaum
                of Morrison & Foerster re: additional comments to
                Debtors' objection to proof of claim by conflict party PNC
                Bank for contribution from underlying litigation, timing of
                filing of same, and status of Motion to Approve settlement
                between the Debtors and plaintiffs of underlying litigation
                (.40); revise Debtors' objection to proof of claim by conflict
                party PNC Bank for contribution from underlying litigation
                pursuant to various comments from Morrison & Foerster
                and Kramer Levin (.90); review letter from PNC Bank re:
                bar order in proposed settlement between the Debtors
                and the plaintiffs of the Kessler litigation and proposed bar
                language by PNC Bank (.40); correspondence with E. Dill
                of Bryan Cave re: finalizing Debtors' objection to proof of
                claim by conflict party PNC Bank for contribution from
                underlying litigation and signature of Bryan Cave (.20);
                research re: bar orders in the
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                Second Circuit in connection with effect on non-settling
                parties and bar order language approved by courts within
                the Second Circuit (3.20); research re: case law provided
                in letter by PNC Bank in connection with same and cases
                citing same (1.80); research re: methodology of
                calculating a judgment credit within the Second Circuit,
                including case law applying capped proportionate share
                formula in connection with PNC Bank letter and pending
                settlement (2.60)

07/31/13 JJW    Conference with M. Gallagher re: potential PNC Mortgage          1.90
                objection and related issues (.30); review and analyze
                PNC Mortgage claims and related spreadsheets (1.60)


07/31/13 MG8    Confer with J. Walsh to discuss issues with PNC                  3.40
                Mortgage claims to raise on Thursday call with C.
                Laubach of Residential Capital, and draft objection to
                Citibank proof of claim and developments related to
                objection to PNC Bank proof of claim, including class
                certification with respect to remaining defendants and
                imminent filing of Motion to Approve Kessler Plaintiffs'
                settlement (.30); review correspondence from Bryan Cave
                transmitting order certifying class and related opinion (.60)
                review order and opinion with Kessler litigation certifying
                class action asserting claims against predecessor to PNC
                Bank (.50); review additional comments of M. Biggers to
                draft objection to PNC Bank claim (.10); discuss same
                with P. Buenger (.10); review precedent cited by counsel
                to PNC Bank in its letter raising issues with respect to
                scope of bar order and judgment reduction language
                included in Kessler plaintiffs' settlement (1.70); discuss
                related research with P. Buenger (.10)



07/31/13 PJB2   Research re: judgment credits provided in a settlement          10.00
                agreement to non-settling defendants in the context of
                bankruptcy proceedings in connection with potential
                settlement between the Debtors and the Kessler Class
                Action plaintiffs (2.80); research re: effect of partial
                payment to settling plaintiffs claim within a bankruptcy
                case on a judgment credit provided to a non-settling
                defendant under the pro tanto method (1.20); draft
                memorandum providing summary of research re:
                judgment credits and the approval of non-mutual bar
                orders within a settlement agreement within the Second
                Circuit in connection with potential settlement between the
                Debtors and the Kessler Class Action plaintiffs and the
                impact of such settlement on conflict party PNC Bank, N.A
                (4.70); follow up with M. Gallagher re: additional
                comments to M. Biggers to draft objection to PNC Bank
                claim (.10); further revisions to Debtors' objection to proof
                of claim of conflict party PNC Bank, N.A. pursuant to
                comments provided by M. Biggers of Bryan Cave (.60);
                correspondence with E. Dill re: granting of motion for
                classification by Kessler plaintiffs
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                                                                                      Inv # 1591223
                                                                                      Our Ref # 062108-000320

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                in Western District of Pennsylvania (.10); review order and
                memorandum of support in connection with same and
                incorporate into Debtors' objection to proof of claim filed
                by conflict party PNC Bank and the Declaration of K. Lee
                Marshall in support thereof (.50)

                                           TOTAL HOURS                            262.90



       Summary of Services
                                          Title                Hours     Rate         Amount

       Steven J. Reisman                Partner                  9.80     830         8,134.00
       Jonathan J. Walsh                Partner                 11.50     740         8,510.00
       Theresa A. Foudy                 Partner                  2.30     730         1,679.00
       Michael Ari Cohen                Partner                 46.00     730        33,580.00
       Maryann Gallagher                Counsel                 65.10     625        40,687.50
       Daniel A. Bloom                  Associate                0.50     480              240.00
       Peter Josef Buenger              Associate              112.40     425        47,770.00
       Edward Combs                     Associate                2.50     305              762.50
       Bryan M. Kotliar                 Associate                3.00     305              915.00
       Lauren Tauro                     Summer/Fall              9.80         0              0.00

                                                               262.90              $142,278.00

                                             TOTAL SERVICES                                          $142,278.00


       Summary of Expenses
         Courier Expense                                             12.00

                                            TOTAL EXPENSES                                               $12.00




                                            TOTAL THIS INVOICE                                      $142,290.00
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                        5825         Filed 03/03/14
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                      101 PARK AVENUE
                                                NEW YORK, NEW YORK 10178-0061

Residential Capital, LLC                                                                         September 23, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                                 Inv. # 1591224
Fort Washington PA 19034
                                                                                                 Our Ref. 062108-000330
                                                                                                 SJR
Attention:   Residential Capital, LLC

Re:   Contracts/Leases Assumption and Rejection




       07/17/13 MG8        Attend to correspondence from D. Smith, counsel to                  0.80
                           JPMorgan, regarding agreements to be rejected (.20);
                           correspond with T. Foudy regarding same (.10); review
                           briefly JPMorgan agreements listed on Debtors' notice
                           of rejection, as JPMorgan is a conflict party and
                           indicated that it may have objections to the rejection of
                           these agreements (.50)

                                                        TOTAL HOURS                            0.80




                Summary of Services
                                                        Title                 Hours     Rate     Amount

                Maryann Gallagher                    Counsel                     0.80    625          500.00

                                                                                 0.80             $500.00


                                                          TOTAL SERVICES                                        $500.00




                                                          TOTAL THIS INVOICE                                   $500.00
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                  October 10, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                          Inv. # 1591225
Fort Washington PA 19034
                                                                                          Our Ref. 062108-000400
                                                                                          SJR
Attention:   Residential Capital, LLC
Re: General Litigation Matters




      07/01/13 PJB2       Review of Examiner's Report and summary provided              4.50
                          therein with particular attention to events connected to
                          claims asserted by various conflict parties to the Debtors'
                          lead counsel, including Citibank, Credit Suisse, and PNC
                          Bank (4.50)

      07/02/13 JTW        Begin summary of Section VII.G of the Examiner's Report       0.80
                          for internal analysis of claims going forward with focus on
                          potential issues that may arise in matters handled by
                          Curtis, such as Consolidated JSN Adversary Proceeding
                          where Wells Fargo and noteholders Loomis and UBS are
                          conflict parties (.80)

      07/06/13 BMK        Outline portion of Examiner report relating to Ally Bank      2.30
                          Transactions occurring from 2008 to 2009 including,
                          review of particular steps of each of the three underlying
                          transactions, valuation methods, and potential avoidance
                          actions arising therefrom (2.30)

      07/18/13 BMK        Circulate Motion to Disqualify Debtors' counsel, proposed     1.30
                          order, and Healey declaration seeking to remove Debtors'
                          counsel, including Curtis (.10); review same in connection
                          with upcoming objection to same (1.20)


      07/19/13 SJR        Review of research and outline as well as Morrison &          4.30
                          Foerster litigation file on Motion to Disqualify in
                          preparation for Curtis' assisting with responding to JSNs'
                          Motion to Disqualify the Debtors' professionals and legal
                          counsel, including Curtis (4.10); confer with T. Foudy re:
                          arguments and strategy related to same (.20)

      07/19/13 TF1        Participate in call with L. Kruger and Morrison & Foerster    6.50
                          as well as M. Moscato, J. Drew, and E. Tobin to discuss
                          response to Motion to Disqualify filed by JSNs which seek
                          to remove Debtors' legal counsel including Curtis (.80);
                          meet with team (J. Berman, M. Moscato, E. Tobin, J.
                          Drew, N. Moss, and B. Kotliar) to discuss arguments to be
                          included in opposition to disqualification motion (.80);
                          review email summaries by D. Bloom of disqualification
                          motion papers (.60); confer with S. Reisman on drafting
                          opposition to
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               disqualification motion (.20); meet with J. Drew, M.
               Moscato, and E. Tobin to discuss research needed for
               response to disqualification motion (.30); call with
               Morrison & Foerster, L. Kruger and Committee counsel
               regarding approach to disqualification motion (.80); call
               with Morrison & Foerster's N. Moss to discuss arguments
               to include in opposition to disqualification motion (.50);
               follow-up discussion M. Moscato and E. Tobin to discuss
               tasks to complete in connection with drafting opposition to
               disqualification motion (.30); review Morrison & Foerster
               outline of disqualification arguments and research (.40);
               begin review/analysis of disqualification papers (.50);
               begin review/analysis of cases cited in disqualification
               motion papers and research in connection with opposing
               motion (1.30)


07/19/13 JD3   Discussions with T. Foudy re: Response to Motion to             8.40
               Disqualify counsel (.30); review materials re: same,
               including motion to disqualify, research memo re:
               applicable standard and Morrison Foerster research file
               (2.10); internal meeting with J. Weber, J. Berman, and B.
               Kotliar (.70); call with T. Foudy, M. Moscato, and E. Tobin,
               as well as Morrison Foerster re: response to Motion to
               Disqualify (.80); research re: conflicts cases (1.30);
               prepare and circulate draft outline for disqualification
               motion (2.20); correspondence with J. Weber re: same
               (.20); conference call with T. Foudy, M. Moscato, J.
               Berman, B. Kotliar, and N. Moss re: arguments in
               opposition to same (.80)

07/19/13 MJM   Review JSNs' disqualification motion, which sought to           3.80
               remove Debtors' legal counsel, including Curtis (1.10);
               participate in conference call with T. Foudy, E. Tobin, and
               Morrison & Foerster attorneys to discuss strategy for
               responding to the JSNs' disqualification motion (.80);
               participate in conference call with counsel for the
               Creditors' Committee, Morrison & Foerster attorneys, T.
               Foudy, J. Drew, and E. Tobin re: strategy for responding
               to the JSNs' disqualification motion (.80); teleconferences
               with T. Foudy, E. Tobin, J. Berman, J. Drew, and N. Moss
               to discuss strategy and legal support for Opposition Brief
               to the JSNs' motion (.80); participate partially in follow-up
               conversation with T. Foudy, E. Tobin, and B. Kotliar re:
               strategy for Brief in Opposition to the JSNs'
               disqualification motion (.30)


07/19/13 MG8   Review Motion to Disqualify filed by JSNs which seek to         1.00
               remove Debtors' legal counsel, including Curtis (.60);
               confer with M. Cohen regarding research and potential
               discovery in connection with respect to the same (.40)

07/19/13 MAC   Conduct research and analysis of issues in connection           3.60
               with JSN Motion to Disqualify and review research memos
               and pleadings in connection with same (2.90); discuss
               same with J. Weber and B. Kotliar, highlighting similar
               issues on recent other large Chapter 11
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               bankruptcy cases (.30) confer with M. Gallagher re: same
               (.40)

07/19/13 GF    At request of B. Kotliar, locate, order and prepare court       0.80
               hearing transcript for 7/3/13 in Residential Capital case in
               connection with responding to JSNs' Motion to Disqualify
               which seeks to remove Debtors' Professionals. including
               Curtis (.40); locate and prepare court hearing transcript for
               January 4-6 2006 in Adelphia case for reference to re:
               same (.40)

07/19/13 MPJ   Review e-mails from D. Bloom regarding recently filed           0.20
               Motion to Disqualify filed by JSNs which seek to remove
               Debtors' legal counsel, including Curtis, on issues
               surrounding inter-creditor claims (.20)

07/19/13 BMK   Attend teleconference with T. Foudy, E. Tobin, and              6.80
               Morrison Foerster re: response and strategy re: JSNs
               Motion to Disqualify counsel (.80); follow up discussions
               with M. Cohen and J. Weber re: same (.30); research
               Adelphia, General Growth, and Charter case dockets for
               instances of conflict issues at retention and various case
               stages (1.40); conference with T. Foudy, E. Tobin, and J.
               Berman re: necessary research and factual issues
               underlying objection to Motion to Disqualify (.70);
               conference with T. Foudy, E. Tobin, J. Berman, M.
               Moscato, and J. Drew re: same and research received
               from Morrison Foerster on the issue (.70); follow up
               conference internally with T. Foudy, E. Tobin, J. Berman,
               and J. Drew re: same and additional arguments in support
               for objection and necessary factual predicate (.50); follow
               up conference with J. Berman, J. Drew, and J. Weber re:
               same and necessary legal research currently on file and
               additional research in connection with conflicts, plan
               support agreements, and intercompany claims (.70); draft
               outline of fact section for objection to Motion to Disqualify
               (1.70)



07/19/13 JTW   Internal meeting with J. Berman, J. Drew, and B. Kotliar re     8.80
               conducting research and drafting of objection to JSNs'
               Motion to disqualify, inter alia, Debtors' counsel, including
               Curtis (.70); review of Enron bankruptcy case docket and
               pleadings as well as sub-con settlement brief and
               confirmation hearing transcript re: The Great Atlantic &
               Pacific Tea Company, Inc. in preparation to oppose JSNs'
               Motion to disqualify Debtors' section 327(a) counsel (3.20)
               review of JSNs' Motion in Aid of Mediation in connection
               with same (.60); review of JSNs' Motion to Disqualify
               Debtors' counsel (1.10); conduct research re: effect of
               court's approval of the PSA as negating any conflict of
               interest re: intercompany balances in connection with
               same (2.90); discuss same with M. Cohen and B. Kotliar
               (.30)


07/19/13 DAB   Review and draft in-depth summary of JSNs’                      4.40
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               disqualification motion which implicates the Debtors'
               professionals and legal counsel, including Curtis for (1.80)
               correspondence throughout the day with B. Kotliar and J.
               Weber re: disqualification motion and Debtors’ response
               to same (.40); in-depth summary of Healey declaration
               accompanying disqualification motion (2.10); correspond
               with M. Cohen re: disqualification motion and potential
               arguments (.10)

07/19/13 JG5   Create six copies of all materials such as legal authorities     4.00
               cited in the Ad Hoc Group of JSNs' Motion for
               Disqualification which implicates the Debtors'
               Professionals and Legal Counsel, including Curtis, as
               requested by E. Tobin (3.80); circulate same binders to E.
               Tobin, and B. Kotliar, and circulate same to N. Moss as
               requested by E. Tobin (.20)

07/19/13 ET    Review and analyze the Ad Hoc Group's Motion filed by            5.20
               JSNs, which seeks to remove Debtors' legal counsel,
               including Curtis (1.70); conference with B. Kotliar, T.
               Foudy and J. Berman re: opposition papers (.70);
               conference call with counsel for the Debtors re: opposition
               to same (.50); conference call with counsel for the
               Debtors and the Creditors' Committee re: same with J.
               Drew, T. Foudy, and M. Moscato (.80); conference call T.
               Foudy, M. Moscato, J. Berman, J. Drew, B. Kotliar, and N.
               Moss re: arguments in opposition to same (.80); follow-up
               discussions with M. Moscato, J. Berman, J. Drew, and B.
               Kotliar re: same (.70)



07/19/13 JCB   Review JSNs' Motion to Disqualify counsel including             11.20
               Curtis and cases cited therein (3.30); correspondence
               with M. Moscato, T. Foudy, E. Tobin, B. Kotliar, J. Weber,
               and J. Drew re: preparing objection to motion (1.70);
               outline/draft objection (4.00); meet with T. Foudy, E. Tobin
               and B. Kotliar re: project assignments re: drafting
               opposition to Disqualification Motion (.70); internal
               meeting with J. Drew, J. Weber, and B. Kotliar re:
               conducting research and drafting objection to JSNs'
               Motion to Disqualify, inter alia, Debtors' Counsel, including
               Curtis (.70); conference call with T. Foudy, E. Tobin, M.
               Moscato, J. Drew, B. Kotliar, and N. Moss re: arguments
               in opposition to same (.80)

07/19/13 KK    Pull cases from Motion to Disqualify counsel including           2.00
               Curtis, and create copies per request of E. Tobin for use
               in drafting opposition to same (2.00)

07/20/13 SJR   Attend to review of declarations and documentation in            2.70
               support of JSNs' Motion to Disqualify the Debtors'
               professionals and legal counsel, including Curtis (1.80);
               review preliminary research memos and file in connection
               with same (.90)

07/20/13 TF1   Emails with J. Berman, M. Moscato, and E. Tobin on               1.00
               arguments to include in opposition to JSNs' Motion to
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               Disqualify Counsel, including Curtis and research needed
               in connection with same (.80); email with J. Berman on
               status of draft opposition (.20)

07/20/13 EC    Research prior waiver of claims against one another as           2.80
               justification for continuing joint representation for
               opposition to JSNs' Motion to Disqualify Counsel,
               including Curtis (2.80)

07/20/13 MPJ   Research case law discussing dual representation                 2.40
               conflicts re: Debtors' argument that Debtors are not
               adverse to one another because they have all agreed to
               take the same position in connection with responding to
               JSNs' Motion to Disqualify Debtors' Counsel, including
               Curtis (2.10); draft paragraph arguing that Debtors'
               agreement to value intercompany claims at zero
               eliminates any potential conflict (.30)

07/20/13 BMK   Begin drafting fact section of objection to JSNs' Motion to      8.20
               Disqualify Debtor and Committee Counsel, which includes
               Curtis in its capacity as Conflicts Counsel (3.60); review
               docket items such as orders, objections, and motions, and
               transcripts of hearings in connection with same to verify
               factual basis for arguments in objection (2.10); review
               PSA for provisions relating to filing plan and disclosure
               statement, approved plan documents, termination,
               milestones, and treatment of intercompany claims in
               connection with same (1.10); continue drafting fact section
               of same, specifically background to entry into PSA, court's
               opinion and order granting entry into the PSA, and the
               transcript of the hearing (1.20); email correspondences
               with J. Berman and J. Weber re: same and providing
               updates of open issues (.20)



07/20/13 JTW   Continue research re: impact of approval of PSA on              10.10
               potential conflicts with respect to the intercompany
               balances in connection with JSNs' Motion to Disqualify
               Debtors' Counsel, including Curtis (1.10); conduct
               research on whether settlement of intercompany balances
               has required appointment of special counsel (2.10);
               review Judge Glenn's decisions re: section 327(a) of the
               Bankruptcy Code (2.60); conduct research re: effect of the
               JSNs waiting until after approval of the PSA to file a
               motion to disqualify Debtors' counsel (1.40); draft initial
               legal argument section to be included in Debtors'
               objection to the JSNs' motion to disqualify (2.80); circulate
               initial draft to J. Berman for review (.10)



07/20/13 DAB   Email to J. Weber and B. Kotliar re: status of                   0.10
               disqualification response in connection with JSNs' Motion
               to Disqualify Debtors' Counsel, including Curtis (.10)


07/20/13 ET    Review and analyze cases cited by the Ad Hoc Group in            4.60
               Disqualification Motion filed by JSNs which seek to
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               remove Debtors' legal counsel, including Curtis in
               connection with intercompany disputes (1.60); draft
               analysis distinguishing cases (2.10); email corresondence
               with J. Berman re: same (.30); email correspondence with
               T. Foudy, M. Moscato, and J. Berman re: draft Debtors'
               opposition papers (.60)

07/20/13 JCB   Draft objection to JSNs' Motion to Disqualify Debtors'           11.40
               Counsel, including Curtis by incorporating legal research
               re: interdebtor claims giving rise to conflicts (5.70); review
               legal research of J. Drew and J. Weber re: same (2.70);
               review and revise draft objection re: same (3.00)


07/21/13 SJR   Attend to review of JSNs' Motions to disqualify the               3.40
               Debtors' professionals and counsel, including Morrison &
               Foerster and Curtis by reviewing draft response and email
               correspondence discussing same (3.40)

07/21/13 TF1   Draft preliminary statement for draft objection to JSNs'          9.90
               Motion to Disqualify Debtors' Counsel, including Curtis
               (2.60); review and edit draft objection to disqualification
               motion (2.90); review Ad Hoc Group's papers in
               connection with understanding factual basis for opposition
               papers to same (1.20); review prior relevant filings and
               court transcripts in connection with same (.90); review and
               incorporate comments from M. Moscato, E. Tobin, and N.
               Moss re: same (1.50); conference call with M. Moscato,
               and N. Moss to discuss her comments to draft objection
               (.30); review comments to disqualification motion
               objection from J. Levitt and G. Lee and attend to
               responding to same (.50)



07/21/13 JD3   Review correspondence re: comments to draft response              4.90
               to JSNs' motion to disqualify the Debtors' professionals
               and legal counsel, including Morrison & Foerster and
               Curtis (.50); review draft response in connection with
               same (.60); review cases cited by JSNs and prepare
               inserts distinguishing cases (2.80); review, edit, and
               circulate revised version of response containing inserts to
               J. Berman, J. Weber, and B. Kotliar (1.00)


07/21/13 MJM   Review draft Opposition to JSNs' motion to disqualify             3.20
               Debtors' law firms including Curtis (.90); edit T. Foudy's
               draft preliminary statement to above Opposition Brief
               (1.10); discussion with T. Foudy and N. Moss re: above
               Opposition Brief and edits/comments to resolve open
               issues (.30); continue review of draft Opposition to JSNs'
               disqualification motion (.90)

07/21/13 MPJ   Review correspondence between M. Moscato, T. Foudy,               0.30
               E. Tobin, and B. Kotliar regarding current draft of
               Objection to the JSNs' Motion to Disqualify the Debtors'
               counsel, including Curtis (.30)
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07/21/13 BMK   Review various case pleadings, transcripts, and docket         7.40
               items to respond to emails from T. Foudy and M. Moscato
               re: facts and application sections of objection to JSNs'
               Motion to Disqualify the Debtors' professionals and legal
               counsel, including Morrison & Foerster and Curtis (2.40);
               draft email correspondences with T. Foudy and M.
               Moscato providing update to same (.90); review and
               revise same (1.80); further review and revise same,
               inputting edits and comments of G. Lee and J. Levitt from
               Morrison Foerster (.70); email correspondences with E.
               Tobin re: same (.50); review all objections filed by JSNs
               throughout case, including CRO and exclusivity objections
               in connection with same and further revising fact section
               (.60); review PSA, reply, opinion, hearing transcript, and
               Kruger Declaration for "best interests" language and
               statements made by the Ad Hoc Group in connection with
               same (.50)



07/21/13 ET    Review and revise draft opposition to the Ad Hoc Group's       5.20
               Motion for Limited Disqualification of the Debtors' counsel,
               including Curtis (2.30); numerous email correspondence
               throughout the day with M. Moscato, T. Foudy, J. Berman,
               J. Drew, and B. Kotliar re: same (.50); review and analyze
               applicable case law in support of the Debtors' arguments
               in opposition to the Ad Hoc Group's motion (2.40)


07/21/13 JCB   Review cases cited in Motion to Disqualify filed by JSNs       3.80
               which seek to remove Debtors' legal counsel, including
               Curtis, in connection with drafting sections of objection
               and argument distinguishing such cases (3.80)

07/22/13 TF1   Review JSNs' Motion papers in connection with drafting of      8.90
               opposition to disqualification motion that seeks to remove
               Curtis as the Debtors counsel (.90); review emails on
               scheduling of court conference on Motion (.10); review
               Answer and Disclosure Statement assertions regarding
               intercompany claims in connection with same (.70);
               exchange emails on comments to opposition from G. Lee
               and J. Levitt (.50); review and edit script for court
               conference on Motion (.80); conference call with T. Goren
               on comments to opposition (.20); review T. Goren email
               with comments to opposition (.40); meet with M. Moscato
               to discuss opposition to Motion (.30); attend court
               conference on Motion and participate in conferences with
               Committee and Debtors' counsel on various strategy
               issues concerning Adversary Proceeding, Plan
               Confirmation, and response to Motion (1.50); post-court
               meeting with M. Moscato and E. Tobin to discuss
               modification to Motion based on Court comments (.50);
               continue editing/revising opposition to disqualification
               Motion (3.00)
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07/22/13 JD3   Review summary of status conference on JSNs' Motion to         0.20
               Disqualify the Debtors' professionals and legal counsel,
               including Curtis and follow up correspondence re: same
               (.20)

07/22/13 MJM   Edit current draft of Opposition to JSNs' Motion to            5.40
               Disqualify the Debtors' professionals and legal counsel,
               including Curtis (1.80); discussion with T. Foudy re: same
               and other issues in connection with draft opposition brief
               (.30); review draft script for today's status conference
               before J. Glenn re: the JSNs' disqualification motion (.30);
               discussion with E. Tobin re: draft Opposition to the JSNs'
               disqualification motion (.20); discussions with T. Foudy
               and counsel for Creditors' Committee and Debtors to
               prepare for conference before J. Glenn (.80); attend
               conference before J. Glenn re: JSNs' disqualification
               motion (1.50); meeting with T. Foudy and E. Tobin to
               discuss draft Opposition to JSNs' disqualification motion in
               light of comments by J. Glenn at today's conference (.50)



07/22/13 EC    Meeting with E. Tobin, M. Jones, B. Kotliar, and D. Bloom      1.20
               to discuss issues relating to collateral release and
               strategy for reply to JSNs' Motion to Disqualify Debtors'
               Counsel, including Curtis (.90); attend call-in broadcast of
               preliminary meet and confer relating to same (.30)


07/22/13 MPJ   Meet with E. Tobin, D. Bloom, B. Kotliar, and E. Combs to      1.20
               discuss (a) the status of ongoing research projects and (b)
               status conference regarding the JSNs' Motion to
               Disqualify the Debtors' counsel, including Curtis (.80);
               listen to, and take notes on, the status conference
               regarding the JSNs' Motion to Disqualify the Debtors'
               counsel and the accelerated timeline for filings related
               thereto (.40)

07/22/13 BMK   Review draft script in connection with Chambers                5.20
               Conference on JSNs' Motion to Disqualify Debtors'
               counsel including Curtis (.20); incorporate comments of T.
               Goren and G. Lee from Morrison & Foerster to objection
               to disqualification motion by reviewing relevant
               background documents such as PSA, CRO Motion, and
               Mediation Motion (2.50); correspondence with T. Foudy
               and M. Moscato re: relevant portions of transcript from
               Adelphia hearing on Motion to Disqualfy for potential
               arguments to be raised at chambers conference re:
               scheduling on disqualification motion and potential
               discovery requests (.50); telephonically attend portion of
               chambers conference re: scheduling on JSNs'
               disqualification motion and note Judge Glenn's comments
               highlighting relevant issues and case law in connection
               with same (.40); circulate summary of same highlighting
               relevant comments in order to guide drafting of
               disqualification objection brief
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                  5825         Filed 03/03/14
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               (.60); correspondence with E. Tobin re: treatment of
               impaired class of Intercompany Balances under proposed
               plan in connection with same (.20); meet with D. Bloom, B
               Kotliar, M. Jones, E. Tobin, and E. Combs re: issues
               realted to JSN litigations (.80)

07/22/13 DAB   Review B. Kotliar's summary of intercompany balance            1.90
               issue referenced in disqualification motion (.20);
               conference with B. Kotliar and J. Weber re: status
               conference re: JSNs’ disqualification motion (.90); attend
               and take notes at status conference including E. Tobin, B.
               Kotliar, M. Jones, and E. Combs re: JSNs’ disqualification
               motion and JSN litigations (.80)

07/22/13 ET    Review relevant documents and draft outline for court          9.50
               appearance re: hearing on the Ad Hoc Group's Motion to
               Disqualify Counsel, including Curtis on shortened notice
               (1.10); follow-up correspondence with B. Kotliar and M.
               Moscato re: same (.30); correspondence with M. Moscato,
               T. Foudy, and T. Goren re: arguments in support of
               objection to Disqualification Motion (.50); analyze relevant
               cases, in connection with revising the Debtors' opposition
               to the Ad Hoc Group's motion (4.50); numerous
               correspondences with B. Kotliar re: same (1.30); attend
               portion of court conference and Courtcall re: briefing the
               Ad Hoc Group's disqualification motion on shortened
               notice (.50); follow-up meeting with M. Moscato and T.
               Foudy re: opposition to the Ad Hoc Group's
               disqualification motion (.50); meet with D. Bloom, B.
               Kotliar, M. Jones, and E. Combs re: issues related to
               JSNs litigations (.80)



07/23/13 SJR   Attend to review and comment of draft opposition to the        3.80
               JSNs' Motion to Disqualify the Debtors' professionals and
               legal counsel, including Curtis, and note comments to
               same (3.80)

07/23/13 TF1   Call with T. Goren regarding opposition to JSNs' Motion to     6.40
               Disqualify the Debtors' Professionals and Legal Counsel,
               including Curtis (.10); call with G. Horowitz regarding
               same (.20); edit/revise objection to disqualification motion
               to prepare same for circulation and comments from
               Morrison & Foerster and the Committee (6.10)


07/23/13 MJM   Edit and revise current draft of Opposition to JSNs' Motion    3.20
               to Disqualify the Debtors' professionals and legal counsel,
               including Curtis (2.00); correspond with T. Foudy re:
               proposed edits to same (.50); correspond with J. Berman
               re: same (.30); edit T. Foudy's latest draft re: same (.40)


07/23/13 GF    Attend to drafting and circulation of calendar entries         0.70
               relating to court hearings and deadline re: JSNs' Motion to
               Disqualify Debtors' Counsel, including Curtis (.70)
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                  5825         Filed 03/03/14
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07/23/13 BMK   Draft insert to objection to JSNs' Motion to Disqualify the    5.60
               Debtors' professionals and legal counsel, including Curtis
               re: plaintiffs answers to intercompany balances contained
               in answer in the JSN Adversary Proceeding and
               discussion of treatment of same in Disclosure Statement
               (1.20); email correspondence with T. Foudy re: same (.30)
               review cases relied upon by JSNs in disqualification
               motion for distinguishing in objection (1.50); correspond
               with J. Berman re: same (.40); review service and filing
               procedures for main case docket and email
               correspondence with E. Tobin summarizing same (.50);
               review case law re: 9019 standards for approving
               settlements of claims and email correspondence with T.
               Foudy re: same in connection with opposition brief (.40);
               review Granite Partners for applicable legal analysis
               relevant to arguments raised in objection to DQ motion,
               including conflicts analysis (.50); email correspondence
               with T. Foudy re: same, summarizing relevant findings
               (.30); review conditions precedent in proposed plan and
               effect of non-occurrence upon parties in interest and draft
               email summarizing and citing same to T. Foudy and M.
               Moscato (.50)



07/23/13 JTW   Conduct research re: 9019 settlements re: relevant             1.90
               standards for approving such settlements and requisite
               showings in connection with certain arguments made to
               JSNs' Motion to Disqualify the Debtors' professionals and
               legal counsel, including Curtis (1.90)

07/23/13 DAB   Review transcript of 7/22 disqualification motion              0.70
               conference in connection with drafting response to JSNs
               Motion to Disqualify, which seek to remove Debtors' legal
               counsel, including Curtis (.60); correspond with B. Kotliar
               re: same (.10)

07/23/13 JCB   Correspond with M. Moscato re: revising objection to           2.70
               JSNs motion for limited disqualification of Debtors' Legal
               Counsel including Curtis (.40); revise draft objection
               including ensuring accuracy of legal authorities relied
               upon (2.30)

07/24/13 SJR   Review of Debtors' Objection to Motion of the Ad Hoc           2.20
               Group of JSN to disqualify Debtors' Counsel, including
               Curtis and Committee Counsel, and mark-up with
               comments regarding same (2.20)

07/24/13 TF1   Review J. Levitt comments to JSNs' Motion to Disqualify,       6.40
               which seeks to remove Debtors' legal counsel, including
               Curtis, respond to certain comments, incorporate same
               into draft, and re-circulate (.90); participate in call with
               Morrison & Foerster team and L. Kruger on comments to
               disqualification opposition and follow-up discussion with M
               Moscato and J. Berman on revisions to draft in light of
               same (1.60); revise draft opposition to disqualification
               motion in light of
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               comments from Morrison & Foerster and L. Kruger (3.90)


07/24/13 MJM   Review JSNs' proposed supplemental counterclaims and             2.70
               compare them to original counterclaims (.80); correspond
               with T. Foudy re: J. Levitt's proposed edits to draft
               Opposition brief (.30); participate in call with Morrison &
               Foerster and L. Kruger on comments to disqualification
               opposition and follow-up discussion with T. Foudy and J.
               Berman on revisions to draft in light of same (1.60)


07/24/13 BMK   Revise fact section of objection to JSNs' Motion to              6.60
               Disqualify Debtors' counsel, including Curtis, to
               incorporate facts re: CRO retention, engagement, and
               language of disclosure statement and plan regarding
               conditions precedent to confirmation (2.20); assist J.
               Berman with editing, revising, and drafting portions of
               objection to incorporate comments of J. Levitt and G. Lee
               of Morrison & Foerster including fact section, legal
               argument including certain bankruptcy court cases,
               application to facts, and preliminary statement (3.40);
               review and revise fact section of draft objection to ensure
               compliance and consistency with remainder of updated
               brief to ensure consistency with legal analysis (.50);
               review correspondences from Morrison & Foerster re:
               factual background to PSA and ensure consistency with
               draft objection's portrayal of facts (.30); email
               correspondence with C. Cu at KCC re: filing and service
               of objection to disqualification motion (.20)


07/24/13 JTW   Review of Third Priority Pledge Agreement and JSN                2.70
               Indenture to identify provisions limiting the JSNs' rights to
               challenge the Debtors' ability to settle certain claims
               related to the JSNs' collateral in connection with certain
               arguments raised in the opposition brief to the JSNs'
               Motion to Disqualify the Debtors' professionals and legal
               counsel, including Curtis (2.30); e-mail correspondence re
               same with T. Foudy, J. Berman, and B. Kotliar re:
               providing reference to provisions of the JSN Indenture re:
               same for the Debtors' objection to JSNs' disqualification
               motion (.40)

07/24/13 DAB   Correspond with J. Berman re: local rules, chambers rules        0.40
               and Bankruptcy Rules in connection with JSNs' Motion to
               Disqualify Debtors' Counsel, including Curtis (.40)


07/24/13 ET    Review and revise draft of Debtors' brief in opposition to       1.30
               JSNs' Motion to Disqualify Debtors' Counsel, including
               Curtis, and provide edits to T. Foudy and J. Berman re:
               same (.90); correspond with J. Berman re: same (.40)


07/24/13 JCB   Conference call with M. Moscato, T. Foudy, and Morrison         12.20
               & Foerster to discuss draft objection to JSNs' Motion for
               Limited Disqualification of Debtors' Legal
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               Counsel, including Curtis (1.60); discuss revisions with B.
               Kotliar (3.40); draft/revise objection consistent with
               comments from Morrison & Foerster, including additional
               additional citations to case law and case documents,
               restructuring argument, and revising preliminary
               statement, facts and argument sections (7.20)


07/25/13 TF1   Coordinate call with Morrison & Foerster and L. Kruger to       2.80
               discuss comments to Committee Draft Objection and
               latest draft of Debtors' objection to JSNs' Motion to
               Disqualify Debtors' Professionals and Legal Counsel,
               including Curtis (.10); participate in same (.80); follow-up
               discussion with M. Moscato, E. Tobin, J. Berman, and B.
               Kotliar on edits to make in light of same (.30); review
               Committee draft objection and draft email with comments
               thereto (1.30); ensure that all tasks are covered for
               finalization and filing of objection to same (.30)


07/25/13 MJM   Review draft Opposition of Creditors' Committee to JSNs'        5.60
               Motion to Disqualify Debtors' Counsel, including Curtis
               (.90); edit latest draft by T. Foudy of Opposition to JSNs'
               disqualification motion, which sought to remove Debtors'
               legal counsel, including Curtis (1.60); review draft
               Opposition to JSNs' motion to dismiss Count III of
               Debtors' Amended Complaint in connection with JSN
               adversary proceeding where Wells Fargo and noteholders
               Loomis and UBS are potential conflict parties (.90);
               participate in conference call with G. Lee, T. Goren, T.
               Foudy, E. Tobin, J. Berman, and B. Kotliar re: Debtors'
               draft Opposition to JSNs' disqualification motion (.80);
               follow-up discussion with T. Foudy, E. Tobin, J. Berman,
               and B. Kotliar re: finalizing draft Opposition to JSNs'
               disqualification motion (.30); review draft of Opposition to
               JSNs' disqualification motion reflecting edits discussed in
               today's conference call re: same (.80); discussion with J.
               Berman re: latest revised draft of Opposition to JSNs'
               disqualification motion (.30)


07/25/13 MPJ   Conduct citation check and reviews of all authorities relied    5.90
               upon in the Debtors' Objection to the Ad Hoc Group of
               Junior JSNs' Motion to Disqualify Debtors counsel,
               including Curtis, with a focus on ensuring that [a] all
               citations are bluebook compliant and [b] that cited
               authority accurately supports the proposition to which it is
               attached (4.80); correspond with B. Kotliar and J. Berman
               regarding results of same (.80); correspond with J.
               Berman and B. Kotliar to discuss necessary next steps to
               ensure filing of same by applicable deadline (.30)


07/25/13 BMK   Prepare for call with Morrison & Foerster re: latest draft of   9.40
               objection to JSNs disqualification motion seeking to
               disqualify Debtors' counsel, including Curtis (.80); attend
               teleconference with G. Lee and T. Goren of
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               Morrison & Foerster, and T. Foudy, M. Moscato, E. Tobin,
               and J. Berman of Curtis re: Morison & Foerster edits and
               comments to draft objection and comments to the
               Committee's objection (.80); correspondence with M.
               Moscato, E. Tobin, J. Berman, and M. Jones re: revising,
               proofreading, cite-checking and preparing objection for
               filing and service (.30); assist J. Berman with inputting
               Morrison & Foerster comments and verify certain factual
               and legal arguments (.50); draft updated factual portion of
               objection including update to CRO retention, PSA, and
               plan/disclosure statement in accordance with Morrison
               Foerster comments (1.20); perform cite check re: factual
               background and case docket/pleadings referred to in draft
               objection and input edits to same (2.50); correspondence
               with M. Jones re: same and proper citations to legal
               authorities, including unpublished decisions and hearing
               transcripts (.80); correspondence with J. Berman re: case
               management order and certain procedural rules and
               formatting for filing objections (.50); email correspondence
               and conference with C. Cu at KCC re: preparation of
               service of same in accordance with case management
               order (.30); coordinate preparation of materials for draft
               objection including transcript and unpublished decision
               (.50); review entire draft objection for corrections and
               formatting (.70); respond to email correpondence with T.
               Foudy re: open issues re: facts in connection with same
               (.30); coordinate production of table of contents/table
               authorities with Word Processing Department (.20)




07/25/13 JTW   Review Case Management Order to ensure opposition              0.20
               brief to JSNs' Motion to Disqualify the Debtors'
               professionals and legal counsel, including Curtis, satisfies
               all stated requirements (.20)

07/25/13 ET    Review Draft opposition to the Ad Hoc Group's Motion to        2.20
               Disqualify, inter alia, the Debtors' counsel and
               professionals, including Curtis (.80); conference call with
               T. Foudy, M. Moscato, J. Berman, B. Kotliar, G. Lee, and
               T. Goren re: opposition to the Ad Hoc Group's
               disqualification motion (.80) follow-up discussions with T.
               Foudy, M. Moscato, J. Berman, and B. Kotliar re: same
               (.30); correspondence with M. Moscato, B. Kotliar, J.
               Berman, and M. Jones re: revising, proofreading,
               cite-checking and preparing objection for filing and service
               (.30)

07/25/13 JCB   Conference call with M. Moscato, E. Tobin, B. Kotliar, and     7.80
               T. Foudy, and Morrison & Foerster to discuss finalizing
               objection to JSNs' Motion to Disqualify filed by JSNs
               which seek to remove Debtors' legal counsel, including
               Curtis (.80); discussions with T. Foudy, M. Moscato, E.
               Tobin, B. Kotliar, and M. Jones re: revising, proofreading,
               cite-checking and preparing objection for filing and service
               (.30); revise and
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               proofread objection and incorporating comments from M.
               Moscato and E. Tobin (4.30); review case law cited in
               JSNs' motion and objection (2.10); follow-up discussion
               with M. Moscato re: same (.30)

07/26/13 SJR   Final review of draft opposition brief to JSNs' Motion to      0.70
               Disqualify the Debtors' professionals and legal counsel,
               including Curtis in anticipation of filing (.70)

07/26/13 TF1   Perform final review and give final comments on objection      1.70
               to JSNs' Motion to Disqualify the Debtors' Professionals
               and Legal Counsel, including Curtis (.90); review AFI
               objection to disqualification motion (.30); review
               Committee Objection to disqualification motion (.50)


07/26/13 MJM   Final edits to Opposition to JSNs' disqualification motion,    1.70
               which sought to remove Debtors' legal counsel, including
               Curtis (1.50); correspond with J. Berman re: same (.20)


07/26/13 MG8   Review briefly, responses and objections filed by              0.70
               Committee, Ally and Consenting Claimants to JSNs'
               Motion to Disqualify Professionals, including Curtis, and
               attend to related correspondence with D. Bloom and B.
               Kotliar regarding the same (.70)

07/26/13 MPJ   Review T. Foudy's comments regarding draft of the              1.90
               Debtors' Objection to the Ad Hoc Group of JSNs' Motion
               to Disqualify the Debtors counsel, including Curtis (.50);
               assist J. Berman and B. Kotliar with proofreading
               above-referenced Objection prior to filing (.60); review the
               Creditors Commitee's Objection to the Ad Hoc Group's
               Motion to Disqualify (.50); review the Joinder of the
               Consenting Creditors to the various objections to
               disqualification of Debtors' counsel (.10); review the
               Objection of Ally Financial, Inc. to the JSNs' Motion to
               Disqualify the Debtors' counsel (.20)

07/26/13 BMK   Coordinate updated tables of contents/authorities for          3.80
               objection to JSNs' Motion to Disqualify Debtors' counsel,
               including Curtis, by reviewing and revising draft and
               ensuring accuracy of legal authorities cited and relied
               upon to ensure compliance with case management order
               requirements for pleadings filed in the main bankruptcy
               case (.70); review and revise draft objection in order to
               prepare for filing, ensure final accuracy of facts/legal
               authorities relied upon, and procedural requirements such
               as attaching exhibits (1.20); correspond with J. Berman
               and M. Jones re: same and inputting final edits/comments
               of T. Foudy and M. Moscato (.60); circulate as-filed
               version of same, and Committee's, AFI's, and consenting
               claimants' objections to same to S. Reisman, T. Foudy, M.
               Moscato, and M. Gallagher (.20); coordinate preparation
               of materials in connection with same for hearing (1.10)
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07/26/13 JCB   Revise and finalize objections to JSNs' Motion for              2.90
               Disqualification of Debtors Professionals and Legal
               Counsel, including Curtis with M. Jones and B. Kotliar
               (2.90)

07/27/13 BMK   Review transcript of Adelphia hearing on disqualification       0.70
               in connection with upcoming hearing on JSNs' Motion to
               Disqualify Debtors counsel, including Curtis (.70)


07/29/13 TF1   Review Consenting Claimants' joinder to objection to            4.10
               JSNs' Motion to Disqualify the Debtors' Professionals,
               including Curtis (.50); review/analyze reply by Ad Hoc
               Group on disqualification motion (.70); conference call
               with G. Lee and J. Marines on disqualification motion
               reply (.60); meet with M. Moscato, E. Tobin, and B. Kotliar
               to discuss responses to issues raised in disqualification
               motion reply (.80); review/revise draft script for hearing on
               disqualification Motion (1.50)

07/29/13 MJM   Review and analyze JSNs' Reply brief in support of their        3.40
               disqualification motion, which sought to remove Debtors'
               legal counsel, including Curtis (.90); discussion with T.
               Foudy, E. Tobin, and B Kotliar re: JSNs' reply brief in
               support of their disqualification motion and open
               issues/arguments to be addressed at upcoming oral
               argument (.80); review and edit draft script for tomorrow's
               disqualification hearing before J. Glenn (1.30); draft email
               to T. Foudy re: edits to draft script for tomorrow's
               disqualification hearing (.40)

07/29/13 BMK   Review JSNs' reply filed in further support of the JSNs'        5.50
               Motion to Disqualify the Debtors' professionals and legal
               counsel, including Curtis, and prepare arguments and
               rebuttal in response by reviewing all filed objections to
               disqualificaiton motion and documents relied upon and
               original motion seeking to remove Curtis as Debtors'
               counsel (1.90); conference with T. Foudy, M. Moscato,
               and E. Tobin re: same (.80); review Worldcom and Enron
               for bases for denying disqualification motions as tactical
               (.90); review cases relied upon in Debtors' objection to
               disqualification motion re: representation of multiple
               parties and resolution of conflicts through settlement (.70);
               correspond with T. Foudy and M. Moscato re: same
               including potential counterarguments to JSNs reply to
               motion (.70); coordinate production of materials necessary
               for hearing on disqualification motion (.50)



07/29/13 ET    Meet with M. Moscato, T. Foudy, and B. Kotliar re:              0.90
               arguments in response to the Ad Hoc Group's Omnibus
               reply in further support of the Motion to Disqualify the
               Debtors' Counsel, including Curtis (.80); follow-up
               correspondence with B. Kotliar re: same (.10)

07/30/13 SJR   Review disqualification motion arguments and                    2.30
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                 submission re: Curtis acting with Morrison & Foerster with
                 respect to same in anticipation of hearing and argument
                 on same (2.30)

07/30/13 TF1     Attend court conference on JSN Motion to disqualify                   2.50
                 counsel as such matter implicates Curtis' ability to act as
                 Conflict Counsel (2.50)

07/30/13 MJM     Attend hearing before Judge Glenn re: JSNs'                           2.50
                 disqualification motion, which sought to remove Debtors'
                 legal counsel, including Curtis (2.50)

07/30/13 JTW     Participate in court call re: hearing and oral argument on            2.30
                 JSNs' Motion to Disqualify the Debtors' professionals and
                 legal counsel, including Curtis (2.30)

                                             TOTAL HOURS                             325.80



        Summary of Services
                                            Title                Hours      Rate         Amount
        Steven J. Reisman                Partner                   19.40       830      16,102.00
        Michael J. Moscato               Partner                   31.50       785      24,727.50
        Theresa A. Foudy                 Partner                   50.20       730      36,646.00
        Michael Ari Cohen                Partner                    3.60       730       2,628.00
        Maryann Gallagher                Counsel                    1.70       625       1,062.50
        Ellen Tobin                      Associate                 28.90       600      17,340.00
        Jeffrey C. Berman                Associate                 52.00       600      31,200.00
        James V. Drew                    Associate                 13.50       590       7,965.00
        Daniel A. Bloom                  Associate                  7.50       480       3,600.00
        Peter Josef Buenger              Associate                  4.50       425       1,912.50
        Edward Combs                     Associate                  4.00       305       1,220.00
        Michael P. Jones                 Associate                 11.90       305       3,629.50
        Bryan M. Kotliar                 Associate                 62.80       305      19,154.00
        John Thomas Weber                Associate                 26.80       305       8,174.00
        Georgia Faust                    Legal Assistant            1.50       235            352.50
        Kristine Kim                     Legal Assistant            2.00       210            420.00
        Julia Gumpper                    Legal Assistant            4.00       190            760.00

                                                                 325.80               $176,893.50

                                              TOTAL SERVICES                                           $176,893.50
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       Summary of Expenses
         External Photocopy Service                    121.10

         CourtCall                                         65.00

         Pacer - ECF                                       90.60

                                      TOTAL EXPENSES                           $276.70




                                      TOTAL THIS INVOICE                   $177,170.20
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                  October 10, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                          Inv. # 1591226
Fort Washington PA 19034
                                                                                          Our Ref. 062108-000410
                                                                                          SJR
Attention:   Residential Capital, LLC
Re: Adversary Proceedings and Contested Matters




      07/01/13 SJR        Discuss and provide comments to T. Foudy and B. Kotliar       0.50
                          re: correspondence to Judge Glenn regarding JSN letter
                          from White & Case and strategy regarding potential
                          conflict and defending against same in connection with
                          Consolidated JSN Adversary Proceeding where Wells
                          Fargo and noteholders Loomis and UBS are conflict
                          parties (.50)

      07/01/13 TF1        Call with Morrison & Foerster (G. Lee, J. Levitt, T. Goren,   8.50
                          L. Marinuzzi, M. Moscato, and J. Marines) to discuss
                          drafting script for Chambers conference in connection with
                          Consolidated JSN Adversary Proceeding where Wells
                          Fargo and noteholders Loomis and UBS are conflict
                          parties (.50); review emails from Kirkland's R. Schrock
                          with suggestions for letter to Chambers and Chambers
                          conference in connection with same (.20); confer with M.
                          Moscato on memo regarding allocation issues and "meet
                          and confer" with JSNs' counsel, including White & Case
                          and Milbank (.30); meet with S. Reisman and B. Kotliar to
                          discuss Chambers letter and approach to Chambers
                          conference (.50); edit letter to court in light of S.
                          Reisman's comments (.90); draft script for Chambers
                          conference and revise same to incorporate G. Lee
                          comments (4.90); review letter responding to Ad Hoc
                          Group's threats and timing of conference re: same (.40);
                          conference with E. Tobin, M. Moscato, and B. Kotliar re:
                          Morrison & Foerster response letter to Chambers and
                          important talking points for status conference (.80)




      07/01/13 MJM        Participate in call with G. Lee, J. Marines, J. Levitt, T.    7.40
                          Goren, L. Marinuzzi, and T. Foudy re: strategy related to
                          letter to J. Glenn responding to JSNs' threats and
                          allegations in connection with Consolidated JSN
                          Adversary Proceeding where Wells Fargo and
                          noteholders Loomis and UBS are conflict parties (.50);
                          confer with T. Foudy re: allocation memo and meet and
                          confer with JSNs' counsel (.30); discussion with J.
                          Berman re: legalg memo concerning    g "tracing"
                                                                        g and
                          "allocation" of JSN's lien on Ally contract claims in
                          connection with Consolidated JSN Adversary
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               Proceeding (2.10); meeting with J. Weber and J. Berman
               re: above letter and above memo (.40); revise draft letter
               to J. Glenn (.40); correspond with T. Foudy and E. Tobin
               re: talking points for Chambers conference re: same (.30);
               revise and discuss with T. Foudy and E. Tobin draft of
               talking points re: conference with J. Glenn (1.80); revise
               and discuss with J. Berman draft memo re: "tracing" and
               "allocation" issues (.60); exchange emails with Morrison &
               Foerster re: strategy for conference before J. Glenn (.20);
               conference with T. Foudy, E. Tobin, and B. Kotliar re:
               Morrison & Foerster response letter to Chambers and
               important talking points for status conference (.80)



07/01/13 GF    Revise JSN Work Plan to reflect updated scheduling of            0.60
               hearings and court deadlines at request of D. Bloom in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.60)

07/01/13 EC    Review pleading and exhibit material from JSN                    2.30
               proceedings in preparation for pre-trial conference and
               related research in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are potential conflict parties (2.30)

07/01/13 MPJ   Review and analyze the Debtors' Amended Complaint in             6.40
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties in connection with upcoming research
               projects re: same (1.50); review internal Curtis summary
               of adversary proceedings against the Junior Secured
               Noteholders (.70); review Curtis' chart describing the
               Defendants' counterclaims (.30); review Defendants'
               answers and affirmative defenses (.30); review Junior
               Secured Notes Indenture section on collateral (.40);
               review Curtis' summaries of the relevant portions of the
               Examiner's report (1.10); review and analyze outline
               prepared in advance of June 3, 2013 chambers
               conference (.40); meet with J. Berman to discuss
               research needs regarding tracing and commingling of a
               debtor's bank accounts (.20); research whether
               commingling of Debtors' bank accounts prevents tracing
               (1.50)


07/01/13 BMK   Coordinate with S. Soriano re: production of materials for      10.00
               consolidated adversary proceeding with respect to Debtor
               and Committee complaints against the JSNs where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.20); attend teleconference with T. Foudy, M.
               Moscato, E. Tobin, and G. Lee of Morrison & Foerster re:
               draft script for conference re: discovery and letter
               correspondence between the JSNs and Morrison &
               Foerster (.50); follow up discussion with E. Tobin re:
               project tasks and open issues (.30); draft outline of script
               re: discovery issues, letter
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               correspondences, and JSN counterclaims (2.40); discuss
               same with S. Reisman and T. Foudy (.50); review
               correspondence between JSNs and Morrison & Foerster
               and draft responsive letter per instructions of T. Foudy
               (.50); review recent cases involving interdebtor claims and
               similar litigation strategies employed in the JSN litigation
               such as Charter Communications, General Growth
               Properties, and A&P (2.20); email correspondence
               summarizing research findings re: same to T. Foudy, M.
               Moscato, and E. Tobin (.50); review CRO Motion, Reply,
               Engagement Letter, and Amendment No. 1 to
               Engagement Letter re: role, scope and purpose of CRO in
               resolving interdebtor disputes and compliance with
               fiduciary obligations (.80); draft email correspondence re:
               same to E. Tobin (.30); email correspondence with T.
               Foudy re: retention of estate professionals under section
               327(a) of the Bankruptcy Code (.60); supplement draft
               script with relevant case background (.40); meet with T.
               Foudy, M. Moscato and E. Tobin re: Chambers
               conference on discovery issues and exchanged letters
               (.80)



07/01/13 JTW   Conduct research re: allocating settlement recoveries           7.30
               among causes of action and the effect on creditors' liens
               with respect to same in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.10);
               review of Examiner's report re: projected value of various
               litigation claims that Debtors seeks to settle in the context
               of Fed. R. Bankr. P. 9019 (.80); correspond with D. Bloom
               re: drafting of memorandum re: same (.30); draft case
               summaries in preparation for drafting memorandum (1.30)
               conduct research re: treatment of Rule 9019 with respect
               to specific allocations of settlement proceeds (2.40);
               conference with M. Moscato and J. Berman re: same (.40)



07/01/13 DAB   Correspondence with J. Weber re: research re:                   6.50
               tracing/allocation requirement with respect to the
               settlement of Debtor claims against AFI, including AFI
               contract claims in context of PSA and proposed Global
               settlement in connection with consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.00); further research
               regarding same within published and unpublished
               bankruptcy and appellate case law and secondary
               materials (1.30); revise memorandum analyzing case law
               regarding allocation of settlement proceeds and
               incorporating research findings and applying same to
               facts at issue in ResCap (1.00); review PSA order per T.
               Foudy request and provide analysis of same for draft
               hearing script (.80); correspond with B. Kotliar re:
               precedent pertaining to intercompany issues (.30); confer
               with J. Berman regarding follow-up research necessary
               with respect to
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               allocation of settlement proceeds (.30); perform follow-up
               research per J. Berman's request regarding same (1.50);
               email J. Berman with analysis of additional case law per
               follow-up research (.30)

07/01/13 SS2   Per B. Kotliar's request, prepare materials re: "Adversary     5.40
               Proceedings v. JSNs" and "Summary of Adversary
               Proceedings Against the JSNs" in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (5.40)

07/01/13 ET    Conference call with M. Moscato, T. Foudy, B. Kotliar, G.      7.10
               Lee and J. Levitt re: response to C. Shore's June 26,
               2013 letter regarding JSN litigation issues in connection
               with Curtis’ role as conflicts counsel, as Wells Fargo and
               noteholders UBS and Loomis are potential conflict parties
               (.50); follow-up discussions with B. Kotliar re: same (.30);
               conduct research and review and analyze relevant
               pleadings, motions, cases, and hearing transcripts re:
               same for draft responsive letter to Chambers (4.10); draft
               and revise outline of important points for July 3, 2013
               Chambers conference in connection with same and
               certain discovery issues arising in the JSN Adversary
               Proceeding generally (1.10); confer with J. Berman re:
               open research projects and project tasks/assignments in
               connection with JSN Adversary Proceeding (.30);
               conference with T. Foudy, M. Moscato, and B. Kotliar re:
               Morrison & Foerster response letter to Chambers and
               important talking points for status conference (.80)



07/01/13 JZ    Correspondence with M. Gallagher and T. Smith                  8.80
               regarding CMH Holdings payment dispute handled by
               Curtis as Conflicts Counsel issues in light of Examiner's
               report (.20); continue review and summary of examiner's
               report with respect to CMH Holdings issues, as well as
               other Cerberus transactions, and potential avoidance
               actions issues with specific attention to dispute handled
               by Curtis (8.60)

07/01/13 JCB   Discuss with M. Moscato tracing and allocation issues and      9.00
               related memorandum in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               research in connection with preparation of memorandum
               (3.80); review of caselaw re: memorandum (2.30);
               drafting/revising memorandum (1.10); meet with M.
                                                           ( ) confer
               Moscato and J. Weber re: allocation memo (.40);
               with M. Jones re: tracing and commingling issues and
               assignment (.20); meet with E. Tobin to discuss all
               ongoing legal research projects in connection with JSN
               Adversary Proceeding (.30); confer with D. Bloom re:
               open issues in allocation memo and research results (.30)
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07/02/13 SJR   Review documentation regarding Junior Secured Notes               5.80
               litigation as noteholders Loomis and UBS are conflict
               parties and underlying Complaint, Counter-Claims,
               Document Requests, and other materials including
               correspondence to Judge Glenn in preparation for
               chambers conference on the record before Judge Glenn
               with respect to Morrison Foerster letter and Curtis'
               involvement with respect to Conflicts Counsel matters as
               defendants Wells Fargo, UBS, and Loomis are conflict
               parties (2.30); attend hearing at U.S. Bankruptcy Court,
               Southern District of N.Y., on issues with respect to JSN
               litigation and follow up regarding same (1.30); continue to
               review e-mails regarding JSN matters and
               correspondence regarding discovery (.40); review of
               outline for Chambers conference on July 3rd before Judge
               Glenn regarding arguments to be made related to JSN
               litigation and allegations of conflicts of interest by counsel
               involved in the case (1.30); review comments of Gary Lee
               regarding same (.30); confer with T. Foudy regarding final
               script (.20)


07/02/13 TF1   Review document requests and interrogatories in                  12.30
               preparation for "meet and confer" at Morrison & Foerster
               and pre-meet at Morrison & Foerster for "meet and
               confer" in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.30); participate in "meet
               and confer" conference and post-mortem meeting with E.
               Tobin and Morrison & Foerster (2.30); discuss same and
               follow-up assignments with various team members (E.
               Tobin, M. Moscato, B. Kotliar, D. Bloom) (1.40); discuss
               meet and confer results with M. Moscato and E. Tobin
               (1.20); meet with E. Tobin and E. Combs re: adequate
               protection and diminution claims research project and
               preliminary results (.20); meet with J. Weber, D. Bloom, E.
               Tobin, and J. Berman re: adequate protection and
               diminution research (.40); edit draft script for upcoming
               Chambers conference in light of comments by G. Lee and
               to address adequate protection issues (2.80); attend to
               preparation of materials for Chambers conference (.40);
               multiple edits of draft Chambers letter in light of comments
               (1.10); multiple email correspondence with Morrison &
               Foerster regarding timing of conference (.50); confer with
               S. Reisman on conference and preparation (.20); review
               emails on Examiner report findings relevant to JSNs,
               informal document discovery and preparation for motions
               to dismiss counterclaims (.50)




07/02/13 MJM   Review current draft of letter to J. Glenn and Chambers           2.60
               Conference script in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.40);
               participate in conference call with Morrison & Foerster
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               re: above letter and script and timing of same (.40);
               discussions with T. Foudy and E. Tobin re: today's
               meet-and-confer and issues arising therefrom (1.20);
               discussion with J. Berman and E. Tobin re: legal research
               issues related to potential motion to dismiss the JSNs
               Counterclaims (.60)

07/02/13 MG8   Telephone conference with L. Delehy regarding Examiner              0.20
               Report discussion on CMH Holdings transaction with
               Cerberus in connection with a related dispute with
               Cerberus handled by Curtis as Conflicts Counsel (.20)


07/02/13 EC    Prepare legal analysis of adequate protection claims                8.60
               asserted by JSNs in preparation for potential argument at
               pretrial meeting in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.20);
               research relating to adequate protection availability and
               extension of liens as adequate protection in connection
               with same (2.90); research relating to valuation of
               diminution claims in Second Circuit case law (1.60);
               research timing of diminution claim, specifically whether
               creditor is entitled to protection of the value of collateral at
               the time of petition (.70); attend meeting with T. Foudy
               and E. Tobin to discuss research and projects relating to
               adequate protection liens (.20)

07/02/13 MPJ   Correspond with J. Berman re: updating inventory sheet              3.00
               to include reference to applicable counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.10); confer with B. Kotliar to discuss
               strategy for updating inventory sheet (.30); update same
               to incorporate references to relevant counterclaims and
               catalogue applicable documents and research relating
               thereto (2.60)

07/02/13 BMK   Coordinate preparation of pleadings and materials in               11.80
               connection with consolidated adversary proceedings
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.80); coordinate production of materials for
               Wednesday morning Chambers conference in connection
               with discovery disputes and letters (.60); review and
               revise JSN inventory sheet tracking research, documents
               and other case materials to reflect recently filed
               counterclaims and review research, documents, and other
               case materials (1.50); confer with M. Jones re: revising
               same and coordinating categories of claims for internal
               tracking spreadsheet (.30); review and revise same and
               circulate to E. Tobin, J. Berman, D. Bloom and M. Jones
               (.50); correspond with D. Bloom and J. Weber re:
               allocation of settlement and valuation issues for research
               memo (.30); multiple conferences with D. Bloom and J.
               Weber re: initial project assignment re:
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               treatment of adequate protection liens under AFI DIP
               Order and collecting case law (1.50); review AFI/JSN
               Cash Collateral Order and stipulations amending same re:
               adequate protection liens and other protections granted to
               JSNs in connection with certain assertions made by the
               JSNs in the counterclaims re: Intercompany Claims (1.10)
               email correspondence with T. Foudy and M. Moscato
               detailing treatment of same (.60); email correspondences
               with D. Bloom re: updates re: findings re: same and
               additional research issues (.20); review PSA motion, draft
               plan/term sheet, Whitlinger affidavit, cash collateral
               motions, complaint and amended complaint for treatment
               of intercompany claims throughout case in connection
               with same (.90); review Debtors' schedules of assets and
               liabilities re: intercompany claims including disclaimers,
               waivers, and reservations of rights re: same (1.20); draft
               summary of case history re: same including arguments re:
               adequate protection liens re: diminution in value of
               intercompany claims (2.10); email correspondences with
               D. Bloom and J. Weber re: same (.20)



07/02/13 JTW   Conduct research re: valuation of claims and causes of        12.80
               action settled in connection with Global Settlement and
               PSA pursuant to FRBP 9019 in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               p       (     ) conduct further research re: valuation in
               parties (1.90);
               adversary proceedings vs. in main bankruptcy case end
                                      g
               effect on creditors' rights (    ) conduct further research
                                           (2.80);
               re: global settlement and its implications
                                                p          on valuation of
                                                             s
               collateral as well as effect on allocation of settlement
               proceeds ((1.40); multiple correspondence with D. Bloom
               re: incorporating above research into memorandum re:
               timing of valuation, allocation of settlement proceeds
               within context of Rule 9019 settlement and procedurally
               proper mechanism to request such valuation (.80); attend
               meeting with T. Foudy, E. Tobin, J. Berman, and D.
               Bloom to discuss research needed on JSNs' claim re:
               adequate protection and the diminution in value of JSNs’
               collateral in connection with proposed treatment of
               intercompany balances under Global Settlement (.40);
               conduct research re: adequate protection and claims
               asserted by secured creditors for the diminution in value
               of the collateral in connection with same (2.40); conduct
               research on methodologies for valuation of diminution
               claim (1.60); multiple conferences with D. Bloom and B.
               Kotliar re: same (1.50)



07/02/13 DAB   Review counterclaims filed by the JSNs in the                  8.60
               consolidated adversary proceedings and analyze same in
               connection with role as conflicts counsel as Loomis, Wells
               Fargo and UBS are conflicts parties (.90); extensive
               research regarding allocation of settlement proceeds in
               connection with same for M. Moscato and
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               J. Berman (1.00); further research and review of
               secondary sources in connection with same (1.50);
               research per request of J. Berman regarding procedural
               issues pertaining to appropriate forum for lien valuation
               versus lien validity in connection with same (1.50); draft
               email memorandum summarizing findings regarding same
               (.40); correspond with B. Kotliar re: statements in
               Examiner Report re: JSN prepetition liens in connection
               with same (.40); discussions with J. Berman re:
               procedural issues pertaining to valuation and validation of
               liens in bankruptcy in connection with same (.40); meet
               with T. Foudy, E. Tobin, J. Weber, and J. Berman re:
               research requested by Morrison & Foerster re: allocation
               and adequate protection (.40); research regarding same
               for same (.60); multiple conferences with B. Kotliar and J.
               Weber re: allocation and valuation issues for research
               memo re: same (1.50)



07/02/13 SS2   Assist B. Kotliar in finalizing materials re: "Summary of      5.50
               Adversary Proceedings Against the JSNs" (2.00);
               duplicate final version of binder titled "Adversary
               Proceedings v. JSNs" in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.50);
               per B. Kotliar's request, create binder titled "July 3, 2013
               Conference JSN Letter, Counterclaims, and Discovery
               Requests" for S. Reisman and T. Foudy (2.00)


07/02/13 ET    Review discovery requests in preparation for                   9.60
               meet-and-confer with counsel for defendants in the JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.80);
               meet with counsel for Debtors to discuss strategy for
               responding to defendants' discovery requests in advance
               at meet and confer meeting (1.30); meet with counsel for
               all parties to address discovery disputes and responses
               and related post-mortems with T. Foudy and Morrison &
               Foerster (2.30); conference with T. Foudy and M. Moscato
               re: results of meet and confer (1.20); review and revise
               outline for July 3 court conference in connection with
               potential issues re: JSNs' entitlement to adequate
               protection (.40); telephone call with M. Moscato and J.
               Berman re: strategic issues for motion to dismiss
               Defendants' counterclaims (.60); conduct research re:
               strategic issues arising in adversary actions, including the
               JSNs' right to adequate protection lien (1.90);
               correspondence with D. Bloom and J. Berman re: same
               (.50); meet with T. Foudy and E. Combs re: adequate
               protection research assignment (.20); meet with T. Foudy,
               J. Berman, D. Bloom, and J. Weber re: additional
               research re: same (.40)


07/02/13 JZ    Review and revise summary of avoidance action issues           6.50
               raised in Examiner's report as related to Cerberus in
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               connection with dispute handled by Curtis as conflicts
               counsel (6.10); correspond with D. Bloom regarding
               issues related to same (.40)

07/02/13 JCB   Review of collected research re: counts of Debtors'            6.80
               amended complaint and JSNs' counterclaims and
               research yet to be performed in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); correspondence with M. Jones, D. Bloom,
               and J. Weber re: updating document in connection with
               same (.20); review caselaw discussing when creditor is
               entitled to seek an allocation of settlement proceeds
               (1.30); discussions with D. Bloom re: same (.40); research
               availability of relief sought by JSNs in an adversary
               proceeding as compared to main bankruptcy case due to
               impact on creditors' rights (2.40); meet with J. Weber, D.
               Bloom, E. Tobin, and T. Foudy re: adequate protection
               research findings (.40); revise memorandum re:
               availability of allocation of settlement proceeds to JSNs
               (1.10); call with M. Moscato and E. Tobin re: work product
               and next steps in connection with Motion to Dismiss JSN
               counterclaims, incorporating research performed by Curtis
               (.60)


07/03/13 SJR   Attend Status Conference at U.S. Bankruptcy Court,             5.00
               Southern District of New York, before Judge Glenn with
               respect to letter requesting hearing on discovery issues as
               well as other issues related to JSNs and alleged conflict of
               interest regarding inter-company claim resolution in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.30); review documentation and
               correspondence between Morrison & Foerster and
               Counsel for JSNs related to same (1.60); review of
               research re: adequate protection claims made by JSNs
               and findings with respect to same (1.30); follow-up
               conference with T. Foudy and M. Moscato re: research
               needed in connection with open issues re: JSN litigation
               (.80)


07/03/13 TPS   Review qquestions arising
                                       g in connection with release           0.60
               provisions under the Plan and effect on CMH Holdings
               issues handled by Curtis as Conflicts Counsel in
               connection with Cerberus (.60)

07/03/13 TF1   Review letter from JSNs to Court in response to letter on      4.20
               counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30);
               confer with M. Moscato and S. Reisman on same and
               other open issues in advance of Status Conference (.80);
               prepare for court conference in connection with same
               (.90); attend court conference on JSNs and follow-up
               conferences with Debtors' and Committee Counsel (J.
               Levitt, T. Goren, and G. Horowitz) (1.30);
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               confer with J. Levitt on action items arising from court
               conference (.20); call with Committee counsel on
               discovery requests (.20); emails on dividing issues and
               discovery into Phase I and Phase II and developing
               discovery plan (.50)

07/03/13 MJM   Review correspondence and legal analyses in preparation          4.50
               for chambers conference before J. Glenn on issues
               arising in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties and with respect to letters
               from Morrison & Foerster and White & Case regarding
               conflict issue (1.30); discussions with T. Foudy re:
               upcoming Chambers conference with J. Glenn (.80);
               attend Chambers conference held by J. Glenn and
               follow-up conferences with Debtors' and Committee
               Counsel (J. Levitt, T. Goren, and G. Horowitz) (1.30);
               revise draft chart re: discovery requests to JSNs (.60);
               meeting with E. Tobin re: draft chart re: discovery
               requests to JSNs (.20); meeting with J. Berman to discuss
               draft memo identifying issues appropriate for motions to
               dismiss and/or summary judgment (.30)



07/03/13 GF    At request of B. Kotliar, pull documents and prepare             5.60
               materials re: documents and research in connection with
               Debtor complaint and JSN counterclaims in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (4.60); correspond with B. Kotliar and M. Jones re:
               details and updates to same (1.00)


07/03/13 EC    Research relating to entitlement to postpetition interest for   14.20
               oversecured creditors and burdens of proof in
               demonstrating oversecured status in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.60); research whether determination of interest
               rate to be charged in postpetition interest is appropriate
               matter for a motion to dismiss (2.20); research relating to
               burden of proof for demonstration of diminution claim for
                   q
               adequate   p
                          protection and ppotential burden shifting arising
               from declaratory procedural posture (2.80);
                                                      (       review
               complaint, answer and counterclaim in order to prepare
               detailed synopsis of claims relating to postpetition interest
               and debtor by debtor determination of secured status in
               preparation for motions to dismiss counterclaims in
               connection with same research above (3.10); research
               classification of claims as "general intangibles" for
               determination of soft collateral claims as falling generally
               under that categorization (3.80); conference with J.
               Berman, B. Kotliar, J. Weber, M. Jones, and D. Bloom re:
               motions to dismiss and/or summary judgment litigation
               strategy with respect to JSN counterclaims and Debtor
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               complaint (.70)

07/03/13 MPJ   Identify key documents relating to JSN counterclaims for J     8.60
               Berman and E. Tobin in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are potential conflict parties (.70); correspond
               with J. Berman regarding research needs associated with
               responding to the Junior Secured Noteholders'
               counterclaims (.10); prepare summary of factual and legal
               issues associated with Debtors' claim number 1 and
               counterclaim number 21 in connection with same and with
               regard to litigation strategy concerning motion to dismiss
               and/or summary judgment (3.40); prepare summary of
               factual and legal issues associated with Debtors' claim
               number 3 / counterclaims numbered 22-25 in connection
               with same (3.70); meet with J. Berman, D. Bloom, B.
               Kotliar, E. Combs, and J. Weber to discuss assignments
               regarding summaries of remaining claims and
               counterclaims (.70)



07/03/13 BMK   Email correspondence with M. Moscato and T. Foudy re:          7.20
               In re General Growth Properties, liens on intercompany
               claims, and the underlying basis for the JSNs' adequate
               protection liens on sames in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.40);
               additional follow-up correspondence with T. Foudy and M.
               Moscato re: same and other arguments re: adequate
               protection liens and preparing for chambers conference
               (.30); email correspondence re: same with D. Bloom, J.
               Weber, and E. Combs (.20); coordinate with M. Jones and
               G. Faust re: production of all research and materials
               relating to complaint and counterclaims re: JSN
               consolidated adversary proceeding (.30); email
               correspondence with D. Bloom and J. Weber re: amount
               of JSN claims as alleged in Debtor complaint and JSN
               counterclaims (.30); review JSN Pledge and Security
               Agreement re: obligor, borrower, and grantor debtors and
               categories of liens granted (2.50); analyze same in
               connection with NY Uniform Commercial Code definition
               of lien categories (1.10); conferences with D. Bloom re:
               same (.50); begin drafting summary of same and
               correspond with J. Weber re: same (.50); conference with
               J. Berman, D. Bloom, M. Jones, E. Combs, and J. Weber
               re: drafting litigation summary sheet incorporating counts
               of Debtors' amended complaint and related JSNs'
               counterclaims (.70); review transcript of morning
               chambers conference re: bifurcation of JSNs' sought
               declarations into Phase I and Phase II in accordance with
               Court's guidance (.40)



07/03/13 JTW   Review of JSNs' answer, affirmative defenses and              15.40
               counterclaims in connection with research on adequate
               protection re: Consolidated JSN Adversary Proceeding
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               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.20); conduct research re: adequate
               protection liens on unliquidated estate claims (2.50);
               conduct research re: availability of diminution claims
               where secured creditor is oversecured (3.40); internal
               meeting with J. Berman, D. Bloom, M. Jones, B. Kotliar
               and E. Combs re: JSNs' counterclaims and the specific
               counts of the complaint and counterclaims each individual
               is to research and address (.70); begin draft summary of
               all claims asserted in Debtors' complaint and JSN
               counterclaims re: adequate protection (Debtor Complaint
               Count 2 and JSN counterclaims 19, 26-30) (2.20); further
               research re: resolution of intercompany balance
               determinations through plan contribution (2.10); conduct
               research re: treatment of intercompany balances in the
               Rule 9019 settlement context outside of Plan confirmation
               (1.30); research re: secured Creditor's right to adequate
               protection in the "equity cushion" of the collateral as of the
               petition date (1.20); assist D. Bloom in drafting of
               summary memorandum re: treatment of intercompany
               balances in the Plan context for T. Foudy and M. Moscato
               (.80)



07/03/13 DAB   Further research regarding adequate protection claims            12.60
               made by JSNs in counterclaims vis-à-vis diminution in
               value of intercompany claims in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (4.60); correspondence with B. Kotliar, J. Weber,
               and E. Combs regarding same (1.20); review and edit
               inserts for draft memo re: same from E. Combs, B. Kotliar
               and J. Weber (.80); draft summary of preliminary findings
               to T. Foudy and M. Moscato in advance of Chambers
               conference (.50); review and analyze JSNs’ letter re:
               conflicts and discovery issues (.60); review assignment
               from T. Foudy and M. Moscato re: JSNs’ arguments re:
               equity cushion to provide further guidance on JSNs’
               entitlement to adequate protection in same (.40); review T
               Foudy inquiry re: intercompany claims’ status as General
               Intangibles under the Uniform Commercial Code (.30);
               research regarding same (2.00); correspond with E.
               Combs re: same (.20); confer with B. Kotliar re: review of
               pledge agreement and plan provisions relating to same
               and interpretations of same under N.Y. U.C.C. (.50);
               obtain transcript of chambers conference for T. Foudy and
               review same to address questions re: same (.80); attend
               conference J. Berman, M. Jones, E. Combs, B. Kotliar,
               and J. Weber re: litigation strategy re: motion to dismiss or
               summary judgment with respect to JSN counterclaims
               (.70)



07/03/13 ET    Work with J. Berman to draft summary/analysis of factual          8.80
               and legal issues for Debtors' motion to dismiss
               defendants' counterclaims, including follow-up email
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               correspondence and in person discussions re: same in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are potential
               conflict parties (2.80); confer with M. Moscato re:
               conference with Judge Glenn and Phase I and Phase II
               discovery and chart of issues re: same in connection with
               document requests (.20); draft analysis of Debtors'
               discovery requests to the JSNs re: Phase I and Phase II
               discovery (3.20); correspondence with T. Foudy and M.
               Moscato re: the same (.10); draft summary of July 2, 3013
               meet and confer, and email correspondence with T.
               Foudy, J. Levitt, and R. Salerno re: same (2.50)



07/03/13 JCB   Draft outline of legal and factual issues in preparation for     10.70
               answering/moving to dismiss JSNs' counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (6.20); correspondence with M. Moscato
               and E. Tobin re: same (.80); review transcript of status
               conference before Judge Glenn re: bifurcation of JSN
               counterclaims and issues into Phase I and Phase II (1.10)
               review case law re: intercompany claims (.70); review
               chart categorizing document requests as relating to Phase
               I or Phase II (.30); correspondence with M. Jones re: draft
               summary of factual and legal issues re: Count I of
               Debtors' amended complaint (.60); confer with M.
               Moscato re: memorandum analyzing litigation strategy as
               between motions to dismiss or summary judgment (.30);
               attend conference with D. Bloom, M. Jones, E. Combs, B.
               Kotliar, and J. Weber re: litigation strategy re: motion to
               dismiss or summary judgment with respect to JSN
               counterclaims (.70)



07/04/13 TF1   Emails with D. Bloom and M. Moscato on priority and               0.60
               results of bankruptcy associate research projects
               regarding JSNs' claims in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.50);
               emails on conferring with Morrison & Foerster on motions
               to dismiss counterclaims and litigation strategy re: same
               (.10)

07/04/13 EC    Review pleadings and revise claims assessment to                  0.90
               include additional detail relating to allocation of settlement
               amounts to individual Debtors in connection with the JSN
               Adversary Proceeding where Wells Fargo and
               noteholders UBS and Loomis are conflict parties (.90)


07/04/13 MPJ   Participate in call with D. Bloom regarding summaries of          4.60
               the Debtors' complaint Counts I and III in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders UBS and Loomis are conflict parties to
               determine litigation strategy as between Summary
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               Judgment and motion to dismiss (1.70); update above
               referenced summaries to incorporate D. Bloom's
               comments (2.90)

07/04/13 JTW   Conduct preliminary research re: claims and                    8.00
               counterclaims in JSN litigation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties re:
               burden of proof with respect to collateral value and
               diminution claims (1.80); further research re: same in the
               context of scetion 506 of the Bankruptcy Code (1.20);
               finalize summary of claims related to adequate protection
               and insert preliminary research to draft (2.30); continue
               research re: grant of liens on intercompany balances and
               whether the adequate protection liens provided to the
               JSNs' include liens on "general intangibles" held by the
               Debtors (1.60); draft summary of research for D. Bloom
               (.70); conference with D. Bloom re: same (.40)



07/04/13 DAB   Review and comment on summary outlines of legal                7.60
               research re: contentions in JSNs’ counterclaims and
               Debtors’ responses to same by B. Kotliar, J. Weber, E.
               Combs and M. Jones in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.50);
               conference call with M. Jones re: same and applicable
               litigation strategy with respect to Debtor complaint Counts
               I and II and corresponding JSN counterclaims (1.70);
               email list of open research questions to T. Foudy and M.
               Moscato per request (.40); follow-up emails with same re:
               same (.60); extensive research per T. Foudy request re:
               valuation and adequate protection issues vis-à-vis JSNs’
               contentions with respect to same (3.00); confer with J.
               Weber re: same and adequate protection research issues
               (.40)


07/04/13 ET    Review comments from R. Salerno and revise summary             0.80
               of July 2 meet and confer, and circulate to counsel for the
               Debtors in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.40); email correspondence
               with J. Berman, J. Weber, B. Kotliar, D. Bloom, E. Combs,
               and M. Jones re: research of factual and legal issues for
               Debtors' motion to dismiss defendants' counterclaims in
               connection with litigation strategy moving forward (.40)


07/04/13 JCB   Review factual and legal analysis of counts 1, 2 and 3 of      1.10
               the Debtors' amended complaint in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties in connection with deciding upon litigation strategy
               and motion practice (.30); review relevant case law re:
               same (.60); correspond with E. Tobin, D. Bloom, M. Jones
               E. Combs, B. Kotliar, and J. Weber re: research issues in
               connection with same (.20)
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07/05/13 SJR   Review of research re: adequate protection and whether            3.70
               JSNs are entitled to adequate protection in connection
               with their noteholder claims re: Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.20);
               review analysis of research findings and emails re: same
               (1.10); follow up re: additional research needed with
               respect to JSNs' claims in connection with litigation
               strategy (.40)

07/05/13 TF1   Telephone call with M. Moscato, E. Tobin, and J. Berman           3.70
               re: issues for motion to dismiss certain counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.00); emails with UMB counsel on
               electronic discovery search terms (.10); review mulitple
               drafts of list of phase 1 and 2 issues circulated by
               Committee Counsel, and review/exchange emails with
               Morrison & Foerster and Committee counsel concerning
               comments on same (1.60); emails on factual and legal
               issues outline and which issues are susceptible for a
               motion to dismiss (.80); emails with M. Moscato, E. Tobin,
               and J. Berman on progress of bankruptcy associates'
               research on issues raised by JSNs' counterclaims in
               connection with same (.20)



07/05/13 MJM   Discussion with M. McPherson of Morrison & Foerster re:           2.60
               motion to dismiss the JSNs' counterclaims in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.30); teleconference with T. Foudy, E. Tobin, and
               J. Berman re: status of legal research projects re: same
               and decisions re: litigation strategy (1.00); review draft list
               of Phase 1 and Phase 2 issues (.40); review and
               exchange numerous emails with T. Foudy and Morrison &
               Foerster re: determining which counterclaim issues are
               Phase 1 and which are Phase 2 (.50); preliminary review
               of outline of motion to dismiss issues in connection with
               litigation strategy with respect to to Debtor Complaint and
               JSN counterclaims (.40)



07/05/13 EC    Research availability of postpetition interest where no           1.80
               prepetition default exists on lender obligations in
               connection JSN Adversary Proceeding, as Wells Fargo
               and noteholders UBS and Loomis are conflict parties and
               JSNs seek postpetition interest (1.60); update claims
               synopsis to include case law regarding postpetition default
               interest for postpetition default under New York law in
               connection with same (.20)

07/05/13 MPJ   Draft email to E. Tobin, J. Berman, E. Combs, D. Bloom, J         2.10
               Weber, and B. Kotliar, regarding E. Tobin's questions
               regarding claim outline circulated on July 4 in
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               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties and litigation strategy (.30); research case
               law re: valuation of goodwill as allocated in asset
               purchase agreements (1.80)


07/05/13 BMK   Draft portion of summary sheet in connection with JSN             3.30
               litigation re: count IV of Debtors' amended complaint and
               related counterclaims including review of Debtors' and
               JSNs' factual contentions and relevant governing law to
               determine likelihood of success on motion to dismiss or
               summary judgment in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.40);
               email to E. Tobin, J. Berman, and D. Bloom summarizing
               same and highlighting key issues (.30); incorporate
               multiple sections of summary sheet relating to Debtors'
               complaint and JSNs' counterclaims in order to circulate for
               review (.50); email correspondence to E. Tobin and J.
               Berman re: same (.10)



07/05/13 JTW   Conduct research re: adequate protection in JSNs'                 8.10
               Prepetition Collateral as defined by the Final Cash
               Collateral Order in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.20);
               correspond with D. Bloom re: burden of proof as to
               valuation in declaratory judgment actions (.30); further
               research to clarify issues re: burden of proof as to
               adequate protection (1.30); conduct research re: effect of
               mistake or inadvertent filing of UCC-3 termination
               statement on a creditor's prepetition lien to provide
               authority for Debtors' Motion to Dismiss certain of the
               JSNs' counterclaims (2.60); correspondence with E. Tobin
               T. Foudy, and D. Bloom re: same (.40); provide E. Tobin
               with distinguishing factors of case law in the Second
               Circuit in light of facts of present case (1.80); review of the
               Rosewell, GM, Hickory and Kitchin Equipment case law to
               provide T. Foudy with clarification re: notice filing
               concerns and authorization issues (.50)



07/05/13 DAB   Extensive research regarding whether the JSNs are                 8.40
               entitled to adequate protection to render them
               oversecured per M. Moscato direction in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.30); extensive correspondence with J. Weber
               throughout day re: same (1.10); draft detailed analysis of
               research findings in connection with same (2.50); respond
               to E. Tobin email queries re: legal analysis overview of
               JSN contentions in connection with same (1.50)
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07/05/13 ET    Review and analyze research re: issues for Motion to         8.20
               Dismiss, focusing on relevant documents and case law,
               including review of correspondence from D. Bloom, J.
               Berman, B. Kotliar, E. Combs, M. Jones, and J. Weber re:
               same, in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders UBS and Loomis are
               potential conflict parties (3.40); telephone call with M.
               Moscato, T. Foudy, and J. Berman re: issues for Motion to
               Dismiss and litigation strategy in light of preliminary
               research results (1.00); follow-up correspondence with J.
               Berman (.60); review draft Statement of Issues for
               submission to Judge Glenn (.80); analyze JSNs'
               counterclaims re: whether susceptible to a Motion to
               Dismiss or judgment on the pleadings (1.10); review
               JSNs' supplemental Rule 2019 Statement and correspond
               with T. Foudy re: proposal for obtaining discovery from Ad
               Hoc Group members (.50); analyze JSNs' counterclaim re
               purported lien on goodwill in connection with the MSRs
               (.50); follow up correspondence with T. Foudy and M.
               Moscato re: same, Phase I vs. Phase II issues, and
               conclusions regarding litigation strategy (.30)



07/05/13 JCB   Discussion with M. Moscato, T. Foudy, and E. Tobin re:       2.10
               analysis of JSNs' counterclaims in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties and bifurcation of issues for trial and effect on
               litigation strategy (1.00); review and revise summaries of
               factual and legal issues raised re: Debtors' claims and
               JSNs' counterclaims (.70); review of draft statement of
               issues for Phase I and Phase II trials consistent with
               conference before Judge Glenn (.40)

07/06/13 TF1   Telephone call with M. Moscato, E. Tobin, and M.             2.00
               McPherson of Morrison & Foerster re: strategic issues for
               motion to dismiss, in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders UBS and
               Loomis are conflict parties (1.00); follow-up discussion
               with M. Moscato and E. Tobin re: the same (.20);
               review/comment on revised statement of issues and
               summary of meet and confer/discovery plan (.80)

07/06/13 MJM   Draft email to T. Foudy identifying analysis of possible     2.70
               JSN Counterclaim issues on which Debtors could move to
               dismiss in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.30); discussion with M.
               McPherson, T. Foudy, and E. Tobin re: possible JSN
               Counterclaim issues to move to dismiss and litigation
               strategy (1.00); discussion with T. Foudy and E. Tobin re:
               possible JSN Counterclaim issues to move to dismiss
               (.20); review discovery issues outline in preparation for
               tomorrow's call with counsel for the JSNs re: litigation
               strategy on Debtor
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               Complaint and JSN counterclaims (.20)

07/06/13 MPJ   Review and respond to E. Tobin's emails regarding                2.30
               additional research required re: litigation strategy on
               Debtor Complaint and JSN counterclaims in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.20); review procedural history of Two S and
               TMST case law in connection with same (1.50);     ) draft
                                                     g
               email to E. Tobin and J. Berman regarding   g asset price
                                                                    p
               valuation in the Ocwen APA and the specific
                                                        p       references to
               goodwill (.40);
               g         ((.4 ) review Ocwen APA Schedules L-1 and L-2
               to confirm that Ocwen did not value goodwill above $0.00
               (.20)

07/06/13 BMK   Email correspondence with E. Tobin and M. Jones re:              0.50
               schedules to Ocwen APA in connection with JSN
               consolidated adversary proceeding where Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               including circulating prior APA attached to court order
               approving sale (.50)

07/06/13 JTW   Review case law cited in the JSNs' counterclaims re:             4.00
               valuation of collateral for adequate protection and
               post-petition interest purposes in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.10); provide summary of distinguishing factors
               re: same in preparation for Debtors' Motion to Dismiss and
               possible Summary Judgment Motion (1.70); correspond
               with E. Tobin re: same (.20)

07/06/13 ET    Review outline of issues and research re: susceptibility of      6.20
               JSNs' counterclaims to dismissal or judgment on the
               pleadings in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.60); telephone call with M.
               Moscato, T. Foudy, and M. McPherson re: strategic
               issues for motion to dismiss (1.00); follow-up discussion
               with M. Moscato, and T. Foudy re: same (.20); follow-up
               email correspondence with M. McPherson re: same (.20);
               continue to analyze JSNs' counterclaims, focusing on
               relevant documents and case law in light of research and
               correspondence received from D. Bloom, B. Kotliar, M.
               Jones, and J. Weber (2.80); review and revise draft
               statement of issues and outline for July 7 meet-and-confer
               and email correspondence with T. Foudy and M. Moscato
               re: the same (1.40)



07/06/13 JCB   Review correspondence re: analysis of JSNs'                      0.60
               counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties in
               connection wtih litigation strategy for upcoming decisions
               on potential motions to dismiss (.60)
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07/07/13 TF1   Telephone call with counsel for all parties in the          2.30
               consolidated adversary actions where Wells Fargo and
               noteholders Loomis and UBS are conflict parties re:
               discovery plan (.40); follow-up email correspondence with
               J. Levitt, R. Salerno, M. Moscato and E. Tobin (.20);
               emails on draft discovery plan and issues statement and
               reviewing new drafts of same with Morrison & Foerster
               and JSN counsel (.90); emails on preparation for "meet
               and confer" call with JSNs on same (.30); review
               memorandum on adequate protection arguments
               prepared by J. Weber and D. Bloom (.50)



07/07/13 MJM   Review materials in preparation for tonight's call with     1.10
               counsel to the JSNs in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.70);
               participate in conference call with counsel for Debtors,
               Creditors Committee, JSNs, E. Tobin, and T. Foudy to
               discuss Phase 1/Phase 2 and discovery issues in
               accordance with Court's direction re: bifurcation of the
               issues at the July 3 Status Conference (.40)

07/07/13 JTW   Confer with D. Bloom re: memorandum re: classification      1.30
               of intercompany balances with respect to alleged
               diminution claims and effect on secured status in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40); preliminary research re: use of
               adequate protection liens as basis for establishing
               secured creditor as oversecured (.90)

07/07/13 DAB   Draft formal memorandum detailing research re: whether      4.20
               JSNs are entitled to adequate protection to render them
               oversecured in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.70);
               email same to M. Moscato for review (.10); conference
               with J. Weber to discuss case law reviewed in same (.40)


07/07/13 ET    Continue to analyze JSNs' counterclaims, focusing on        3.00
               relevant documents and case law re: JSNs' alleged
               entitlement to lien on goodwill in connection with MSRs
               sold to Ocwen in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.80);
               review documents in preparation for meet-and-confer
               (.60); telephone call with counsel for all parties and T.
               Foudy and M. Moscato in the consolidated adversary
               actions re: discovery plan (.40); follow-up email
               correspondence with J. Levitt, R. Salerno, M. Moscato,
               and T. Foudy in connection with same (.20)

07/08/13 SJR   Update on research being conducted in connection with       1.90
               whether JSN claims are over- or under-secured in
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               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.20); attend to review of e-mails
               regarding meeting, confer and discovery obligations, and
               agreements with respect to JSN litigation and discovery
               matters (.70)

07/08/13 TF1   Meet with E. Tobin to discuss discovery action items and       7.10
               work product needed for court conference in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.30); correspondence with J. Levitt in connection
               with same (.20); call with Morrison & Foerster to discuss
               same (.50); meet with J. Berman, E. Tobin, D. Bloom, B.
               Kotliar, J. Weber, E. Combs, and M. Jones to discuss
               research issues raised by JSNs' objections to discovery
               requests and commenting on JSNs' proposed electronic
               search terms (.40); emails to same following up on
               progress throughout day (.50); exchange emails with
               JSNs' counsel on proposed search terms and discovery
               from financial advisors and emails with Morrison &
               Foerster on same (.60); draft revised list of search terms
               for JSNs' production (1.00); review research results on
               production from ad hoc group (.60); edit insert for
               discovery dispute letter for ad hoc group member issue
               (.40); edit cover letter to court on discovery issues (.40);
               edit draft discovery plan to Court and emails regarding
               same (1.20); participate in "meet and confer" call with
               JSNs' counsel (1.00)



07/08/13 MAC   Conduct research on valuation methodology and                  2.30
               applicable standards re: secured/unsecured claims in
               connection with supervising bankruptcy associates
               involved in Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.30)

07/08/13 EC    Meet with T. Foudy, B. Kotliar, E. Tobin, D. Bloom, J.         8.10
               Berman, J. Weber, and M. Jones to discuss proposed
               search terms for JSN discovery requests in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.40); review proposed Debtor document search
               terms and Debtors' document request and generating
               additional terms to encompass all issues sought in
               connection with JSN claims (2.60); revise proposed
               search terms to eliminate overly broad and redundant
               request made by JSNs on Debtors and create more
               narrowly tailored search request (2.80); prepare
               condensed review of claims 5 and 6 for reference sheet to
               be used in conference preparation documents (.60);
               review and revise Debtors' document search requests to
               improve yield of relevant returns and expand breadth of
               request coverage (1.70)
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07/08/13 MPJ   Review transcript of July 3 status conference in                  6.60
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties in connection with drafting discovery
               dispute letter to Chambers (.90); review e-mails from D.
               Baumstein of White & Case regarding proposed electronic
               search terms and other related discovery issues (.20);
               meet with T. Foudy, E. Tobin, J. Berman, D. Bloom, B.
               Kotliar, and J. Weber regarding assignments arising from
               current discovery disputes with the Ad Hoc Committee
               (.40); research whether the common interest doctrine can
               apply to inter-committee communications that would not
               otherwise be privileged (1.90); conference with J. Berman
               regarding common interest doctrine research results (.30);
               draft summary paragraph for inclusion in letter to Judge
               Glenn responding to argument that the Ad Hoc
               Committee's communications are protected by the
               common interest doctrine (.50); correspond with D. Bloom
               and J. Weber re: additional research relating g to whether
               the Debtors must serve each member of the Ad Hoc
               Committee individually in order to gain discovery from
               same (.50);
                      ( ) research any  y varying
                                              y g requirements
                                                     q            forr serving
                                                                             g
               a subpoena
                     p       on an ad hoc committee versus the individual
               members of an ad hoc committee (.50);
                                                   ( ) research case law
               discussingg when a party
                                    p y has possession,
                                              p                    y or
                                                            custody,
               control of documents such that they are obligated to
               respond to a subpoena ((1.40)




07/08/13 BMK   Conference with T. Foudy, E. Tobin, J. Berman, D. Bloom,          9.60
               J. Weber, M. Jones, and E. Combs re: discovery issues
               such as privilege and search terms arising in connection
               with consolidated JSN action where Wells Fargo and
               noteholders UBS and Loomis are conflict parties (.40);
               review underlying materials re: search terms issue such
               as defendants' and committee's proposed search terms
               as related to the Debtors' complaint and related JSN
               counterclaims (.80); begin drafting counter-proposal for
               search terms (3.60); review and revise same by
               incorporating Debtors' and JSNs' document requests
               (2.50); update part (A) of search terms to include all
               names of Debtors and relevant shorthand names that
               might reveal response documents (.70); draft email
               correspondence to T. Foudy re: counter proposal to
               search terms and highlighting open issues (.50); email
               correspondences with E. Tobin re: preparation of
               necessary discovery related materials such as document
               requests and responses/objections to be sent to
               Chambers in connection with discovery dispute letter (.30)
               coordinate preparation of same (.50); assist with
               preparing initial draft of answer to counterclaims by
               incorporating caption and signature block and circulating
               to J. Berman (.30)
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07/08/13 JTW   Begin drafting memorandum re: intercompany balances            11.40
               as general intangible within the meaning of the §9-102(42)
               of the UCC in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.10);
               update internal case management folders to categorize
               multiple current open issues where additional or
               supplemental research is required (.50); compile
               summaries of different counts of the Debtors' complaint
               and JSNs' counterclaims for J. Berman in preparation for
               Curtis assisting with drafting Motion to Dismiss (.70);
               internal meeting re: discovery issues with T. Foudy, E.
               Tobin, J. Berman, B. Kotliar, E. Combs, and M. Jones
                    ) conduct research re: discovery
               (.40);                               y issues in connection
                            g documents from individual members of the
               with receiving
               Ad Hoc Group (2.70); review of Fed. R. Bankr. P. 9014
               and 9019 and research re: same as to possible limitations
               on discovery in the Rule 9019 settlement context (2.40);
               conduct research re: common interest doctrine as
               applicable to the Ad Hoc Group in connection with same
               (1.60)



07/08/13 DAB   Email to B. Kotliar re: draft Scheduling Order in              11.50
               connection with JSN litigation (.10); review draft answer
               template per J. Berman and B. Kotliar emails (.30); email
               to J. Berman re: status of JSN litigation where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.10); email to M. Moscato re: updates to equity
               cushion memo and adequate protection case law findings
               (.20); review and analyze draft statement of Phase 1 and
               Phase 2 issues to prioritize research issues (.50); review
               Examiner Report to verify which issues in report pertain to
               JSN litigation for inclusion in summary of same (1.00);
               review list of JSNs’ search terms provided by T. Foudy
               (.30); meet with T. Foudy, J. Berman, B. Kotliar, M. Jones,
               E. Combs, and J. Weber re: multiple JSN litigation-related
                              g
               research assignments     ( ) research regarding
                                        (.40);           g      g whether
               “ad hoc ggroup”
                             p status insulates JSNs from producing
               documents on an individual basis (3.00); correspond with
               J. Weber regarding research findings and status of Ad
               Hoc Group in connection with same (.30); research re:
               JSN member document production per T. Foudy request
               (1.30); review and comment on M. Jones insert to
               discovery dispute letter to Court re: common interest
               privilege (.40); review and respond to multiple emails re:
               same from J. Berman, E. Tobin and J. Weber (.40);( )
               research whetherr Ad Hoc Group    p membership p makes
               members parties to an adversary proceeding for T. Foudy
               (1.10); correspond with J. Weber re: same, including
               independent research findings in connection with same
               (.40); draft email to T. Foudy re: research findings re:
               same (.30); per T. Foudy request, draft insert for letter to
               court and revise per J. Berman
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               comments (1.20); review email correspondence related to
               same from JSNs (.20)

07/08/13 ET    Meet with T. Foudy re: preparation of documents to be          10.90
               submitted to the Court in advance of the July 9 status
               conference in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties re:
               discovery dispute (.30); telephone call with counsel for the
               Debtors re: the statement of issues and discovery plan to
               be submitted to the Court prior to the July 9 status
               conference (.50); review email correspondence re:
               discovery plan and related follow-up correspondence to T.
               Foudy re: same (.40); meet with T. Foudy, J. Berman, B.
               Kotliar, K. Jones, E. Combs, J. Weber, and D. Bloom re:
               discovery and open research issues (.40); extensive
               correspondence with J. Berman and M. Jones re:
               research issues, focusing on scope of common interest
               exception to attorney-client privilege waiver, rules
               governing production of documents relied uponp byy expert
                                                                      p
               witnesses, and Ad Hoc Group's  p obligation
                                                     g     to search for
               and produce documents from its individual members
               (1.90); review documents, draft and revise discovery plan,
               and review and comment on cover letter and statement of
               issues for submission to the Court (3.90); follow-up
               correspondence with T. Foudy and J. Levitt re: same (.50)
               review discovery requests and responses to be submitted
               to the Court, draft index of the documents (2.50);
               follow-up correspondence with B. Kotliar, T. Foudy, J.
               Levitt, and J. Morris re: same (.50)



07/08/13 JCB   Meeting with T. Foudy, E. Tobin, D. Bloom, M. Jones, and       11.30
               E. Combs to discuss case responsibilities in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.40); research and summarize case law re:
               application of work product doctrine to outside financial
               advisors and consulting experts in connection with
               discovery issues and disputes with JSNs (2.40);
                       p
               correspondence                  y E. Tobin and D. Bloom re:
                                  with T. Foudy,
               obligation
                   g        of Ad Hoc Groupp to produce documents in the
               possession of group members (.80); draft/revise language
               for letter to Judge Glenn re: discovery disputes (2.90);
               draft/revise letter to JSNs' counsel re: assertion of work
               product doctrine in connection with same dispute (.40);
               draft answer to JSNs' counterclaims (2.30); research and
               summarize case law re: application of common interest
               doctrine to communications among Ad Hoc Group
               members in connection with same (.80); review draft
               statement of issues for Phase I and Phase II of adversary
               proceedings (.40); review summary of factual/legal issues
               re: Phase I issues (.60); conference with M. Jones re:
               commone interest privilege research for discovery dispute
               letter (.30)
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07/09/13 SJR   Review case law related to JSN research on adequate             4.40
               protection and diminution claims issues in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.20); review initial draft answer to JSN
               counterclaims (1.20)

07/09/13 TPS   Review Examiner's theory of the case on Cerberus                1.30
               fraudulent conveyance for phone call with client in
               connection with CMH dispute with Cerberus, a conflict
               party (.70); conference call with D. Marquardt, L. Delehey,
               M. Gallagher, and J. Zimmer regarding next steps on
               recovery CMH Holdings distributions in connection with
               same (.60)

07/09/13 TF1   Emails with Morrison & Foerster, M. Moscato, and E.             6.10
               Tobin re: edits and finalization of discovery plan and letter
               to court and review same in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.10);
               confer with M. Moscato and E. Tobin in order to prepare
               for discovery conference (.50); call with Morrison &
               Foerster's M. Crespo, M. Moscato, and E. Tobin re:
               motion to dismiss JSNs' counterclaims regarding
               "goodwill" and follow-up discussion regarding research on
               same (.40); review and sign-off on confidentiality
               agreement for JSNs' adversary (.70); emails on FGIC
               settlement discovery with JSNs (.20); prepare for
               discovery conference with E. Tobin and M. Moscato (.50);
               attend court hearing on discovery issues (1.70)



07/09/13 MJM   Review and comment on various drafts of submissions to          5.30
               J. Glenn relating to today's discovery conference,
               including Statement of Issues, Discovery Plan, and draft
               letter to Court in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90);
               discussion with T. Foudy and E. Tobin re: strategy for
               today's discovery conference before J. Glenn in
               connection with same (.50); discussion with J. Berman re:
               Answer to JSNs' Counterclaims (.20); teleconference with
               M. Crespo, T. Foudy, and E. Tobin re: whether "goodwill
               allocation" issue can be determined in the context of a
               motion to dismiss (.40); follow-up correspondence with T.
               Foudy and E. Tobin re: research for "goodwill allocation"
                          ) discussion with J. Berman and M. Jones re:
               issue (.20);
               p   p
               preparing g document subpoenas for members of the Ad
               Hoc Group  p (.30);
                            (      review sample draft subpoena to Ad Hoc
               Group member (.50); review JSNs' submissions for
               today's discovery conference before J. Glenn (.60); attend
               discovery hearing before J. Glenn (1.70)



07/09/13 MG8   Review briefly Examiner's analysis of CMH Holdings              2.90
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               transaction with Cerberus in preparation for call with client
               in connection with dispute handled by Curtis as Conflicts
               Counsel (.40); participate in call with L. Delehey, W.
               Tyson, D. Marquardt, T. Smith, and J. Zimmer regarding
               Examiner's analysis of CMH transaction and Debtors'
               efforts to collect $2.5 million withheld by Cerberus in its
               capacity as managing member of CMH Holdings (.60);
               related follow-up with same in connection with same
               (1.10); correspond with T. Smith regarding strategy for
               approaching Cerberus regarding CMH Holding withheld
               distributions and related issues (.20); draft
               correspondence to J. Pollack and A. Harris, counsel to
               Cerberus, regarding CMH situation (.30); attend to
               correspondence with T. Goren regarding Cerberus status
               under proposed plan of reorganization and potential
               additional analysis of issues related to CMH Holdings
               raised by Examiner's report (.30)



07/09/13 GF    Assist B. Kotliar with preparations and coordination of         0.80
               materials relating to Discovery Plan for submission to
               Judge Glenn in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.80)

07/09/13 EC    Review Wells Fargo's proposed discovery search terms            8.10
               and prepare counterproposal to satisfy outstanding
               document request matters in connection with JSN
               Adversary Proceeding Wells Fargo and noteholders UBS
                                         p
               and Loomis are conflict parties  (     ) p
                                                (1.10);     p
                                                        prepare  subpoenas
                                                                     p
               requesting
                 q       g documents from individual entities members of
               Ad Hoc Group (3.70); research effect of definitive
               valuation in a sale on later valuation of assets in
               collateral-related proceedings (2.20); research effect of
               reservation of rights to future objection to the contents of
               an order (1.10)

07/09/13 MPJ   Meet with M. Moscato and J. Berman regarding
                                                         g    g drafting
                                                                       g       5.80
               individual subpoenas
                              p        to each of the 16 members of the Ad
               Hoc Committee of Junior Secured Noteholders in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
                        p
               conflict parties ( ) draft and compile
                                (.30);              p subpoenas
                                                           p       to be
               served upon
                         p individual Ad Hoc Group    p members as
               identified in Rule 2019 Statements filed in bankruptcy
               case by Ad Hoc Group counsel, White & Case (4.70);
               review confidentiality agreement associated with
               document disclosure in advance of conducting document
               review (.80)

07/09/13 BMK   Coordinate with E. Tobin and S. Soriano re: production of       8.30
               Chambers copies of materials related to discovery dispute
               statement of issues, proposed discovery plan, and
               chambers letter in connection with JSN consolidated
               adversary proceeding where Wells Fargo and noteholders
               Loomis and UBS are conflict parties
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               (.80); meet with K. Mahmoud of Morrison & Foerster re:
               receipt of chambers letters re: bifurcation of trial phases,
               proposed statement of issues, and discovery dispute letter
               and circulate PDF of same to E. Tobin (.10); email
               correspondence with S. Soriano and E. Tobin re: same
               (.20); review and revise Wells Fargo proposed search
               terms in connection with JSN litigation discovery (2.30);
               email correspondence re: same with T. Foudy and E.
               Combs re: highlighting certain aspects of counter proposal
               and changes (.30); telephonically attend portion of
               off-the-record conference re: discovery disputes and
               bifurcation of Phase I and II trial issues for the
               consolidated (1.50); draft email summary re: same to J.
               Berman, D. Bloom, M. Jones, E. Combs, and J. Weber
               with specific focus on impact on discovery and case
               strategy (.50); multiple correspondence with D. Bloom and
               J. Weber re: amended complaint Count I re: Ocwen
               allocation of purchase price among sale assets including
               goodwill (.60); review relevant case pleadings and orders
               in connection with same such as Berkshire sale order,
               Ocwen sale order, objections to sale, and Debtors'
               motions and replies (1.10); research case law re: effect of
               reservation of rights language in bankruptcy (.70); email
               correspondence with J. Weber re: same (.20)



07/09/13 JTW   Review hearing  g transcripts
                                         p from In re Vitro re: issues          12.60
               related to servingg discovery on an Ad Hoc Group and
               individual members in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.80);
               prepare outline for J. Berman to assist in drafting of
               Answer to JSNs' counterclaims (2.50); conduct research
               re: valuation of "goodwill" for E. Tobin (1.80); conduct
               initial research re: valuation of Debtors' assets when there
                                    (
               is a sale of assets (1.30);  review of Ocwen APA  A Schedule
               3.1(a)
                   ( ) and Section 2.1 re: p purchase p
                                                      price allocation and
               effect of allocation on valuation of "good will" (2.10); draft
               e-mail memorandum for M. Moscato and T. Foudy re:
               potential issues with pursuing a motion to dismiss certain
               counterclaims with respect to "goodwill" (1.50); confer with
               D. Bloom re: goodwill research for memorandum re:
               purchase price allocation (.60)



07/09/13 DAB   Correspond
                      p      with J. Berman re: service of document              8.60
               requests to individual JSN members in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.20); attend to notice issues per J. Berman
               request and provide response to queries re: same (.80);
               email to M. Gallagher re: status of JSN litigation (.10);
               email to J. Berman re: JSN conflict parties Loomis and
               Wells per request for info re: same (.40); recirculate prior
                                        g
               JSN conflicts check to group    in connection with request of
               M. Moscato re: subpoenas
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               of individual members (.20); emails to J. Weber re:
               preparation of documents in connection with drafting of
               answer to JSNs’ counterclaims (.30); review E. Tobin
               research request re: value of goodwill and respond re:
               same (.20); verify Bankruptcy Rules and Case
               Management Order re: service in adversary   y proceedings
               for J. Berman re: service of JSN subpoenas (.30); meet
               with J. Berman to commence drafting answer to JSNs’
               counterclaims (1.30); further drafting of same in light of J.
               Berman guidance (1.50); correspond with J. Berman and
               throughout the day re: issues related to drafting of same
               (1.50); confer with J. Weber re: goodwill research and
               purchase price allocation issues (.60); review of JSN
               counterclaim assertions in connection with same (.40);
               further correspond with B. Kotliar re: analysis of same
               (.60); review B. Kotliar notes re: Chambers conference
               (.20)


07/09/13 SS2   Per B. Kotliar's request, finalize materials re: "Discovery      2.00
               Requests and Responses Served in the Consolidated
               Proceedings and Referred to in the Discovery Plan" (.50);
               per B. Kotliar's request, effect delivery of documents to
               Chambers (1.50)

07/09/13 ET    Review and revise statement of issues, discovery plan           13.00
               and index of discovery materials and prepare the same for
               submission to the Court in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.30);
               telephone call with M. Moscato, T. Foudy, and M. Crespo
               re: issues re: Motion to Dismiss, and follow-up
               discussions with M. Moscato and T. Foudy re: same (.40);
               review pleadings and discovery materials and letter
               submission from counsel for the JSNs (2.20); meet with M
               Moscato and T. Foudy in preparation for status
               conference before Judge Glenn (.50); attend status
               conference on discovery matters in consolidated
               proceedings, and follow-up discussions with counsel for
               the Debtors and the Committee in connection with the
               same (1.70); review documents and draft and revise list of
               open discovery issues and follow up with J. Levitt of
               Morrison & Foerster and T. Foudy re: same (.50); review
               and analyze the JSN Pledge Agreement, the Ocwen APA,
               the Court's Order approving the sale of the MSRs to
               Ocwen and Walter, and conduct research and review and
               analyze relevant case law in order to draft memorandum
               analyzing the same for purposes of evaluating whether
               the Debtors have grounds to move to dismiss the JSNs'
               21st counterclaim (5.70); correspondence with J. Weber
               re: same and other open issues in connection with
               purchase price allocation (.70)



07/09/13 JZ    Correspond with M. Gallagher regarding call re: CMH              1.10
               dispute handled by Curtis as Conflicts Counsel and
               possible avoidance actions in connection with payment
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               dispute arising from same and applicability of Delaware
               statute of limitations in connection with same (.20);
               research in connection with same (.30); prepare for and
               attend call with M. Gallagher and T. Smith regarding same
               (.60)

07/09/13 JCB   Draft answer to JSNs' counterclaims in connection with        8.60
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (5.10); conference with D. Bloom re: drafting of
               same and resolving specific issues re: particular
               allegations of JSN counterclaims to be addressed in
               Answer (1.30);
                        (    ) discuss Answer with M. Moscato (.20);
                                                                 ( )
               discuss subpoenas of individual Ad Hoc Group members
                                               ( ); prepare/revise
               with M. Jones and M. Moscato (.30);   p p
               subpoenas to members of Ad Hoc Group of JSNs (1.70)


07/09/13 KK    Rush scan and .pdf file subpoenas per request of M.           0.50
               Jones in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.50)

07/10/13 SJR   Attend to review of draft Answer and open issues re:          2.30
               same in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.30)

07/10/13 TF1   Emails with Morrison & Foerster and Kramer Levin on           1.40
               discovery disputes and agreement and commenting on
               "meet and confer" emails with JSNs in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); emails on content of Issues Statement in
               connection with same (.30); emails on research
               concerning possible motion to dismiss on goodwill (.30);
               conference call with M. Crespo of Morrison & Foerster
               and M. Moscato, E. Tobin, and J. Weber re: same (.40)


07/10/13 MJM   Review J. Weber's legal analysis re: whether "goodwill        2.20
               allocation" issue is susceptible to a motion to dismiss in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50); review numerous emails between
               counsel for Debtors, Creditors' Committee and JSNs re:
               discovery issues (.50); discussion with E. Tobin, T. Foudy,
               J. Weber, and M. Crespo re: whether to move to dismiss
               on the "goodwill allocation" (.40); follow-up call with M.
               McPherson, M. Crespo, E. Tobin, and J. Weber re: above
               "goodwill allocation" issue and other potential motion to
               dismiss issues (.50); follow-up discussion with E. Tobin
               and J. Weber re: whether or not to move to dismiss with
               respect to certain JSN Counterclaim issues (.30)
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07/10/13 MG8   Telephone conference with M. Reinzi and B. McDonald of           0.60
               FTI Consulting regarding CMH Holdings transaction and
               related dispute handled by Curtis as Conflicts Counsel
               and related analysis by Examiner in preparation for
               discussions with counsel to Cerberus (.60)


07/10/13 MAC   Conduct research and analysis re: valuation of claims and        1.70
               related collateral and potential arguments related to same
               and other issues in connection with JSN litigation where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (1.70)

07/10/13 EC    Review markup of requested discovery search terms                2.90
               exchanged between Committee and Ad Hoc Group and
               comparing to Debtors' proposed terms to ascertain any
               additional or objectionable terms contained therein in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.80); review research and contractual
               documents relating valuation of goodwill and the weight
               accorded to sale price in bankruptcy (.70);
               correspondence with J. Weber and M. Jones re: additional
               information re: same gathered from prior research (.30);
               review confidentiality agreement and potential document
               production obligations (.30); review Cash Collateral Order
               to determine extent of Debtors' stipulation to JSN
               collateral and prepare written description summarizing
               extent of same (.80)



07/10/13 MPJ   Review email summarizing July 9 Chambers conference              1.00
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.10); review Stipulation and
               Order in respect of the Debtors' motion for an entry of an
               order to permit the debtors to continue using cash
               collateral (.60); draft e-mail to J. Berman listing key legal
               issues in litigation against the Junior Secured Noteholders
               (.30)

07/10/13 BMK   Review docket for relevant pleadings where Wells Fargo           1.60
               and noteholders Loomis and UBS are conflict parties in
               connection with certain factual contentions made in the
               JSN counterclaims in the consolidated adversary
               proceeding in connection with drafting answer (.40);
               correspond with D. Bloom re: same (.20); conferences
               with J. Weber re: complaint Count I re: whether general
               intangible lien extends to good will value garnered through
               asset sales and allocation of sale value among collateral
               (.50); research caselaw re: same including liens as
               extending to general intangibles and sale values (.50)



07/10/13 JTW   Review of Court's Sale Order approving the Ocwen APA            10.50
               in connection with Consolidated JSN Adversary
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               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties in connection with
               identification of purchase price allocation and whether
               such allocation was binding on the parties as per the
               terms of the sale order (1.30); review of JSNs' and
               Committee's objections to the Sale Order as well as
               Debtors' omnibus reply in connection with same and
                                   (
               allocation issues (1.60); ) conduct research re: effect of
               reservation of rights
                                 g    clauses as to abilityy to later challenge
                                                                             g
               the p
                   purchase p  price allocation included in Schedule 3.1(a)
               of the Ocwen APA ((2.70); draft e-mail memorandum to T.
               Foudy, E. Tobin, and M. Moscato re: APA's purchasep
               p
               price allocation and effect off reservation of rights
                                                                  g    claims
               on proposed motion to dismiss related to "goodwill"
               including issues that arise as to valuation methodologies
               with respect to adequate protection claims (2.90); conduct
               research to locate case law as to whether "goodwill" falls
               within the meaning of "general intangibles" under the NY
               Uniform Commercial Code (.30); conferences with B.
               Kotliar re: same, including other purchase price allocation
               issues associated with "general intangibles" (.50);
               conference call with T. Foudy, M. Moscato, M. Crespo of
               Morrison & Foerster, and E. Tobin re: potential motion to
               dismiss goodwill/intangible value issue in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); follow-up conference with M. McPherson of
               Morrison & Foerster, M. Crespo, E. Tobin, and M.
               Moscato re: same and other litigation strategy issues in
               connection with same (.50); follow-up discussion with M.
               Moscato and E. Tobin re: same (.30)




07/10/13 DAB   Confer throughout the day with J. Berman re: open issues           8.90
               pertaining to draft answer to JSN counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.50); extensive work drafting answer to
               JSN counterclaims per J. Berman request (4.30); analyze
               Cash Collateral Order entered by Judge Glenn in
               connection with same (.50); monitor portion of omnibus
               hearing in relation to potential JSN-related issues (1.50);
               review J. Weber summary re: same (.10)


07/10/13 ET    Conference call with T. Foudy, M. Moscato, M. Crespo,              7.70
               and J. Weber re: potential motion to dismiss
               goodwill/intangible value issue in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); follow-up conference with M. McPherson, M.
               Crespo, J. Weber, and M. Moscato re: same and other
               litigation strategy issues in connection with same (.50);
               follow-up discussion with M. Moscato and J. Weber re:
               same (.30); conduct further research and continue to
               review and analyze relevant agreements
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               and case law regarding the allocation of the purchase
               price under the Ocwen APA (6.20); confer with M. Crespo
               and J. Weber re: the same (.30)

07/10/13 JCB   Review Examiner report conclusions in connection with          8.60
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.20);
               draft/revise answer to JSNs' counterclaims (4.10); confer
               throughout the day with D. Bloom re: same and
               coordinating work re: same (2.50); draft/revise outline of
               outstanding legal research issues in connection with
               litigation strategy moving forward (.50); correspondence
               with B. Kotliar re: Count IV of JSNs' counterclaims (.30)


07/11/13 SJR   Review answer to JSN counterclaims in connection with          4.10
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.80); follow-up correspondence with T. Foudy
               and M. Moscato regarding research of burden of proof,
               lien valuation, and other research issues in context of
               litigation strategy and pursuing motions to dismiss (1.30)


07/11/13 TPS   Telephone call with M. Gallagher and Schulte Roth              0.90
               regarding CMH Holdings distributions in connection with
               dispute handled by Curtis as Conflicts Counsel (.40);
               follow up with M. Gallagher regarding note to clients (.20);
               review indemnity issues for scope of requested release in
               connection with same (.30)

07/11/13 TF1   Participate in call with Kramer Levin and Morrison &           6.90
               Foerster on Motion to Dismiss counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.80); follow-up correspondence with E.
               Tobin, J. Berman, M. Jones, and J. Weber (.30); follow-up
               discussion with G. Horowitz and discuss same with E.
               Tobin (.20); review proposed search terms and email
               discovery protocol of Wells Fargo and analyze proposed
               changes recommended by B. Kotliar and E. Combs (.40);
               review new drafts of issues statement (.90); emails with
               research questions for motions to dismiss regarding
               goodwill, burden of proof, and allocation of settlement
               proceeds (.80); exchange emails with Morrison & Foerster
               and Kramer Levin on discovery plan (.30); emails with
               JSNs on open discovery issues regarding e-discovery
               plan (.30); emails with T. Goren on JSN custodians (.10);
               pre-call with Morrison & Foerster in advance of discovery
               "meet and confer" with JSNs (.50); participate in discovery
               "meet and confer" call with JSNs' counsel (1.20);
               participate in post-mortem discussion with Morrison &
               Foerster and committee counsel (.20); review and provide
               comments on draft Rule 26 initial disclosures (.70); meet
               with M. Jones to
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               discuss research assignment re: entity by entity
               oversecured status research for Motion to Dismiss (.20)

07/11/13 MJM   Review E. Tobin email re: "goodwill allocation" issue and      1.10
               draft email to T. Foudy and E. Tobin re: same in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40); review and respond to multiple
               emails from T. Foudy and E. Tobin and other Debtors' and
               Creditor Committee's attorneys re: discovery issues (.50);
               discussion with E. Tobin and J. Berman re: Ally
               claim-by-claim allocation issue (.20)

07/11/13 MG8   Attend to correspondence with A. Harris and J. Pollack,        2.50
               counsel to Cerberus, regarding call to discuss CMH
               Holdings dispute with Cerberus, a conflicts party (.30);
               review CMH Holdings purchase agreement, LLC
               agreement and correspondence related to withheld
               distributions withheld by CMH that are owed to Debtors in
               connection with CMH LLC agreement (1.40); participate in
               call with A. Harris, J. Pollack and T. Smith regarding CMH
               Holdings situation and Cerberus position on release of
               withheld distributions (.40); follow-up discussion with T.
               Smith re: note to clients in connection with same (.20);
               draft correspondence to client regarding call with counsel
               to Cerberus regarding CMH Holdings situation (.20)



07/11/13 EC    Research availability of default interest rate where a         8.20
               debtor is insolvent and will be unable to satisfy
               outstanding obligations to general unsecured creditors in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (4.20); research circumstances under which
               secured creditors are entitled to default interest and
               whether JSNs would be entitled, assuming they are
               oversecured in connection with same (1.90); draft rough
               outline opposing imposition of default interest and
               assessing potential claim for default interest in connection
               with same (1.40); prepare draft response to additional
               search terms proposed by JSNs in connection with
               pending discovery (.40); review proposed alterations to
               discovery request and potential narrowing language to
               reduce burden imposed by specified requests (.30)



07/11/13 MPJ   Participate in call with Kramer Levin and Morrison &           1.30
               Foerster regarding drafting the Motion to Dismiss the
               Junior Secured Noteholders' counterclaims in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.80); meet with T. Foudy to discuss research
               assignment regarding whether oversecured status is
               measured on an aggregate or entity-by-entity basis (.20);
               exchange e-mails with E. Tobin and E. Combs regarding
               research
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               needs relating to the AFI LOC lien releases (.30)

07/11/13 BMK   Review relevant pleadings underlying factual assertions in      9.60
               JSN Counterclaims in connection with drafting answer
               and affirmative defenses to amended counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties, including a review of PSA and term sheets
               plan and disclosure statement, and multiple monthly
               operating reports (3.80); conference with J. Berman and D
               Bloom re: same in order to resolve open issues in answer
               including Debtors' assets, cash flow, administrative
               expenses, and other financial information (1.50);
               correspondence with E. Combs re: additional limitation on
               Wells Fargo's proposed search terms (.20); email
               correspondences with E. Tobin re: litigation strategy sheet
               re: count IV and related counterclaims re: liens on
               avoidance actions re: next steps and open issues (.40);
               email correspondence with E. Tobin re: open issues re:
               monthly operating reports re: diminution of cash collateral
               arguments (.20); research re: burden of proof on secured
               party asserting a lien on collateral of a bankruptcy debtor
               under relevant federal and state case law and bankruptcy
               treatises (.60); conference with D. Bloom re: same and
               treatment of claims objections in adversary proceedings
               and vice versa (.60); research re: bankruptcy court
               authority to allocate proceeds of contingent settlements
               (1.50); review prior memorandum re: same and consult
               with D. Bloom and J. Weber (.40); review GM decision re:
               same (.40)




07/11/13 JTW   Participate in conference call with T. Foudy, M. Jones, E.      4.40
               Tobin, and Morrison & Foerster re: next steps and drafting
               of Motion to Dismiss certain claims in the JSN Litigation
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties, with particular focus on the reservation of
               rights clause found in the Ocwen Sale Order and factual
               issues that likely existing with respect to the purchase
               price allocation in the Ocwen APA (.80); conduct research
               re: types of evidence necessary to support Count I of the
               Debtors' complaint against UMB Bank and the Ad Hoc
               Group if such issues are eventually adjudicated at trial
               (1.20); review of Examiner's report re: alleged contract
               claims the Debtors may have against Ally Financial, Inc.
               (1.10); continued research at the request of E. Tobin re:
               judicial authority re: claim-by-claim or Debtor-by-Debtor
               allocation of the Ally contribution (.50); draft summary of
               research for E. Tobin and J. Berman re: same (.40);
               confer with D. Bloom re: research findings re: Bankruptcy
               Court authority to allocate settlement proceeds (.40)




07/11/13 DAB   Further drafting of Answer to JSN counterclaims and             9.30
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               revision to same per J. Berman comments in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (3.50); confer with J. Berman and B. Kotliar re:
               required diligence/research in connection with same
               (1.50); review E. Tobin request re: adequate protection
               issues (.20); respond to E. Tobin and J. Weber
               correspondence re: same (.40); research per E. Tobin
               request re: burden of proof issues pertaining to lien
               valuation and validity (1.40); confer with B. Kotliar re:
               burden of proof issue for Motion to Dismiss and treament
               of claims objections in adversary proceedings (.60);
               further research re: bankruptcy court authority to allocate
               res of bankruptcy estate per Morrison & Foerster request
               in connection with drafting of Motion to Dismiss JSN
               counterclaims (1.00); confer with J. Weber re: same (.40);
               revise J. Weber draft of findings and email to J. Berman
               for review and comment (.30)



07/11/13 ET    Conference call with counsel for the Debtors and the            8.20
               Creditors' Committee re: strategy for the Joint Motion to
               Dismiss certain of the JSNs' counterclaims in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.80); telephone call with T. Foudy and G. Horowitz
               re: discovery issues related to members of the Ad Hoc
               Group (.20); analyze issues related to discovery disputes
               and email correspondence with counsel for the Debtors
               and the Creditor's Committee re: the same (1.20);
               conference call with counsel for the Debtors, the
               Creditors' Committee and Defendants re: outstanding
               discovery disputes, including withholding of mediation
               documents, documents previously produced to the
               Examiner, communications protected by the common
               interest privilege, and communications with financial
               advisors (1.20); follow-up conference call with counsel for
               the Debtors and the Creditors' Committee re: outstanding
               discovery disputes after outcome of meet and confer with
               JSNs' Counsel (.20); extensive email correspondence with
               M. Crespo re: research in support of arguments in the
               Debtors' and the Committee's motion to dismiss, focusing
               on court's authority to allocate settlement proceeds (1.20);
               conference with M. Moscato and J. Berman re: allocation
               of proceeds to settled claims research (.20); review and
               revise outline of legal research issues focusing on the
               Debtor's causes of action in the amended complaint in
               connection with Motion to Dismiss (2.70); correspondence
               with J. Berman, M. Jones, E. Combs, D. Bloom, B. Kotliar,
               and J. Weber re: updates to same and additional open
               issues (.50)




07/11/13 JCB   Participate in conference call with Morrison & Foerster        12.10
               and Kramer Levin to discuss preparation of answer,
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               discovery issues, and motion to dismiss JSNs'
               counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.80);
               review of unredacted answer (.60); confer with D. Bloom
               and B. Kotliar re: preparation of answer to counterclaims
               (1.50); draft/revise answer (3.80); discussions with E.
               Tobin, D. Bloom, B. Kotliar and Morrison & Foerster re:
               finalizing draft answer, research issues for motion to
               dismiss (2.90); research burden of proof in establishing
               lien existence and court's authority to allocate settlement
               proceeds (1.50); discuss same with M. Moscato and E.
               Tobin (.20); draft summaries of same for use in motion to
               dismiss (.80)

07/12/13 SJR   Review case strategy in connection with Consolidated             4.70
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties,
               including review of legal research memoranda and
               correspondences re: adequate protection arguments
               addressed by draft motion to dismiss (2.40); coordinate
               matters re: document production, documents requests,
               interrogatories, responses, and other discovery-related
               issues (2.30)

07/12/13 TF1   Review draft answer in comparison to counterclaims and           9.30
               make edits in light of same in connection with JSNs'
               litigation due to involvement of conflict parties Wells Fargo
               and noteholders Loomis and UBS (3.60); meet with B.
               Kotliar, J. Berman and M. Moscato on drafting of answer
               (1.30); call with S. Engelhardt and follow-up
               correspondence regarding Rule 9019 discovery standards
               in connection with JSNs' litigation due to involvement of
               conflict parties Wells Fargo, Loomis and UBS (.90);
               conference call with T. Goren on factual questions
               regarding Answer and follow-up email to FTI on same
               (.30); review initial disclosures filed by conflicts party
               Wells Fargo, and JSNs, and draft follow-up emails to
               Wells Fargo concerning document production and email
               custodians (1.20); emails with E. Tobin and J. Berman on
               preparation for review of documents produced by conflict
               party Wells Fargo (.40); oversee/review research
               regarding authority for claim regarding release of
               collateral (.80); review memo regarding allocation of
               settlement issues (.80)


07/12/13 MJM   Edit draft Answer to JSNs' Counterclaims in connection           4.10
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (2.40); drafting session with T. Foudy, J. Berman,
               and B. Kotliar to revise Answer to JSNs' Counterclaims
               (1.30); exchange emails with E. Tobin re: release of lien
               research issue in connection with Motion to Dismiss (.40)


07/12/13 EC    Research discovery legal standard re: settlement of             12.50
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               claims in a Rule 9019 proceeding in connection with JSN
               Adversary Proceeding where Wells Fargo and
               noteholders UBS and Loomis are conflict parties (3.10);
               research relating to applicability of the Federal Rules of
               civil procedure in the settlement confirmation context or a
               Rule 9019 proceeding in connection with same (1.20);(    )
               draft response discussing availability off plenary discovery
               in a Rule 9019 proceeding in connection with same (.30);
               review potential defenses to be asserted in Debtor's
               answer to JSN counterclaims (.40); draft affirmative
               defenses to be included in answer to JSNs' counterclaims
               (.70); review discovery request documentation and
               analyzing importance of changes set forth therein and
               attend to analysis of contents of documents to be received
               from Wells Fargo (.40); draft memorandum discussing
               entitlement of creditors to default rate interest from
               insolvent debtor entities (3.70); research availability of
               default rate interest for oversecured creditors of insolvent
               debtors with particular focus on policy and equity
               concerns (2.70)


07/12/13 MPJ   Research Rule 9019 standards impact scope of discovery         7.00
               in related adversary proceeding in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (4.10); exchange e-mails with E. Tobin, J. Berman,
               D. Bloom, E. Combs, and J. Weber regarding results of
               research (.40); draft affirmative defenses for inclusion in
               Answer to the Junior Secured Noteholders' counterclaims
               (.80); review e-mail from D. Bloom discussing JSNs'
               purported claims on the proceeds of the Ally settlement
               (.10); review case law and secondary source material to
               determine whether a debtors' oversecured status is made
               on an entity-by-entity, or aggregate, basis (1.60)



07/12/13 BMK   Review open issues in draft answer to JSNs'                    6.80
               counterclaims in consolidated JSN adversary proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties by reviewing docket filings, monthly
               operating reports, and plan and disclosure statement to
               finalize first draft (.90); email correspondence with D.
               Bloom re: research Uniform Commercial Code and factual
               investigation into basis for JSNs' general intangibles liens
               on prepetition contract claims settled under proposed plan
               (.50); conference with T. Foudy, M. Moscato, and J.
               Berman re: edits and comments to draft answer (1.30);
               follow up conference with J. Berman re: revising answer in
               accordance with prior meetings and incorporating edits
               and comments of T. Foudy and M. Moscato (3.70);
               correspondence with T. Foudy re: custodians searched in
               Wells Fargo's initial disclosures as compared to proposed
               terms in prior emails and proposals (.20); follow-up
               correspondence with T. Foudy and J. Berman re: edits to
               draft answer and counterclaims re:
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               admissions re: case facts (.20)

07/12/13 JTW   Review case management order and conduct research re:          7.10
               Debtors' ability to limit discovery in the Rule 9019 context
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.90); review of case law
               discussing extent of permissible discovery in a contested
               matter under Rule 9014 (1.10); correspond with M. Jones
               and E. Combs re: same (.20); review of draft e-mail
               memorandum re: same provided by M. Jones (.30);
               provide comments to M. Jones re: same (.20); conduct
               further research re: effect of filing a UCC-3 termination
               statement on a party's security interest in the collateral
               referenced in the termination statement, focusing on case
               law where the "secured party" filed the UCC-3 termination
               statement (2.60); draft e-mail memorandum summarizing
               case law analyzing the former UCC and case law
               analyzing the current version of the UCC (1.30); email to
               T. Foudy and E. Tobin re: further clarification in response
               to follow-up questions re: Judge Gerber's holding in the
               GM case with respect to validity of releases when UCC-3
               termination statements are filed by the secured party itself
               even if done in error (.30); research re: appellate briefs
               with respect to the GM decision (.20)



07/12/13 DAB   Correspond with T. Foudy and J. Berman re: research on         8.00
               scope of Rule 9019 discovery in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.10); research re: same (.30); correspond with E.
               Combs re: interest rate case law in postpetition interest
               context (.20); research re: JSNs’ purported general
               intangibles lien on contract claims and diligence re: same
               per T. Foudy request including comprehensive review of
               case law discussing applicable UCC and Bankruptcy law
               bearing on issue and application to ResCap prepetition
               credit documents (3.50); draft memorandum detailing
               analysis re: same and circulated same to T. Foudy and M.
               Moscato (.80); review E. Tobin draft list of issues to be
               researched in connection with JSN counterclaims and
               confer with same re: Debtor Compaint Count 2 open
               issues (.50); email E. Combs re: 9019 discovery
               standards research with comments to draft response
               regarding same and direction for further research (.20);
               research regarding validity of UCC terminations
               notwithstanding JSNs’ arguments (1.80); draft and revise
               draft email summarizing findings to E. Tobin per T. Foudy
               request (.60)



07/12/13 ET    Review updated Statement of Issues, review relevant            6.30
               case documents, and draft and revise the Bifurcated
               Discovery Plan as per proposed changes in the Statement
               of Issues in connection with Consolidated
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               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.40);
               follow up correspondence with J. Levitt and T. Foudy re:
               same (.50); multiple discussions with M. Crespo and A.
               Ruiz of Morrison & Foerster re: research of issues related
               to burden of proof on existence of a lien and effectiveness
               of the collateral releases for the Debtors' and the
               Committee's motion to dismiss (.80); correspondence with
               M. Jones and E. Combs re: research re: burden of proof
               to show existence of lien, and draft email to M. Crespo
               and A. Ruiz providing analysis of the same (.50);
               correspondence with T. Foudy, M. Moscato, D. Bloom,
               and J. Weber re: research on effectiveness of the
               collateral releases, and draft email to A. Ruiz and M.
               Crespo re: analysis of the same (1.40); follow-up
               discussions with A. Ruiz and M. Crespo re: research
               issues related to arguments in support of the Debtors' and
               the Committee's motion to dismiss (.30); email
               correspondence with M. Moscato and E. Combs re: Wells
               Fargo's production of documents re: initial disclosures
               (.40)


07/12/13 JCB   Meeting with T. Foudy, M. Moscato and B. Kotliar to           9.90
               discuss answer to JSNs' counterclaims in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.30); work with B. Kotliar on revising answer and
               affirmative defenses (3.70); additional revisions and
               drafting to same to finalize for T. Foudy review (4.50);
               discussions with M. Jones and E. Combs re: researching
               scope of discovery on Phase II issues (.40)


07/13/13 TF1   Review and edit latest version of draft answer to JSNs'       3.10
               counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.90);
               discuss Wells Fargo prodcution and review project with M.
               Moscato (.20)

07/13/13 MJM   Correspondence with M. Malavarca of Curtis litigation         2.50
               support group re: Wells Fargo document review project in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.30); discussion with T. Foudy re: Wells
               Fargo document review project (.20); teleconference with
               J. Berman and E. Tobin re: Wells Fargo document review
               project (.30); edit Affirmatives Defenses portion of
               Debtors' Answer to JSNs' Counterclaims (.60); review
               draft Motion to Dismiss various of the JSNs'
               Counterclaims (1.10)

07/13/13 BMK   Verify statements in JSNs' counterclaims re: certain          4.40
               releases of collateral and repledging in connection with
               draft answer and affirmative defenses to the
               counterclaims in connection with Consolidated JSN
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               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               email correspondence with T. Foudy summarizing same
               (.20); review and revise draft answer for circulation to
               Morrison & Foerster and the Committee (2.80); email
               correspondence with T. Foudy, M. Moscato, and J.
               Berman summarizing same and highlighting open issues
               (.20); review draft motion to dismiss JSNs' counterclaims
               received from the Committee, specifically sections re:
               liens on avoidance actions and contract claims (.60)


07/13/13 ET    Review and revise Discovery Plan for bifurcated              1.70
               proceedings and email correspondence with J. Levitt and
               S. Engelhardt re: same in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               email correspondence with M. Moscato, T. Foudy, J.
               Berman, and E. Combs re: Wells Fargo's document
               production and draft memorandum of law in support of
               motion to dismiss (.40); review internal memorandum re:
               document review protocol and email correspondence with
               J. Berman re: same (.40); teleconference with M. Moscato
               and J. Berman re: Wells Fargo porduction and related
               review (.30)

07/13/13 JCB   Draft document review protocol in connection with            4.50
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.60); discussion with M. Moscato and E. Tobin re
               preparing for document review (.30); revise draft answer
               and affirmative defenses to JSNs' counterclaims
               consistent with T. Foudy and M. Moscato comments (.60)


07/14/13 SJR   Review and analyze draft motion to dismiss JSNs'             2.70
               counterclaim in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties and note
               comments to same in accordance with legal research
               performed by B. Kotliar, J. Weber, D. Bloom, and E.
               Combs (2.70)

07/14/13 TF1   Review M. Moscato comments to Motion to Dismiss brief        1.50
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.50); review new discovery
               plan, statement of issues, and emails with JSNs in
               regards to same (1.00)

07/14/13 MJM   Draft email to T. Foudy, J. Berman, and E. Tobin re: edits   3.20
               to Debtors' draft of Motion to Dismiss JSNs'
               Counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.20);
               exchange emails with T. Foudy, D. Bloom, J. Berman,
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               E. Tobin, M. Jones, E. Combs, J. Weber, and B. Kotliar re
               Debtors' draft of Motion to Dismiss edits and strategy (.90)
               review Creditors' Committee's revised draft of Motion to
               Dismiss JSNs' Counterclaims (1.10)

07/14/13 BMK   Teleconference with D. Bloom re: language and revisions        0.80
               of draft Motion to Dismiss received from the Committee re
               counterclaims 7 and 9 re: liens on avoidance actions and
               prepetition contract claims in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.60); review email correspondence between M.
               Moscato and D. Bloom re: same (.20)


07/14/13 DAB   Review and comment on Morrison & Foerster draft Motion         3.90
               to Dismiss JSNs’ counterclaims per M. Moscato request in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.10); address M. Moscato comments and
               proposed revisions to same and incorporate same into
               further revised document (.80); review of further revised
               Morrison & Foerster/Committee draft Motion to Dismiss
               and reincorporate M. Moscato comments into same (.60);
               review avoidance memorandum and circulate relevant
               portion to M. Moscato per request (.30); review Kramer
               brief from Petters bankruptcy re: avoidance proceeds and
               circulate same to M. Moscato (.50); correspond with B.
               Kotliar re: same and prior research in connection with
               same (.60)



07/14/13 ET    Review relevant documents and revise internal                  3.20
               memorandum re: document review protocol and draft
               email to J. Berman re: same in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.10); review and revise Discovery Plan for
               bifurcated proceedings and email correspondence with
               counsel for the Debtors' and the Creditors' Committee re:
               same (.90); review proposed amended scheduling order
               and joint statement of issues provided by counsel for the
               JSNs, and draft email to J. Levitt, R. Salerno, T. Foudy,
               and M. Moscato re: same, in preparation for July 15 Court
               conference (1.20)

07/14/13 JCB   Revisions to draft document review protocol consistent         1.80
               with E. Tobin comments in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.70);
               review draft motion to dismiss JSNs' counterclaims in
               connection with providing comments to Morrison &
               Foerster and Committee Counsel (1.10)

07/15/13 SJR   Review motion to dismiss counterclaims and related             2.80
               documentation and correspondence in connection with
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               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.70); review draft Answer that reflects comments
               of all parties including Curtis for finalizing for filing in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.10)

07/15/13 TF1   Review, provide comments on, and review comments by             9.00
               others provided on multiple drafts of Motion to Dismiss
               counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.80);
               meet with M. Moscato, E. Tobin, D. Bloom, B. Kotliar, J.
               Berman, M. Jones, E. Combs to discuss comments on
               Motion to Dismiss and delegation of tasks (1.00); prepare
               for Court conference before Judge Glenn on JSN
               adversary status, including review of correspondence
               from JSNs and the Debtors (.60); attend status
               conference before Court and post-conference strategy
               discussion with E. Tobin, D. Brown, and J. Levitt (1.00);
               participate in conference call with Morrison & Foerster and
               Kramer Levin on next steps (.40); review latest drafts of
               issue statement and scheduling order (.80); participate in
               call with E. Tobin, Morrison & Foerster, and Kramer Levin
               on latest turns of same (.80); review comments on answer
               and discuss same with S. Engelhardt, M. Moscato, and J.
               Berman (.50); attend to incorporation of comments from
               MoFo and Kramer Levin on Answer (1.10)



07/15/13 MJM   Review current draft of Motion To Dismiss JSNs'                 5.10
               Counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               teleconference with T. Foudy, E. Tobin, J. Berman, D.
               Bloom, B. Kotliar, M. Jones, and E. Combs re: edits to
               draft Motion to Dismiss (1.00); participate in conference
               call with counsel for Debtors and Creditors' Committee re:
               scheduling and discovery issues (.40); review revised
               draft of Answer to JSNs' Counterclaims (.60); discussion
               with J. Berman, T. Foudy, and S. Englehardt re: draft
               Answer to JSNs' Counterclaims (.50); review revised draft
               of Motion to Dismiss JSNs' Counterclaims (.60); review
               further revised draft Answer to JSNs' Counterclaims (.50);
               discussion with B. Kotliar re: Answer to JSNs'
               Counterclaims (.30); edit draft responses to JSNs'
               document requests (.60)


07/15/13 EC    Attend meeting with M. Moscato, T. Foudy, D. Bloom, E.         10.30
               Tobin, J. Berman, B. Kotliar, J. Weber, and M. Jones to
               discuss proposed edits and updates to draft Motion to
               Dismiss in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.00); attend to discovery
               requests and review of produced
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               documents related to JSN transactions (.30); research
               validity of lien release for collateral released by collateral
               agent on behalf of JSNs (1.60); research relating to
               confidentiality of mediation documents for letter brief
               (2.80); draft letter brief for dispute relating to preparation
               of log of each mediation document in Debtors' possession
               (4.30); meet with E. Tobin to discuss brief responding to
               JSN request for mediation documents (.30)


07/15/13 MPJ   Participate in telephone conference with M. Moscato, T.          3.80
               Foudy, E. Tobin, J. Berman, D. Bloom, E. Combs, B.
               Kotliar, and J. Weber regarding the Motion to Dismiss
               drafted by Kramer Levin (1.00); exchange e-mails with M.
               Moscato regarding whether draft expert witness reports,
               or communications with expert witnesses who ultimately
               do not testify, are discoverable (.50); continue research
               regarding whether a creditor is determined to be
               oversecured on a debtor-by-debtor basis or, in the
               alternative, if partial substantive consolidation allows for
               aggregation of collateral when determining a creditors
               oversecured status (2.30)

07/15/13 BMK   Prepare for teleconference re: Curtis comments to and            7.60
               open issues re: draft Motion to Dismiss in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties by reviewing draft and prior versions (.30); attend
               teleconference with T. Foudy, M. Moscato, E. Tobin, J.
               Berman, E. Combs, M. Jones, J. Weber, and D. Bloom re:
               same (1.00); research case law and statutory context re:
               avoidance actions as property of the estate for inclusion in
               draft motion to dismiss (.90); correspondence with D.
               Bloom re: same (.20); review JSN counterclaims to
               resolve open issues and acknowledgments for motion to
               dismiss (.30); review and revise draft answer to
               counterclaims per edits and comments of Morrison &
               Foerster and Committee, including update to affirmative
               defenses (1.70); multiple correspondence with J. Berman
               re: same re: open issue re: incorporation of certain
               pleadings into answer (.50); incorporate edits/comments
               of S. Englehart re: same (1.10); correspond with T. Foudy
               and M. Moscato re: circulating revised answer and
               summarizing changes (.30); draft portions of research
               protocol detailing case history re: mediation, examiner,
               and asset sale process (1.00); conference with M.
               Moscato re: open issues in draft Answer (.30)



07/15/13 JTW   Assist with incorporation of revisions to Debtors' Motion to     6.40
               Dismiss in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties to discuss Judge Gerber's
               GM decision and revise language with respect to other
               cited authority (1.40); revise Document Review Protocol at
               the request of J.
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               Berman to include adequate protection issues and
               description of Debtors' Platform and Legacy Sales to
               instruct upcoming document review project (1.80);
               conduct research re: valuation of creditors collateral with
               respect to adequate protection both as to temporal issues
               and valuation methodologies (1.60); further research re:
               classification of intercompany balances as "general
               intangibles" under the UCC (1.20); initial drafting of formal
               memorandum re: extent of JSNs' liens and whether such
               liens cover the intercompany balances (.20); call with E.
               Tobin to discuss document review protocol (.20)



07/15/13 DAB   Further review and revision to draft Motion to Dismiss in        6.30
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties per J. Berman and M. Moscato request
               (.80); correspond with J. Weber re: GM legal authority
               relied upon in same and drafting of explanatory email to J.
               Berman re: significance of same (.40); respond to J.
               Berman request re: Debtors’ insolvency (.30); further
               review of certain citations in draft Motion to Dismiss and
               research in order to improve description of same in same,
               per T. Foudy and J. Berman request (.80); review E.
               Tobin summary of chambers conference (.20); in-depth
               review of Silvernail case per J. Berman request in
               connection with draft motion to dismiss (.50); research
               regarding U.C.C. notice filing regime in connection with
               same (1.00); draft email memorandum to T. Foudy re:
               purported section 552(b) waiver by Debtors in respect of
               certain collateral (.80); review M. Jones email re:
               debtor-by-debtor allocation research assignment, and
               draft email response clarifying bankruptcy issues
               pertaining to same (.50); attend teleconference with T.
               Foudy, M. Moscato, E. Tobin, J. Berman, E. Combs, M.
               Jones, J. Weber, and B. Kotliar re: Motion to Dismiss
               (1.00)



07/15/13 ET    Telephone conference with counsel for the Debtors, the          11.60
               Committee and the JSNs re: outstanding discovery issues
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.80); review and revise
               proposed amended Scheduling Order according to the
               parties' agreements (.60); correspondence with J. Levitt
               and T. Foudy re: same (.30); review internal
               memorandum re: document review protocol (.60); draft
               email correspondence to M. Moscato, E. Combs, M.
               Jones, J. Weber, and B. Kotliar re: strategy and
               procedures for review of documents produced by Wells
               Fargo in connection with same (.30); email
               correspondence with counsel for Debtors and Committee
               re: proposed amended Scheduling Order and Statement
               of Issues and filing and service of the Debtors' Answer
               (.50); telephone call with J. Weber re:
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               document review (.20); correspond with B. Kotliar re: filing
               and service of the Debtors' Answer (.20); attend
               teleconference with T. Foudy, M. Moscato, D. Bloom, J.
               Berman, E. Combs, M. Jones, J. Weber, and B. Kotliar re:
               Motion to Dismiss (1.00); conference call with T. Foudy,
               counsel for the Debtors, and the Creditors Committee re:
               resolution of outstanding discovery disputes with the JSNs
               (.80); revise draft letter brief in support of Debtors' and
               Committee's position that mediation documents should
               not be produced or logged, and confer with E. Combs re:
               the same (5.00); correspond with B. Kotliar, G. Faust, and
               M. Crespo re: filng of the Debtors' answer and affirmative
               defenses and the Debtors' and Committee's joint motion
               to dismiss (.60); draft email to M. Moscato, T. Foudy, and
               J. Berman re: status of document review (.20);( ) confer with
               J. Berman re: subpoenas to Ad Hoc Group members (.20)
               meet with E. Combs re: mediation brief in support of
               Debtors' position re: withholding of mediation documents
               (.30)



07/15/13 JCB   Correspondence with S. Engelhardt, T. Foudy, and M.             8.00
               Moscato re: revisions to answer to JSNs' counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.80); meetings with M. Moscato, T. Foudy,
               E. Tobin, D. Bloom, M. Jones, E. Combs and B. Kotliar re:
               finalization of Motion to Dismiss Counterclaims (1.00); edit
               motion to dismiss (2.20); review case law cited in Debtors'
               draft Motion to Dismiss (1.40); revise document review
               protocol (.50); revise answer to JSNs' counterclaims
               consistent with comments from M. Moscato, T. Foudy and
               co-counsel and drafting additional affirmative defenses
               ((1.90);
                     ); confer with E. Tobin re: subpoenas
                                                    p      and discovery
                to be served on Ad Hoc Group members (.20)




07/15/13 KMZ   Load data into "Residential Capital-Wells Fargo" database       3.40
               for attorney review in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.40)


07/15/13 NG1   Review DVD received from Reed Smith in connection with          5.80
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); copy data to CMP Data Center in
               preparation for upcoming document review project (.80);
               process data using electronic discovery software in
               preparation for attorney review (3.20); create OCR for
               searching (1.20); email correspondence with E. Tobin and
               J. Berman regarding documents received from Reed
               Smith (.20)

07/15/13 MM9   Review processed documents received on DVD for                  1.20
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                  5825         Filed 03/03/14
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               accuracy in preparation for attorney review in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (1.20)

07/16/13 SJR   Continue work on Motion to Dismiss with respect to JSN        3.40
               counterclaims and review of case law, emails and other
               communication re: merits of motion to dismiss and
               documentation and case law reporting same (3.40)

07/16/13 TF1   Conference call with all parties to discuss revised           6.20
               Statement of Issues, Scheduling Order, and open
               discovery issues in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.20);
               confer with M. Moscato on document review protocol (.20)
               conference call with E. Tobin, M. Moscato, E. Combs, J.
               Weber, B. Kotliar, and M. Jones on same (.20); review
               draft document review protocol (.20); review new drafts of
               revised scheduling order and issues statement (.50);
               review additional comments to motion to dismiss (.50);
               review, revise, and finalize answer to counterclaims (1.60)
               conference call with C. Shore on discovery from Ad Hoc
               Group members (.20); review emails on discovery
               disputes (.20); participate in call with Kramer Levin and
               Morrison & Foerster regarding same (.50); exchange
               emails on research concerning adequate protection
               arguments (.20); confer with Morrison & Foerster's J.
               Levitt, G. Lee and L. Marinuzzi on service of subpoena on
               certain member(s) of Ad Hoc Group (.30); review JSN's
               motion to dismiss complaint (.40)



07/16/13 MJM   Exchange emails with N. Goodman of Curtis Litigation          2.60
               Support re: setting up access to database for Wells Fargo
               document review (.30); participate in meet-and-confer with
               counsel for Debtors, Committee, and JSN's re: discovery
               issues (1.20); teleconference with E. Tobin, T. Foudy, E.
               Combs, J. Weber, B. Kotliar, and M. Jones re: review of
               20,000 pages of Wells Fargo production (.20); review
               "final" draft of Motion to Dismiss JSNs' Counterclaims
               (.70); confer with T. Foudy on document review protocol
               (.20)

07/16/13 MG8   Telephone conference with L. Delehey of Residential           0.70
               Capital regarding Cerberus demand for release in
               exchange for consensual turnover of withheld distributions
               by CMH Holdings and related issues in connection with
               dispute with Cerberus, a conflict party (.30); follow-up
               correspondence with T. Smith and J. Zimmer regarding
               the same (.20); meet with J. Zimmer to discuss
               assignment to summarize CMH indemnity provisions and
               research enforce ability of the same (.20)


07/16/13 MAC   Review research done by Curtis team and conduct               2.50
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                        Filed 11/18/13   EnteredEntered 03/03/14
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               research related to precedential cases where collateral
               valuation was disputed and valuation issues in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (2.50)

07/16/13 GF    Assist B. Kotliar throughout the day with preparation of         6.40
               materials for filing of Plaintiffs' Answer and Affirmative
               Defenses to the Counterclaims of Defendants UMB Bank,
               N.A. and the Ad Hoc Group of Junior Secured
               Noteholders in consolidated adversary dockets including
               drafting of a chambers letter and updated service list in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (4.90); attend to filing and service of same
               including correspondence with B. Kotliar in connection
               with same (1.50)



07/16/13 EC    Review and revise letter brief relating to discovery of         12.70
               documents subject to mediation protective order for
               opposition for JSNs' anticipated motion to compel
               production in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
                                                           p
               noteholders Loomis and UBS are conflict parties    (    )
                                                                  (3.10);
               research effect off "mediation privilege"
                                              p      g claim under color
               of state law on requirements the mediation documents be
               logged (.90);
                       (     review documents in connection with review
               of Wells Fargo production (4.40); revise and expand
               document review to encompass additional categories of
               expected production (1.90); review Residential Capital
               claims and counterclaims to identify additional supporting
               documentation to be located through the discovery
               process (.40); teleconference with T. Foudy, M. Moscato,
               E. Tobin, J. Weber, M. Jones, and B. Kotliar re:
               parameters for document review and work product to be
               prepared reflecting contents of document review (.20);
               follow-up conference with E. Tobin, J. Berman, M. Jones,
               J. Weber, and B. Kotliar re: division of document review
               (.40); prepare description of important documents
               produced by Wells Fargo and narrative memorandum
               generally describing contents of production (1.40)




07/16/13 MPJ   Review document review protocol in connection with              12.10
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.50); conduct preliminary review of documents
               produced by Wells Fargo on 7/12/2013 in advance of
               meeting to discuss document review protocol (.50);
               participate in call with M. Moscato, E. Tobin, E. Combs, B.
               Kotliar, J. Weber, and J. Berman regarding review of
               documents produced by Wells Fargo (.20); participate in
               follow-up meeting with E. Combs, B. Kotliar, E. Tobin, J.
               Berman, and J. Weber to discuss division of
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               document review and methods for categorizing
               documents (.40); review and analyze documents
               produced by Wells Fargo in order to produce index of
               produced documents and basic description of said
               documents (3.40); review outline of documents disclosed
               and draft potential new tags for database (.90); confer
               with B. Kotliar to identify potentially necessary updates to
               document review protocol in light of review of the JSNs'
               counterclaims (.40); update draft of current document
               review protocol to incorporate the above referenced
               meetings (.60); begin review and categorization of
               documents produced by Wells Fargo between Bates
               Numbers WELLS_FARGO013887 and
               WELLS_FARGO017138 (5.20)

07/16/13 BMK   Teleconference with T. Foudy, M. Moscato, E. Tobin, M.          12.30
               Jones, J. Weber, and E. Combs re: document review
               protocol and anticipated work product in connection with
               dispute with JSNs over lien value and purported
               entitlement to post-petition interest, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (.20);
               review protocol and update open areas re: case history
               and facts re: same (.80); initial document review of loan
               agreement binders received from Wells Fargo re: same
               (.60); review document review protocol for instructions
               and streamlining procedures (.60); conference with E.
               Tobin, J. Berman, M. Jones, E. Combs, and J. Weber re:
               updated doc review procedures and related follow-up
               (.40); confer with M. Jones re: reviewing counterclaims to
               highlight key factual issues necessary for
               proving/disproving claims/counterclaims at trial (.40);
               perform document review of 250 documents, bates
               numbers WELLS FARGO_002636-005888 (3.90); review
               scheduling orders in consolidated adversary proceedings
               for filing and service procedures in connection with
               answer to JSNs counterclaims (.60); correspondence with
               T. Foudy and E. Tobin re: same including input from S.
               Englehardt and G. Horowitz re: same (.70); review and
               revise draft answer to prepare for filing, including review
               of recent substantive changes and open issues (1.70);
               coordinate preparation of service list and attorney contact
               information (.40); supervise service and filing of answer
               on both Committee and Debtor adversary proceeding
               dockets (1.50); review motions to dismiss filed by plaintiffs
               and defendants in the adversary dockets re: same (.50)




07/16/13 JTW   Internal meeting with T. Foudy, M. Moscato, E. Combs, M.        11.90
               Jones, B. Kotliar, E. Tobin, and J. Berman re: document
               review of production received from conflict party Wells
               Fargo in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.20); follow-up conference
               with E. Tobin, J. Berman, M. Jones, E. Combs, and B.
               Kotliar re: division of
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               production for individual review and initial drafting of work
               product to summarize review (.40); review Debtors'
               complaint and JSNs' counterclaims with E. Combs to
               identify and create tagging structure for document
               production re: scope of JSNs' liens, value of collateral,
               UCC-3's and Phase II issues, including (i) allocation of
               Ally Contribution, (ii) intercompany balances, (iii) RMBS
               Trusts, and (iv) Subordination (1.50); review of Wells
               Fargo's document production with Bates Nos. Wells
               Fargo_005889-011610 (9.20); confer with D. Bloom re:
               adequate protection research issues (.60)



07/16/13 DAB   Email T. Foudy re: page limit order re: Motion to Dismiss       9.30
               JSN counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.10);
               confer with J. Weber re: goodwill and adequate protection
               issues in connection with same (.60); review J. Weber
               email to E. Tobin re: same (.50); correspond with same re:
               review of various cases cited by JSNs dealing with
               adequate protection issues (.80); correspond with E.
               Combs re: interest rate issues in connection with
               response to JSN counterclaims (.30); extensive research
               regarding valuation of collateral for adequate protection
               purposes per T. Foudy and M. Moscato request (5.00);
               correspond with J. Weber throughout afternoon and
               evening regarding same (.70); in-depth review of cases
               cited by JSNs Motion to Dismiss related to same (1.30)



07/16/13 SS2   Per B. Kotliar's request, assemble materials re: JSN            3.50
               Litigation Discovery (2.50); distribute same to T. Foudy, E.
               Tobin, M. Moscato, and J. Berman (.50); circulate MTD
               filing to E. Tobin, E. Combs, M. Jones, T. Foudy, J.
               Berman and M. Moscato (.50)

07/16/13 ET    Conference call with main counsel for the Debtors, the          8.70
               Committee, and Defendants re: outstanding discovery
               disputes, focusing on withholding of mediation documents
               attorney-client privilege as well as communications with
               financial advisors, and negotiating language for the
               amended scheduling order and the joint statement of
               issues in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.20); review and revise
               amended scheduling order and related correspondence
               with J. Levitt and T. Foudy re: same (.50); conference call
               with T. Foudy, M. Moscato, J. Weber, B. Kotliar, M. Jones
               and E. Combs re: review of documents produced by Wells
               Fargo (.20); follow-up conference re: same with J. Berman
               E. Combs, M. Jones, B. Kotliar, and J. Weber (.40);
               review updated statement of issues and email
               correspondence re: the same (.50); extensive
               correspondence with S. Englehardt, G. Horowitz, J.
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                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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               Morris, A. Goodman and M. Crespo re: filing and service
               of Answer in order to comply with scheduling order and
               case management order (.80); conference call with T.
               Foudy, J. Levitt, J. Morris, G. Horowitz, R. Salerno and D.
               Brown re: outstanding discovery issues in advance of July
               17 status conference (.50); review and analyze Court
               Orders re: mediation, draft and revise mediation brief in
               support of the Debtors' position re: withholding of
               mediation documents, and related correspondence with E.
               Combs re: same (3.50); numerous correspondence with J.
               Berman, E. Combs, M. Jones, B. Kotliar, and J. Weber re:
               review of documents produced by Wells Fargo, and
               follow-up emails re: same (.90); draft email to T. Foudy
               and M. Moscato re: status of document review and
               analysis of legal issues (.20)



07/16/13 JZ    Meet with M. Gallagher regarding issues related to CMH         0.70
               dispute with Cerberus, a conflict party, and
               indemnification provisions in LLC agreement (.20); review
               files in connection with same, including review of LLC
               agreement, purchase agreement, and prior research in
               connection with same (.50)

07/16/13 JCB   Teleconference with E. Tobin, T. Foudy, M. Moscato, E.         3.90
               Combs, M. Jones, B. Kotliar, and J. Weber re: document
               review of production received from conflict party Wells
               Fargo in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.20); follow-up with E. Tobin,
               E. Combs, M. Jones, B. Kotliar, and J. Weber re: same
               (.40); review and revise Answer to JSNs' counterclaims
               ((1.10);
                      ) review off June 2012 letter from Aurelius Capital
                Management to JSNs (.30); update research outline to
                reflect Phase II issues (.50); review research findings re:
                intercompany claims and adequate protection (.60); revise
                document review protocol (.80)



07/17/13 SJR   Attend to issues regarding JSN and discovery in                1.10
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.10)

07/17/13 TPS   Review email regarding pursuing indemnification on             0.30
               analysis in connection with CMH issue handled by Curtis
               as conflict counsel, and follow up correspondence with M.
               Gallagher in connection with same (.30)


07/17/13 TF1   Confer with M. Moscato on disputep     regarding
                                                        g     g conducting    4.50
               discovery of individual members of Ad Hoc Group in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.20); review email from C. Shore
               proposing compromise regarding same
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                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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               (.20); emails with client and Morrison & Foerster on
               response to compromise and calls with L. Marinuzzi
               regarding same (.40); review latest comments to, and
               drafts of, Issues Statement and Revised Scheduling Order
               (1.20); participate in conference call with JSNs to resolve
               disputes and finalize same (.50); review and edit draft
               letter brief on discoverability of mediation documents
               (1.00); finalize submissions to court and emails on same
               (.40); review memo of research issues and follow-up in
               regards to status on completion of same (.60)


07/17/13 MJM   Review JSNs' Motion to Dismiss several counts of                1.50
               Debtors' Complaint in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.70);
               review emails re: finalizing Statement of Case and
               Discovery Plan to be submitted to J. Glenn (.30); confer
               with T. Foudy re: same (.20); review emails by D. Bloom
               and J. Weber analyzing the issue of whether the JSN's
               have a lien on Intercompany Claims (.30)

07/17/13 MAC   Conduct research on valuation issues in connection with         1.60
               adequate protection and diminution claims asserted by
               JSNs and potential arguments related to same in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.60)

07/17/13 GF    Draft Chambers transmittal letter re: 7/16/13 filing of         1.50
               Plaintiffs' Answer and Affirmative Defenses to the
               Counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties and
               correspondence with B. Kotliar on same (1.50)

07/17/13 EC    Review additional documents from Wells Fargo                    6.20
               production relating to lien releases and creating
               memorandum reflecting relevant contents of the
               production in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.20);
               research relating to validity of liens released by agents of
               a secured creditor and ability of the secured creditor to
               "reinstate" released liens (.70); confer with E. Tobin and J.
               Berman re: memorandum re: documents produced by
               Wells Fargo and results of review (.80); research specific
               requirements that may exist for creating of new liens or
               reinstatment of liens in an order of the bankruptcy court
               (1.40); review JSNs' Supplemental Mediation Motion (.30);
               meet with D. Bloom to discuss strategy in addressing lien
               release issues in light of Cash Collateral Order argument
               put forward in the Ad Hoc Group's Motion to Dismiss (.80)



07/17/13 MPJ   Review and categorize documents produced by Wells               7.50
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12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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                                                           16:21:23            Exhibit
                                                                      Main Document
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               Fargo with the Bates numbers
               WELLS_FARGO017139-020140 in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.70); draft and review memorandum
                                                       g
               summarizing initial review of Wells Fargo's Julyy 12, 2013
                           p
               document production     ( ) draft subpoena
                                       (.40);        p      and
               accompanying
                      p y g schedule of document requestsq      to Aurelius
               Capital
                  p    Management
                             g        LP seekingg production
                                                  p          of all
               documents and communications related to the various
               topics
                 p    outlined in M. Brodsky'sy June 26, 2012 letter to the
               Ad Hoc Group of Residential Capital's JSNs (4.50);
               discuss same with J. Berman (.90)

07/17/13 BMK   Coordinate production and delivery of chambers copies of        3.80
               answers filed and served in the consolidated adversary
               proceeding where Wells Fargo and noteholders UBS and
               Loomis are potential conflict parties (.50); review
               discovery protocol and work product in connection with
               review of documents received from Wells Fargo, a conflict
               party, in connection with same (1.10); email
               correspondence with J. Weber, E. Combs, and M. Jones
               re: same and providing update re: binder two containing
               financing statements in connection with prepetition loan
               documents (.50); review Motions to Dismiss filed in
               connection with same and impact upon ongoing research
               projects (1.70)



07/17/13 JTW   Continue document review of Wells Fargo production of           7.70
               Bates Nos. WELLS FARGO_011611-013886 in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (5.60); correspond with B. Kotliar, M.
               Jones and E. Combs re: producing summary
               memorandum of Wells Fargo's document production for T.
               Foudy's review (.30); review of JSNs' Motion to Dismiss
               Counts III and V (.90); continue research to identify
               whether the JSNs' liens on general intangibles includes
               the intercompany balances and "good will" (.90)



07/17/13 DAB   Monitor FGIC settlement hearing telephonically in              11.20
               connection with impact on JSN discovery issues in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.50); draft detailed summary of same for
               T. Foudy and S. Reisman, including legal and factual
               background relevant to JSN dispute (1.20); review T.
               Foudy research request re: general intangibles extension
               to intercompany claims (.40); research re: whether
               general intangibles (and/or accounts) lien includes
               intercompany claims per T. Foudy request (1.80); review
               of July 3 conference transcript in connection with same
               (.80); draft email memorandum suggesting
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               follow-up research and analysis regarding same based on
               prepetition documents and Judge Glenn’s statements re:
               same (.80); review and circulate case management
               notice/agenda for 7/18 conference (.20); begin drafting
               and revising portion of adequate protection memo re:
               background on adequate protection issues for T. Foudy,
               M. Moscato, and E. Tobin including adequate protection in
               equity cushion and case law pertaining to section 506(b)
               of the Bankruptcy Code (1.20); correspond with B. Kotliar
               and J. Weber re: same (.80); review J. Weber’s summary
               of SW Boston case for incorporation into same (.50);
               shepardize SW Boston case and review citing cases in
               connection with adequate protection research (1.20);
               meet with E. Combs to discuss lien release issue and
               cash collateral order argument raised by JSNs' Motion to
               Dismiss (.80)



07/17/13 SB    Prepare sets of case law cited in Motion to Dismiss in         1.00
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties per J. Berman (1.00)


07/17/13 SS2   Per B. Kotliar's request, update documents and update          2.00
               materials re: JSN Litigation Discovery (1.50); distribute
               same to T. Foudy, E. Tobin, J. Berman, and M. Moscato
               (.50)

07/17/13 ET    Conference call with T. Foudy, S. Engelhardt, T. Goren, G      3.20
               Horowitz, C. Shore, D. Baumstein, D. Newman, B. Carney
               and D. Schlecker re: outstanding discovery issues in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50); review and revise amended
               scheduling order, create redline comparing to prior
               scheduling order, and provide to S. Engelhardt for
               submission to the Court (.80); confer with E. Combs and J
               Berman re: memorandum re: Wells Fargo document
               production (.80); multiple correspondence with J. Berman,
               M. Moscato, and T. Foudy re: research of outstanding
               legal issues (1.10)

07/17/13 JCB   Review of JSNs' motion to dismiss in connection with           5.60
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties and cases cited therein (1.70); confer with E.
               Combs and E. Tobin re: Wells Fargo production and
               results of review ((.80);
                                      ) discussions with M. Jones re:
               preparation off subpoena to Aurelius Capital
                                                        p    (
                                                             (.90); review
                      y g document relating
               underlying                    g to subpoena and revise draft
               subpoena in anticipation of service (2.20)

07/18/13 TPS   Review update on Debtors' views on pursuing claims in          0.60
               connection with CMH dispute with Cerberus, a conflict
               party (.20); attention to indemnity review and research
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               points in connection with same (.40)

07/18/13 MJM   Participate in conference call with E. Tobin, counsel for      1.90
               Debtors, Creditors' Committee, and JSNs re: resolving
               open issues scheduled for today's conference with J.
               Glenn in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.30); review memo listing
               legal research issue for Phase I trial (.40); participate in
               meeting with J. Berman and E. Tobin to discuss legal
               research assignments and subpoena
                                               p        to Aurelius (1.00);
               review draft off subpoena to Aurelius (.20)


07/18/13 MG8   Conduct research under sections 362 and 542 of the             2.40
               Bankruptcy Code in connection with a possible action
               against CMH Holdings/Cerberus related to its withholding
               of distributions owned to the Debtors by CMH Holdings in
               connection with dispute handled by Curtis as Conflicts
               Counsel (1.20); further review indemnity and limitation of
               liability provisions under the LLC and Purchase
               Agreements for CMH Holdings in connection with same
               (.70); correspond with J. Zimmer regarding his research in
               connection with applicability of indemnity provisions to
               actions of CMH Holdings and Cerberus and general
               enforceability of those provisions under applicable law in
               connection with same (.30); telephone conference with N.
               Rosenbaum regarding situation with CMH Holdings and in
               connection with next steps (.20)



07/18/13 EC    Research relating to authority of an agent and/or secured      9.30
               party to release collateral documents in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.10); review contract documents to determine
               secured status of JSN and other related parties as well as
               collateral release provisions in connection with the
               Debtor's third count seeking declaration that lien releases
               were valid (4.00); correspond with M. Jones re: contents
               of Wells Fargo production to conform all section to similar
               style and ensure that fulsome description is provided in
               each section (.20); draft portion of memo reflecting
               contents of Wells Fargo production analysing importance
               of certain collateral release documents (1.00); complete
               and assemble draft memorandum to Morrison & Foerster,
               providing synopsis and analysis of document produced by
               Wells Fargo (.40); conference with E. Tobin, J. Berman, D
               Bloom, J. Weber, B. Kotliar, and M. Jones to discuss
               research tasks to address open issues raised by JSNs'
               Motion to Dismiss (.60)



07/18/13 MPJ   Review the JSNs' Motion to Dismiss in connection with          6.40
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
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               p
               parties (.80);
                       ( ) update
                               p    draft off subpoena
                                                 p     to be served on
               Aurelius Capital Management LP to incorporate
               comments of M. Moscato, T. Foudy, and J. Berman (2.90)
               begin review of case law cited by the JSNs' Motion to
               Dismiss regarding whether a creditor's oversecured status
               is determined on a debtor-by-debtor or aggregate basis in
               connection with prior legal research performed re: same
               (.40); update memorandum summarizing results of the
               review of all documents produced by Wells Fargo on
               07/12/2013 (1.70); meet with E. Tobin, J. Berman, D.
               Bloom, J. Weber, E. Combs, and B. Kotliar to determine
               current research needs regarding various legal issues in
               advance of filing a Reply or Motion for Summary
               Judgment in the adversary proceeding (.60)



07/18/13 BMK   Email correspondence with E. Tobin and C. Cu at KCC re:          3.30
               service of answer via first class mail and email upon
               special service list in connection with JSN adversary
               proceeding where Wells Fargo and noteholders UBS and
               Loomis are conflict parties (.50); review case
               management order and scheduling order in adversary
               proceeding in connection with same (.70); review email
               correspondence from Morrison & Foerster re: same (.20);
               conference with E. Tobin, J. Berman, D. Bloom, J. Weber,
               E. Combs, and M. Jones re: research tasks outline and
               legal memoranda work product to be produced re: open
               issues (.60); begin drafting memo re: count IV of the
               Debtor Complaint and JSNs counterclaims 7, 9 re: liens
               on avoidance actions and prepetition causes of action
               (1.30)


07/18/13 JTW   Conduct research re: case law interpreting valuation of         13.70
               prepetition collateral under section 506(a) of the
               Bankruptcy Code in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.80);
               continue research re: valuation of collateral with particular
               focus on cases applying valuation principles in the
               adequate protection context (2.70); conduct research re:
               courts' interpretation of valuation in the context of
               creditors' claims for failure of adequate protection and
               diminution claims (2.10); narrow research to review cases
               focusing on instances were a debtor's use of cash
               collateral constituted a diminution in value of a prepetition
               lender's collateral (3.10); conduct research to locate case
               law supporting the argument that an aggregate increase
               in value of a lender's prepetition collateral as measured
               from the petition date negates the lender's assertion that
               use of cash collateral causes a diminution for which a
               debtor must compensate lender (2.40); conference with E.
               Tobin, J. Berman, D. Bloom, E. Combs, B. Kotliar, and M.
               Jones re: research tasks outline and legal memoranda
               work product to be produced re: open issues (.60)
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07/18/13 DAB   Extensive updates to JSN litigation Work in Process chart       9.50
               per J. Berman request and direction in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               p       (
               parties (2.20); review emails from White & Case re:
               Aurelius issues and reply to T. Foudy re: same (.30);
               correspond with B. Patane and G. Faust re: updates to
               JSN litigation calendar (.30); correspond with B. Kotliar re:
               bankruptcy procedure for service of Motion to Dismiss
               (.10); meet with J. Berman and E. Tobin re: JSN litigation
               open research issues (.80); update outline of same per
               guidance provided by E. Tobin at meeting (.30); review E.
               Tobin email re: same (.10); extensive further research
               regarding adequate protection issues in connection with
               analysis of JSNs’ counterclaims with respect to same
               (2.30); further drafting of memorandum re: same (1.80);
               correspond with J. Weber throughout the day re: same
               (.70); conference with E. Tobin, J. Berman, B. Kotliar, D.
               Bloom, J. Weber, E. Combs, and M. Jones to discuss
               research tasks to address open issues raised by JSNs'
               Motion to Dismiss (.60)



07/18/13 SB    Prepare sets of case law and other materials relied upon        7.00
               in the Motion to Dismiss filed in the Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties per J.
               Berman (7.00)

07/18/13 SS2   Per B. Kotliar's request, update materials re: JSN              2.20
               Litigation Discovery (1.50); distribute same to T. Foudy, E.
               Tobin, J. Berman, and M. Moscato (.50); organize
               materials electronically and make available to same (.20)


07/18/13 ET    Conference call with M. Moscato, counsel for the Debtors,       6.20
               the Creditors' Committee, and the Ad Hoc Group of Junior
               Noteholders re: resolution of outstanding issues, including
               Statement of Issues and modified scheduling order in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.30); revise scheduling order and confer
               with S. Engelhardt re: the same, and send copy to Judge
               Glenn's clerk (.70); discussions with M. Moscato and J.
                              g research issues and strategy
               Berman re: legal                              gy re:
               subpoena to serve on Ad Hoc Group member (1.00);
               review and analyze Ad Hoc Group's supplemental
               document requests and provide analysis to T. Foudy and
               M. Moscato (1.10); review revised memorandum re:
               analysis of documents produced by Wells Fargo and
               confer with E. Combs re: the same (.80); continue to
               review revised motion to dismiss (.60); follow up
               correspondence re: same with M. Moscato and T. Foudy
               (.30); conference with J. Berman and D. Bloom
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               re: additional research tasks (.80); conference with J.
               Berman, D. Bloom, J. Weber, B. Kotliar, E. Combs, and M
               Jones to discuss research tasks to address open issues
               raised by JSNs' Motion to Dismiss (.60)

07/18/13 JCB   Meeting with E. Tobin, D. Bloom, B. Kotliar, J. Weber, E.      9.50
               Combs, J. Berman, and M. Jones re: legal research
               issues for Phase I in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               review completed research memos (1.30); review case
                                                      (
               law cited in JSNs' motion to dismiss (1.50); )
               revise/complete subpoenas to members of Ad Hoc Group
               (.80); initial review of JSNs' motion to disqualify counsel
               (2.10); review memorandum summarizing documents
               produced by Wells Fargo (.50); review Ad Hoc Group's
               supplemental mediation motion (.60); revise outline of
               legal research issues (.30); conference with E. Tobin and
                                                         ( ) meet with M.
               D. Bloom re: additional research tasks (.80);
               Moscato and E. Tobin re: subpoenas on individual Ad Hoc
               Group members (1.00)



07/19/13 TF1   Exchange g emails with C. Shore on subpoenas on                2.00
               individual members of Ad Hoc Group in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.20); discuss approach to same with M. Moscato
               (.20); attend to preparation, service, finalization,
               modifications, and review off subpoenas on individual
               members of Ad Hoc Group ((1.40); emails with Morrison &
               Foerster, L. Kruger, and Committee counsel regarding
               same (.20)

07/19/13 JFC   Telephone conversation with M. Jones regarding
                                                           g     g            0.20
               p
               possibilityy of need for expedited
                                          p       service of Subpoenae
               upon Aurelius Capital Management in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.10);
               dictate memorandum to J. DiCanio of Serving by Irving
               advising of same (.10)

07/19/13 EC    Research the interpretation of contract or order language     10.60
               describing documents "executed in connection with" a
               transaction and whether such language would be
               interpreted broadly or limited to those documents
               executed along with master agreement in connection with
               Curtis’ role as conflicts counsel, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (5.20);
               draft extensive email to E. Tobin relating to "executed in
               connection with" issue referenced above and revising
               draft to rebut specific assertion made by the Ad Hoc
               Group in their motion to dismiss (2.70); research the
               validity of liens released under the JSN Indenture and
               Intercreditor Agreement and whether such releases were
               valid
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               under the express language of the contracts (2.10); draft
               outline of memorandum reflecting partial research relating
               to release of liens (.60)

07/19/13 MPJ   Review and analyze case law cited in the JSNs' Motion to        6.60
               Dismiss regarding whether a creditor's over-secured
               status should be determined in reference to each debtor
               entityy or in aggregate
                              gg g      (    ) p
                                        (3.50);    p
                                                prepare broad subpoenas
                                                                 p        to
               potentiallyy be served on each of the Ad Hoc Group
               p                                                   p
               Members on 7/22/2013 (2.10);
                                          (     ) prepare
                                                  p p        p
                                                          subpoena  to
               Aurelius Capital
                              p   (to
                                  ( be served on 7/22/2013)) that is
               narrowly y tailored to documents relating to Aurelius' June
               26, 2012 letter to the JSNs (.90); discuss service of same
               with J. Clyne (.10)

07/19/13 BMK   Continue drafting memorandum re: prepetition liens on           1.70
               avoidance actions and state law claims in connection with
               Count IV of Debtor Complaint and Counterclaims 7 and 9
               in connection with adversary proceeding against the JSNs
               where Loomis, Wells Fargo and UBS are potential conflict
               parties (1.70)

07/19/13 JTW   Conduct research for response to JSNs' argument in              3.10
               Motion to Dismiss re: status of JSNs' liens as stipulated
               under the Final Cash Collateral Order and effect of
               prepetition releases of collateral with specific focus on the
               effect of the language "executed in connection with" found
               in the language of the Final Cash Collateral Order (2.80);
               correspondence with E. Tobin and J. Berman re: status of
               research as to memorandum addressing claims and
               counterclaims re: adequate protection and post-petition
               interest (.30)

07/19/13 DAB   Review and summarize FRB consent payment motion                 1.40
               response by JSNs in connection with JSN litigation (.20);
               review cases re: adequate protection issues provided by J
               Weber for potential inclusion in draft memorandum re:
               same (1.20)

07/19/13 ET    Confer (via email and telephone) with M. Moscato, J.            3.30
               Berman, and B. Kotliar re: opposition to the Ad Hoc
               Group's motion for disqualification of Debtors' counsel,
               including Curtis, including in connection with the
               interdebtor disputes (1.10); email correspondence with M.
               Crespo and A. Ruiz re: research for the Debtors'
               opposition to the Ad Hoc Group's motion to dismiss the
               Amended Complaint and confer with E. Combs and T.
                Foudy re: research re: "in connection with requirement,"
                and draft email to M. Crespo and A. Ruiz re: the same
               ((1.10);
                     ) confer with T. Foudy  y and M. Jones re: subpoenas
               to members of the Ad Hoc Group and review drafts of the
                same, in connection with Curtis’ role as conflicts counsel,
                as Wells Fargo and noteholders UBS and Loomis are
                potential conflict parties (1.10)



07/20/13 TF1   Exchange emails with C. Shore and M. Moscato                    0.10
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               regarding
                 g     g scheduling
                                  g a call on subpoena of individual Ad
               Hoc Group members in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.10)


07/20/13 EC    Review all credit agreement provisions relating to release      2.60
               of collateral and preparing synopsis of provisions to
               prepare analysis of authorization to release liens under
               agreements connection with Curtis’ role as conflicts
               counsel in JSN litigation, as Wells Fargo and noteholders
               UBS and Loomis are potential conflict parties (2.60)


07/20/13 MPJ   In connection with Curtis' role as conflicts counsel in JSN     1.70
               litigation, as Wells Fargo and noteholders Loomis and
               UBS are conflict parties, conduct research regarding
               whether a creditor's oversecured status is determine on a
               debtor-by-debtor basis or in the aggregate (1.70)


07/21/13 TF1   Prepare
                  p    for call with C. Shore to discuss Aurelius              0.60
               subpoena (.10); conference call with C. Shore and M.
               Moscato on same (.50)

07/21/13 MJM   Participate
                      p    in conference call with T. Foudy and C. Shore       0.50
               re: subpoenas to JSNs in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.50)

07/21/13 MG8   Attend to revision of draft memo regarding CMH dispute          1.80
               with Cerberus, a conflict party, and related indemnification
               provisions handled by Curtis as Conflicts Counsel (1.40);
               follow-up correspondence with J. Zimmer regarding the
               same (.40)

07/21/13 EC    Review JSN Notes documents relating to collateral               2.10
               release in connection with Curtis’ role as conflicts counsel,
               as Wells Fargo and noteholders UBS and Loomis are
               potential conflict parties (1.40); draft outline of release
               provisions (.70)

07/21/13 DAB   Email correspondence with M. Jones re: determination of         0.20
               secured status on debtor-by-debtor JSN argument and
               case law re: same in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.20)

07/22/13 TF1   Call with Judge Peck to discuss scheduling of mediation         0.50
               session in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50)

07/22/13 MG8   Review and comment on further revised memo on CMH               1.10
               Holdings, the Examiner report, relevant provisions of the
               agreements, and follow-up correspondence with J.
               Zimmer regarding the same
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               (.80); attend to correspondence with J. Zimmer and P.
               Buenger regarding research done on potential causes of
               action in connection with CMH handled by Curtis as
               Conflicts Counsel (.30)

07/22/13 EC    Research ratification of pledge or security documents by a     5.70
               principal similarly situated to the JSNs in this proceeding
               in connection with Curtis’ role as conflicts counsel, as
               Wells Fargo and noteholders UBS and Loomis are
               potential conflict parties (1.10); conduct research relating
               to potential treatment of Wells Fargo as an agent of the
               JSNs rather than as the secured party (2.20); review
               Motors Liquidation case containing in depth analysis
               secured financing release authorization for the
               preparation of a memorandum analyzing collateral
               releases in this proceeding (.90); draft memorandum
               section analyzing possibility of pledge or security interest
               releases under an independent clause of the JSN pledge
               agreement (1.50)



07/22/13 MPJ   Continue investigation of case law discussing whether a        6.60
               secured party's status as over or under secured is
               determined on a debtor-by-debtor, or aggregate, basis in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (3.00); draft memorandum summarizing
               results of research, concluding that Courts who have
               considered the issue have held that a creditors
               oversecured status is determined by referencing all
               collateral owned by debtor entities (3.60)


07/22/13 JTW   Review of Debtors' disclosure statement to identify            4.90
               provision discussing the treatment of intercompany
               balances and provide brief summary for T. Foudy and M.
               Moscato (.60); draft section of memorandum addressing
               issues related to adequate protection and diminution
               claims focusing on the timing of when courts will value a
               lender's collateral for purposes of adequate protection
               (1.90); draft section of memorandum re: same as to
               methodology applied to in case-by-case basis as to
               liquidation valuation or going concern valuation (2.40)


07/22/13 DAB   Email references in Disclosure Statement to intercompany       4.90
               balances to T. Foudy in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.20); review and analyze
               Revolution Dairy case re: debtor-by-debtor issue in
               Debtors’ complaint (.30); review JSNs’ Examiner
               submission and confer with E. Combs re: Consent and
               Direction letters referenced in same (.40); respond to T.
               Foudy email re: disclosure statement objection deadline
               and process for handling reply to same and correspond
               with T. Foudy and P.
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               Buenger re: same (.30); review and comment on J. Weber
               draft section of adequate protection memo and read and
               analyze cases cited in same (2.20); extensive revisions to
               J. Weber section of memo re: same (1.50)

07/23/13 TPS   Review and finalize draft memo to L. Delehy in connection       1.10
               with CMH matters handled by Curtis as Conflicts Counsel
               regarding indemnification law and strategy (1.10)


07/23/13 TF1   Review M. Jones' memo on viewing over-security on an            1.10
               aggregate or debtor-by-debtor basis and draft memo with
                                                          ) follow-up
               follow-up questions in regards to same (.70);        p on
                  g
               negotiations with Ad Hoc Group regarding discovery of
               group members in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.40)

07/23/13 MG8   Review and comment on summary prepared by J. Zimmer             0.70
               of indemnification provisions applicable to CMH Holdings
               dispute with Cerberus, a conflict party (.50); related
               follow-up correspondence with T. Smith (.20)


07/23/13 GF    Draft, revise, and file affidavits of service for Plaintiffs’   0.90
               Answer and Affirmative Defenses to the Counterclaims of
               Defendants UMB Bank, N.A. and the Ad Hoc Group of
               JSN on UCC v. UMB Bank and Residential Capital v.
               UMB Bank case dockets in conference with B. Kotliar in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.90)

07/23/13 EC    Draft memorandum assessing the release of the JSNs              0.80
               liens in light of Section 8.04 of the JSN Indenture
               providing for such release in connection with JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.80)

07/23/13 MPJ   Update memorandum summarizing case law supporting               0.70
               Count V of the Debtors' complaint to incorporate J.
               Berman's comments in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.70)


07/23/13 BMK   Review and revise memorandum re: count IV of Debtor             1.70
               Complaint and corresponding Counts 7 and 9 of JSN
               Counterclaims re: prepetition liens on state law claims and
               avoidance actions in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.70)

07/23/13 JTW   Multiple conferences with D. Bloom re: JSNs' alleged            8.40
               diminution claims, adequate protection analysis, and
               structure of argument in preparation for potential summary
               judgment motion in connection with JSN
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                Adversary Proceeding where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (2.10);
                draft sections of memorandum assessing arguments with
                respect to Count II of the Debtors' complaint with
                particular focus on methodologies and timing of valuation
                re: diminution claims re: same (2.60); continue drafting
                research as to valuation methodologies for adequate
                protection issues and the effect certain arguments will
                have on arguments related to JSNs' alleged entitlement to
                post-petition interest re: same (1.80); incorporate
                additional authority into draft memorandum re: Debtors'
                Count II re: same (1.90)

07/23/13 DAB    Correspond with E. Tobin re: draft memo and remaining          6.80
                research to be performed in connection with JSN
                Adversary Proceeding where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (.30);
                extensive review of case law regarding valuation of
                various types of collateral for diminution purposes in
                connection with JSN litigation re: same (1.80); review of
                outline of relevant facts for inclusion in adequate
                protection memorandum re: same (.80); review M. Jones
                memorandum re: oversecured status and
                debtor-by-debtor argument re: same (.70); email E. Tobin
                re: status of adequate protection memo (.10); research
                regarding use of asset sale value to measure adequate
                protection diminution claim and conduct in-depth review of
                JSN cases and published and unpublished cases
                pertaining to same in connection with JSN litigation (1.00);
                confer throughout the day with J. Weber re: same (2.10)



07/23/13 PJB2   Review research re: turnover actions pursuant to section       0.60
                542 of the Bankruptcy Code and relevant case law within
                the Second Circuit in connection with obtaining Debtors'
                funds held by conflict party Cerberus in connection with its
                role as managing member of CMH (.50); correspondence
                with M. Gallagher re: same (.10)


07/23/13 JCB    Review/revise memorandum and related case law                  2.20
                concerning argument that JSNs must establish that they
                are oversecured with respect to an individual debtor,
                rather than debtors as a whole in connection with
                Consolidated JSN Adversary Proceeding where Wells
                Fargo and noteholders Loomis and UBS are conflict
                parties (2.20)

07/24/13 SJR    Update on all-hands meeting on JSN litigation preparation      0.60
                in connection with Consolidated JSN Adversary
                Proceeding where Wells Fargo and noteholders Loomis
                and UBS are conflict parties (.60)

07/24/13 TPS    Conference with M. Gallagher regarding memo to client          0.50
                and additional research points in connection with CMH
                Holdings dispute with Cerberus, a conflict party (.30);
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               review list of additional documents requested from client
               re: same (.20)

07/24/13 TF1   Review and respond to C. Shore email regarding
                                                          g      g             5.80
                    p
               compromise    concerning discovery from members of Ad
               Hoc Group in connection with JSNs' Adversary
               Proceeding due to involvement of conflict parties Wells
               Fargo and certain members of Ad Hoc Group (.40);
               participate in "all hands" meeting with Debtors and
               Committee counsel to discuss response to proposed
               additional counterclaim and preparation for trial, and
               follow-up discussion with Morrison & Foerster on
               document review (3.20); review, analyze and provide
               comments to Morrison & Foerster on draft proposed
               additional counterclaim (1.10); confer with E. Combs on
               research regarding ability to amend counterclaims (.20);
               review draft opposition to motion to dismiss counterclaims
               and draft follow-up research question to E. Combs (.60);
               confer with M. Moscato re: latest edits to draft of same
               (.30)


07/24/13 MJM   Review J. Levitt's proposed edits to draft Opposition to        1.90
               JSNs' disqualification motion, which sought to remove
               Debtors' legal counsel, including Curtis (.70); follow-up
               conversation with T. Foudy and J. Berman re: revisions to
               draft Opposition to JSNs' disqualification motion (.30);
               review latest draft of Opposition to JSNs' disqualification
               motion reflecting Morrison & Foerster's suggested
               revisions (.60); discussion with T. Foudy re: edits to latest
               draft of Opposition to JSNs' disqualification motion (.30)


07/24/13 MG8   Correspondence with L. Delehey regarding obtaining              1.70
               certain documents for CMH Transaction dispute with
               Cerberus, a conflict party and related follow-up with J.
               Zimmer (.40); review briefly certain CMH transaction
               documents sent by Residential Capital in connection with
               the review of CMH's indemnification obligations (.60);
               confer with T. Smith regarding CMH indemnity provisions
               (.30); provide comments on summary of indemnification
               provisions (.30); follow-up correspondence with J. Zimmer
               regarding same (.10)

07/24/13 MAC   Conduct analysis of issues in connection with the               1.80
               appropriate method of valuation re: secured/unsecured
               claims in a situation where a party does not have a lien on
               the entirety of a collateral pool in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.80)

07/24/13 EC    Research grounds to object to the amendment of a                4.10
               complaint or counterclaim in preparation for the JSNs
               motion to add an additional, duplicative counterclaim in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are
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               potential conflict parties (3.50); draft email to M. Moscato
               re: ground for objection to a duplicative counterclaim as
               (.40); confer with T. Foudy on research re: amending
               counterclaims (.20)

07/24/13 MPJ   Review decision in In re: SW Hotel (Bankr. D. Mass) to         2.20
               respond to T. Foudy's question regarding substantive
               consolidation in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.20);
               draft e-mail to T. Foudy describing (a) the underlying plan
               in SW Hotel, (b) that plan's provisions for substantive
               consolidation, and (c) the impact substantive
               consolidation had on the Judge's decision in SW Hotel to
               determine a creditors oversecured status on a
               debtor-by-debtor basis (.30); compare the Ad Hoc Group
               of JSNs' counterclaims with their proposed additional
               counterclaims to determine whether the new
               counterclaims represent topics not otherwise covered by
               the original counterclaims (1.20); draft e-mail to T. Foudy,
               M. Moscato, E. Tobin, and J. Berman, summarizing why
               the JSNs' proposed counterclaims are encompassed by
               their original counterclaims (.50)



07/24/13 BMK   Review and revise memorandum re: liens on prepetition          2.60
               causes of action and avoidance claims in connection with
               JSN Adversary Proceeding where Loomis, UBS, and
               Wells Fargo are conflict parties (.70); conference with M.
               Jones re: JSNs' proposed supplemental counterclaim and
               whether such claim is duplicative of or overlap with other
               counterclaims (.30); review same and compare to
               counterclaims in order to provide comprehensive analysis
               of potential prepetition claims that the JSNs assert liens
               on (1.00); draft email correspondence to T. Foudy
               summarizing merits of any potential non-duplicative
               claims and arguments in favor of duplication (.60)



07/24/13 JTW   Review further case law focusing on valuation of collateral    9.30
               as a going-concern as opposed to liquidation value for
               purposes of adequate protection in connection with JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.70);
               review of cash collateral order [[Docket No. 491]] to
               determine if there is reference to valuation concerns or
               methodologies
                           g    used to determine the JSNs' were
               undersecured as stated in Cash Collateral Motion (1.20);
               review of In re: Rash and its progeny re: valuation of
               collateral where a debtor seeks to retain collateral and the
               effects of this analysis on the valuation for purposes of
               adequate protection and diminution claims (3.30); draft
               section of memorandum addressing JSNs' adequate
               protection liens with focus on going-concern valuation
               methodology the court is likely to apply (1.60); review of
               e-mail memorandum
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               provided by M. Jones re: SW Boston's treatment of the
               debtor-by-debtor analysis with respect to creditor's status
               as oversecured (.50)

07/24/13 DAB   Review correspondence from J. Weber re: cash collateral        8.40
               analysis in connection with adequate protection research
               and respond to same in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.80); extensive further
               review of case law discussing various approaches to
               relevant date from which a diminution claim will be valued
               and how valuation methodologies and timing affect a
               secured creditor’s entitlement to post-petition interest
               (2.50); draft sections of adequate protection memo re:
               same (2.80); correspond with J. Weber throughout the
               day re: open issues with respect to same (1.50); further
               review of cases provided by J. Weber re: sub-issues
               address in memorandum re: same (.80)



07/24/13 ET    Attend meeting with counsel for Debtors and the                3.50
               Creditors' Committee re: trial preparation and strategy in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.00); follow-up correspondence with T. Foudy, M
               Moscato, S. Engelhardt, and J. Levitt re: document review
               and production (.30); email correspondence with D. Brown
               T. Foudy, and M. Moscato re: document review protocol
               (.20)

07/25/13 TF1   Discuss document review project with M. Moscato in             1.90
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); call with M. McPherson, M. Moscato, and E.
               Combs regarding the same (.30); follow-up discussion
               with M. Moscato and E. Combs regarding drafting insert
               (.20); review letter from JSNs regarding responses to
               document requests (.20); call with J. Levitt on position
               regarding proposed counterclaims (.20); review emails on
               modification of statement of issues in light of proposed
               counterclaim and revised drafts of statement in light of the
               same (.40); review emails on negotiations with C. Shore
               regarding proposed counterclaim (.20)



07/25/13 MJM   Discussion with T. Foudy re: document review project           1.60
               concerning JSN litigation where Wells Fargo and
               noteholders UBS and Loomis are conflict parties (.40);
               teleconference with M. McPherson, T. Foudy, and E.
               Combs re: draft Opposition to JSNs' Motion to Dismiss
               Count III of Debtors' Amended Complaint (.30); follow-up
               discussion with T. Foudy and E. Combs re: insert to draft
               Opposition to JSNs' Motion to Dismiss Count III of
               Debtors' Amended Counterclaim (.20); review draft
               Opposition to JSNs' motion to dismiss Count III of
               Debtors' Amended Complaint in connection
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               with JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are potential conflict parties
               (.70)

07/25/13 MG8   Draft correspondence to L. Delehey regarding CMH               0.20
               Holdings' indemnification provisions relevant to dispute
               with Cerberus, a conflict party (.20)

07/25/13 EC    Attend conference call with M. McPherson of Morrison &        11.60
               Foerster and T. Foudy and M. Moscato of Curtis to
               discuss strategy for addressing lien stipulation in motion
               to dismiss reply in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.30); attend follow-up
               discussion with T. Foudy and M. Moscato to discuss
               reasoning behind lien release argument and strategy for
               drafting reply memorandum insert (.20); draft portion of
               reply addressing the JSN assertions that liens were
               reinstated by the Cash Collateral Order (2.20); review
               Debtor's opposition to motion to dismiss in preparation for
               filing and preparing extensive comment and notes on
               issues presented therein (3.90); review JSN Notes
               Documents and preparing detailed assessment of the
               JSN contract documents to provide analysis of whether
               liens releases would be encompassed in the language of
               the agreement's collateral release provisions (3.80); draft
               memorandum relating to permissibility of collateral
               releases under the JSN Notes documents (1.20)



07/25/13 MPJ   Begin introductory draft of memorandum summarizing the         1.40
               legal requirements to release collateral in connection with
               Count III of the Debtors' complaint against the Ad Hoc
               Group of JSN in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.40)

07/25/13 BMK   Review cases relied upon in joint motion to dismiss filed      0.80
               by the Debtors and the Committee against the JSNs for
               incorporation into memorandum re: count IV of Debtor
               complaint and Counts 7,9 of the counterclaims re: liens on
               prepetition claims and avoidance actions in connection
               with adversary proceeding against the JSNs where
               Loomis, UBS, and Wells Fargo are potential conflict
               parties (.80)

07/25/13 JTW   Review of Final Cash Collateral Order and the eight           11.70
               subsequent stipulations to identify the authorized uses of
               cash collateral in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.70); review of Debtors'
               Motion for continued use of cash collateral and
               corresponding responses in preparation for summary
               judgment re: arguments related to Section 506(c) of the
               Bankruptcy Code (2.10); draft assumed facts section for
               memorandum addressing Count II of
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               the Debtors' complaint and corresponding counterclaims
               by the JSNs' to include (i) Debtors' prepetition
               indebtedness and authority to use cash collateral, (ii) the
               Debtors' asset sales and the extension of the debtors' use
               of cash collateral, and (iii) the parties' positions as to an
               applicable legal framework that should apply to valuation
               re: adequate protection and post-petition interest (3.20);
               conduct research re: Debtors' alleged waiver of section
               506(c) rights in paragraph 22 of the Final Cash Collateral
               Order and the effect of this provision on the Debtors'
               authority to use the cash collateral (2.40); draft section for
               memorandum addressing section 506(c) of the
               Bankruptcy Code and the merit of the parties arguments
               re: use of cash collateral (1.30)



07/25/13 DAB   Extensive further review of case law pertaining to               6.00
               diminution, valuation methodologies in various contexts,
               timing of valuation, and secondary sources and
               unpublished materials related to same in connection with
               research regarding adequate protection and postpetition
               interest in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.50); further drafting of section of
               memorandum related to same (2.00); confer throughout
               day with J. Weber re: progress with various followup
               research questions pertaining to same (1.50)



07/25/13 ET    Review the Debtors' opposition to the Ad Hoc Group's             3.30
               Motion to Dismiss certain causes of action in the
               Amended Complaint, and confer with M. Moscato re: the
               same in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.20); review relevant documents and
               draft and revise argument re: the lien releases and the
               scope of the stipulation in the Final Cash Collateral Order,
               and confer with M. Moscato and E. Combs re: the same
               (1.80); meet with M. Moscato and J. Berman re: open
               research issues and litigation strategy (.30)

07/26/13 TF1   Attend court conference on, inter alia, amendment of             4.50
               counterclaims and UMB's motion to dismiss Committee
               Complaint in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.90); review and provide comments to
               memo on Wells Fargo production (.30); confer with M.
               Moscato on comments to opposition to Motion to Dismiss
               Debtors' complaint (.30); meet with E. Combs to discuss
               revisions needed to Wells Fargo production memo
               summary (.20); attend to matters concerning answering
               amended counterclaims (.10); review comments to
               opposition and draft insert of argument for same (.70)



07/26/13 MJM   Revise draft Opposition to JSNs' Motion to Dismiss               2.00
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               Count III of Debtors' Amended Complaint in connection
               with JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are potential conflict parties
               (.90); confer with T. Foudy re: same (.30); listen to
               Conference before J. Glenn re: Motion in Aid of Mediation
               (.30); meet with E. Tobin re: draft of debtors' brief (.50)


07/26/13 EC    Research standard under New York and Federal case law           4.90
               for creation or resurrection of a security interest in a
               debtor's assets in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are potential conflict parties (1.20); review order in
               aid of mediation (.10); meet with T. Foudy to discuss
               contents of Wells Fargo production and synopsis of
               contents prepared for Morrison & Foerster (.20); review
               documents produced by Wells Fargo to investigate
               interrelation of loan agreements and contents of
               amendments (1.50); redraft synopsis of Wells Fargo
               production to include relationship of loan documents and
               additional information on amending agreements (1.90)



07/26/13 MPJ   Review and analyze In re: Motors decision from the              5.10
               Southern District of New York in association with
               determining whether filing of UCC-3s by Wells Fargo
               legally released certain collateral from the JSNs' liens in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.00); review national case law to determine what
               legal impact results when a secured party, as opposed the
               secured party's agent, files a UCC-3 form releasing a lien
               on the secured party's collateral (4.10)


07/26/13 BMK   Analyze proposed amended JSN counterclaims for                  0.30
               similarities/differences from previous proposed amended
               supplemental counterclaim circulated earlier in the week
               in connection with adversary proceeding against the JSNs
               where Loomis, UBS and Wells Fargo are potential conflict
               parties (.30)

07/26/13 JTW   Conduct research re: burden of proof as to establishing a       6.20
               claim for diminution with respect to the value of the JSNs'
               prepetition collateral in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.80); draft section of
               memorandum addressing Count II of the Debtors'
               complaint and corresponding counterclaims re: case law
               supporting that it is a creditors' burden to establish that
               the collateral has diminished in value for an entitlement to
               claims for such diminution, and proper date to value
               collateral with respect to adequate protection (2.30);
               include additional case law in memorandum regarding
               burden of proof on creditor where Debtors' have filed a
               declaratory
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               judgment action seeking an affirmative declaration from
               the court that there has been no diminution in the value of
               the JSNs' collateral over the course of these chapter 11
               cases (1.90); correspond with E. Tobin and D. Bloom re:
               status of memorandum (.20)

07/26/13 DAB   Attend Omnibus Hearing in connection with JSN                  2.90
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.50);
               draft detailed summary of same (.50); correspond with J.
               Weber re: status of research re: diminution and
               postpetition interest (.50); review, analyze, and
               summarize Order in Aid of Mediation and circulate same
               to S. Reisman per his request (.40)

07/26/13 ET    Listen to court conference/Omnibus Hearing, including          3.00
               hearing on Motion for Order in aid of mediation in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are potential
               conflict parties (.40); meet with M. Moscato re: draft of
               Debtors' brief in opposition to the Ad Hoc Group's motion
               to dismiss re: refuting the Ad Hoc Group's interpretation of
               the Final Cash Collateral Order, revise the same (.50);
               provide comments to M. McPherson (.60); review the Ad
               Hoc Group's second set of document requests and confer
               with D. Brown, J. Levitt and M. Moscato re: the same
               (1.30); email correspondence with J. Levitt, T. Foudy and
               J. Berman re: drafting answer to the Ad Hoc Group's
               additional factual allegations and counterclaim (.20)



07/26/13 JCB   Review JSNs' supplemental counterclaim in connection           1.40
               with JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties and
               outlining answer thereto (1.40)

07/27/13 MJM   Review current draft of Opposition to JSNs' Motion to          0.50
               Dismiss Debtors' Amended Complaint in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.50)

07/27/13 MPJ   In connection with Curtis' role as conflicts counsel, as       1.60
               noteholders UBS and Loomis and collateral agent Wells
               Fargo are potential conflicts, draft memorandum
               summarizing status of case law research regarding
               whether an inadvertent release of collateral by a secured
               party, as opposed to the agent of a secured party,
               releases said collateral as a matter of law (1.60)

07/28/13 MJM   Draft email to T. Foudy, E. Tobin, and E. Combs re:            0.40
               Debtors' Opposition to JSNs' Motion to Dismiss Amended
               Complaint in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40)

07/28/13 EC    Draft portion of a memorandum discussing the propriety of      3.80
               the release of collateral under Section 5.1
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               of the intercreditor agreement, in light of all requirements
               set forth in the JSN Indenture in connection with Curtis’
               role as conflicts counsel, as Wells Fargo and noteholders
               UBS and Loomis are potential conflict parties (2.90);
               prepare portion of memo reflecting the authorization for
               release of collateral given Wells Fargo's status as secured
               party on UCC3 collateral release documents (.90)


07/28/13 ET    Review and revise draft of Debtors' brief in opposition to      1.60
               the Ad Hoc Group's Motion to Dismiss, in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties, focusing
               on Count III in the Debtors' amended complaint, and email
               correspondence with M. Moscato re: the same (1.60)


07/29/13 TF1   Review/edit Answer to Amended Counterclaims in                  1.70
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.90); review latest draft response on
               Motion to Dismiss complaint (.70); confer with E. Tobin
               and M. Moscato re: Debtors' Response to JSNs' Second
               Request for Documents in connection with same (.10)


07/29/13 MJM   Confer with E. Tobin and T. Foudy re: Debtors' Response         1.70
               to JSNs' Second Request for Documents in connection
               with JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are potential conflict parties
               (.10); confer with E. Tobin re: Debtors' Response to JSNs'
               second request for documents and classification of each
               request as relating to either Phase I or Phase II of the
               JSNs litigation (1.60)


07/29/13 MG8   Review amended answer and counterclaims filed by JSNs           0.80
               in adversary proceeding regarding extent of liens of JSNs
               in connection with JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.80)

07/29/13 EC    Research potential ratification of liens by the JSNs by         7.40
               failure to object during the years following the releases in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are potential
               conflict parties (2.10); review draft opposition to the JSNs'
               motion to dismiss and marking potential changes to be
               incorporated in later drafts (.30); review the JSNs'
               amended answer and counterclaims (.20); draft
               memorandum analyzing collateral release provisions
               found in the JSN indenture and Intercreditor Agreement to
               asses whether liens were properly released in connection
               with the AFI LOC funding (2.70); analyze contract
               documents and contract interpretation caselaw to assist in
               preparation of same (2.10)
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07/29/13 MPJ   Discuss status of research regarding whether the JSNs           0.40
               ratified the release of liens by Wells Fargo by failing to
               object to such releases previously in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40)

07/29/13 BMK   Review and revise memorandum re: Count IV of Debtor             1.70
               complaint and corresponding counterclaims re: liens on
               avoidance actions and prepetition state law claims in
               connetion with JSN adversary proceeding where Loomis,
               UBS, and Wells Fargo are conflict parties by incorporating
               analysis of cases relied upon in Motion to Dismiss (1.40);
               conference with J. Berman re: beginning drafting
               amended answer to amended counterclaims and related
               follow-up (.30)

07/29/13 JTW   Correspond throughout the day with D. Bloom re:                 6.40
               memorandum on post-petition interest re: factual
               contentions of the parties in connection with JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.30);
               review and revise memorandum re: adequate protection,
               diminution clams, asset valuation, and entitlement to
               post-petition interest - review focused on refining citations
               and inclusion of descriptive parentheticals to better
               support analysis and application of facts associated with
               the JSN Litigation (2.00); insert additional case law
               supporting proposition that purpose of adequate
               protection is to protect value of JSNs' collateral as of
               petition date (.90); expand on section of memorandum
               addressing whether the court is likely to apply a liquidation
               value analysis or a going-concern value analysis with
               respect to a valuation in the context of adequate
               protection and the JSNs' alleged claims for diminution in
               the value of their collateral (2.20)


07/29/13 DAB   Further research regarding Second Circuit and Appellate         7.70
               and Bankruptcy Court standards regarding nexus
               between postpetition interest and diminution
               measurements and application of same in light of Debtors'
               and JSNs' contentions in the JSN adversary proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties and as related to cash collateral order and
               various pre- and post-petition documents, for purpose of
               preparing memorandum re: same (3.00); extensive
               revision to draft memorandum regarding same (3.40);
               correspond with J. Weber throughout the day regarding
               same (1.30)

07/29/13 ET    Correspond with M. Jones, E. Combs, D. Bloom, J. Weber          5.90
               and B. Kotliar re: research issues in connection with JSN
               litigation, in light of involvement of conflict parties Wells
               Fargo and Ad Hoc Group members Loomis and UBS (.40)
               review opposition to the Ad Hoc
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               Group's Motion to Dismiss (.80); confer with M. Moscato
               and T. Foudy re: the same (.10); provide comments to M.
               McPherson with respect to same (.40); review the Ad Hoc
               Group's first amended counterclaims and relevant
               portions of the Examiner's Report (1.60); review the Ad
               Hoc Group's second set of document requests to the
               Debtors (.50); confer with M. Moscato, focusing on
               whether the requests pertain to Phase I or Phase II of the
               JSN adversary proceeding (1.60); draft summary of
               analysis and provide to D. Brown, R. Salerno, and J.
               Levitt (.50)

07/29/13 JCB   Review supplemental counterclaims filed by Ad Hoc              5.20
               Group of JSNs in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are potential conflict parties (1.50); draft and
               finalize answer to counterclaims (3.40); confer with B.
               Kotliar re: beginning draft amended answer to amended
               counterclaims and realted follow-up (.30)

07/30/13 SJR   Review/analyze JSN opposition to debtors Motion to             3.20
               Dismiss certain counterclaims and review case law in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.20)

07/30/13 TPS   Review final form of CMH memo with indemnities in              0.50
               connection with dispute with Cerberus, a conflict party
               (.50)

07/30/13 TF1   Review/provide comments to latest draft of opposition to       5.50
               Motion to Dismiss complaint (.80); review final filed
                             p
               version of opposition  to motion to dismiss complaint (.60);
               review/revise Notice of Subpoenas (.40); meet with M.
               Moscato, J. Berman, and M. Jones to g   go over drafting
               subpoenas on trading to Ad Hoc Group members (.50);
               review latest draft of answer to amended counterclaims
               (.70); review memo on research projects and status of
               each and note comments to same (.60); begin review of
               JSNs' supplemental statement in support of objection to
               FGIC Settlement (.40); meeting with M. Moscato, J.
               Berman, and E. Tobin re: answers to Amended
               Counterclaims and legal issues re: JSN litigation (1.50)



07/30/13 MJM   Review and edit current version of Debtors' Opposition to      4.00
               JSNs' Motion to Dismiss Amended Complaint in
               connection with JSN adversary proceeding where Wells
               Fargo and noteholders Loomis and UBS are potential
                                     ) meeting
               conflict parties (1.10);      g with T. Foudy,y J. Berman,
               and M. Jones re: subpoenas to JSNs re: their trading
               histories and related issues (.50); review "final" draft of
               Opposition to JSNs' Motion to Dismiss Debtors' Amended
               Complaint (.80); discussion with M. McPherson re:
               Opposition brief (.10); meeting with T. Foudy, J. Berman,
               and E. Tobin re: Answer to
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               Amended Counterclaims and legal issues re: JSN
               litigation (1.50)

07/30/13 EC    Correspond
                       p      with T. Foudyy to discuss research relating  g to   9.40
               impairment
                  p          of creditors with equity
                                                 q     pledge interests in
               debtors and additional subsidiary issue for additional
               research in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.20); draft memorandum
               addressing  g entitlement of pparties to vote in plan
                                                                p
               confirmation where they hold only an equity pledge in a
               non-borrower entityy ((1.30);) research relating g to
               impairment
                  p          of creditors and entitlement of secured
               debtholders to vote on their secured interests (.80);
               correspond with M. Moscato and T. Foudy        y to discuss
               additional research relating  g unimpairment
                                                    p          of a secured
               class byy surrender of assets securing   g debt (.10);
                                                                ( ) research
               impairment
                  p          of creditors where collateral in a non-debtor is
               surrendered (3.70); review JSN Security Documents to
               ascertain identity and nature of obligations flowing from
               non-borrower, non-guarantor Residential Capital
               subsidiaries (.80); meet with M. Jones to discuss potential
               ratification of releases by delay of objection and
               interpretation of Section 4.10 of the JSN Indenture and its
               applicability to collateral releases intended to secure
               additional financing g (.30);
                                      ( ) research relating   g to JSNs'
               entitlement to vote at non-borrower entities under Section
               1124 of the Bankruptcyp y Code if all obligations
                                                          g               g to
                                                                   relating
               outstanding obligations are satisfied by the proposed plan
               (2.20)



07/30/13 MPJ   Meet with M. Moscato, T. Foudy,    y and J. Berman to              9.30
                         p
               discuss potential       p
                                   subpoenas   to be issued to each member
               of the Ad Hoc Group   p of JSNs regarding
                                                   g      g each of the
               member's history of trading the Junior Secured Notes in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
                         p
               conflict parties ( ) draft subpoena
                                (.50);          p       to Aurelius Capital
                                                                        p
               Management
                      g          g
                              regarding   Aurelius' history of trading the
               Junior Secured Notes for M. Moscato and T. Foudy's
               review (2.00); research whether legal principles of
               ratification bar the JSNs from arguing that Wells Fargo's
               releases of their liens was impermissible (2.50); update
               memorandum authored by E. Combs regarding the legal
               validity of Wells Fargo's lien releases to incorporate
               research regarding ratification (1.60); review and analyze
               Junior Secured Noteholders indenture to determine
               whether Wells Fargo's release of liens in connection with
               the AFI LOC was permissible under the indenture (2.10);
               meet with E. Combs to discuss potential ratification of
               releases by delay of objection and interpretation of
               Section 4.10 of the JSN Indenture and its applicability to
               collateral releases intended to secure additional financing
               (.30); confer with B. Kotliar regarding
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               amended answer to first amended counterclaims filed by
               the JSNs in connection with the adversary proceeding
               where Loomis, UBS, and Wells Fargo are conflict parties
               (.30)

07/30/13 BMK   Assist J. Berman with amended answer to first amended          8.10
               counterclaims filed by the JSNs in connection with the
               adversary proceeding where Loomis, UBS, and Wells
               Fargo are conflict parties (.30); correspondence with M.
               Jones re: Rule 2019 statements filed by White & Case in
               connection with same re: membership of ad hoc group
               (.20); review and revise memorandum re: liens on
               avoidance actions and state law claims in connection with
               same to incorporate cases from Motion to Dismiss and
               contentions within the amended counterclaims, including
               analysis of application of the relevant legal standards to
               the facts, specifically with respect to transactions
               identified in the Examiner Report (2.70); review and revise
               memorandum re: adequate protection liens and
               diminution of cash collateral claims re: legal authorities
               relied upon and citations to same (3.40); revise and
               provide comments to same, including highlighting
               outstanding legal issues (.70); correspondence with D.
               Bloom re: same and remaining tasks before finalizing
               memo (.30); briefly review opposition to Motion to Dismiss
               filed by the JSNs re: liens on avoidance actions, state law
               claims, and adequate protection (.50)



07/30/13 JTW   Review and revise memorandum re: diminution claims to          6.20
               include summary of argument made by JSNs' counsel at
               hearing on 7/30/13 with respect to valuation of collateral
               under section 506(a) in the hands of Debtors as a "going
               concern" for purposes of adequate protection and apply
               case law to certain factual assertions raised in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.70); correspond with D. Bloom and assist in
               revisions to memorandum in preparation for submission to
               T. Foudy and M. Moscato (1.10); review Debtors' draft
               response to JSNs' motion to dismiss (.90); conduct
               research re: Second Circuit case law as to secured
               creditor's entitlement to superpriority claims pursuant to
               section 507(b) of the Bankruptcy Code (2.20); draft
               section for memorandum re: failure of adequate protection
               and JSNs' entitlement to section 507(b) claims re: (i)
               which party will bear the burden to establish a claim under
               section 507(b) of the Bankruptcy Code and (ii) elements
               that must be demonstrated to succeed on a claim under
               section 507(b) (1.30)




07/30/13 DAB   Review and shepardize various cases cited by the JSNs         13.50
               in their counterclaims regarding cash collateral and
               collateral use arguments for purpose of
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               incorporating analysis/distinguishing of same into draft
               comprehensive memorandum regarding adequate
               protection and postpetition interest issues in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (2.90); review J. Weber research results and
               inserts for memorandum re: sections 507(b) and 506(c) of
               the Bankruptcy Code (2.90); revise J. Weber inserts for
               incorporation into draft memorandum (2.20); review and
               shepardize caselaw cited in same to ensure accuracy
               (.80); conference with J. Weber re: same and follow-up
               research (1.10); review Scopac case and multiple briefs
               filed by parties in connection with possible inclusion in
               draft memorandum (1.60); correspond with J. Weber
               throughout the day regarding same (1.00); review and
               analyze JSNs' Opposition to Debtors' motion to dismiss
               certain counterclaims with focus on analyzing arguments
               made with respect to diminution claims (.80); correspond
               with B. Kotliar and J. Weber re: completing memorandum
               in order to circulate same with opposition (.20)



07/30/13 ET    Review and revise the Debtors' brief in opposition to the      5.30
               Ad Hoc Group's Motion to Dismiss in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.10); email with comments to M. McPherson
               (.20); confer with M. Moscato, T. Foudy and J. Berman
               (partial) re: the Debtors' brief in opposition to the Ad Hoc
               Group's Motion to Dismiss and the Debtors' answer to the
               Ad Hoc Group's first amended counterclaims (1.50);
               confer with M. Moscato, T. Foudy, and J. Berman re:
               research issues re: Loomis and UBS (1.50); correspond
               with E. Combs and M. Jones re: same (.20); review
               relevant portions of Examiner's Report, focusing on
               analysis of Debtors' contract claims and avoidance
               actions against third parties, including AFI, on which the
               JSNs assert a lien (.80)



07/30/13 JCB   Review reply brief and participate in hearing re: Motion for   8.00
               Limited Disqualification filed by Ad Hoc Group of JSNs
               (2.30); work with B. Kotliar re: amended answer to first
               amended counterclaims filed by the JSNs in connection
               with the adversary proceeding where Loomis, UBS, and
               Wells Fargo are conflict parties (.30); meet with M.
               Moscato, T. Foudy, y and M. Jones re: subpoenas to
               members of Ad Hoc Group (.50); review with M. Moscato,
               T. Foudy, and E. Tobin Answer to Amended
               Counterclaims, and legal research issues (1.50); revise
               subpoenas and answer (1.00); review legal research
               memoranda provided by D. Bloom and J. Weber re:
               valuation of collateral for purposes of adequate protection
               and post-petition interest (2.20); review order denying
               Motion for Limited Disqualification (.20)
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07/31/13 SJR   Continue analysis of JSN opposition to Debtors and             4.40
               Creditors Committee's Motion to Dismiss certain
               counterclaims and review of case law and legal analysis
               of issues in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
                        p
               conflict parties (    ) review of draft subpoenas
                                (2.80);                   p      to be
               served on Members of Ad Hoc Committee as well as
               Aurelius and document requests for Aurelius in
               connection with same (1.60)

07/31/13 TF1   Review draft WIP list for trial preparation and emails         7.00
               regarding same in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.20);
               email with S. Engelhardt and Committee Counsel on draft
                                                    ( ) review language
               answer to amended counterclaims (.20);
               from Court transcript pertinent to trading records'
               subpoena
                   p      ( ) review/edit multiple drafts off trading
                          (.20);
               records subpoena and notice (1.70); emails with Morrison
               & Foerster and Committee Counsel on same (.30); ( ) meet
               with E. Tobin, M. Moscato, and J. Berman re: subpoena to
               JSNs re: trading history and coordination of legal and
               factual research (1.40); emails on addition of U.S. Bank to
               confidentiality agreement (.10); review new drafts of
               orders of proofs (.60); attend weekly JSNs strategy
               session with M. Moscato and E. Tobin and JSNs' litigation
               team to discuss trial preparation and discovery (2.30)



07/31/13 MJM   Meetingg with T. Foudy,
                                     y E. Tobin, and J. Berman re:            4.20
               subpoena to JSNs re: trading history and coordination of
               legal and factual research assignments with Morrison &
               Foerster and Kramer Levin activities in connection with
               JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.40);
               review agendas in preparation for weekly strategy
               meeting re: JSN's litigation (.50); participate in weekly
               JSN's strategy session with T. Foudy, E. Tobin, and
               attorneys representing the Debtors and Creditors
               Committee (2.30)

07/31/13 MG8   Review cross-oppositions to Motions to Dismiss filed by        1.10
               JSNs and Debtors/Creditors' Committee in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.80); correspondence with J. Weber regarding
               additional research in connection with valuation issue
               raised in JSN adversary proceeding (.30)


07/31/13 EC    Draft memorandum providing in depth analysis of               13.80
               collateral release provisions in the JSN Indenture, JSN
               Pledge Agreement, and Intercreditor Agreement in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are
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               conflict parties (2.60); research ratification of an agent's
               acts as it connects to the release of collateral by the agent
               (.60); review the JSNs' opposition to the Debtors' Motion
               to Dismiss counterclaims and drafting notes on possible
                                          p
               points to be raised in response     ( ) research relating
                                                   (.30);                 g to
               standard forr the impairment
                                    p          of claims for purposes
                                                                 p     of
               votingg under 11 USC 1124 (3.80);
                                             (      ) research surrender of
               collateral as a means of rendering    g a class unimpaired and
               preventing the party's vote in plan confirmation (4.60);
               meet with M. Jones to discuss interpretation of collateral
               release provisions and requirements of the JSN indenture
               serving as possible impediment to release (.30); review
               JSN security documents to ascertain nature of the JSN's
               security interest in subsidiary guarantors who are not
               debtors (.60); review case law supporting the priority of
               the a perfected judicial lien over the purported equitable
               lien JSNs claim in their counterclaims (.70); meet with B.
               Kotliar, E. Tobin, and M. Jones re: ratification doctrine
               research and arguments (.30)



07/31/13 MPJ   In connection with Curtis' role as conflicts counsel, as          9.90
               Wells Fargo and Noteholders UBS and Loomis are
               potential conflicts, draft memorandum to E. Combs
               summarizing analysis of the provisions of the Junior
               Secured Notes Indenture (and related documents) that
               govern the release of associated collateral (2.90); meet
               with E. Combs to discuss the provisions of the Junior
               Secured Notes Indenture that govern the release of
               associated collateral (.30); correspond with B. Kotliar, E.
               Tobin, and E. Combs to discuss applicability of ratification
               doctrine to whether Wells Fargo's release of liens was
                                              ( ) update
               effective as a matter of law (.30);     p      drafts of
               subpoena
                    p      to Aurelius Capital
                                           p     Management
                                                       g         regarding
               Aurelius' trading of Junior Secured Notes (1.70);
                                                 g
                correspond with J. Berman regarding     g T. Foudy's
                                                                   y
                comments to the draft of subpoena to Aurelius Capital
               Management
                       g                           ( ) proof
                               described above (.80);    p      read draft of
               subpoena to Aurelius Capital Management d         described
                        (
                above (1.20);) research the requirements
                                                 q            associated with
               serving g subpoenas
                            p        on Loomis, Pentwater Capital  p
               Management,
                       g        and Waterstone Capitalp           g
                                                           Management,
               because each p   party
                                    y is located outside 100 miles of the
               Bankruptcy Court of the Southern District of New York
               ((2.30);
                      ) confer with E. Tobin and J. Berman re: process for
               serving subpoenas on out-of-state
                                         out-of-
                                               f state entities (.40)


07/31/13 BMK   Correspondence with T. Foudy re: makeup of Ad Hoc                 3.70
               Group of JSNs, early case filings, and termination of plan
               support agreement in connection with adversary
               proceeding against the JSNs where Loomis, UBS, and
               Wells Fargo are potential conflict parties (.60);
               correspondence with M. Jones re: same (.20); circulate
               oppositions to Motions to Dismiss filed in connection with
               same to S. Reisman, T. Foudy, M. Moscato, E. Tobin, and
               J. Berman (.10); correspond with E. Tobin
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               re: open issues in memo in connection with same re:
               Count IV and related counterclaims re: declarations that
               the JSNs' liens do not extend to avoidance actions and
               contract claims (.40); review JSNs' opposition to Motion to
               Dismiss in connection with same re: contentions that their
               liens extent to avoidance actions (.60); review
               Cybergenics case cited by JSNs in same and related
               second circuit precedent (1.10); discuss revisions to
               memo re: same with D. Bloom (.20); review and revise
               same in accordance with edits/comments of D. Bloom
               (.50)

07/31/13 JTW   Review and revise memorandum re: Adequate Protection           7.60
               and Postpetition Interest Issues Pertaining to Claims of
               JSNs for cite checking purposes, and insertion of internal
               citations between sections (2.30); revise same re:
               additional sub-headings to provide more guidance and
               clarity to memorandum's conclusions (.80); review and
               comment on D. Bloom's draft conclusions (1.40);
               correspondence with D. Bloom and B. Kotliar re: same
               (.50); meeting with J. Berman, E. Tobin, and D. Bloom re:
               additional research related to adequate protection issues
               (.80); correspond with T. Foudy and M. Moscato re:
               research requested (.30); ) conduct initial research re: (1)
                                                                         (
               determinination of the value of litigation
                                                   g             (
                                                          claims (i.e. the
               intercompany
                         p y balances & the Allyy contract claims)) for
               purposes
               p   p      of diminution (2)
                                        ( ) evidentiaryy weight
                                                             g of the
               settlement value and (3)
                                      ( evidentiary weight of value listed
               in Debtors' schedules (1.50)



07/31/13 DAB   Further review and analysis of JSNs' opposition to             6.10
               Debtors' and Committee's Motion to Dismiss certain
               counterclaims for purpose of updating discussion of
               adequate protection issues in comprehensive memo re:
               same, including detailed review of cases cited by JSNs
               therein, and shepardizing of same (2.80); update draft
               memorandum to include section discussing and
               distinguishing the cases cited by the JSNs for their
               argument that the Debtors’ use of the JSNs’ cash
               collateral constitutes a diminution for adequate protection
               purposes, per E. Tobin request (2.30); discuss revisions
               to same with B. Kotliar (.20); meet with J. Berman, E.
               Tobin, and J. Weber re: analysis of the Ad Hoc Group's
               claims regarding entitlement to adequate protection and
               legal research issues re: same (.80)



07/31/13 ET    Meet with M. Moscato, T. Foudy, and J. Berman re: legal        8.60
               research issues, document discovery, depositions and
               trial preparation in connection with the JSN adversary
               proceeding in light of involvement of conflict parties Wells
               Fargo and Ad Hoc Group members Loomis and UBS
               (1.40); review and revise outline of legal research issues
               for Curtis team in connection with the JSN adversary
               proceeding (.40); meet with J.
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               Berman, D. Bloom, and J. Weber re: analysis of the Ad
               Hoc Group's claims regarding entitlement to adequate
               protection and legal research issues re: the same (.80);
               confer with E. Combs and M. Jones re: legal research
                                                                  (
               related to collateral releases and equitable liens (.30);
               confer with J. Berman and M. Jones re: service of
               non-party subpoenas (.40); prepare for and meet with
               counsel for the Debtors and the Creditors' Committee re:
               trial preparation (3.00); participate in weekly JSNs
               strategy session with attorneys JSNs' litigation team as
               well as M. Moscato and T. Foudy to discuss trial
               preparation and discovery (2.30)

07/31/13 JCB   Meet with M. Moscato, T. Foudy, and E. Tobin to discuss             5.70
               legal research, document discovery, depositions, and trial
               preparation in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are p potential conflict p       (     ) review/revise
                                               parties (1.40);
               draft subpoenas to members of Ad Hoc Group of JSNs
               (.60); review memorandum re: adequate protection (1.50);
               discuss adequate protection and other research issues
               with E. Tobin, D. Bloom and J. Weber (.80); update work
               in progress chart (.40); review information relating to
               p                             ( ) discuss process
               potential Rule 2004 motion (.50);              p        for
               serving subpoenas on out-of-state
                                       out-of-f state entities with M. Jones
               and E. Tobin (.40); review relevant rules re: service of
               subpoenas (.10)



                                           TOTAL HOURS                         1,465.40
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       Summary of Services
                                   Title              Hours     Rate     Amount
       Steven J. Reisman         Partner               50.60     830     41,998.00
       Turner P. Smith           Partner                5.80     830      4,814.00
       Michael J. Moscato        Partner               67.20     785     52,752.00
       Theresa A. Foudy          Partner              119.40     730     87,162.00
       Michael Ari Cohen         Partner                9.90     730      7,227.00
       Maryann Gallagher         Counsel               16.70     625     10,437.50
       Ellen Tobin               Associate            158.90     600     95,340.00
       Jeffrey C. Berman         Associate            136.60     600     81,960.00
       Daniel A. Bloom           Associate            192.30     480     92,304.00
       Joseph F. Clyne           Associate              0.20     425         85.00
       Peter Josef Buenger       Associate              0.60     425       255.00
       James Zimmer              Associate             17.10     345      5,899.50
       Edward Combs              Associate            182.90     305     55,784.50
       Michael P. Jones          Associate            124.00     305     37,820.00
       Bryan M. Kotliar          Associate            121.50     305     37,057.50
       John Thomas Weber         Associate            206.40     305     62,952.00
       Neal Goodman              Litigation Support     5.80     260      1,508.00
       Georgia Faust             Legal Assistant       15.80     235      3,713.00
       Sheyla Soriano            Legal Assistant       20.60     235      4,841.00
       Kristine Kim              Legal Assistant        0.50     210       105.00
       Samuel Ballard            Legal Assistant        8.00     200      1,600.00
       Michael Malavarca         Litigation Support     1.20     200       240.00
       Kevin M. Zanin            Litigation Support     3.40     180       612.00

                                                      1,465.4          $686,467.00

                                     TOTAL SERVICES                                   $686,467.00
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       Summary of Expenses
         Courier Service                                         40.99

         Deposition Reporting/Transcripts                        56.40

         External Photocopy Services                         1,576.80

         Electronic Data Services Storage                         3.12

         Intercall Audio Conferencing                         100.31

         CourtCall                                            216.00

         Pacer - ECF                                             36.70

                                            TOTAL EXPENSES                           $2,030.32




                                            TOTAL THIS INVOICE                   $688,497.32
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061

Residential Capital, LLC                                                                   October 09, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1591228
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000500
                                                                                           SJR
Attention:   Residential Capital, LLC
Re: Plan and Disclosure Statements




      07/01/13 SJR        Attend to review and comment on disclosure statement           7.30
                          with respect to matters handled by Curtis as conflicts
                          counsel for Debtors' (7.20); confer with M. Cohen and M.
                          Gallagher re: CMH holdings and plan-related issues with
                          Cerberus in connection with such dispute handled by
                          Curtis as Conflicts counsel (.10)

      07/01/13 MG8        Continue to review and comment on latest draft of              9.60
                          disclosure statement, including numerous discussions
                          with D. Bloom regarding the same (4.30); teleconference
                          w/ J. Marines of Morrison & Foerster regarding CMH
                          Holdings dispute and related issues in connection with
                          Plan (.20); confer with S. Reisman and M. Cohen
                          regarding CMH Holdings and plan-related issues with
                          Cerberus in connection with such dispute handled by
                          Curtis as conflicts counsel (.10); draft correspondence to
                          N. Rosenbaum and T. Goren regarding CMH Holdings
                          matter and related issues in connection with the Plan (.30)
                          review further revised draft of proposed Plan circulated by
                          J. Marines (1.20); continue review and comment on
                          disclosure statement (3.20); related follow-up with D.
                          Bloom and B. Kotliar regarding combining comments to
                          send to Morrison & Foerster (.30)



      07/01/13 MAC        Extensive review and revisions to Disclosure Statement in      9.30
                          connection with Curtis' role as conflicts counsel to the
                          Debtors (9.00); discussions with D. Bloom re: same (.20);
                          confer with S. Reisman and M. Gallagher re: CMH
                          holdings and plan-related issues with Cerberus in
                          connection with such dispute handled by Curtis as
                          conflicts counsel (.10)

      07/01/13 BMK        Review and revise draft disclosure statement per edits         1.60
                          and comments of M. Gallagher in order to provide
                          collective comments to Morrison & Foerster in connection
                          with matters handled by Curtis as coniflicts counsel (1.00);
                          discuss same with D. Bloom (.20); draft portion of
                          disclosure statement describing status and recent updates
                          to consolidated action against the JSN's with respect to
                          the Debtors' complaint and the recently filed JSN
                          counterclaims (.30); email correspondences
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               re: same with M. Gallagher (.10)

07/01/13 DAB   Extensive review and comments to Morrison & Foerster           4.10
               draft disclosure statement and plan (2.70); communicate
               extensively with B. Kotliar, M. Gallagher, T. Foudy and M.
               Cohen regarding draft disclosure statement and plan
               throughout the day (.90); coordinate production of
               materials related to draft plan and disclosure statement
               (.30); confer with M. Cohen re: Curtis edits/comments to
               same (.20)

07/02/13 SJR   Attend to review and comment on Plan and Disclosure            1.80
               Statement in connection with Residential Capital
               restructuring in which Curtis is acting as Conflicts Counsel
               (1.60); attention to matters regarding same (.20)


07/02/13 MG8   Review and provide comments to Morrison & Foerster on          4.50
               further updated draft of proposed joint Plan with particular
               emphasis on aspects relevant to matters handled by
               Curtis, such as treatment of private securities claims,
               JSNs, and CMH Holdings (4.00); related follow-up
               correspondence with D. Bloom and M. Cohen (.50)


07/02/13 MAC   Review revised plan in connection with issues impacting        5.10
               conflicts parties being handled by Curtis as conflicts
               counsel for the Debtors (1.60); review revised disclosure
               statement in connection with issues impacting conflicts
               parties being handled by Curtis as Conflicts Counsel for
               the Debtors (3.00); follow-up correspondence with D.
               Bloom and M. Gallagher re: same (.50)


07/02/13 BMK   Email correspondence with T. Foudy re: plan/disclosure         1.10
               statement treatment of private securities claims,
               subordinated claims, and non-private securities claims in
               connection with Curtis providing comments to draft plan
               and Disclosure Statement in connection with such matters
               handled by Curtis as Conflicts Counsel (.30); review plan
               and disclosure statement in connection with same and
               compare to treatment under PSA (.50); correspondence
               with D. Bloom re: same and review of bankruptcy rules
               and bankruptcy code sections re: subordination
               description (.30)

07/02/13 DAB   Email Curtis’ Plan and Disclosure Statement comments to        5.20
               S. Martin at Morrison & Foerster (.10); extensive review
               and comment to second further revised draft of Debtors’
               Plan and Disclosure Statement incorporating comments
               from Plan Proponents including the Committee (2.50);
               analysis of subordination-related Plan terms and status of
               same in further revised draft of Plan (.60); correspond with
               B. Kotliar regarding same (.30); follow-up with M. Cohen
               and M. Gallagher re: comments and revisions to draft
               ResCap Plan (.50); incorporate extensive further
               comments to draft Plan
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               and Disclosure Statement from same for transmittal to
               Morrison & Foerster (1.20)

07/03/13 SJR   Attend to review of mark-up of Joint Chapter 11 Proposed       11.10
               Plan by Residential Capital and the Official Committee of
               Unsecured Creditors and note comments regarding same
               in connection with matters handled by Curtis as Conflicts
               Counsel (4.40); review Inter-Company Claims analysis in
               connection with ResCap restructuring (.80); review
               documentation regarding Chapter 11 Plan and comment
               regarding same including review of internal mark-up of
               documentation (2.10); attend to matters related to revising
               Disclosure Statement regarding concerns related to JSNs
               and proper drafting of description of background of global
               settlement (2.30); discussions with Counsel for ResCap
               regarding same (.40); review and revise draft of
               Disclosure Statement (1.10)



07/03/13 TF1   Attend plan and disclosure statement drafting session at        4.50
               Morrison & Foerster with particular attention to review/edit
               of intercompany claims chart and intercompany sections
               of documents in connection with conflict matters handled
               by Curtis due to conflict parties UBS and Loomis (4.50)


07/03/13 MG8   Attend to correspondence from E. Richards regarding             4.80
               implementation of Curtis' July 2 comments to drafts of
               Plan and Disclosure Statement in connection with matters
               handled by Curtis as Conflicts Counsel (.20); review
               further updated draft of Joint Plan circulated by Morrison
               & Foerster for final comments (1.20); review further
               updated and substantially revised disclosure statement
               received this morning for final substantive comments,
               along with related Liquidation Analysis, Recovery Analysis
               and analyis of Inter-Company Claims (3.10); confer with M
               Cohen and D. Bloom re: same (.30)



07/03/13 MAC   Review and revise revised Plan and disclosure statement         4.80
               in connection with Curtis' role as conflicts counsel to the
               Debtors, paying particular attention to conflicts party
               issues (4.50); confer with M. Gallagher and D. Bloom re:
               same (.30)

07/03/13 DAB   Further review of revised draft disclosure statement and        1.20
               Plan in connection with matters handled by Curtis as
               Conflicts Counsel (.90); confer with M. Gallagher and M.
               Cohen re: same (.30)

07/04/13 SJR   Review of Final Motion to Approve Disclosure Statement          3.20
               and Final Filed Plan and Disclosure Statement in
               Residential Capital case in connection with Curtis as
               Conflicts Counsel (3.20)

07/22/13 TF1   Review and respond to email from J. Marines regarding           0.50
               preparation for aniticipated disclosure statement
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               objections by conflict parties (.10); organize dedicated
               team for dealing with same (.10); review and respond to
               email regarding research needed for responding to
               disclosure statement objection by JSNs (.20); draft email
               to E. Combs regarding same (.10)

07/22/13 MG8   Attend to correspondence with T. Foudy and J. Marines           0.30
               regarding plan-related research and anticipated objections
               to the Debtors Disclosure Statement (.30)

07/23/13 TF1   Follow-up on staffing and organization of team for              0.70
               responding to disclosure statement objections
                                                       j        (.30);
               review information on impairment research requested by
               Morrison & Foerster in connection with anticipated
               objection by
                          y conflict parties (.20); meet with E. Combs on
               same (.20)

07/23/13 MG8   Attend to several correspondences with T. Foudy, J.             1.00
               Marines and M. Cohen regarding preparation of replies to
               objections to disclosure statement and advance legwork
               and research before anticipated objections are filed (.50);
               review ppreliminary y research results on issues related to
               impairment
                 p           of JSNs as noteholders UBS and Loomis are
               conflict parties (.50)

07/23/13 MAC   Review Plan and disclosure statement in connection with         1.50
               preparing to respond to objections to same (1.50)

07/23/13 EC    Review questions prepared by Morrison & Foerster and            6.50
               draft memorandum presenting possible impairment issues
               in connection with potential disclosure statement objection
               byy the JSNs ((.30);); meet with T. Foudy to discuss
               impairment of JSNs and research assignmentg       reviewing g
               possibility off unimpairing
               p                     p    g the JSNs' claims as subsidiary
               debtors re: same as noteholders UBS and Loomis are
               conflict parties ((.20);
                                      ) conduct research relating to
               entitlement off JSNs to vote on any plan p  proposed,
                                                              p      , with
               respect
                   p    to those debtors for whom the JSNs hold onlyy
               equity pledges and who are not guarantors or borrowers
               (4.20); draft email with analysis
                                              y of issues that could
               potentiallyy lead to the JSNs classification of an unimpaired
               partyy deemed to accept   p the chapter 11 plan with respect
               to non-borrower subsidiaries (1.80)



07/23/13 DAB   Review correspondence from T. Foudy and Morrison &              0.40
               Foerster re: Disclosure Statement objection work plan and
               correspond internally with M. Gallagher, P. Buenger and B
               Kotliar re: same (.40)

07/24/13 EC    Research standards for determining    g whether a party's
                                                                  p y          4.60
               claim is impaired for the purposed of 11 U.S.C. 1124 w   with
               a particular focus on secured p  parties in connection with
               Plan's proposal
                      p p        treatment off JSNs as Loomis and UBS
               are conflict parties (3.80);
                                    (       draft email to T. Foudy with
               impairment analysis (.80)
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07/24/13 PJB2   Review correspondence from J. Marines of Morrison &              1.80
                Foerster re: next steps and working plan with respect to
                various objections expected to be filed by various conflict
                parties to the proposed disclosure statement (.20); review
                of proposed disclosure statement and related exhibits in
                preparation for responding to various objections to same
                (1.60)

07/25/13 MAC    Review Disclosure Statement and PSA in connection with           1.60
                responding to potential objections to same (1.60)

07/26/13 PJB2   Continue review of proposed disclosure statement and             2.40
                related exhibits in preparation for responding to various
                objections to same pursuant to prior objections to
                proposed plan filed by various conflict parties against the
                plan support agreement (2.40)

07/29/13 MJM    Review legal memo and email re: analysis off Impairment          1.00
                of claims underr section 1124 of the Bankruptcy
                                                             p    Code (.80)
                       p
                correspondence    with B. Kotliar re: impairment of claims
                underr 1124 of the Bankruptcy Code (.20)


07/29/13 SS2    Per B. Kotliar's request, assemble materials re: "Debtor's       3.00
                and the Committee's Joint Plan and Disclosure
                Statement" (3.00)

07/30/13 TF1    Review Morrison & Foerster memo on impairment of                 1.00
                creditor claims and draft emails seeking clarification on
                research issue in connection with same for disclosure
                statement (.50); discuss related research issue with J.
                Marines (.50)

                                            TOTAL HOURS                        105.50
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                                                                     Inv # 1591228
                                                                     Our Ref # 062108-000500

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       Summary of Services
                                   Title           Hours     Rate    Amount
       Steven J. Reisman         Partner            23.40     830    19,422.00
       Michael J. Moscato        Partner              1.00    785      785.00
       Theresa A. Foudy          Partner              6.70    730     4,891.00
       Michael Ari Cohen         Partner            22.30     730    16,279.00
       Maryann Gallagher         Counsel            20.20     625    12,625.00
       Daniel A. Bloom           Associate          10.90     480     5,232.00
       Peter Josef Buenger       Associate            4.20    425     1,785.00
       Edward Combs              Associate          11.10     305     3,385.50
       Bryan M. Kotliar          Associate            2.70    305      823.50
       Sheyla Soriano            Legal Assistant      3.00    235      705.00

                                                   105.50           $65,933.00

                                     TOTAL SERVICES                               $65,933.00




                                     TOTAL THIS INVOICE                          $65,933.00
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061

Residential Capital, LLC                                                                   October 09, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1591229
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000700
                                                                                           SJR
Attention:   Residential Capital, LLC
Re: Curtis Retention/Billing/Fee Applications




      07/08/13 PJB2       Correspondence with J. Zimmer and M. Gallagher re:             0.20
                          upcoming deadline to file Curtis' interim fee application in
                          accordance with U.S. Trustee Guidelines and
                          Professional Compensation Order as conflict's counsel to
                          the Debtors and drafting of same (.20)

      07/08/13 JZ         Correspond with P. Buenger and M. Gallagher regarding          0.40
                          issues related to preparation of April monthly fee
                          statement and Third Interim Fee Application to ensure
                          compliance with the guidelines and compensation order
                          (.40)

      07/10/13 PJB2       Meet with J. Zimmer to discuss drafting and finalizing April   0.70
                          and May 2013 monthly fee statements and interim fee
                          application for Curtis as Conflicts Counsel to the Debtors
                          (.30); follow-up throughout the day with G. Faust re: same
                          (.40)

      07/10/13 JZ         Attend to issues regarding preparation of Residential          0.70
                          Capital April monthly fee statement, including revisions to
                          charts and narrative descriptive summaries of same in
                          accordance with U.S. Trustee Guidelines and
                          Professional Compensation Order (.40); confer with P.
                          Buenger regarding same (.30)

      07/16/13 MG8        Review recent communications from Morrison & Foerster          0.30
                          and file notice regarding deadline for filing interim fee
                          applications (.10); meet with J. Zimmer to discuss drafting
                          of Curtis Third Interim Fee Application to ensure
                          compliance with UST guidelines, local practice and
                          lessons from recent UST objections (.20)

      07/16/13 JZ         Confer with M. Gallagher regarding revisions to April          2.00
                          monthly fee statement and third interim fee application,
                          including comments to charts and bodies of same, all in
                          accordance with UST guidelines (.20); correspond with G.
                          Faust regarding same (.20); review and revise draft of
                          third interim fee application, in accordance with UST
                          guidelines (1.40); review and revise draft of April monthly
                          fee statement in accordance with UST guidelines (.20)
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                  5825         Filed 03/03/14
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                                                                               Our Ref # 062108-000700

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07/24/13 GF    Calculate totals and draft charts and memo for April          4.70
               Monthly Fee Statement to ensure compliance with the
               guidelines and compensation order (3.70); prepare same
               for S. Reisman and correspond re: details of same and
               questions re: redaction with S. Reisman, M. Gallagher,
               and D. Bloom (1.00)

07/24/13 JZ    Review and revise draft of third interim fee application,     2.50
               including revisions to charts and summary narratives
               contained in same, all in accordance with UST guidelines
               (2.50)

07/25/13 MG8   Attend to correspondence with E. Richards of Morrison &       0.40
               Foerster regarding discontinuing service of monthly fee
               statements to Skadden and issues relating to treatment of
               time entries containing confidential or privileged
               information, and related follow-up with D. Bloom and G.
               Faust (.40)

07/26/13 MG8   Review and comment several versions of redacted April         2.70
               billing statements for Residential Capital throughout the
               day to ensure complaince with the guidelines and
               compensation order (2.40); correspondence with D.
               Bloom regarding the same and with G. Faust regarding
               finalizing and serving April fee statement for Residential
               Capital (.30)

07/29/13 MG8   Attend to review and revision to redaction of lengthy April   2.90
               billing statements for matters 400 and 410 (1.90);
               numerous follow-ups with D. Bloom regarding the same
               (.30); review work in progress worksheet for July required
               by Residential Capital and provide comments to G. Faust
               regarding same (.40); correspondence with J. Zimmer
               regarding preparation of third interim fee application of
               Curtis to ensure complaince with the guidelines and
               compensation order and relevant deadlines for same (.30)


07/30/13 JZ    Review and revise draft of Third Interim Fee Application in   0.70
               accordance with UST guidelines, including revisions to
               summary narratives contained in same (.70)

07/31/13 MG8   In preparation of Curtis' third interim fee application,      3.50
               redact certain sensitive time entries from fee statements
               from January - March 2013 (3.50)

07/31/13 GF    Begin review of draft Third Interim Fee Application to        2.00
               ensure complaince with the guidelines and compensation
               order (1.80); correspondence with B. Kotliar re: same
               (.20)

07/31/13 JZ    Review and revise third interim fee application in            1.50
               accordance with UST guidelines (1.50)
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                                                                       Inv # 1591229
                                                                       Our Ref # 062108-000700

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                                   TOTAL HOURS                      25.20



       Summary of Services
                                   Title           Hours     Rate      Amount
       Maryann Gallagher         Counsel              9.80    625      6,125.00
       Peter Josef Buenger       Associate            0.90    425           382.50
       James Zimmer              Associate            7.80    345      2,691.00
       Georgia Faust             Legal Assistant      6.70    235      1,574.50

                                                   25.20             $10,773.00

                                     TOTAL SERVICES                                   $10,773.00




                                     TOTAL THIS INVOICE                              $10,773.00
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                   November 14, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1592006
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000100
                                                                                           SJR
Attention:   Residential Capital, LLC
Re: Case Administration




      08/02/13 MG8        Attend to brief review of docket activity during the day,      0.40
                          including numerous filings made in connection with
                          Debtors' settlement with FGIC (.40)

      08/05/13 MG8        Attend to docket review, including numerous responses          0.40
                          with respect to claims objections and the Motion to
                          Approve the Disclosure Statement, in connection with
                          Curtis' role as conflicts counsel to the Debtors (.40)

      08/06/13 MG8        Attend to brief review of docket activity, including           0.50
                          numerous responses to Omnibus Claims Objections to
                          which Curtis was signatory as conflicts counsel, retention
                          application and Interim Fee Applications in connection
                          with Curtis' role as conflicts counsel to the Debtors (.50)


      08/07/13 MG8        Attend throughout the day to brief review of heavy docket      0.70
                          activity, including various motions to strike (including one
                          from the JSNs where noteholders David Kempner,
                          Silverpoint, UBS, and Loomis are conflict parties) and
                          motions in limine filed in connection with the FGIC
                          Settlement, various interim fee applications, the order
                          authorizing the debtors to file under seal Exhibit D to the
                          settlement agreement with the Kessler Plaintiffs where
                          PNC is a conflict party, claim withdrawals and an order
                          approving a settlement between the Debtors and Regent
                          Bank, and Debtors' request to further extend exclusive
                          periods (.70)

      08/07/13 GF         Revise calendar update with respect to agenda items for        0.20
                          omnibus hearing (.20)

      08/07/13 DAB        Review and circulate Debtors’ Motion to Extend                 0.30
                          Exclusivity (.30)

      08/12/13 MG8        Attend to review of recent docket activity in connection       0.70
                          with Curtis' role as Debtors' conflicts counsel (.70)

      08/13/13 GF         Draft follow-up correspondence and circulate re: court         0.30
                          deadlines (.30)

      08/19/13 MG8        Attend to recent docket review, including several              0.50
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                                                                                  Our Ref # 062108-000100

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               Omnibus Claims Objections, Motion to Assume and
               assign IMPAC agreements, notice of agenda for August
               21 hearing, and related follow-up in connection with
               Curtis' role as Debtors' conflicts counsel (.50)

08/19/13 FRG   Correspond with M. Gallagher re: materials needed for            0.30
               August 21 hearing and begin coordinating assembly of
               same (.30)

08/20/13 MG8   Attend to review of recent docket activity, including            0.60
               various oppositions to claims objections, Papas brief on
               Disclosure Statement, claims objections, and notices
               regarding stay relief (.60)

08/21/13 GF    Revise internal calendar entries to reflect adjourned court      0.50
               hearing dates and updated deadlines involving proofs of
               claim objections and other matters handled by Curtis as
               conflict counsel (.50)

08/22/13 MG8   Review revised Notice of Rejection of executory contracts,       0.50
               due to the possibility that agreements with conflict parties
               were listed (.20); attend to review of other recent docket
               activity in connection with Curits' role as debtors' conflicts
               counsel (.30)

08/22/13 FRG   Arrange for telephonic appearance for August 22                  0.30
               hearings, per D. Bloom request (.30)

08/23/13 MG8   Attend to review of recent docket activity, including            0.50
               several notices of presentment relating to claims
               objections and to discovery disputes in connection with
               plan confirmation, correspondence relating to exhibit for
               FGIC settlement, and various notices of adjournment and
               agenda in connection with Curtis' role as conflicts counsel
               (.50)

08/26/13 DAB   Email to M. Gallagher and J. Wishnew of Morrison &               0.20
               Foerster re: GMACM Notice of Trustee Sale received by
               S. Reisman (.20)

08/29/13 MG8   Attend to recent docket activity filed in Chapter 11 case in     0.80
               connection with Curtis' role as Debtors' conflicts counsel,
               including order with respect to Motions to Dismiss JSN
               adversary proceeding where noteholders David Kempner,
               Silverpoint, UBS, and Loomis are conflict parties, notice of
               agenda for hearing on Debtors' disputed motion with
               respect to discovery proceedings for confirmation,
               stipulations regarding stay relief, claims objections,
               objections to claims objections, limited objection of Impac
               to Motion to Assume, notices of presentment with respect
               to claims objections, and order denying additional
               discovery in FGIC dispute (.80)



08/30/13 MG8   Attend to review of daily docket activity in connection with     0.50
               Curtis' role as Debtors' conflicts counsel, including
               numerous Omnibus Claims Objections, Notices of
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                Presentment of Order with respect to various Omnibus
                Claims Objections, notices of adjournment and
                correspondence regarding FGIC Settlement (.50)

                                          TOTAL HOURS                         8.20



       Summary of Services
                                          Title             Hours      Rate    Amount
       Maryann Gallagher                Counsel               6.10      625     3,812.50
       Daniel A. Bloom                  Associate             0.50      480          240.00
       Georgia Faust                    Legal Assistant       1.00      235          235.00
       Franklin R. Guenthner            Legal Assistant       0.60      235          141.00

                                                              8.20             $4,428.50

                                            TOTAL SERVICES                                     $4,428.50

       Summary of Expenses
         Courier Expense                                          19.50

         External Photocopy Services                            309.00

         Intercall Audio Conferencing                             40.76

         Pacer - ECF                                            254.30

                                            TOTAL EXPENSES                                      $623.56




                                            TOTAL THIS INVOICE                                $5,052.06
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                   November 13, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1592009
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000320
                                                                                           SJR
Attention:   Residential Capital, LLC
Re: Claims Administration and Objections




      08/01/13 JJW        Conference with M. Gallagher and M. Cohen of Curtis,           1.60
                          and C. Laubach and J. Wishnew of Morrison & Foerster re
                          claim of PNC Mortgage, a conflict party, and objection
                          thereto (.60); review and analyze support for PNC
                          Mortgage claim (1.00)

      08/01/13 MG8        Review repurchase history chart sent by counsel to PNC         1.30
                          Mortgage in preparation for call with C. Laubach regarding
                          PNC Mortgage claim alleging representation and warranty
                          claims (.30); participate in call with C. Laubach, M.
                          Rothchild of Morrison & Foerster, and M. Cohen and J.
                          Walsh regarding claim of PNC Mortgage a conflict party
                          and approach for resolving and/or objecting (.60);
                          teleconference with A. Root, counsel to PNC Mortgage,
                          regarding additional information required from PNC
                          Mortgage with respect to its claim, and requesting
                          withdrawal of original claim, as it was amended and
                          superseded (.20); confer with P. Buenger regarding PNC
                          Mortgage and potential objection (.20)

      08/01/13 MAC        Teleconference with J. Walsh and M. Gallagher, and C.          1.80
                          Laubach and J. Wishnew of Morrison & Foerster re: claim
                          of PNC, a conflict party (.60); conduct research re: PNC
                          Mortgage servicing backup data and methods for
                          calculating claims (1.20)

      08/01/13 PJB2       Incorporate relevant factual information from Debtors'         0.80
                          motion to approve Kessler Claim Settlement Agreement
                          into draft of Debtors' objection to conflict party PNC
                          Bank's proof of claim and provide updated draft to M.
                          Gallagher and M. Cohen for review (.60); confer with M.
                          Gallagher re: same (.20)

      08/02/13 JJW        Conference with M. Gallagher re: conflict party Citibank's     1.20
                          claim and objection thereto (.40); review and analyze
                          support for claim of PNC Bank, a conflict party (.50);
                          conference with M. Gallagher re: same (.30)

      08/02/13 MG8        Attend to correspondence with P. Buenger regarding             0.60
                          revisions to Objection to Proof of Claim of PNC Bank, a
                          conflict party (30); review latest draft of Objection to PNC
                          Bank proof of claim to update for information from
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                Class Action as well as motion to approve settlement with
                Kessler Plaintiffs (.30)

08/02/13 PJB2   Correspondence with M. Cohen re: comments to Debtors'             1.00
                objection to proof of claim filed by conflict party PNC Bank
                (.30); revise same (.40); correspondence with M.
                Gallagher re: same (.10); provide same and revised
                Declaration of K. Lee Marshall in support thereof to M.
                Gallagher, M. Cohen, J. Walsh, Bryan Cave, and Morrison
                & Foerster for review and further comments (.20)


08/05/13 SJR    Review draft of Objection to conflict party PNC bank claim        0.60
                and follow-up regarding matters related to same (.60)


08/05/13 MG8    Update Marshall Declaration to adjust for certain                 1.70
                developments in underlying class action case pending in
                Pennsylvania federal court (.30); review and revise draft
                of objection claim to of PNC Mortgage, a conflict party
                (.60); correspond with E. Dill and M. Biggers of Bryan
                Cave regarding revised drafts of objection to PNC Bank
                claim and transmit the same (.40); correspond with E.
                Frejke of Kramer Levin regarding draft objection to claim
                of PNC Bank for indemnification (.20); teleconference with
                R. Ringer of Kramer Levin regarding same (.20)


08/05/13 PJB2   Review comments provided by M. Biggers of Bryan Cave              0.60
                to Debtors' objection to proof of claim filed by conflict party
                PNC Bank (.20); follow-up correspondence with M.
                Gallagher re: same (.10); revise same and provide to M.
                Gallagher for circulation to counsel to creditors' committee
                for final review and comments (.30)


08/06/13 MG8    Telephone conference with D. Mannal of Kramer Levin               0.50
                regarding Committee comments to draft objection to PNC
                Bank proof of claim and follow-up correspondence with D.
                Mannal re: same (.30); correspond with E. Dill of Bryan
                Cave regarding additional comments to draft objection to
                proof of claim of PNC Bank, a conflict party, and related
                follow-up correspondence to same re: same (.20)


08/06/13 MAC    Review revised objection to claim of PNC Bank, a conflict         0.40
                party, in light of comments received from Kramer Levin
                and Bryan Cave (.40)

08/07/13 SJR    Attend to review of revised Objection to conflict party PNC       0.60
                Bank Proof of Claim (.60)

08/07/13 JJW    Review and comment on draft objection to claim of PNC             0.90
                Bank, a conflict party (.50); correspondence with M.
                Gallagher re: PNC Bank objection and related matters
                (.40)
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08/07/13 MG8    Revise draft objection to Proof of Claim of PNC Bank, a         2.70
                conflict party, to reflect latest comments from Bryan Cave
                (.60); review complaint filed in Kessler Class action to
                determine date range alleged (.50); review proofs of claim
                filed by JPMorgan, a conflict party, to determine if any
                claims are related to Kessler litigation (1.20); attend to
                correspondence with D. Mannal of Kramer Levin
                regarding timing of Committee comments to Objection to
                PNC Bank proof of claim (.20); confer with P. Buenger
                regarding logistics of filing and service of objection to PNC
                Bank proof of claim (.20)

08/07/13 PJB2   Prepare and finalize exhibits to declaration in support of      0.40
                Debtors' objection to proof of claim filed by conflict party
                PNC Bank (.20); follow-up conference with M. Gallagher
                re: same (.20)

08/08/13 MG8    Telephone conference with J. Sharrett and D. Mannal of          2.60
                Kramer Levin regarding comments to draft objection to
                Proof of Claim of PNC Bank, a conflict party (.20);
                follow-up call with J. Sharrett of Kramer Levin to review in
                detail comments to draft objection to PNC Bank proof of
                claim (.40); revise draft objection to PNC Bank proof of
                claim to reflect Kramer Levin comments (.40); attend to
                correspondence with M. Biggers and other Bryan Cave
                attorneys regarding Kramer Levin comments to draft
                objection to PNC Bank proof of claims, and follow-up
                communications with M. Biggers regarding same (.40);
                confer with P. Buenger regarding finalization, filing, and
                service of objection to PNC Bank proof of claim (.30);
                attend to correspondence with N. Rosenbaum of Morrison
                & Foerster regarding final review of draft objection to PNC
                Bank proof of claim (.20); confer with M. Cohen regarding
                status of objection to PNC Bank proof of claim (.20);
                attend to correspondence from A. Root, counsel to PNC,
                regarding updated information from PNC Mortgage
                regarding unpaid balance on pool and PNC Mortgage's
                method of calculating estimated losses due to
                representation and warranty claims (.30); attend to
                correspondence with M. Rothchild of Morrison & Foerster
                regarding status of PNC Mortgage proof of claim, and
                related follow-up correspondence with M. Cohen and J.
                Walsh re: same (.20)



08/08/13 MAC    Review revised objection to claim of PNC Bank, a conflict       0.90
                party, in preparation for filing (.70); conference with M.
                Gallagher re: same (.20)

08/08/13 PJB2   Further revisions and finalization of Debtors' objection to     0.70
                proof of claim by conflict party PNC Bank (.30); discuss
                with M. Gallagher, filing of same and service (.30);
                correspondence with C. Cu of Debtors' claims agent re:
                same (.10)

08/09/13 TF1    Attend to correspondence with T. Goren and M.                   0.20
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               Gallagher on status of draft objection to conflict party
               Citibank's claim to default interest (.20)

08/09/13 JJW   Conference with M. Gallagher re: conflict party Citibank         2.70
               claim for default interest (.50); review and comment on
               draft objection (.40); review MSR agreement and related
               Citibank documents regarding alleged right of offset (1.00)
               conference with E. Tobin re: same (.40); review
               correspondence related to Citibank claim (.40)

08/09/13 MG8   Review comments of N. Rosenbaum of Morrison &                    3.60
               Foerster to objection to conflict party PNC Bank's proof of
               claim, and discuss same with M. Biggers of Bryan Cave,
               as well as related issues (.50); attend to final revisions,
               including review of cites to certain statutes, to objection to
               PNC Bank proof of claim (.50); related follow-up
               correspondence with P. Buenger and B. Kotliar regarding
               final changes, filing and service of same (.30); attend to
               correspondence with C. Cu of KCC regarding service of
               objection to PNC Bank proof of claim (.10); review
               materials sent by A. Root from PNC Mortgage and
               follow-up telephone conference with A. Root regarding
               updated loan pool information sent by PNC Mortgage and
               calculation of projected future losses and related issues
               (.50); attend to correspondence from T. Goren of Morrison
               & Foerster regarding conflict party Citibank withholding
               amounts on deposit in certain accounts at Citibank due to
               default rate interest issue (.20); review Citibank Account
               agreements sent by P. Grande of Residential Capital in
               connection with same (.20); follow-up correspondence
               with J. Walsh regarding same (.10); review Citibank MRS
               Facility Agreement to determine Citibank rights, if any, to
               set-off amounts in accounts unrelated to MSR facility to
               secure alleged right to receive interest at the default rate
               (.80); numerous follow-up correspondence with E. Tobin
               and J. Walsh regarding remedies under Citibank MSR
               facility agreement (.40)



08/09/13 GF    Prepare and file on case docket Debtors' Objection to            1.10
               Proof of Claim of PNC Bank, N.A., a conflict party, (Claim
               No. 4760) as per B. Kotliar direction (.50); draft chambers
               letter re: same (.60)

08/09/13 BMK   Review and revise objection to claim of PNC Mortgage, a          1.30
               conflict party, in preparation for filing, including proposed
               order, declaration, and attached exhibits (.70);
               correspondence with M. Gallagher and P. Buenger re:
               same and final open issues in connection with filing (.30);
               supervise filing of same on main case docket (.30)


08/09/13 ET    Review and analyze Amended and Restated Loan and                 3.60
               Security Agreement dated as of June 30, 2010 among
               GMAC Mortgage, Residential Capital, and Citibank,
               focusing on remedy provisions, relevant documents,
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               and applicable portions of the Uniform Commercial Code
               re: conflict party Citibank's withholding of the Debtors'
               funds to secure amounts allegedly owed under the
               Citibank MSR Facility (3.20); conference with J. Walsh re:
               same (.40)

08/11/13 MG8   Further review of conflict party Citibank MSR Facility        2.60
               Documents in connection with interest rate dispute (1.40);
               draft email to T. Goren of Morrison & Foerster regarding
               findings as to Citibank amounts in Residential Capital hold
               on London account (.80); correspond with J. Walsh
               regarding same (.20); email T. Goren regarding analysis
               of Citibank refusal to close Residential Capital London
               accounts and return balances and scheduling call to
               discuss the same (.20)

08/12/13 TF1   Conference call with M. Gallagher regarding status/plan       0.30
               for claims objections with respect to conflict parties
               Citibank and PNC Mortgage (.30)

08/12/13 MG8   Conference call with T. Foudy regarding strategy for          0.30
               claims objections with respect to conflict parties Citibank
               and PNC Mortgage (.30)

08/12/13 MAC   Conduct research and analysis re: potential objections to     2.90
               conflict party Citibank's claims for post-petition default
               interest and related fees (1.40); teleconference with
               Morrison & Foerster re: claim objections and background
               information related to Citibank claims (.40); conduct
               research re: valuation issues in connection with
               post-petition interest issues re: same (1.10)

08/12/13 GF    Prepare materials and cover letter for chambers re:           2.30
               objection to proof of claim of conflict party PNC Bank per
               instructions of B. Kotliar and M. Gallagher (2.10);
               coordinate for hand delivery of same (.20)

08/12/13 BMK   Supervise and coordinate with G. Faust re: production         1.10
               and delivery of chambers copies re: objection to conflict
               party PNC Claim No. 4760 (1.10)

08/13/13 SJR   Review draft of Twenty-fourth Omnibus Objection to            1.30
               Claims and underlying documentation in connection with
               objections to claim of conflict parties PNC Mortgage, UPS,
               and HP (1.30)

08/13/13 MG8   Prepare for call regarding conflict party PNC Mortgage        4.30
               proofs of claim by reviewing material sent by PNC
               Mortgage (.30); participate in call with D. Horst, C.
               Laubach, L. Delehey, J. Wishnew, and M. Rothchild of
               Morrison & Foerster regarding PNC Mortgage proofs of
               claim (.60); attend to matters related to Twenty-Fourth
               Omnibus Objection to Claims as Curtis is conflicts counsel
               to Residential Capital for PNC Mortgage, UPS and
               Hewlett Packard (.40); attend to correspondence with M.
               Rothchild re: conflict parties PNC Mortgage, HP and UPS,
               as well as nature of potential objections and
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               clarification that objections are not to Borrower Claims
               (.20); review proofs of claim for Hewlett Packard, UPS,
               and Merrill Lynch Mortgage Lending in connection with
               24th Omnibus Claims Objection (amended superseded)
               (1.20); review and provide comments to M. Rothchild on
               draft of Debtors 24th Omnibus Objection to Claims (1.40);
               correspondence with A. Root, counsel to PNC, regarding
               open issues with PNC Mortgage proofs of claims that
               PNC Mortgage needs to clarify (.20)


08/14/13 TF1   Attend to Omnibus Objections to claims of conflict parties     0.40
               PNC, UPS and Hewlett Packard including
               correspondence with M. Gallagher re: coordinating with
               Morrison & Foerster re: same (.40)

08/14/13 JJW   Review Motion for Preliminary Approval of Kessler class        1.40
               settlement in connection with objection to PNC, a conflict
               party (1.20); conference with M. Gallagher re: hearing on
               preliminary approval re: same (.20)

08/14/13 MG8   Attend to correspondence with J. Petts of Morrison &           4.40
               Foerster regarding Curtis' need to be adverse to certain
               individuals constituting conflict parties in Omnibus
               Objection on the basis of lack of information in support of
               claims (.20); review proof of claims sent by Morrison &
               Foerster for conflict parties E. Williams, D. Nelson and T.
               Williams in connection with planned Omnibus Objection
               on the basis of lack of information and documentation in
               support of the claims filed by these individuals (.50);
               attend to correspondence with M. Rothchild of Morrison &
               Foerster regarding nature of objections to proofs of claim
               filed by Hewlett Packard, and related follow-up with B.
               Kotliar (.30); attend to numerous communications from M.
               Rothchild of Morrison & Foerster regarding 24th Omnibus
               Objection and adding Credit Suisse as conflicts party (.30)
               review conflict parties DLJ/Credit Suisse proofs of claim to
               be included in 24th Omnibus Claim Objection (.80);
               correspondence with C. Cu of KCC, B. Kotliar and M.
               Rothchild regarding same (.30); telephone conference
               with J. Petts of Morrison & Foerster regarding upcoming
               Omnibus Objections to Borrowers' Claims and related
               issues (.20); review and revise individualized notice for
               24th Omnibus Objection and follow-up with M. Rothchild
               regarding same (.60); telephone conference with A. Root,
               counsel to PNC Mortgage, a conflict party, regarding
               Omnibus Objection to PNC Mortgage original proof of
               claim and related issues (.20); review conflict party
               Hewlett Packard objection to assumption and assignment
               and compare to proofs of claim (.60); correspond with M.
               Rothchild regarding issues with Hewlett Packard claims
               and related matters (.20); confer with J. Walsh regarding
               PNC Mortgage issues and obtaining additional documents
               with respect to Residential
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               Capital accounts at conflict party Citibank that Citibank
               refuses to close due to default interest dispute (.20)

08/14/13 MAC   Conduct research re: issues in connection with PNC             1.50
               Mortgage, a conflict party, rejection damages claim and
               potential calculation methods re: same (1.50)

08/14/13 BMK   Review claims of conflict parties Merrill Lynch, Hewlett       1.70
               Packard, and UPS in connection with possible claims
               objection re: amended and superseded claims and
               correspondence with M. Gallagher re: same (.40); review
               Hewlett Packard's claims specifically for connection to
               contracts assumed and assigned in connection with
               Platform Sale to Ocwen/Walter by reviewing assumption
               and assignment notices, sale objections, and other
               docketed items (.90); email correspondence with M.
               Gallagher summarizing same (.20); review email
               correspondence with M. Gallagher and M. Rothchild at
               Morrison & Foerster re: treatment of foregoing claims on
               upcoming claims objection (.20)

08/15/13 MG8   Follow-up call with M. Rothchild of Morrison & Foerster        0.50
               regarding 24th Omnibus Objection to claims and open
               issues with respect to PNC Mortgage, a conflict party (.20)
               follow-up call with J. Wishnew of Morrison & Foerster
               regarding the same (.10); attend to correspondence with
               S. Reisman regarding status of claims objections against
               conflict parties, including among others, PNC Mortgage
               and Credit Suisse (.20)

08/15/13 MAC   Review extensive correspondence from Morrison &                0.40
               Foerster with respect to conflict parties' claims objections
               being handled by Curtis such as Citibank, Credit Suisse,
               PNC, and Hewlett Packard (.40)

08/16/13 TF1   Meet with J. Walsh to discuss status of claim objections       0.50
               with respect to conflict parties Citibank, PNC Mortgage,
               and PNC Bank, as well as PNC Bank's objection to
               Kessler class action settlement (.50)

08/16/13 JJW   Meet with T. Foudy to discuss status of claim objection        0.50
               with respect to conflict parties Citibank, PNC and PNC
               Bank’s objection to Kessler class action settlement (.50)


08/16/13 MG8   Attend to correspondence with M. Rothchild of Morrison &       0.50
               Foerster regarding 24th Omnibus Claim Objection with
               respect to claims of conflict parties DJL/Credit Suisse and
               UPS (.20); review Notice of Adjournment for 10th
               Omnibus Claim Objection with respect to conflict parties
               MetLife and Everest claims, and follow up
               correspondence with G. Faust regarding updated
               schedule for hearings on Omnibus Objections and
               response dates (.30)

08/19/13 MAC   Conduct research related to rejection damages claims           1.40
               arising in connection with objections to conflict parties'
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               Proofs of Claim and portions of claims not covered by
               assumed contracts (1.40)

08/20/13 MG8   Correspond with C. Cu of KCC regarding conflict party            3.60
               MetLife proofs of claim and brief review of the same (.50);
               review correspondence from counsel to conflict party
               Citibank responding to a Committee letter regarding
               reimbursement of Citibank legal fees, and follow-up
               correspondence with J. Walsh and T. Goren of Morrison &
               Foerster regarding same (.40); correspond with D. Mannal
               of Kramer Levin regarding Citibank default rate interest
               issue (.20); confer with M. Cohen regarding strategy for
               objecting to Citibank claim for default interest (.20); review
               and revise draft objection to Citibank claim (.70); draft
               declaration in support of the same (1.60)



08/20/13 MAC   Review conflict party Citibank's response to Creditors'          0.50
               Committee's objection to Citibank's legal fees and related
               issues (.30); conference with M. Gallagher re: Citibank
               default interest issues in connection with same (.20)


08/22/13 TF1   Attend to matters concerning new Omnibus Objection to            0.30
               claims by conflict party Fortress (.30)

08/22/13 MG8   Telephone conference with J. Rothberg of Morrison &              1.50
               Foerster regarding upcoming Omnibus Claim Objection
               involving conflict parties Fortress and Independence VI
               DCO, Ltd, including brief review of proofs of claim
               involved (.70); several communications with M. Biggers of
               Bryan Cave and J. Walsh throughout the day regarding
               objection to conflict party PNC Bank proof of claim and
               potential reply to response to the same (.50); attend to
               several communications with P. Buenger regarding status
               of conflict party MetLife claims included in adjourned 10th
               Omnibus Claims Objections, and related follow-up
               correspondence to same re: same (.30)



08/22/13 MAC   Review underlying documentation in connection with               1.90
               Omnibus Claims Objections being handled by Curtis as
               conflicts counsel to the Debtors with respect to claims
               filed by Fortress as conflict party (1.90)

08/22/13 AVA   Review case law related to conflict party PNC Bank's             2.40
               objection to the Kessler Settlement and underlying proofs
               of claim to settlement (2.40)

08/23/13 MG8   Review submission filed by conflict party G. Davis               0.60
               regarding his mortgage and claim (.40); attend to
               correspondence with M. Cohen, P. Buenger, and D.
               Bloom regarding 23rd Omnibus Objection and submission
               of G. Davis (.20)

08/23/13 DAB   Correspondence with M. Gallagher and M. Cohen re:                0.20
               conflict party George Davis response to claim objection
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                (.20)

08/23/13 KK     Assemble authorities cited to in Debtors' Objection to         2.00
                Proof of Claim of PNC Bank, N.A., a conflict party, per
                request of A. Anon (2.00)

08/26/13 TF1    Call with J. Rothberg of Morrison & Foerster on new            0.20
                Securities Omnibus Objection involving conflict party
                Fortress (.10); confer with J. Walsh on request by conflict
                party PNC Bank for adjournment of claim objection
                hearing (.10)

08/26/13 JJW    Conference with A. Root, counsel to conflict party PNC         1.10
                Bank re: claims objection and Kessler settlement (.40);
                correspondence with counsel for Kessler plaintiffs,
                counsel for Creditors' Committee and M. Gallagher re:
                schedule for briefing (.30); conference with A. Anon re:
                claims objection and potential arguments in support of
                claims objection (.40)

08/26/13 MG8    Supervise B. Kotliar with respect to inquiries made by         0.90
                creditor W. Walker, a borrower party whose claim is
                subject of imminent hearing on omnibus claims objections
                (.40); numerous telephone conferences with J. Petts of
                Morrison & Foerster regarding filing made by G. Davis in
                connection with 22nd Omnibus Claims objection, as
                Morrison & Foerster had indicated that it had a conflict
                with respect to G. Davis (.30); attend to correspondence
                with J. Petts and D. Bloom to confirm that resolution of the
                reply to filing made by G. Davis with respect to 22nd
                Omnibus Claims objection (.20)

08/26/13 MAC    Conduct research and analysis of issues in connection          0.90
                with reply to response to Omnibus Claims objections and
                procedural merits re: same (.70); teleconference with J.
                Petts of Morrison & Foerster re: same (.20)

08/26/13 BMK    Return call of W. Walker re: Omnibus Claims objection re:      0.80
                borrower claims insufficient information and expunged
                duplicative claims and review relevant case pleadings in
                connection with same (.50); correspondence with M.
                Gallagher re: same (.20); conference with D. Bloom and J.
                Petts of Morrison & Foerster re: Morrison & Foerster
                handling claim in connection with upcoming hearing on
                Omnibus Claims objection and notifying of relevant
                correspondence (.10)


08/26/13 DAB    Call with J. Petts at Morrison & Foerster and B. Kotliar re:   0.20
                Walker claim as W. Walker is a potential conflict party
                (.10); follow-up correspondence with M. Gallagher re:
                same (.10)

08/26/13 PJB2   Review Debtors' reply to objection by potential conflict       1.00
                party W. Walker to Debtors' 22nd Omnibus Claims
                objection to borrowers claims with insufficient
                documentation (.80); correspondence with D. Bloom re:
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                same (.20)

08/26/13 AVA    Review case law in connection with objection to conflict       2.40
                party PNC Bank proof of claim and upcoming hearing on
                and reply with respect to same (2.00); conference with J.
                Walsh re: same and potential arguments (.40)

08/27/13 MG8    Review and comment on draft notice of presentment of           0.70
                proposed order with respect to 10th Omnibus Claims
                objection, as Curtis acts as conflicts counsel with respect
                to MetLife parties (.40); correspond with P. Buenger
                regarding proposed order (.10); several email
                correspondence with D. Bloom and N. Moss of Morrison &
                Foerster regarding same (.20)

08/27/13 MAC    Review notice of presentment and related documents in          0.50
                connection with securities Omnibus Claims objection
                being handled by Curtis with respect to certain conflict
                party claimants including Metlife (.50)

08/27/13 DAB    Review and comment on Notice with respect to 10th              0.30
                Omnibus Claims Objection (Securities) per M. Gallagher
                email as MetLife is a conflict party (.30)

08/27/13 PJB2   Correspondence with M. Gallagher re: draft of Debtors'         3.20
                10th Omnibus Objection to claims (facially defective and
                time-barred securities claims) in connection with certain
                claims being objected to in same filed by MetLife and
                Everest conflict parties (.20); review same and provide
                comments (.80); review draft notice of presentment and
                proposed order in connection with same (.70); review
                underlying claims listed in chart attached to proposed
                order for accuracy of claims as compared to the Debtors'
                claims agents' master claims spreadsheet (1.30);
                correspondence with D. Bloom and M. Gallagher re: same
                (.20)

08/27/13 AVA    At request of J. Walsh, research potential grounds for         6.10
                indemnification or contribution in connection with conflict
                party PNC Bank Proof of Claim No. 4760, in connection
                with claim objection seeking disallowance of PNC Claim
                under sections 502(b) and 502(e)(1)(B) of Bankruptcy
                Code (6.10)

08/28/13 PJB2   Correspondence with J. Rothberg of Morrison & Foerster         1.40
                re: draft of Debtors' omnibus objection to conflict party
                Fortress entity claims based on claims as facially
                defective and time-barred securities claims filed by certain
                conflict parties (.10); correspondence with M. Gallagher re
                same (.10); review and revise draft objection (1.10);
                follow-up correspondence with M. Gallagher re: same and
                providing comments to J. Rothberg of Morrison & Foerster
                to finalization and filing of same (.10)


08/28/13 AVA    Continue research regarding possible grounds for               4.10
                indemnification and contribution rights claimed by
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                conflict party PNC Bank in Proof of Claim No. 4760,
                including basis for creation of federal common law
                establishing rights of contribution for federal claims and
                definition of direct contingent claims, in connection with
                objection to PNC Proof of Claim for contribution and/or
                indemnification related to class action litigation, in
                preparation for upcoming briefing, per request of J. Walsh
                (4.10)

08/29/13 MG8    Review and comment on revised draft of Omnibus                   3.10
                Objection to proofs of claim filed by conflict party Fortress
                entities circulated by J. Rothberg of Morrison & Foerster
                (.50); discuss same with P. Buenger (.30); review and
                revise proposed order for Omnibus Objection to claims,
                including claims filed by Fortress entities, the draft Kruger
                declaration in support of Omnibus objection to claims filed
                by Fortress as facially defective and time-barred, as well
                as the notice of the objection and the exhibit listing
                Disputed Claim (.80); correspond with J. Rothberg with
                respect to same (.30) compare the proofs of claim filed by
                Fortress entities and subject of the Omnibus Claims
                objection for facially deficient and time-barred securities
                claims to the exhibit attached to the proposed order and
                the text of the objection (.50); correspond with J. Walsh
                regarding plans for replying to anticipated response of
                conflict party PNC Bank to Debtors' objection to the proof
                of claim filed by PNC Bank (.20); correspond with J.
                Walsh regarding outcome of hearing on motions to
                dismiss in JSN adversary proceeding with respect to
                default interest rate, as that issue is relevant to conflict
                party Citibank claim for default interest (.20); correspond
                with P. Grande and J. Horner of Residential Capital
                regarding issues relating to Citibank claim for default
                interest (.30)



08/29/13 PJB2   Correspondence with M. Gallagher re: draft Debtors'              2.50
                Omnibus Objection to facially defective and time-barred
                securities claims in connection with claims filed by conflict
                parties to the Debtors lead counsel, including several
                Fortress entities which are conflict parties (.20); review
                and provide comments to same (.60); meet with M.
                Gallagher to discuss same (.30); review and revise draft
                notice and proposed order in connection with Debtors'
                Omnibus Objection to claims based on claims being
                Facially Defective and time-barred securities claims filed
                by certain conflict parties (.70); review draft of declaration
                of Lewis Kruger in support of same (.50); follow up
                correspondence with M. Gallagher to provide comments
                to notice, proposed order, and declaration in connection
                with same (.20)


08/29/13 AVA    Continue research related to conflict party PNC Bank             5.70
                Proof of Claim 4760, including case law regarding
                equitable basis for indemnification and contribution rights,
                and confirm ongoing validity of case law cited in
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                Debtors’ Claim Objection to PNC Bank Proof of Claim
                4760 (3.40); summarize potential arguments of PNC Bank
                in connection with objecting to same (1.80); meet with J.
                Walsh to review potential bases for PNC Bank’s claim of
                contribution or indemnification against Debtors (.30);
                review local rules of Judge Glenn regarding requirements
                for reply to same (.20)

08/30/13 MG8    Review conflict party PNC Bank response to Debtors'            2.30
                objection to PNC Bank proof of claim (.30); correspond
                with M. Cohen and J. Walsh regarding same and
                assertion that it will conditionally withdraw its claim, and
                related follow-up emails with same re: same (.30);
                correspond with A. Anon regarding research in connection
                with reply to PNC Bank response to Debtors' objection to
                PNC Bank proof of claim for indemnity (.20); telephone
                conference with E. Frejka of Kramer Levin regarding PNC
                Bank response to Debtors' claim objection (.20);
                correspondence with M. Biggers and L. Marshall of Bryan
                Cave regarding PNC Bank response to Debtors' claim
                objection and need for order to withdraw proof of claim
                pursuant to Bankruptcy Rule 3006 (.30); review
                correspondence from A. Anon regarding Bankruptcy Rule
                3006 and withdrawal of claim after objection has been
                lodged (.20); review research regarding impact of
                disallowance of contingent claim pursuant to section
                502(e) (.20); follow-up correspondence with A. Anon and
                J. Walsh regarding additional research in order to reply to
                PNC Bank response to Debtors' objection to PNC Bank's
                proof of claim for indemnity (.30); attend to
                correspondence with S. Molison of Morrison & Foerster
                regarding preparations for upcoming Omnibus Claims
                objections against various conflict parties, including Bank
                of America, Transamerica, Hewlett Packard, and
                CitiMortgage (.30)



08/30/13 MAC    Review conflict party PNC Bank's response to claim             1.00
                objection being handled by Curtis and conduct analysis of
                issues related to withdrawal of claim and potential reply re
                same (1.00)

08/30/13 PJB2   Review of conflict party PNC Bank's response and               0.80
                reservation of rights to the Debtors' objection to PNC's
                proof of claim 4760 (.40); correspondence with M. Cohen
                re: same (.10); discussions with M. Gallagher re: same
                and next steps with respect to drafting reply and
                proceeding on objecting on substantive grounds (.30)


08/30/13 AVA    Review conflict party PNC Bank's Reply to debtor's claim       2.20
                objection (.80); research Federal Rules of Bankruptcy
                Procedure applicable to reply re: same (.50); research
                strategic decision to be made to limit PNC Bank's
                potential use of a Section 502(j) motion at request of M.
                Gallagher (.90)
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                                                                              Our Ref # 062108-000320

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                                         TOTAL HOURS                      116.10



       Summary of Services
                                         Title           Hours     Rate       Amount
       Steven J. Reisman               Partner              2.50    830       2,075.00
       Jonathan J. Walsh               Partner              9.40    740       6,956.00
       Theresa A. Foudy                Partner              1.90    730       1,387.00
       Michael Ari Cohen               Partner            14.10     730      10,293.00
       Maryann Gallagher               Counsel            38.30     625      23,937.50
       Ellen Tobin                     Associate            3.60    600       2,160.00
       Daniel A. Bloom                 Associate            0.70    480            336.00
       Peter Josef Buenger             Associate          12.40     425       5,270.00
       Bryan M. Kotliar                Associate            4.90    305       1,494.50
       Ada Victoria Anon               Associate          22.90     300       6,870.00
       Georgia Faust                   Legal Assistant      3.40    235            799.00
       Kristine Kim                    Legal Assistant      2.00    210            420.00

                                                         116.10             $61,998.00

                                           TOTAL SERVICES                                    $61,998.00


       Summary of Expenses
         External Photocopy Services                            14.40

         Pacer - ECF                                            38.50

                                           TOTAL EXPENSES                                       $52.90




                                           TOTAL THIS INVOICE                               $62,050.90
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                                              ATTORNEYS AND COUNSELLORS AT LAW
                                                      101 PARK AVENUE
                                              NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                  November 14, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                          Inv. # 1592011
Fort Washington PA 19034
                                                                                          Our Ref. 062108-000340
                                                                                          SJR
Attention:   Residential Capital, LLC
Re: JSN Doc Review




      08/02/13 JD3        Review memo and correspondence re: JSN document               1.00
                          review project in light of involvement of conflict parties
                          Wells Fargo and noteholders UBS and Loomis (1.00)

      08/02/13 MB         Review overview correspondence of upcoming document           0.30
                          review in connection with Consolidated JSN Adversary
                          Proceeding where Wells Fargo and noteholders Loomis
                          and UBS are conflict parties (.30)

      08/02/13 MPJ        Review and analyze memorandum circulated by E. Tobin          0.80
                          regarding document review protocol associated with
                          upcoming document review project in connection with
                          Curtis' role as conflicts counsel, as Wells Fargo and
                          noteholders UBS and Loomis are conflict parties (.80)


      08/02/13 PK         Review Document Review Protocol in preparation for            1.10
                          meeting on August 5, 2013 re: marking of documents
                          produced by Debtors in preparation for depositions and
                          trial and in connection with Plan Confirmation, in light of
                          involvement of conflict parties Wells Fargo and
                          noteholders UBS, Loomis, Davidson Kempner, and
                          Silverpoint (1.10)

      08/02/13 MK         Review due diligence background summaries and                 0.40
                          correspond regarding same in connection with document
                          review project relating to JSN Adversary Proceeding and
                          Plan Confirmation where noteholders Davidson Kempner,
                          Silverpoint, UBS, and Loomis are conflict parties (.40)


      08/04/13 MS8        Review Document Review Protocol in preparation for            5.00
                          reviewing the documents produced by the Debtors in the
                          JSN adversary proceeding and in connection with Plan
                          Confirmation, in light of involvement of conflict parties
                          Wells Fargo and noteholders UBS and Loomis (2.80);
                          review First Amended Complaint to Determine Extent of
                          Liens and for Declaratory Judgment (June 19, 2013) in
                          preparation for same (2.20)

      08/05/13 JD3        Review materials in preparation for JSN document review       3.60
                          project relating to the JSN Adversary
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               Proceeding and Plan Confirmation in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis, including document review summary memo,
               Debtors' amended complaint and JSN answer and
               counterclaims (1.60); attend orientation meeting led by T.
               Foudy, E. Tobin, and J. Berman re: JSN document review
               project in connection with same (.80); participate in
               Relativity training webcast in connection with JSN
               document review project re: same (.80); various
               correspondence with E. Tobin re: same (.40)


08/05/13 MB    Review Document Review Protocol in connection with              6.00
               dispute with JSNs' over lien value and purported
               entitlement to post-petition interest in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (2.80); review First Amended Complaint to
               Determine Extent of Liens and for Declaratory Judgment
               in preparation for document review (1.80); attend
               document review meeting led by T. Foudy, E. Tobin, and
               J. Berman to discuss same and proper tagging protocol
               (.80); attend web-based training concerning use of
               Relativity database to be used in document review (.60)



08/05/13 DS    Review Document Review Protocol in preparation for              2.40
               review of Debtors' document production in connection
               with the JSN adversary proceeding in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (1.10); review First Amended Complaint to
               Determine Extent of Liens and for Declaratory Judgment
               in connection with same (1.30)


08/05/13 HS2   Attend JSN document review meeting led by T. Foudy, E.          1.60
               Tobin, and J. Berman in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.80);
               attend Relativity training session for document review
               software in connection with same (.80)


08/05/13 EC    Attend meeting with E. Tobin, J. Berman, and T. Foudy           1.60
               discussing background of the case and parameters for
               document review in preparation for depositions and trial in
               the JSN adversary proceeding where Wells Fargo and
               noteholders Davidson Kempner, Silverpoint, UBS, and
               Loomis are conflict parties (.80); attend web-based
               training session for use of document review platform in
               preparation for issue tagging document review in
               connection with same (.80)

08/05/13 BMK   Review document review protocol in connection with              3.50
               upcoming document review project in order to properly tag
               and issue spot documents produced by the Debtors in
               connection with JSN Adversary Proceeding where
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               Loomis, UBS, and Wells Fargo are potential conflict
               parties (.70); review Debtor complaint,
               CommitteeComplaint, JSNs amended counterclaims and
               summary sheet of claims in connection with assisting with
               drafting protocol and background (1.20); attend document
               review staff meeting in order to prepare for same (.80);
               follow up online training session through Webx in
               connection with same (.80)

08/05/13 SRM   Attend document review meeting led by T. Foudy, E.              1.60
               Tobin, and J. Berman in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.80);
               attend web-based training re: same (.80)

08/05/13 JTW   Attend meeting led by T. Foudy, E. Tobin, and J. Berman         1.60
               re: preparation for document review in connection with
               Debtors' adversary proceeding against the JSNs over the
               extent, validity and value of the JSNs' liens and JSNs'
               purported entitlement to post-petition interest, where
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (.80); participate in Relativity online training
               session of review database in preparation for same (.80)


08/05/13 PK    Review document review protocol to prepare to mark              3.20
               documents produced by Debtors in the JSN adversary
               proceeding in preparation for depositions and trial in the
               JSN adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (1.60);
               attend meeting led by T. Foudy, E. Tobin, and J. Berman
               re: tagging documents re: same (.80); attend web-based
               training on Relativity platform (.80)

08/05/13 DAB   Attend ResCap document review meeting led by T.                 1.60
               Foudy, E. Tobin, and J. Berman regarding production of
               documents to JSNs in connection with the JSN litigation in
               which Wells Fargo and noteholders UBS and Loomis are
               conflict parties (.80); attend Relativity web-based training
               re: same (.80)

08/05/13 SEP   Attend presentation led by T. Foudy, E. Tobin, and J.           2.40
               Berman regarding upcoming document review protocol in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80); review background
               materials including document review protocol memo, the
               Debtors' Amended Complaint and the JSN's Amended
               Counterclaims in connection with same (.80); attend
               Relativity web-based document review platform tutorial
               (.80)

08/05/13 MS8   Review document review protocol, First Amended                 11.80
               Complaint to Determine Extent of Liens and for
               Declaratory Judgment (June 19, 2013), Answer,
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                Affirmative Defenses and First Amended Counterclaims of
                Defendants UMB Bank, N.A. and the Ad Hoc Group of
                Junior Secured Noteholders to Debtors' First Amended
                Complaint to Determine Extent of Liens and for
                Declaratory Judgment (July 29, 2013) in preparation for
                reviewing the documents produced by the Debtor in the
                JSN adversary proceeding and in connection with Plan
                Confirmation, in light of involvement of conflict parties
                Wells Fargo and noteholders UBS and Loomis (5.30);
                attend meeting led by T. Foudy, E. Tobin, and J. Berman
                in connection with same and proper tagging procedures
                (.80); attend training from Night Owl Discovery on use of
                Document Review Software (.80); review First Document
                Review Protocol and corresponding exhibits in connection
                with same and specifically for relevant information relating
                to JSN counterclaims (4.90)



08/05/13 PJB2   Attend document review meeting led by T. Foudy, E.              1.60
                Tobin, and J. Berman in connection with JSN litigation
                where Wells Fargo and noteholders Loomis and UBS are
                conflict parties (.80); attend computer web-based training
                in connection with same (.80)

08/05/13 MK     Attend meeting led by T. Foudy, E. Tobin, and J. Berman         2.80
                regarding review of documents produced by Debtors in
                the JSN adversary proceeding, in light of involvement of
                conflict parties Wells Fargo and noteholders UBS and
                Loomis (.80); attend web-based Relativity training on
                document review database in connection with same (.80);
                review document review protocol memorandum in
                connection with same (1.20)

08/05/13 GES    Review pleadings and related documents submitted in the         3.40
                JSN Adversary Proceeding in preparation for reviewing
                documents produced by Debtors and tagging the
                documents by issue and document-type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (1.80); attend meeting led by T. Foudy, E. Tobin, and J.
                Berman regarding same (.80); participate in web-based
                training with document vendor in preparation for
                document review (.80)



08/05/13 DG2    Prepare for and attend introductory meeting led by T.           1.60
                Foudy, E. Tobin, and J. Berman related to information on
                document review in connection with dispute with JSNs
                over, among other things, lien value and purported
                entitlement to post-petition interest in light of involvement
                of conflict parties Wells Fargo and noteholders UBS and
                Loomis (.80); attend web training related to software to be
                used to conduct document review in connection with
                same (.80)
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08/05/13 MB2   Review background materials related to the JSN                  1.80
               Adversary Proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (.20);
               participate in orientation meeting led by T. Foudy, E.
               Tobin, and J. Berman re: same (.80); participate in
               web-based training re: same (.80)

08/05/13 HH    Attend document review meeting led by T. Foudy, E.              2.00
               Tobin, and J. Berman to discuss purpose of review, timing
               and process, to be performed in connection with dispute
               with JSNs over lien value and purported entitlement to
               post-petition interest, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (.80); review
               background materials and protocol in preparation for
               same (.40); participate web-based training with Night Owl
               representative to explain document review database in
               connection with same (.80)


08/05/13 KAM   Review pleadings in the JSN Adversary Proceeding and            2.40
               internal memorandum regarding document review for
               preparation for trial in the JSN Adversary Proceeding and
               in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80); attend and participate
               in document review meeting led by T. Foudy, E. Tobin,
               and J. Berman to discuss document review project in
               connection with same (.80); attend and participate in
               web-based training session in connection with same (.80)


08/06/13 MB    Review Adversary Complaint for Declaratory Judgment,            2.30
               Avoidance of Liens, and Disallowance of Claims filed by
               Committee of Unsecured Creditors in connection with
               dispute with JSN's over lien value and purported
               entitlement to post-petition interest in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (2.20); review correspondence from E. Tobin
               regarding upcoming document review in connection with
               same (.10)

08/06/13 DS    Review Adversary Complaint for Declaratory Judgment,            0.80
               Avoidance of Liens, and Disallowance of Claims in
               preparation for review of Debtors' document production in
               connection with the JSN adversary proceeding in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80)

08/06/13 PK    Review JSN and Plan Confirmation Document Review                4.00
               Memo, Debtors Amended Complaint, and JSN Amended
               Counterclaims in preparation for reviewing documents
               produced by the Debtors in the JSN adversary proceeding
               and in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (4.00)
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08/06/13 SEP    Review background materials including the Debtors'              0.80
                Amended Complaint, the Adversary Complaint for
                Declaratory Judgment, and the JSN's Amended
                Counterclaims in preparation for upcoming document
                review in connection with Consolidated JSN Adversary
                Proceeding where Wells Fargo and noteholders Loomis
                and UBS are conflict parties (.80)

08/06/13 MS8    Review document review protocol, Debtors' first amended        11.00
                complaint, and JSNs' answer and Counterclaims in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (5.20); review memorandum
                and other supporting background materials detailing
                review protocol re: same (5.80)


08/06/13 PJB2   Multiple correspondence with E. Tobin re: preparation for       1.80
                document review in connection with JSN litigation where
                Wells Fargo and noteholders Loomis and UBS are conflict
                parties (.20); review underlying documentation in
                connection with same including complaint, answer, and
                counterclaims (1.60)

08/06/13 MK     Review document review protocol memorandum and                  4.40
                debtors' amended complaint as background for document
                review, in light of involvement of conflict parties Wells
                Fargo and noteholders UBS and Loomis (4.40)


08/06/13 GES    Review pleadings and related documents submitted in the         1.60
                JSN adversary proceeding in preparation for reviewing
                documents produced by Debtors by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (1.60)

08/06/13 DG2    Review introductory memorandum, complaints,                     1.90
                answer/counterclaim and other filings for background
                information for document review in connection with
                dispute with JSNs over, among other things, lien value
                and purported entitlement to post-petition interest in light
                of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (1.90)

08/06/13 MB2    Review introductory and overview documents, including           1.00
                review of protocol memorandum in connection with the
                JSN document review in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (1.00)

08/07/13 MB     Review the parties' document demands and responses in           2.40
                preparation for document review connection with
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                dispute with JSN's over lien value and purported
                entitlement to post-petition interest in light of involvement
                of conflict parties Wells Fargo and noteholders UBS and
                Loomis (2.10); review correspondence from E. Tobin
                concerning upcoming document review re: same (.30)


08/07/13 PK     Review Debtors Amended Complaint, JSN Amended                    0.70
                Counterclaims, and Document Review Memo in
                preparation for reviewing the documents produced by the
                Debtors in the JSN Adversary Proceeding and in
                connection with Plan Confirmation, in light of involvement
                of conflict parties Wells Fargo and noteholders UBS and
                Loomis (.70)

08/07/13 MS8    Review document review protocol and First Amended                9.50
                Complaint in preparation for reviewing the documents
                produced by the Debtor in the JSN adversary proceeding
                and in connection with Plan Confirmation, in light of
                involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (5.00); review JSNs' anwer
                and amended Counterclaims in connection with same
                (4.50)

08/07/13 PJB2   Review of underlying documents, such as complaints,              8.90
                answers, counterclaims, and review protocol in
                connection with document review and discovery project
                for adversary proceeding against the JSN's where Wells
                Fargo and noteholders Loomis and UBS are conflict
                parties (2.30); correspond throughout the day with B.
                Kotliar re: same (.40); begin initial review of first batch of
                25 documents including emails and loan spreadsheets
                and tag according to protocol (6.20)

08/07/13 MK     Review debtors' amended complaint and JSN amended                4.30
                counterclaims as background for document review,
                continuing to reference document review protocol
                memorandum, in light of involvement of conflict parties
                Wells Fargo and noteholders UBS and Loomis (4.30)


08/07/13 MB2    Review summary and court documents in the JSN                    3.50
                Adversary Proceeding and in connection with document
                review project re: Plan Confirmation and the JSN
                litigation, in light of involvement of conflict parties Wells
                Fargo and noteholders UBS and Loomis (3.50)

08/08/13 JD3    Review document review protocol memo for JSN                     5.40
                document review project in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (1.30); attend online training session re: Relativity
                database (.80); review and tag first batch of 25
                documents, consisting of e-mails and spreadsheets from
                September 2008 in connection with same (2.80); further
                review of protocol memo and supporting materials in
                connection with same to ensure proper procedures are
                followed (.50)
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08/08/13 MB    Review revised document review protocol in connection           7.10
               with dispute with JSN's over lien value and purported
               entitlement to post-petition interest in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (2.10); participate in meeting with Night Owl
               concerning JSN Production Database Training (.80);
               review information concerning filing entities and
               organizational charts (.40); review ResCap Major Events
               Timeline in connection with same (.60); review list of
               current and former junior secured noteholders in
               connection with same (.10); review chart concerning
               JSNs' document requests in connection with same (.40);
               conduct document review, focusing on documents related
               to certain "rollforwards" of investment amounts and
               liquidity "rollforwards" in connection with same (2.70)



08/08/13 DS    Review revised document review protocol in connection           3.00
               with review of documents in JSN Adversary Proceeding in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50); attend on-line
               training session with Night Owl for review and tagging of
               documents in connection with same (.80);
               correspondence with J. Berman re: issues related to case
               and document review (.20); commence review of initial
               batch of assigned documents produced by Debtors in JSN
               adversary proceeding (.50)

08/08/13 HS2   Attend second Relativity training session for document          0.80
               review software in connection with document review
               project in connection with the JSN Adversary Proceeding
               in light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80)

08/08/13 EC    Review documents produced by Debtors in the JSN                 5.10
               Adversary Proceeding, focusing on negotiation and
               issuance of AFI revolver facility and related debt
               exchange transaction and marking documents by issue
               and document type for use in preparation for depositions
               and trial in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (2.30); review preparatory
               materials including document review protocol, time line of
               events in the ResCap case and document requests in
               preparation for document review (2.80)



08/08/13 MPJ   Review document review protocol circulated by E. Tobin          5.30
               in connection with review project re: Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.50);
               review Key Events Timeline and other background
               materials re: same (.90); review and code documents
               produced by Debtors relating to Residential Capital's
               liquidity between late 2008 and early 2009 and
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               Residential Capital's proposed sale of certain Mortgage
               Servicing Rights in 2008 (2.90)

08/08/13 BMK   Attend additional Night Owl Training re: document review       1.60
               software and platform in connection with JSN Adversary
               Proceeding involving conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80); review document
               review protocol in connection with same for tagging
               procedures (.80)

08/08/13 SRM   Review Document Review Protocol, Timeline, and                 6.50
               organizational charts, focusing on issue tags, in
               preparation for the document review assignment in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (3.50); attend Night Owl Web Conference
               Training on Relativity in connection with same (.80); begin
               review of initial batch of 25 documents re: same (2.20)


08/08/13 JTW   Participate in additional Night Owl online training session    0.80
               on JSN Production database in preparation for document
               review in connection with the JSN Litigation where Wells
               Fargo and noteholders UBS and Loomis are potential
               conflict parties (.80)

08/08/13 PK    Review documents produced by Debtors in the JSN                5.60
               adversary proceeding, focusing on pre-petition financial
               condition, financial statements, and related analysis of the
               debtors, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.10); review Document
               Review Protocol, Issue Coding List, First Amended
               Complaint and Answer, Affirmative Defenses, and First
               Amended Counterclaims in preparation for same (1.70);
               attend JSN Production Database Training with Night Owl
               in connection with same (.80)



08/08/13 SEP   Review revised Document Review Protocol addressing             7.10
               discovery related to the adversary proceeding, the Global
               Settlement, and Plan Confirmation Proceedings in the
               Chapter 11 cases where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (.60); attend Night
               Owl document review platform training in preparation for
               same (.80); review documents produced by Debtors in the
               JSN adversary proceeding, focusing on Bates range
               RCUCCJSN10000192 through 371 and mark the
               documents by issue and document type tags so
               documents can be used in preparation for same (3.20);
               correspondence with J. Berman regarding appropriate
               marking of documents per protocol (.50); review
               documents produced by
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                Debtors in the JSN adversary proceeding, focusing on
                Bates range RCUCCJSN10004480 through 4897 and
                mark the documents by issue and document type tags
                (2.00)

08/08/13 MS8    Review updated document review protocol and                   14.70
                corresponding exhibits in preparation for reviewing the
                documents produced by the Debtors in the JSN Adversary
                Proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (2.00); review complaints,
                counterclaims, and answers re: same (4.40); attend
                web-based Night Owl training re: same (.80); review
                documents produced by Debtors in the JSN adversary
                proceeding, focusing on Batch 19 Documents
                (Documents 1-25), and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial (4.90); review
                documents produced by Debtors in the JSN adversary
                proceeding, focusing on Prod003 CON Batch 7
                (Documents 1-69) (2.60)


08/08/13 PJB2   Review multiple correspondence throughout the day from         9.30
                J. Berman and E. Tobin re: document review in
                connection with JSN litigation where Wells Fargo and
                noteholders Davidson Kempner, Silverpoint, UBS, and
                Loomis are conflict parties (.40); review documents in
                connection with same re: financial information of the
                Debtors prior to the petition date (1.40); review of emails
                and underlying documents, including spreadsheets and
                draft contracts in connection with same (7.50)


08/08/13 MK     Review final document review protocol memorandum,              5.20
                exhibits and other relevant documents as background for
                document review project in connection with the JSN
                Adversary Proceeding and Plan Confirmation, in light of
                involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (4.40); attend Night Owl
                training session for document review database re: same
                (.80)

08/08/13 GES    Review documents produced by Debtors in the JSN                6.90
                adversary proceeding, focusing on identifying and valuing
                collateral relevant to claims relating to transactions at
                issue, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (6.10); participate in
                document review training with Night Owl in preparation for
                same (.80)

08/08/13 DG2    Attend web training related to software to be used to          7.20
                conduct document review in connection with dispute
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               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80); review updated
               memorandum on issues to be reviewed in connection with
               document review, in addition to supplementary
               information provided in connection with same (1.20);
               conduct review of documents in connection with dispute
               with JSNs including documents related to liquidity
               positions, P&L and asset valuations (5.20)

08/08/13 MB2   Review documents produced by Debtors in the JSN                4.50
               adversary proceeding, focusing on Batch 16, Bates
               ranges 1 - 10, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (4.50)

08/08/13 HH    Participate in follow-up training session with Night Owl re:   1.20
               process for document review to be performed in
               connection with dispute with JSN's over lien value and
               purported entitlement to post-petition interests, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (.60); prepare for same by reviewing relevant
               pleadings (.30); review protocol memo provided by E.
               Tobin in connection with same (.30)

08/08/13 KAM   Review documents produced by Debtors in the JSN                3.20
               Adversary Proceeding, focusing on documents
               concerning ResCaps pre-petition financial condition and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.00); attend document review training session hosted by
               Night Owl re: same (.80); review pleadings in adversary
               proceeding, internal memoranda concerning the
               document review and other background documents in
               connection with same (1.40)



08/09/13 JD3   Attend meeting led by M. Moscato, E. Tobin, and J.             4.20
               Berman re: document review project in connection with
               JSN Adversary Proceeding and Plan Confirmation in light
               of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.90); complete and submit
               review of first batch of documents in connection with
               same (.50); review portion of second batch of documents,
               consisting of e-mails and spreadsheets from September
               2012 in connection with same (2.20); correspondence
               with E. Tobin and J. Berman re: questions re: tagging of
               documents in accordance with protocol (.60)
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                  5825         Filed 03/03/14
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08/09/13 MB    Review documents in connection with dispute with JSN's           8.10
               over lien value and purported entitlement to post-petition
               interest in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis, focusing on
               June 2008 restructuring (3.20); participate in meeting led
               by M. Moscato, E. Tobin, and J. Berman concerning
               document tagging issues in connection with same (.90);
               continue document review with a focus on reviewing
               documents concerning various liquidity and restructuring
               scenarios in 2008 in connection with same (4.00)


08/09/13 DS    Review of documents produced by Debtors in JSN                   4.10
               adversary proceeding focusing on Bates ranges in first
               batch as well as second batch, JSN10012542-567, and
               mark the documents by issue and document-type tags in
               order that documents may be used in preparation for
               upcoming deposition and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.80); attend to related
               correspondence with J. Berman, E. Tobin, D. Bloom, J.
               Weber, and B. Kotliar re: specific substantive questions
               pertaining to individual documents in connection with
               same (.40); attend group session led by M. Moscato, E.
               Tobin, and J. Berman to address questions arising in
               context of aforementioned document review (.90)


08/09/13 HS2   Review documents produced by Debtors in the JSN                  2.40
               Adversary Proceeding, focusing on the financial
               statements and correspondence concerning 2008 asset
               sale, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50); attend meeting led
               by M. Moscato, E. Tobin, and J. Berman to discuss
               current status of document review re: same (.90)



08/09/13 EC    Attend document review team meeting led by J. Berman,           10.20
               E. Tobin and M. Moscato to discuss document
               identification issues, timing and strategy in preparation for
               depositions in connection with document review where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.90); review documents produced by the Debtors
               with particular focus on documents relating to negotiation
               of terms for the AFI Revolver Facility and pre-bankruptcy
               treatment of bilateral facility collateral and marking
               documents by issue and document type for use in
               preparation for depositions and trial in connection with
               same (9.30)

08/09/13 MPJ   Review and categorize documents produced by the                  9.00
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               Junior Secured Noteholders regarding Residential Capital
               LLC's liquidity and daily performance in early 2008 in
               order to prepare for upcoming depositions in connection
               with Consolidated JSN Adversary Proceeding and Plan
               Confirmation where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (8.10); attend meeting led by
               M. Moscato, E. Tobin, and J. Berman regarding document
               review protocol in connection with same (.90)


08/09/13 BMK   Attend conference led by M. Moscato, E. Tobin, and J.          1.70
               Berman regarding procedural and substantive updates to
               document review database in order to streamline review
               procedures in connection with reviewing documents
               produced by the Debtors in the JSN adversary proceeding
               where Wells Fargo and certain noteholders are conflict
               parties (.90); review initial 25 documents in Prod 1 Batch
               10 re: same (.80)

08/09/13 SRM   Attend document review meeting led by M. Moscato, E.           8.40
               Tobin, and J. Berman in connection with document review
               for JSN Proceeding and Plan Confirmation where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties concerning relevant background and proper
               tagging procedures (.90); begin review and issue coding
               the documents, focusing on emails and correspondence
               from 2008, in preparation for upcoming depositions and
               trial in connection with same (7.50)


08/09/13 JTW   Participate in team meeting led by M. Moscato, J. Berman       2.90
               and E. Tobin to assist document review team with
               questions re: factual background and outstanding
               document tagging issues in connection with the JSN
               Litigation where Wells Fargo and noteholders UBS and
               Loomis are conflict parties (.90); conduct document
               review re: same re: documents related to discussions by
               the Debtors' employees as to the value assigned to
               goodwill in the purchase price allocation of the asset sales
               to Ocwen and Walter (2.00)

08/09/13 PK    Review documents produced by Debtors in the JSN                3.20
               Adversary Proceeding re: pre-petition financial condition,
               solvency analysis, and loan recovery projections and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in connection with same and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (.20);
               attend ResCap document review meeting led by M.
               Moscato, E. Tobin, and J. Berman (.90); review Document
               Review Protocol, Glossary, List of Debtors, Timeline,
               Issue Coding List, and relevant pleadings such as
               complaints, answers, and counterclaims in connection
               with same (2.10)
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08/09/13 DAB   Attend document review meeting led by J. Berman, M.            0.90
               Moscato, and E. Tobin in connection with research re:
               certain factual issues related to tagging documents
               produced by the Debtors in the JSN Adversary
               Proceeding and Plan Confirmation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90)


08/09/13 SEP   Review documents produced by Debtors in the JSN               11.70
               Adversary Proceeding, focusing on Bates range
               RCUCCJSN10004899 through RCUCCJSN10005582
               which pertain to Debtors' pre-petition financial condition
               and solvency analyses, among other issues, and mark the
               documents by issue and document type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation where Wells Fargo and
               noteholders UBS and Loomis are conflict parties (10.80);
               attend presentation given by J. Berman, E. Tobin, and M.
               Moscato regarding protocol for issue coding documents in
               connection with same (.90)

08/09/13 MS8   Review Updated Document Review Protocol and                   10.90
               corresponding exhibits in preparation for reviewing the
               documents produced by the Debtor in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.20); review compaints
               and counterclaims in connection with same (3.20); attend
               review meeting led by M. Moscato, E. Tobin, and J.
               Berman in connection with same (.90); review and tag
               documents produced by Debtors in the JSN adversary
               proceeding, focusing on Prod003 CON Batch 7 (re-review
               Documents 60-69) (2.00); review documents, focusing on
               Prod003 CON Batch 7 (re-review Documents 70-300) in
               connection with same (2.60)



08/09/13 GES   Review documents produced by Debtors in the JSN                5.00
               Adversary Proceeding, focusing on rights and obligations
               of parties to transactions at issue, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (4.10); attend meeting led by J. Berman, E. Tobin, and M.
               Moscato regarding same and proper protocol and tagging
               procedures (.90)

08/09/13 DG2   Attend additional information session led by M. Moscato,       4.50
               E. Tobin, and J. Berman to discuss issues related to
               document review in connection with dispute with JSNs
               over, among other things, lien value and purported
               entitlement to post-petition interest in light of
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               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.90); conduct review of
               documents in connection with same, specifically
               documents related to liquidity positions and segregated
               revolver accounts (3.60)

08/09/13 MB2   Correspondence with E. Tobin and J. Berman re: issues          0.30
               related to document review in JSN adversary proceeding
               and in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, including the review
               protocol and proper tagging procedures in light of relevant
               facts (.30)

08/09/13 HH    Attend meeting led by M. Moscato, J. Berman, and E.            0.90
               Tobin in connection with document review to be
               performed in connection with dispute with JSN's over lien
               value and purported entitlement to post-petition interests,
               as Wells Fargo and noteholders UBS and Loomis are
               conflict parties (.90)

08/09/13 KAM   Attend and participate in document review team meeting         0.90
               led by M. Moscato, J. Berman and E. Tobin concerning
               review of documents produced by Debtors in the JSN
               adversary proceeding, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (.90)

08/10/13 JD3   Continue review of second batch of documents for JSN           9.20
               document review project in connection with lien litigation
               and Plan Confirmation in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis,
               including review of e-mails and spreadsheets for
               August-September 2012 (8.70); various correspondence
               re: tagging of documents and discussions re: clarifications
               re: same with E. Tobin, J. Berman, and D. Bloom (.50)


08/10/13 MB    Review documents in connection with dispute with JSNs          3.20
               over lien value and purported entitlement to post-petition
               interest and Plan Confirmation in light of involvement of
               conflict parties Wells Fargo and noteholders UBS and
               Loomis, focusing on documents dealing with liquidity
               analyses in 2008 (2.10); continue reviewing documents in
               connection with JSNs' dispute with a focus on documents
               concerning swap transaction with Rabobank and
               transaction with RBS (1.10)


08/10/13 HS2   Review documents produced by Debtors focusing on              12.20
               Debtors' financial statements and correspondence
               concerning 2008 asset sale and sec filings, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN Adversary Proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and
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               noteholders UBS and Loomis (12.20)

08/10/13 EC    Review approximately 625 documents produced to the Ad             8.40
               Hoc Group of JSNs in the adversary proceeding, with
               particular focus on documents relating to bilateral facilities
               and related collateral pledges, prepetition plans to sell
               portions of the Debtors business, the pledges to the LOC,
               and other topics and marking documents by issue and
               document type for use in preparation for depositions and
               trial in connection with Curtis’ role as conflicts counsel, as
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (8.40)

08/10/13 MPJ   Review and categorize documents produced by the                   8.00
               Debtors relating to (a) ResCap's daily liquidity in early
               2008 and (b) the issuance of the GMAC / AFI Revolver in
               the Summer 2008, in order to use same to prepare for
               upcoming trial on the JSN Adversary Proceedings and Pla
               Confirmation where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (8.00)

08/10/13 BMK   Review 500 documents in Prod 2 Con Batch 10 in                   10.70
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (10.70)

08/10/13 SRM   Continue reviewing and issue coding the documents                 7.00
               produced by the Debtors, focusing on emails and
               correspondence from 2008, in preparation for upcoming
               depositions and trial in connection with the dispute with
               the JSNs over lien value and entitlement to post-petition
               interest where Wells Fargo and noteholders UBS and
               Loomis are conflict parties (7.00)

08/10/13 JTW   Conduct review of documents produced by the Debtors in            8.80
               the JSN Adversary Proceeding including bates numbers
               RCUCCJSN10021055-10022418, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (8.50); correspond with E.Tobin and J. Berman re: issues
               related to document review, including monthly collateral
               reports produced by the Debtors in the JSN adversary
               proceeding and discussion of potential uses in deposition,
               at trial or in connection with Plan confirmation (.30)



08/10/13 PK    Review documents produced by Debtors in the JSN                   6.70
               Adversary Proceeding, regarding International
               Transactions, Pre Petition Financial Condition, and
               Debtor's Financial Statements and Opinion Letters, Board
               Presentations, and Correspondence regarding the same
               and mark the documents by issue and document-type
               tags so documents can be used in preparation for
               depositions and trial and in connection
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               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (6.70)

08/10/13 DAB   Review documents in Prod002 Batch 11 of the Debtors’           3.60
               produced documents in connection with the JSN litigation
               and Plan Confirmation in which Wells Fargo and
               noteholders UBS and Loomis are conflict parties (3.60)


08/10/13 SEP   Review documents produced by Debtors in the JSN                9.60
               Adversary Proceeding which pertain to Debtors'
               pre-petition financial condition and solvency analyses, the
               JSN indenture, and identification and valuation of disputed
               collateral, among other issues, and mark the documents
               by issue and document type tags so documents can be
               used in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation where Wells Fargo and noteholders UBS
               and Loomis are conflict parties (9.60)


08/10/13 MS8   Review Updated Document Review Protocol and                   11.50
               corresponding exhibits in preparation for reviewing the
               documents produced by the Debtors in the JSN Adversary
               Proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, including review of Answer
               and Counterclaims and other relevant pleadings (4.00);
               review documents produced by Debtors in the JSN
               adversary proceeding, focusing on Prod003 CON Batch 7
               (Documents 301-500) and mark same for use in preparing
               for trial (7.50)



08/10/13 GES   Review documents produced by Debtors in the JSN                2.10
               Adversary Proceeding, focusing on rights and obligations
               of parties to transactions at issue, and mark the
               documents by issue and document-type so documents
               can be used in preparation for depositions and trial in the
               JSN adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (2.10)


08/10/13 DG2   Conduct review of documents in connection with dispute         7.90
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (including documents
               related to financial positions and potential asset sales)
               (7.90)

08/10/13 HH    Review documents in connection with review to be               2.10
               performed in connection with dispute with JSNs over lien
               value and purported entitlement to post-petition interests,
               as Wells Fargo and noteholders UBS and
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               Loomis are conflict parties (1.80); correspondence with
               support staff, E. Tobin, J. Berman and R. Abdelhamid of
               Morrison & Foerster re: technical issues related to same
               (.30)

08/10/13 KAM   Review documents produced by Debtors in the JSN                  1.00
               Adversary Proceeding, focusing on Debtors' prepetition
               financial condition and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.50); review internal
               memorandum concerning same (.50)

08/11/13 JD3   Review of third batch of documents for JSN document              6.60
               review project in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis, including
               review of documents related to PATI/RAHI, and
               documents and e-mails from prior to 2008 restructuring
               (6.20); various correspondence with E. Tobin and J.
               Berman re: proper tagging of documents in connection
               with same (.40)

08/11/13 HS2   Review documents produced by Debtors in the JSN                  3.50
               Adversary Proceeding, focusing on correspondence
               concerning various Debtor SEC filings and drafts of the
               filings and operational planning for new servicing
               platforms, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.50)

08/11/13 EC    Review approximately 350 documents produced by                   7.70
               Debtors to the JSNs relating to pre-petition management
               of the Debtors' business and accounting norms
               established in the Debtors' business and marking
               documents in to assist preparation for depositions and
               trial in connection with Curtis’ role as conflicts counsel, as
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (7.70)

08/11/13 MPJ   Review and issue-tag documents produced by the                   4.50
               Debtors regarding the allocation of collateral to the GMAC
               / Ally Revolver in order to prepare for upcoming
               depositions, in connection with Curtis' representation of
               the Debtors in the JSN Adversary Proceeding as Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (4.50)

08/11/13 BMK   Review first 370 documents in Prod 3 Con Batch 22 in             7.40
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties in order to prepare for upcoming trial and Plan
               Confirmation (6.50); email correspondence
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               with E. Tobin and R. Abdelhamid of Morrison & Foerster
               re: open issues with documents relating to prepetition
               sales/transfers of mortgage loans, mortgage pledge
               agreements, and securitization documents (.60);
               correspondence with D. Bloom re: same and other open
               tagging issues relating to prepetition financial condition
               (.30)

08/11/13 SRM   Continue reviewing and issue coding the documents             6.00
               produced by the Debtors, focusing on emails and
               correspondence from 2008 from custodian K. Crandall in
               connection with the dispute with the JSNs over lien value
               and entitlement to post-petition interest where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (6.00)

08/11/13 JTW   Review documents produced by Debtors in the JSN               8.00
               Adversary Proceeding including bates numbers
               RCUCCJSN10208753-10209453, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (7.50); correspond with R. Abdelhamid of Morrison &
               Foerster re: technical system issues with document
               production (.20); correspond with E. Tobin and J. Berman
               re: issues related to document review as to possible
               manners in which to streamline responses to inquiries
               raise by document review team (.30)



08/11/13 PK    Review documents produced by Debtors in the JSN               6.10
               Adversary Proceeding re: pre-petition financial condition,
               solvency analysis, loan recovery projections, RMBS, and
               related correspondence re: same and mark documents by
               issue and document-type tags so documents can be used
               in preparation for depositions and trial and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (6.10)

08/11/13 DAB   Extensive review and analysis of documents from               8.00
               Prod002 Batch 11 in connection with review of documents
               prodcued by the Debtors in the JSN Adversary
               Proceeding where where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (8.00)

08/11/13 SEP   Review documents produced by Debtors in the JSN               8.70
               Adversary Proceeding re: Debtors' pre-petition financial
               condition and solvency analyses, the AFI Revolver, the
               JSN Indenture, and identification and valuation of
               disputed collateral, among other issues, and mark the
               documents by issue and document type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in
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               connection with Plan Confirmation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (8.70)


08/11/13 MS8   Review documents produced by Debtors in the JSN               12.60
               Adversary Proceeding, focusing on Prod003 CON Batch
               31, Documents 1-71, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.10); review documents
               re: same re: Prod004 CON Batch 8 (Documents 1-500)
               and mark the documents by issue and document-type
               tags so documents can be used in preparation for
               depositions and trial (9.50)

08/11/13 GES   Review documents produced by Debtors in the JSN                3.20
               adversary proceeding, focusing on identifying an valuing
               collateral relevant to claims relating to transactions at
               issue, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.20)

08/11/13 MB2   Review documents produced by Debtors in the JSN                5.90
               Adversary Proceeding, focusing on review Batch 16,
               Bates ranges 1 - 25, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (5.90)

08/11/13 HH    Review documents focusing on prepetition financial             5.10
               condition in connection with document review project re:
               JSN Adversary Proceeding and Plan Confirmation where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (5.10)

08/12/13 MB    Review correspondence from J. Berman and R.                    0.40
               Abdelhamid of Morrison & Foerster concerning review
               tags in connection with JSN document review project
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40)

08/12/13 DS    Review of documents produced by Debtors in JSN                 3.90
               Adversary Proceeding focusing on Bates ranges
               RCUCCJSN10012592-13094, and mark the documents
               by issue and document-type tags in order that documents
               may be used in preparation for upcoming deposition and
               trial and in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.40); follow-up
               correspondence with E. Tobin, D.
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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               Bloom, B. Kotliar, and J. Weber re: substantive document
               review issues and proper tagging procedures in
               connection with same (.50)

08/12/13 HS2   Review documents produced by Debtors in the JSN                 3.20
               Adversary Proceedings, focusing on debtor financial
               statements from 2008 and correspondence concerning
               valuation and status of various facility and swap
               agreements in 2008, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.20)

08/12/13 EC    Review approximately 1,100 documents produced to the           11.20
               JSNs in the adversary proceeding, focusing on issues
               relating to collateral valuation, the operation of the
               Debtor's mortgage pipeline prior to the AFI funding
               facilities, the availability of mortgage servicing rights
               advance recievables to secure financing for the Debtors
               and drafting of the AFI revolver offering document and
               marking documents by issue and document type for use
               in preparation for depositions and trial in connection with
               Curtis’ role as conflicts counsel, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (10.90);
               review document review protocol to ensure proper coding
               of ambiguous documents likely to be useful in preparation
               for depositions in connection with same (.30)



08/12/13 MPJ   Review and analyze documents produced by Residential            9.50
               Capital, LLC to the Junior Secured Noteholders regarding
               (a) various asset sales in 2008, (b) the release of
               collateral to the AFI LOC, and (c) Residential Capital's
               solvency and liquidity status from 2008 to 2009, and code
               such documents in order to prepare for depositions and
               trial in connection with Curtis' representation as conflicts
               counsel in the dispute with the Junior Secured
               Noteholders regarding the extent and value of the JSNs'
               liens, as Wells Fargo and noteholders Loomis and UBS
               are conflict parties (9.50)



08/12/13 BMK   Finish review of 130 remaining documents in Prod 3 Con         13.10
               Batch 22 in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.90); begin review of first 300 documents
               in Prod 5 Con Batch 2 re: same (9.40); numerous email
               correspondences with E. Tobin, J. Berman, D. Bloom, J.
               Weber, E. Combs, and M. Jones re: same and re:
               conforming tagging procedures for various document
               types to ensure consistency throughout review project
               (.80)

08/12/13 SRM   Finish reviewing and issue coding emails and                   12.20
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
                                                  11/18/13       22:56:28
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                                                                     Main Document
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               correspondence from 2008 from custodian Kyle Crandall
               that were not affected by extracted text viewer problems
               in connection with the dispute with the JSNs over lien
               value and entitlement to post-petition interest where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.20); review all documents in batch Prod 005
               Con 003 in connection with same (11.00)


08/12/13 JTW   Review documents produced by Debtors in the JSN                4.90
               Adversary Proceeding including bates numbers
               RCUCCJSN10209454 -10210115, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (4.90)

08/12/13 PK    Review documents produced by Debtors in the JSN                1.70
               Adversary Proceeding, focusing on financial condition,
               liquidity analysis, and related correspondence, board
               presentations, and analysis of the same, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.70)

08/12/13 DAB   Extensive review and analysis of documents from               12.30
               Prod002 Batch 11 of Debtors’ production in JSN litigation
               in which Wells Fargo and noteholders UBS and Loomis
               are conflict parties (9.50); analyze open tagging issues
               relevant to same re: E. Tobin and J. Berman request
               (2.00); correspond with D. Straus, B. Kotliar, J. Weber, E.
               Tobin and J. Berman re: same (.80)


08/12/13 SEP   Review documents produced by Debtors in the JSN                0.20
               Adversary Proceeding which pertain to Debtors'
               pre-petition financial condition and identification and
               valuation of disputed collateral, among other issues, and
               mark the documents by issue and document type tags so
               documents can be used in preparation for depositions and
               trial and in connection with Plan Confirmation where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.20)

08/12/13 MS8   Review documents produced by Debtors in the JSN               10.00
               adversary proceeding, focusing on Prod 5 PEO Batch 3,
               Documents 1-150, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties
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                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
                                                  11/18/13       22:56:28
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                Wells Fargo and noteholders UBS and Loomis (7.50);
                review Updated Document Review Protocol and
                corresponding exhibits in connection with same (2.50)

08/12/13 PJB2   Review correspondence and attached excel financial            2.30
                spreadsheets in connection with document review for JSN
                litigation and Plan Confirmation where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (2.30)


08/12/13 MK     Complete review of final document review protocol             6.80
                memorandum and exhibits and other relevant documents
                as background for document review in connection with
                Consolidated JSN Adversary Proceeding where Wells
                Fargo and noteholders Loomis and UBS are conflict
                parties (2.90); review documents produced by Debtors in
                the JSN adversary proceeding, focusing on documents in
                20130808 PROD001 Batch00020 and 20130808
                PROD003 CON Batch00008, each with James Young as
                custodian, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in connection with
                same (3.90)

08/12/13 GES    Review documents produced by Debtors in the JSN               8.40
                Adversary Proceeding, focusing on identifying and valuing
                collateral relevant to claims relating to transactions at
                issue, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (8.40)

08/12/13 DG2    Conduct review of documents in connection with dispute        8.90
                with JSNs over, among other things, lien value and
                purported entitlement to post-petition interest in light of
                involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (including documents
                related to financial positions and collateral releases and
                financial statements filed by Wells Fargo) and related
                documentation (8.90)

08/12/13 MB2    Review documents produced by Debtors in the JSN               1.20
                Adversary Proceeding, focusing on Bates ranges Prod003
                CON Batch 28, 1 - 10, and mark the documents by issue
                and document-type tags so documents can be used in
                preparation for depositions and trial in connection with
                Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (1.20)

08/12/13 HH     Continue review of documents focusing on prepetition          2.00
                loan documents and credit agreements in connection with
                review to be performed in connection with dispute with
                JSN's over lien value and purported entitlement to
                post-petition interest, as Wells Fargo and noteholders
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12-12020-mg          6588-13
                  5825         Filed 03/03/14
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               UBS and Loomis are conflict parties (1.70); correspond
               with B. Kotliar re: factual issues re: same (.30)

08/13/13 MB    Review correspondence from R. Abdelhamid of Morrison             0.20
               & Foerster concerning document review, including
               isolating documents, in connection with dispute with JSNs
               over lien value and purported entitlement to post-petition
               interest in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis (.20)


08/13/13 DS    Review of documents produced by Debtors in JSN                   2.70
               Adversary Proceeding focusing on Bates ranges
               RCUCCJSN10013094-2848, and mark the documents by
               issue and document-type so that documents may be used
               in preparation for upcoming deposition and trial and in
               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (2.40); follow-up correspondence with J. Berman,
               E. Tobin, D. Bloom, J. Weber, and B. Kotliar re: specific
               substantive questions and factual issues pertaining to
               individual documents in connection with same (.30)



08/13/13 RH1   Attention to various correspondence with V. Hing, E.             3.20
               Tobin, J. Berman and telephone conference with E. Tobin
               re: document review project in light of involvement of
               conflict parties Wells Fargo and noteholders UBS and
               Loomis (.20); attention to correspondence with J. Berman
               re: ResCap document review protocol and related exhibits
               in connection with same (.10); review ResCap document
               review protocol and related exhibits, including list of Junior
               Secured Noteholders (JSNs), ResCap major events
               timeline, Debtors names and organizational charts, JSNs'
               document request list, UMB Bank JSN document
               requests, Debtors' responses to JSNs 1st RFP, Debtors'
               responses to Wells Fargo's 1st RFP, Chart re: JSN
               requests, FTI PPT re: intercompany debt in connection
               with same (2.40); review correspondence with E. Tobin,
               A. Anon, N. Mazanitis, R. Hum, J. Berman re: ResCap
               Issue Coding List in connection with same (.10); review
               ResCap Issue Coding List and time entry guidelines in
               connection with same (.20); review correspondence with
               R. Abdelhamid of Morrison & Foerster re: Night Owl
               shortcut/technical issues in connection with same (.20)




08/13/13 EC    Review approximately 800 documents produced to the               9.20
               JSNs in the adversary proceeding re: prepetition liquidity
               and uses of collateral and other analysis of prepetition
               financial condition and marking documents by issue and
               document type for use in preparation for depositions and
               trial in connection with Curtis’ role as conflicts counsel, as
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (8.60); review document
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                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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               review protocol and time line of events and provide
               context for events reflected in documents reviewed to
               ensure proper coding of ambiguous documents likely to
               be useful in preparation for depositions (.60)

08/13/13 MPJ   Review and analyze documents produced to the Debtors            9.10
               relating to (a) Residential Capital's borrowing under the
               GMAC LOC in Fall 2009, (b) Residential Capital's internal
               controls for financial reporting utilized in 2009, and (c)
               Residential Capital's receipt of TARP funds, in order to
               identify relevant documents for use in upcoming
               depositions in connection with Curtis' representation as
               conflicts counsel in the dispute with the Junior Secured
               Noteholders regarding the value and extent of the JSNs'
               liens, as Wells Fargo and noteholders Loomis and UBS
               are conflict parties (9.10)

08/13/13 BMK   Review first 400 documents in Prod Con 5 Batch 15 in            8.70
               connection with JSN Adversary Proceeding where Wells
               Fargo, and noteholders Loomis and UBS are conflict
               parties for use in trial preparation and in Plan confirmation
               (8.70)

08/13/13 SRM   Discuss case and send relevant background materials to          9.00
               A. Anon and N. Mazanitis in connection with dispute with
               the JSNs over lien value and purported entitlement to
               post-petition interest where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (.40); begin review
               and issue coding correspondence and draft agreements in
               batch Prod 5 Con 7 in connection with same (8.60)


08/13/13 PK    Review documents produced by Debtors in the JSN                 4.30
               Adversary Proceeding, focusing on the Rescap/AFI
               Revolver, other security/loan/pledge agreements,
               correspondence re: same and other security/loan/pledge
               agreements, and Board Presentations re: same and other
               security/loan/pledge agreements, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial and in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (4.30)



08/13/13 DAB   Extensive review and analysis of documents from                 9.50
               Prod003 CON Batch 23 of Debtors’ production in JSN
               litigation in which Wells Fargo noteholders UBS and
               Loomis are conflict parties for use in trial preparation and
               in connection with Plan confirmation (9.50)

08/13/13 SEP   Review documents produced by Debtors in the JSN                 3.90
               Adversary Proceeding which pertain to Debtors'
               pre-petition financial condition and identification and
               valuation of disputed collateral, among other issues, and
               mark the documents by issue and document type tags so
               documents can be used in preparation for
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                depositions and trial in the JSN adversary proceeding and
                in connection with Plan Confirmation where Wells Fargo
                and noteholders Loomis and UBS are conflict parties
                (3.90)

08/13/13 MS8    Review documents produced by Debtors in the JSN                6.00
                Adversary Proceeding, focusing on Prod 5 PEO Batch 3
                (RereviewDocuments 100-150 Review 150-220), and
                mark the documents by issue and document-type tags so
                documents can be used in preparation for depositions and
                trial and in connection with Plan Confirmation, in light of
                involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (5.10); review document
                review protocol in connection with same (.90)


08/13/13 PJB2   Review documents in connection with JSN Adversary              2.00
                Proceeding in preparation for upcoming discovery and
                depositions for the trial and Plan confirmation where Wells
                Fargo and noteholders UBS and Loomis are conflict
                parties (2.00)

08/13/13 MK     Review documents produced by Debtors in the JSN               10.60
                Adversary Proceeding, focusing on documents in
                20130808 PROD003 CON Batch00008, with James
                Young as custodian, referencing document review
                protocol memorandum and other relevant documents as
                necessary, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (10.60)

08/13/13 GES    Review documents produced by Debtors in the JSN                6.10
                Adversary Proceeding, focusing on identifying an valuing
                collateral relevant to claims relating to transactions at
                issue, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (5.80); correspond with J. Berman re: issues related to
                document review protocol and potential uses of
                documents connection with same (.30)



08/13/13 MB2    Review documents produced by Debtors in the JSN                2.80
                Adversary Proceeding, focusing on Bates ranges Prod003
                CON Batch 28, 11 - 27, and mark the documents by issue
                and document-type tags so documents can be used in
                preparation for depositions and trial and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (2.80)

08/13/13 HH     Continue review of documents focusing on prepetition           4.30
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               credit agreements in connection with review to be
               performed in connection with dispute with JSNs over lien
               value and purported entitlement to post-petition interests,
               as Wells Fargo and noteholders UBS and Loomis are
               conflict parties (4.00); correspond with B. Kotliar and J.
               Weber re: questions related to same (.30)

08/13/13 AVA   Attend training on use of document review software in           2.30
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (.60); review pleadings and background materials
               in preparation for review of documents produced by
               Debtors in connection with same for use in the trial and in
               Plan confirmation (1.70)

08/13/13 RTH   Review document review protocol and exhibits thereto for        2.20
               background in connection with review of documents
               produced by Debtors in the JSN Adversary Proceeding, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.20)

08/14/13 MB    Review correspondence from R. Abdelhamid of Morrison            0.20
               & Foerster concerning document review tags in
               connection with dispute with JSNs over lien value and
               purported entitlement to post-petition interest in
               connection with JSN Adversary Proceeding due to
               involvement of conflict parties Wells Fargo and certain
               members of Ad Hoc Group, including Loomis and UBS
               (.20)

08/14/13 DS    Review of documents produced by Debtors in JSN                  3.10
               adversary proceeding focusing on Bates ranges
               RCUCCJSN10013538-4067, and mark the documents by
               issue and document-type tags in order that documents
               may be used in preparation for upcoming deposition and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.10)

08/14/13 RH1   Attention to correspondence from E. Tobin and R. Hum            2.60
               re: Relativity and JSN Doc Review training in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.10); attention to
               correspondence from R. Abdelhamid of Morrison &
               Foerster re: Revised Document Review Protocol for
               ResCap JSN Doc Review, new coding layout for
               Relativity, list of new issue tags and list of top 7
               intercompany balances in connection with same (.10);
               review Revised Document Review Protocol, new coding
               layout for Relativity, and list of new issue tags and list of
               top 7 intercompany balances (.40); attention to
               correspondence from E. Tobin re: cash collateral tags,
               technical issues w/ Relativity, and additional background
               documents for use in JSN Doc Review and marking of
               documents by issue and document-type
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                        Filed 11/18/13   EnteredEntered 03/03/14
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               tags, including Excerpts from Examiner's Report, glossary
               of defined terms, list of debtors, and key event timeline,
               Debtor's Amended Complaint, Credtors' Committee's
               Complaint, and Ad Hoc Group's Counterclaims against
               Debtors in connection with same (.10); review additional
               background documents provided by E. Tobin in
               connection with same (1.90)

08/14/13 JO    Confer with T. Laurer, V. Atkinson, B. Doline, and K.          2.00
               Behrouz re: commencing document discovery and
               background to JSN Adversary Proceeding in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.20); review
               correspondence on introduction to the document
               discovery sent by E. Tobin with instructions as to how to
               conduct document tagging and other necessary directions
               in connection with same (.30); research background to the
               case and review document protocol in connection with
               same (.50)

08/14/13 HS2   Review documents produced by Debtors in the JSN                5.50
               Adversary Proceeding, focusing on debtor financial
               statements from 2008 and board presentations on various
               topics in 2008, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (5.50)

08/14/13 EC    Review approximately 650 documents produced by to the          9.60
               JSNs in the Adversary Proceeding that relate primarily to
               prepetition financial condition and incurrence of AFI LOC
               and Revolver indebtedness and marking documents by
               issue and document type for use in preparation for
               depositions and trial in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (8.80); review
               counterclaims and time line of ResCap events in
               connection with review of documents to assist in
               identification of relevant documents (.80)



08/14/13 MPJ   Review and issue tag documents produced by the                 7.10
               Debtors' regarding (a) the internal controls used by
               Residential Capital for financial reporting in 2008 and
               2009, (b) Residential Capital's monthly reporting
               obligations under the GMAC LOC, and (c) Ally Bank's
               financial position in 2012 prior to the bankruptcy, in order
               to assist in deposition and trial preparation in connection
               with the JSN adversary proceeding as Wells Fargo and
               noteholders Loomis and UBS are conflict parties (6.20);
               review updated document review protocol circulated by R.
               Abdelhamid of Morrison & Foerster in connection with
               tagging documents in connection with same (.90)
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                        Filed 11/18/13   EnteredEntered 03/03/14
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08/14/13 BMK   Continue review of remaining 200 documents in Prod Con           4.10
               5 Batch 2 in connection with consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (3.30); review email from R.
               Abdelhamid of Morrison & Foerster re: updated tagging
               procedures and protocol in connection with same (.80)


08/14/13 SRM   Revise issue tags for documents that were previously             9.50
               categorized as "swap" agreements in Batch Prod 5 Con 7
               in connection with dispute with the JSNs over lien value
               and purported entitlement to post-petition interest where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.50); begin reviewing and issue coding documents
               in batch Prod 5 Con 45 in connection with same (8.00);
               review revised document protocol and issue tags in
               connection with same (1.00)

08/14/13 JTW   Review documents produced by Debtors in the JSN                  5.20
               adversary proceeding including bates numbers
               RCUCCJSN 10210123 - 10210418 and RCUCCJSN
               10293166 - 10294797, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (4.90); review revised
               document review protocol in connection with same (.30)


08/14/13 PK    Review documents produced by Debtors in the JSN                  4.20
               Adversary Proceeding, focusing on the Rescap/AFI
               Revolver, Servicing Agreements, and Other
               Security/Loan/Pledge Agreements and Correspondence
               and Board Presentations re: the Rescap/AFI Revolver,
               Servicing Agreements, and Other Security/Loan/Pledge
               Agreements, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.00); review Revised
               Document Review Protocols, New Issue Tags materials,
               and Top Seven Intercompany Net Balances materials in
               connection with same (.60); correspondence with M.
               Stookey re: same (.60)



08/14/13 DAB   Extensive further review and analysis of documents from          4.50
               Prod003 CON Batch 23 of Debtors’ production in JSN
               litigation in which Wells Fargo and noteholders UBS and
               Loomis are conflict parties for use in preparing for trial and
               plan confirmation (4.50)

08/14/13 SEP   Review documents produced by Debtors in the JSN                  8.70
               Adversary Proceeding which pertain to Debtors'
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                pre-petition financial condition, JSN offering documents,
                the JSN indenture, and the AFI/GMAC Revolver, among
                other issues, and mark the documents by issue and
                document type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation
                where Wells Fargo and noteholders Loomis and UBS are
                conflict parties (8.70)


08/14/13 MS8    Review documents produced by Debtors in the JSN                9.00
                Adversary Proceeding, focusing on Prod 5 PEO Batch 3,
                Documents 200-244, and mark the documents by issue
                and document-type tags so documents can be used in
                preparation for depositions and trial and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (6.20); review revised Document Review Protocol and
                corresponding exhibits re: proper document review
                protocol and tagging in connection with same (2.80)


08/14/13 PJB2   Review of emails and underlying documents, including           8.60
                spreadsheets and draft contracts, in connection with the
                JSN Adversary Proceeding where Wells Fargo and
                noteholders Loomis and UBS are conflict parties and
                tagging issues of the underlying collateral of the JSNs and
                release of liens in connection with same (8.60)

08/14/13 MK     Review documents produced by Debtors in the JSN               10.70
                Adversary Proceeding, focusing on documents in
                20130808 PROD003 CON Batch00008 with James
                Young as custodian and 20130811 PROD005 CON00025
                with Joe Ruhlin as custodian, referencing document
                review protocol memorandum and other relevant
                documents as necessary, and mark the documents by
                issue and document-type tags so documents can be used
                in preparation for depositions and trial in the JSN
                adversary proceeding and in connection with Plan
                Confirmation, in light of involvement of conflict parties
                Wells Fargo and noteholders UBS and Loomis (9.80);
                begin reviewing and revising substantive review protocol
                memorandum in connection with same (.90)



08/14/13 GES    Review documents produced by Debtors in the JSN                5.50
                Adversary Proceeding, focusing on identifying an valuing
                collateral relevant to claims relating to transactions at
                issue, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (5.50)

08/14/13 VA     Attend meeting convened by T. Laurer to introduce the          3.40
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               London office to the document review projects re: JSN
               Discovery and Plan Confirmation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.20);
               review all attachments to the email sent by E. Tobin on
               August 14, namely, the Document Review Protocol and
               additional exhibits providing relevant background
               information in connection with same (2.20)

08/14/13 KB    Briefing with J. Ogilvie, V. Atkinson, B. Doline, and T.      1.20
               Laurer for new members of JSN Doc Review in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, re: background to the case
               and facts related to document review project (1.20)


08/14/13 DG2   Conduct review of documents in connection with dispute        7.40
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (including documents
               related to financial positions and liquidity of ResCap)
               (7.40)

08/14/13 MB2   Review documents produced by Debtors in the JSN               2.70
               Adversary Proceeding, focusing on Bates ranges Prod003
               CON Batch 28, 27 - 47, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.70); review revised
               protocol and issue tags in connection with same (1.00)


08/14/13 HH    Continue reviewing documents focusing on prepetition          4.20
               RMBS and other agreements in connection with review to
               be performed in connection with dispute with JSNs over
               lien value and purported entitlement to post-petition
               interests, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (3.40); review revised
               document protocol in connection with same (.60);
               correspond with E. Tobin re: questions related to same
               (.20)

08/14/13 AVA   Continue to review background materials in order to           1.10
               prepare to review documents produced by Debtors in the
               JSN adversary proceeding in preparation for depositions
               and trial in the JSN adversary proceeding and in
               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (1.10)

08/14/13 KAM   Review documents produced by Debtors in the JSN               5.30
               adversary proceeding (RCUCCJSN10008349 to
               10010999) and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN
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               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (5.30)

08/15/13 JD3   Review revised document review protocol and related            0.80
               correspondence re: JSN document review project in light
               of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.80)

08/15/13 MB    Review correspondence from R. Abdelhamid of Morrison           0.10
               & Foerster concerning document review tag, in particular
               tags concerning potentially privileged documents, in
               connection with dispute with JSNs over lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.10)

08/15/13 DS    Review of documents produced by Debtors in JSN                 2.60
               adversary proceeding focusing on Bates ranges
               RCUCCJSN10014068-4259, and mark the documents by
               issue and document-type tags in order that documents
               may be used in preparation for upcoming deposition and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (2.60)

08/15/13 RH1   Participate in Relativity database training conducted by C.    1.80
               Breyer (Night Owl Discovery) in connection with document
               review in Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.60); attention to correspondence with E. Tobin re:
               additional background documents for review, including
               Residential Capital Glossary, List of Debtors and
               Timeline, Debtors' Amended Complaint, JSNs' Amended
               Counterclaim, and Residential Capital Committee
               Complaint in connection with same (.10); review additional
               background documents provided by E. Tobin in
               connection with same (1.10)



08/15/13 JO    Attend online teleconference training for Night Owl            1.10
               document review system and review online system
               regarding document discovery in light of involvement of
               conflict parties Wells Fargo and noteholders UBS and
               Loomis (.60); coordinate London associates and trainee
               solicitors for document discovery, including ensuring
               allocation of documents instructions from New York office
               and general understanding of background to case matter
               at hand (.50)

08/15/13 HS2   Review documents produced by Debtors in the JSN                2.60
               Adversary Proceedings, focusing on debtor financial
               statements from 2008 and various correspondence
               among executive officers in 2008, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions
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               and trial in the JSN adversary proceeding and in
               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (2.60)

08/15/13 EC    Review approximately 475 documents produced by to the            10.10
               JSNs in the adversary proceeding that relate primarily to
               prepetition financial condition of the debtors and
               movement of collateral in and out of the AFI Revolver and
               LOC facility and marking documents by issue and
               document type for use in preparation for depositions and
               trial in connection with Curtis’ role as conflicts counsel, as
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (9.90); confer with M. Jones re: protocols relating
               to document tags for potential clawback of privileged
               material, if found, and new tagging for documents relating
               to cash collateral order and DIP financing (.20)



08/15/13 MPJ   Review and issue code documents produced by the                   2.70
               Debtors relating to, among other topics, (a) Residential
               Capital's deposit accounts at JP Morgan, (b) FTI's
               projections of asset recoveries in the bankruptcy
               proceeding, and (c) the Barcalays Debtor-In-Possession
               financing agreement, so that such documents can be
               used in deposition and trial preparation in connection with
               same in connection with Curtis' representation in the
               dispute with the Junior Secured Noteholders, as Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.50); discuss with E. Combs review protocol and
               various potentially privileged documents in connection
               with potential clawbacks re: same (.20)



08/15/13 BMK   Review 350 documents in Prod 5 Con Batch 15 in                    5.40
               connection with consolidated JSN Adversary Proceeding
               for use in preparing for trial and Plan Confirmation where
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (5.40)

08/15/13 SRM   Continue reviewing and issue coding the documents                10.30
               produced by the Debtors, focusing on emails and
               correspondence from 2011 - 2012 from custodian H.
               Anderson in connection with the dispute with the JSNs
               over lien value and entitlement to post-petition interest
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (10.30)

08/15/13 JTW   Review documents produced by Debtors in the JSN                   3.10
               adversary proceeding including bates numbers
               RCUCCJSN10293166 - 1025549, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and
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               noteholders UBS and Loomis (3.10)

08/15/13 PK    Review documents produced by Debtors in the JSN               2.70
               adversary proceeding, focusing on swap-related
               documents, financial projections and analyses,
               loan/security/pledge agreements, servicing agreements,
               and related correspondence, and mark the documents by
               issue and document-type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (2.00);
               review Revised Document Review Protocols in connection
               with same (.70)



08/15/13 SEP   Review documents produced by Debtors in the JSN              11.80
               Adversary Proceeding which pertain to the JSN offering
               documents, the JSN Indenture and the AFI/GMAC
               Revolver, among other issues, and mark the documents
               by issue and document type tags so documents can be
               used in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (11.80)


08/15/13 MS8   Review documents produced by Debtors in the JSN              12.50
               adversary proceeding, focusing on Prod 5 PEO Batch 3
               (Documents 244-362), and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (10.00); review Updated
               Document Review Protocol and corresponding exhibits in
               connection with same (2.50)

08/15/13 MK    Review new substantive review protocol memorandum in          5.10
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.20); review documents produced by
               Debtors in the JSN adversary proceeding, focusing on
               documents in 20130811 PROD005 CON00025 with Joe
               Ruhlin as custodian, referencing document review
               protocol memorandum and other relevant documents as
               necessary, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial and in connection
               with Plan Confirmation (3.60); correspond with E. Tobin,
               J. Berman and R. Abdelhamid of Morrison & Foerster
               regarding tagging issues and status of same (.30)



08/15/13 GES   Review documents produced by Debtors in the JSN               6.10
               adversary proceeding, focusing on mechanics of
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               transactions of transactions at issue, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (6.10)

08/15/13 VA    Review all attachments to R. Abdelhamid of Morrison &         5.60
               Foerster re: document review update, specifically, (i)
               Rescap substantive Revised Protocol, (ii) New Issue
               Tags, and (iii) DS ICC Exhibit in connection with
               preparation for document review for the JSN adversary
               proceeding and in connection with Plan Confirmation in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.90); review all
               attachments to E. Tobin email re: Residential Capital
               Document Review - Additional Information, namely (i)
               Glossary, list of Debtors and timeline (ii) Debtors
               Amended Complaint (without exhibits), (iii) JSNs
               Amended Counterclaims, (iv) Residential Capital
               Committee Complaint in connection with same (3.10);
               attend JSN Productions Relativity training conference in
               connection with same (.60)


08/15/13 KB    Attend Relativity document review website training in         5.40
               connection with document review of materials provided to
               JSNs light of involvement of conflict parties Wells Fargo
               and noteholders UBS and Loomis (.60); review of
               materials focusing on the adversary proceedings and the
               relevant background to the Chapter 11 filing in connection
               with same (4.80)

08/15/13 DG2   Conduct review of documents in connection with dispute        8.90
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (including documents
               related to PATI equity pledges) (8.90)

08/15/13 MB2   Review documents produced by Debtors in the JSN               5.40
               adversary proceeding, focusing on Bates ranges Prod003
               CON Batch 28, 48 - 150, and mark the documents by
               issue and document-type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (5.40)


08/15/13 HH    Continue review of documents focusing on prepetition          5.30
               RMBS, credit facilities and other agreements in
               connection with review to be performed in connection with
               dispute with JSN's over lien value and purported
               entitlement to post-petition interests, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties
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               (5.10); correspond with D. Bloom and B. Kotliar re: factual
               questions re: same (.20)

08/15/13 AVA   Review documents produced by Debtors in the JSN               4.40
               adversary proceeding, focusing on documents produced
               from custodian Sue Bode relating to accounting policies,
               borrowing base in February through March 2009 and
               other topics related to the Debtors claims, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (4.40)

08/15/13 KAM   Review documents produced by Debtors in the JSN               7.20
               adversary proceeding (RCUCCJSN10010999 to
               10012541 and RCUCCJSN10062640 to 10063271) and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN Adversary Proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (7.10); correspond with J. Berman, E. Tobin, J. Weber, D.
               Bloom, B. Kotliar and R. Abdelhamid of Morrison &
               Foerster regarding issues related to document review,
               including documents produced relating to amendment of
               MSR Loan Agreement in connection with same (.10)



08/15/13 RTH   Attend training for using Relativity database in connection   0.60
               with review of documents produced by Debtors in the JSN
               adversary proceeding, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (.60)

08/16/13 JD3   Attend portion of meeting led by D. Bloom, E. Tobin, and      2.30
               J. Berman re: document review and follow up discussions
               with smaller group re: assignment to undertake second
               review of OID-related documents in connection with JSN
               document review project in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (.80); follow up discussions and correspondence with E.
               Tobin, J. Berman, and D. Bloom re: searching and filtering
               OID documents (.40); review of OID materials, including
               briefs and recent memorandum opinion (1.10)


08/16/13 MB    Review correspondence from D. Bloom concerning                0.30
               samples in document review in connection with dispute
               with JSNs over lien value and purported entitlement to
               post-petition interest in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (.10); review correspondence from E. Tobin concerning
               tips for improved document review in connection with
               same (.20)
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08/16/13 DS    Review of documents produced by Debtors in JSN                  5.20
               adversary proceeding focusing on Bates ranges
               RCUCCJSN10014260-398, and mark the documents by
               issue and document-type tags in order that documents
               may be used in preparation for upcoming deposition and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.70); follow-up correspondence with E. Tobin, J.
               Berman, D. Bloom, J. Weber, B. Kotliar, and R.
               Abdelhamid of Morrison & Foerster concerning questions
               with respect to particular documents in connection with
               same (2.00); attend team meeting led by E. Tobin & J.
               Berman, and D. Bloom to discuss new issue tags and
               substantive issues with respect to documents and how to
               appropriately tag (1.50)



08/16/13 RH1   Participate in Residential Capital JSN document review          2.10
               meeting led by D. Bloom, E. Tobin, and J. Berman in light
               of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50); attention to review of
               Residential Capital Examiner Report excerpt sent by E.
               Tobin in connection with same (.30); attention to various
               correspondence from J. Berman re: first batch assignment
               for Residential Capital document review (.10); review
               index of Residential Capital document samples and
               coding examples (.20)

08/16/13 JO    Review documents in connections with protocol for               4.90
               document tagging in the document discovery of
               documents produced by Debtors in the JSN adversary
               proceeding, in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis (2.40);
               correspond with T. Laurer, B. Doline, V. Atkinson, K.
               Behrouz, and S. Tsikata re: issues related to document
               review as noted in the protocol for document tagging as
               provided by the New York office (1.00); email
               correspondence with all offices involved in the document
               discovery of documents produced by Debtors in the JSN
               adversary proceeding re: tagging issues to date and
               clarification on correct tagging of documents (1.50)



08/16/13 HS2   Correspond with T. Laurer re: current status of review of       1.00
               documents that can be used in preparation for depositions
               and trial in the JSN adversary proceeding and in
               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (1.00)

08/16/13 EC    Review approximately 260 documents produced by to the           7.40
               JSNs in the adversary proceeding relating primarily to the
               Debtors liquidity concerns and speculation about
               bankruptcy and potential, unconsummated purchase
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               agreements as well as other documents relating to
               prepetition financial condition of the debtors and marking
               documents by issue in preparation for depositions and
               trial in connection with Curtis’ role as conflicts counsel, as
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (5.90); attend meeting led by D. Bloom, E. Tobin
               and J. Berman for update and additional guidance on
               document review procedure, protocol, and relevance
               determinations in connection with review of the
               documents produced to the JSNs (1.50)


08/16/13 MPJ   Attend team meeting and teleconference led by E. Tobin,          5.10
               J. Berman, and D. Bloom regarding document review
               protocol to answer key questions regarding best methods
               to identify and tag documents in connection with preparing
               for upcoming depositions and trial in connection with
               Curtis' representation in the dispute with the Junior
               Secured Noteholders regarding the extent and value of
               the JSNs' liens, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (1.50); review and issue-tag
               documents relating to Bank Swap Settlements, Liquidity
               Roll Forwards, and the trading levels of the Junior
               Secured Notes prior to bankruptcy filing in order to
               prepare for upcoming depositions and trial (3.60)



08/16/13 BMK   Finalize review of 150 documents in Prod Con 5 Batch 15          2.50
               in connection with documents produced to JSNs in
               connection with the consolidated adversary proceeding
               where Wells Fargo, noteholders UBS, and Loomis are
               conflict parties (2.50)

08/16/13 SRM   Attend Residential Capital Substantive Document Review           7.90
               Meeting led by E. Tobin, J. Berman, and D. Bloom in
               connection with the dispute with the JSNs over lien value
               and purported entitlement to post-petition interest where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (1.50); continue reviewing and issue coding the
               documents produced by the Debtors, focusing on emails
               and correspondence from 2011 - 2012 from custodian H.
               Anderson (6.40)


08/16/13 JTW   Conduct secondary review of all documents that                   9.80
               reviewers have marked as "hot" in preparation for
               depositions and trial to locate possible documents that will
               be used as exhibits in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.60);
               review Examiner's report for clarification on issues related
               to the AFI LOC and the AFI Revolver (1.90); conduct
               document review as to documents with bates numbers
               RCUCCJSN10295551 -10297287 and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
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               and trial (4.00); correspond with R. Abdelhamid of
               Morrison & Foerster re: issues with coding and the second
               level review as well as clarifications as to directions
               provided to the document reviewers at the all hands
               meeting held earlier in the afternoon (.30)

08/16/13 PK    Attend meeting led by E. Tobin, J. Berman, and D. Bloom      2.10
               re: marking documents produced by Debtors in the JSN
               adversary proceeding by issue and document-type in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50); review Second
               Revised Document Review Protocols in connection with
               same (.60)

08/16/13 DAB   Commence review of several thousand documents                3.10
               marked “further review” by document reviewers in
               connection with documents produced by the Debtors to
               the JSNs in the consolidated adversary proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (3.10)

08/16/13 SEP   Attend document review team meeting led by E. Tobin, J.      9.80
               Berman, and D. Bloom discussing new coding protocol for
               coding of documents reviewed in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation where Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (1.50); review documents produced by Debtors which
               pertain to swap related payments, the JSN Indenture, the
               AFI/GMAC Revolver, and unencumbered real property,
               among other issues, and mark the documents by issue
               and document type tags in connection with same (7.70);
               review new document review protocol for review of
               documents in connection with same (.60)



08/16/13 MS8   Review documents produced by Debtors in the JSN              8.00
               adversary proceeding, focusing on Prod 5 PEO Batch 3,
               Documents 363-374, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.50); review Updated
               Document Review Protocol and corresponding exhibits in
               connection with same (1.50); review example documents
               provided by D. Bloom for marking the documents by issue
               and document-type tags in connection with same (2.50);
               telephonically attend meeting led by J. Berman, E. Tobin,
               and D. Bloom in connection with same (1.50)



08/16/13 MK    Attend meeting led by E. Tobin, J. Berman, and D. Bloom      1.50
               to discuss review of documents produced by
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                  5825         Filed 03/03/14
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               Debtors in the JSN adversary proceeding, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis including discussion of
               updated protocol and proper tagging procedures (1.50)

08/16/13 GES   Review documents produced by Debtors in the JSN                3.60
               adversary proceeding, focusing on mechanics of
               transactions at issue, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.10); participate in
               meeting led by J. Berman, E. Tobin, and D. Bloom
               regarding document review protocol in connection with
               same (1.50)

08/16/13 VA    Attend meeting with T. Laurer, B. Doline, K. Behrouz, J.       4.70
               Ogilvie and S. Tsikata to discuss the background to the
               Residential Capital bankruptcy and the JSN proceedings
               in preparation for document review for the JSN adversary
               proceeding and in connection with Plan Confirmation in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.00); review all
               attachments to the email sent by E. Tobin on August 16th
               re: Residential Capital Substantive Review - New
               "Potential Clawback" Tag (i.e. 20 example documents for
               the document review meeting) in connection with same
               (.30); telephonically attend Residential Capital JSN
               Discovery weekly meeting led by D. Bloom, E. Tobin, and
               J. Berman re: update of procedures and status of review
               (1.50); review all attachments to the email sent by E.
               Tobin on August 16th RE: Residential Capital document
               review / follow-up from today's meeting / Privileged &
               Confidential, including the examiner's report, the meeting
               agenda and the substantive revised protocol in connection
               with same (1.80); email C. Grech with PC number to
               receive administrator rights in order to download Relativity
               software in connection with same (.10)




08/16/13 KB    Review of materials by Curtis and Morrison & Foerster in       5.80
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, focusing on the adversary
               proceedings and the background to the Chapter 11 filing
               (3.30); attend meeting led by E. Tobin, J. Berman, and D.
               Bloom focusing on document review strategy in
               connection with same (1.50); attend meeting with T.
               Laurer, B. Doline, V. Atkinson, J. Ogilvie, and S. Tsikata
               focusing on background to the bankruptcy and the dispute
               in connection with same (1.00)

08/16/13 DG2   Attend additional information session led by E. Tobin, J.      7.30
               Berman, and D. Bloom to discuss updated and specific
               issues related to document review in connection with
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               dispute with JSNs over, among other things, lien value
               and purported entitlement to post-petition interest in light
               of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50); conduct review of
               documents in connection with dispute with JSNs
               (including documents related to amendment of facility
               agreements and liquidity report preparation) (5.80)

08/16/13 MB2   Review documents produced by Debtors in the JSN                2.90
               adversary proceeding, focusing on Bates ranges Prod003
               CON Batch 28, 151 - 203, and mark the documents by
               issue and document-type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (2.40);
               participate in portion of the review protocol training
               meeting led by E. Tobin, J. Berman, and D. Bloom (.50)


08/16/13 HH    Attend meeting led by E. Tobin, J. Berman, and D. Bloom        6.10
               re: protocol in connection with review to be performed in
               connection with dispute with JSN's over lien value and
               purported entitlement to post-petition interests, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (1.50); conduct review re: same with focus on
               documents pertaining to Debtors' prepetition financial
               condition (4.60)

08/16/13 AVA   Attend meeting regarding review of documents produced          8.70
               by Debtors led by E. Tobin, J. Berman, and D. Bloom in
               connection with preparation for depositions and trial in the
               JSN adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (1.50);
               review documents produced by Debtors in the JSN
               adversary proceeding, focusing on documents produced
               from custodian Sue Bode relating to accounting policies,
               borrowing base in February through March 2009 and
               other topics related to the Debtors claims, and mark the
               documents by issue and document-type tags so
               documents can be used in same (7.20)



08/16/13 KAM   Review documents produced by Debtors in the JSN                5.00
               adversary proceeding (RCUCCJSN10062640 to
               10063666) and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.50); attend document
               review all hands meeting led by E. Tobin, J. Berman, and
               D. Bloom in connection with same (1.50)
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08/16/13 RTH   Participate in document review meeting led by E. Tobin, J.       3.10
               Berman, and D. Bloom re: issues related to review of
               documents produced by Debtors in the JSN adversary
               proceeding, in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis (1.50); review
               documents produced by Debtors in the JSN adversary
               proceeding, focusing on RCUCCJSN10654816 to
               RCUCCJSN10655409, and mark the documents by issue
               and document‐type tags in connection with same (2.60)


08/17/13 EC    Prepare email in response to B. Kotliar questions relating       7.70
               to Flume facility to inform advice to be given to document
               reviewers related to tagging Flume documents in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (.40); review documents relating to AFI LOC and
               compile list of potentially useful terms for use in additional
               levels of review and examples of important documents
               relating to AFI LOC for use in connection with deposition
               and trial in connection with same (3.90); prepare time line
               of events relating to creation and collateralization of AFI
               LOC in connection with review of documents in
               preparation for depositions and trial (.60); review
               documents produced to JSNs and UMB including
               primarily financial presentations provided to the ResCap
               board of directors relating to the Debtors' financial
               condition and options for the company leading up to
               Bankruptcy (2.80)



08/17/13 MPJ   Review documents produced by the debtors regarding               0.40
               Residential Capital's pre-petition financial condition and
               liquidity availability under the AFI / GMAC Revolver, and
               code same in order to prepare for depositions and trial in
               connection with Curtis' role as conflicts counsel in the
               dispute with the Junior Secured Noteholders as Wells
               Fargo, Loomis, and UBS are conflict parties (.40)

08/17/13 BMK   Finalize review of remaining documents in Prod Con 5             2.50
               Batch 5 and Prod Con 2 Batch 2 in connection with JSN
               adversary proceeding where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (2.20); email
               correspondence with R. Abdelhamid of Morrison &
               Forester and E. Tobin re: same and receiving next
               assignment re: review of documents of Ad Hoc Group in
               connection with upcoming deposition of individual
               noteholders (.30)

08/17/13 JTW   Conduct secondary review of all documents marked "hot"           5.80
               re: possibile use of documents as exhibits for depositions
               and trial in the JSN adversary proceeding and in
               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (5.80)
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08/17/13 PK    Review documents produced by Debtors in the JSN                1.60
               adversary proceeding, focusing on asset sales, post
               petition financial condition, and related board resolutions,
               unanimous written consents, and correspondence, and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.60)

08/17/13 SEP   Review documents produced by Debtors in the JSN                7.60
               adversary proceeding which pertain to assets pledged by
               the Debtors to secure the AFI LOC, swap related
               payments, the JSN indenture, the AFI/GMAC Revolver,
               and other loan servicing agreements, among other issues,
               and mark the documents by issue and document type
               tags so documents can be used in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation where Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (7.60)

08/17/13 GES   Review documents produced by Debtors in the JSN                4.10
               adversary proceeding, focusing on mechanics of
               transactions of transactions at issue, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (4.10)

08/17/13 DG2   Conduct review of documents in connection with dispute         4.90
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders Loomis and UBS (including liquidity reports
               and MSR status) (4.90)

08/17/13 MB2   Review training documents, review protocol and court           2.10
               documents in connection with documents produced by
               Debtors in the JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (2.10)

08/17/13 AVA   Review documents produced by Debtors in the JSN                1.20
               adversary proceeding, focusing on documents produced
               from custodian Sue Bode relating to accounting policies,
               borrowing base in February through March 2009 and
               other topics related to the Debtors claims, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties
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               Wells Fargo and noteholders UBS and Loomis (1.20)

08/17/13 KAM   Review documents produced by Debtors in the JSN               3.10
               adversary proceeding (RCUCCJSN63666 to 10064135)
               and mark the documents by issue and document-type
               tags so documents can be used in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.10)

08/18/13 RH1   Review documents and correspondence related to Apollo         7.20
               / AFI financing transactions conducted in June 2010,
               including drafts and executed copies of Intercreditor
               Agreements, Mortgage Sale Agreements, Deeds of
               Charge, Guarantee and Indemnity, Cash Allocation
               Agreement and related exhibits and schedules in
               connection with preparing for trial in the JSN Adversary
               Proceeding and plan confronation as Wells Fargo,
               noteholders Loomis and UBS are conflict parties (6.40);
               prepare materials and identify issues re: same (.60); meet
               with E. Combs to discuss bilateral facility tagging issues
               (.20)

08/18/13 EC    Review documents produced to the JSNs relating to             6.80
               analysis of prepetition financial condition, analysis of
               outstanding financing facilities and forecasts of ResCap's
               business unit prospects prior to bankruptcy and tagging
               documents by issue and document type for use in
               preparation for depositions and trial in connection with
               Curtis’ role as conflicts counsel, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (6.60);
               meet with R. Hanson to discuss bilateral facilities and
               conduit financing to assist his tagging of documents
               relating to those areas in connection with same (.20)



08/18/13 MPJ   Review and issue code documents produced by the               2.00
               Debtors in the adversary proceeding with the Junior
               Secured Noteholders regarding Residential Capital's
               liquidity in late 2010 and early 2011, to assist in
               preparation for depositions and trial in the JSN Adversary
               Proceeding and plan confirmation as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (2.00)


08/18/13 BMK   Review first 150 documents contained in ad hoc group's        2.20
               production in connection with consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders UBS and
               Loomis are conflict parties (2.20)

08/18/13 SRM   Finish tagging custodian Heather Anderson's documents         3.10
               in connection with the dispute with the JSNs over lien
               value and entitlement to post-petition interest where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.00); begin review of custodian C. Dondzila's
               documents in connection with
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               same (2.10)

08/18/13 JTW   Review documents produced by Debtors in the JSN                2.50
               adversary proceeding including bates numbers
               RCUCCJSN10422382 - 10422768, and mark the
               documents by issue and document-type tags so
               documents can be used in connection with Consolidated
               JSN Adversary Proceeding and Plan Confirmation where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (2.50)

08/18/13 PK    Review documents produced by Debtors in the JSN                3.70
               adversary proceeding, focusing on CFDR, Debtor's
               Financial Statements, Post Petition Collateral, 2012 Asset
               Sales, the AFI/GMAC Revolver, the AFI Line of Credit,
               Barclay's DIP, Borrowing Base Reports, Ginnie Mae
               Servicing Rights, and related Correspondence, Board
               Presentations, and Financial Adviser Presentations, and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.70)

08/18/13 DAB   Continue review of documents marked “further review” by       10.30
               document reviewers in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (10.30)


08/18/13 SEP   Review documents produced by Debtors in the JSN                9.60
               adversary proceeding which pertain to the 2012 asset
               sales, PATI/RAHI equity pledges, swap related payments,
               the JSN indenture, the AFI/GMAC revolver, and broker
               agreements, among other issues, and mark the
               documents by issue and document type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (9.60)


08/18/13 MS8   Review documents produced by Debtors in the JSN                5.80
               adversary proceeding, focusing on Batch Prod 5 PEO
               Batch 3, Review Documents 374-406, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.60); review Updated Document Review Protocol and
               corresponding exhibits in preparation for reviewing the
               documents produced by the Debtors in connection with
               same (1.10); review example documents provided by D.
               Bloom to give
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               guidance for marking the documents by issue and
               document-type tags in connection with same (1.10)

08/18/13 GES   Review documents produced by Debtors in the JSN               1.80
               adversary proceeding, focusing on mechanics of
               transactions of transactions at issue, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.80)

08/18/13 MB2   Review documents produced by Debtors in the JSN               5.50
               adversary proceeding, focusing on Bates ranges Prod003
               CON Batch 28, 204 - 411, and mark the documents by
               issue and document-type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (5.50)


08/18/13 HH    Review documents in connection with dispute with JSNs         2.10
               over lien value and purported entitlement to post-petition
               interests for use in preparing for trial and plan
               confirmation, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (2.10)

08/18/13 AVA   Review documents produced by Debtors in the JSN               5.50
               adversary proceeding, focusing on documents produced
               from custodian Sue Bode relating to accounting policies,
               borrowing base in February through March 2009 and
               other topics related to the Debtors claims, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (5.50)

08/18/13 KAM   Review documents produced by Debtors in the JSN               3.80
               adversary proceeding (RCUCCJSN10280658 to
               10281285) and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.60); correspond with J.
               Berman, E. Tobin, B. Kotliar, D. Bloom and J. Weber and
               R. Abdelhamid of Morrison & Foerster regarding
               questions re: documents concerning permanent
               paydowns of AFI Revolver (.20)

08/19/13 RH1   Attention to review of and application of issue / document    5.60
               tags to JSN Documents in light of involvement of conflict
               parties Wells Fargo and
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               noteholders UBS and Loomis, including review and
               tagging of documents related to sale of mortgage loans by
               GMAC-RFC Limited to Webb Residential Limited, Note
               Issuance Facility Deed between Apollo and AFI, and
               related correspondence and transaction documents with
               parties including Webb S.a.r.l., Webb II S.a.r.l., Barclays,
               ResCap (as Guarantor of the GMAC-RFC Ltd. loans sold
               under the Mortgage Sale Agreements) (4.90); attention to
               correspondence with R. Abdelhamid of Morrison &
               Foerster re: Relativity shortcuts added by Night Owl to
               streamline review (.10); continue review and consultation
               of JSN Doc Review materials, including adversary
               complaint for declaratory judgment, Glossary of terms and
               list of filing entities for JSN Document review, for guidance
               in applying issue and document type tags to JSN
               Documents for extraction and potential use in depositions
               and other litigation proceedings (.60)



08/19/13 JO    Review documents produced by Debtors in the JSN                  7.40
               adversary proceeding, focusing on batch number Prod6
               CON 27, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (6.70); review
               correspondence from E. Tobin regarding document
               tagging in connection with same (.70)

08/19/13 HS2   Review documents produced by Debtors in the JSN                  3.50
               adversary proceedings, focusing on debtor financial
               statements from 2008 and various correspondence
               among executive officers in 2008, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.50)

08/19/13 EC    Review hundreds of documents produced by the Debtors            10.30
               to the Ad Hoc Group of JSNs including primarily
               documents and backup information used in preparation
               for a number of Residential Capital board meetings,
               analysis of outstanding financing facilities and reports
               from Residential Capital business units prior to
               bankruptcy, among others and tagging documents by
               issue and document type for use in preparation for
               depositions and trial in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (4.10); conduct additional
               review of documents relating to the AFI LOC and release
               of collateral in order to prepared time line and list of
               helpful search terms for use in preparation for depositions
               (4.90); prepare time line
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               and list of helpful search terms in connection with
               additional review of documents for deposition preparation
               (1.30)

08/19/13 MPJ   Review and code documents produced by the Debtors                5.00
               relating to (a) RBS's exchange of cash for treasuries as
               collateral in 2011, (b) Residential Capital's decision to add
               additional collateral to the AFI LOC, and (c) Residential
               Capital's Roll Forward Schedules describing available
               liquidity, in order to prepare for upcoming depositions and
               trial in connection with Curtis' role as conflicts counsel in
               the dispute with Junior Secured Noteholders over the
               extent and value of their liens, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (5.00)


08/19/13 BMK   Review documents numbered 150 through 600 produced               7.70
               by the ad hoc group of junior secured noteholders in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties for use in upcoming Rule 30(b)(6) deposition of Ad
               Hoc Group (7.70)


08/19/13 SRM   Continue reviewing and issue coding the documents               10.00
               produced by the Debtors, concentrating on custodian C.
               Dondzila in connection with the dispute with the JSNs
               over lien value and entitlement to post-petition interest
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (10.00)

08/19/13 JTW   Review of documents leading up to the exchange offer             4.20
               marked hot, with particular focus on those documents
               from Jan. 1, 2008 through and including Jun. 30, 2008 in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (4.20)

08/19/13 PK    Review documents produced by Debtors in the JSN                  3.00
               adversary proceeding, focusing on the AFI/GMAC
               Revolver and Correspondence and Board Presentations
               containing analysis of the Debtor's Pre-Petition Financial
               Condition, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.00)


08/19/13 DAB   Continue review of documents marked “further review” by          9.50
               document reviewers in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (9.50)

08/19/13 SEP   Discussion with E. Tobin, J. Berman, D. Bloom, and R.           10.90
               Abdelhamid of Morrison & Foerster regarding the
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                  5825         Filed 03/03/14
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                appropriate issue coding of documents consisting of
                debtors' financial statements in connection with
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation
                where Wells Fargo and noteholders Loomis and UBS are
                conflict parties (.20); review documents produced by
                Debtors in the JSN adversary proceeding which pertain to
                the 2012 asset sales, Barclays DIP, the AFI/GMAC
                revolver, other facilities and broker agreements, among
                other issues, and mark the documents by issue and
                document type tags so documents can be used in
                connection with same (10.70)



08/19/13 MS8    Review documents produced by Debtors in the JSN                4.90
                adversary proceeding, focusing on Batch Prod 5 PEO
                Batch 3, Review Documents 406-XXX, and mark the
                documents by issue and document-type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (3.00); review Updated Document Review Protocol and
                tagging procedures in connection with same (1.00);
                review example documents provided by D. Bloom to give
                guidance for marking the documents by issue and
                document-type tags in connection with same (.90)



08/19/13 PJB2   Review of emails and attached spreadsheets and draft           6.90
                contracts, in connection with the JSN adversary
                proceeding commenced by the Debtors where Wells
                Fargo and noteholders Loomis and UBS are conflict
                parties and tag issues re: underlying collateral of the JSNs
                for purposes of preparing for depositions and ongoing
                discovery (6.90)

08/19/13 MK     Review notes and sample documents from document                9.00
                review meeting in connection with preparation for
                depositions and trial in the JSN adversary proceeding and
                in connection with Plan Confirmation, in light of
                involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (.80); review documents
                produced by Debtors in the JSN adversary proceeding,
                focusing on documents in 20130811 PROD005
                CON00025 with Joe Ruhlin as custodian, referencing
                document review protocol memorandum and other
                relevant documents as necessary, and mark the
                documents by issue and document-type tags so
                documents can be used in connection with same (8.20)

08/19/13 GES    Review documents produced by Debtors in the JSN                2.30
                adversary proceeding, focusing on identifying an valuing
                collateral relevant to claims relating to transactions at
                issue, and mark the documents by issue and
                document-type tags so documents can be
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               used in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (2.30)

08/19/13 VA    Review documents produced by the Debtors in the JSN           7.30
               adversary proceeding, focusing on finance related
               documents belonging to custodian Sue Bode, contained in
               batch PROD 006 CON 33 (documents 1 to 27), and mark
               the documents by issue and document type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation,in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (7.30)

08/19/13 KB    Review of first batch of documents produced by Debtors        8.20
               in the JSN adversary proceeding focusing on information
               relating to key custodians (documents 1-54) in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (8.20)

08/19/13 DG2   Conduct review of documents in connection with dispute        3.40
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, including review of
               prepetition liquidity reports (3.40)

08/19/13 MB2   Review documents produced by Debtors in the JSN               9.00
               adversary proceeding, focusing on Bates ranges Prod003
               CON Batch 28, 412 - 500 and Prod003 CON Batch 4, 1 -
               137, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (9.00)

08/19/13 HH    Continue review of documents in connection with dispute       4.10
               with JSN's over lien value and purported entitlement to
               post-petition interests, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (4.10)


08/19/13 AVA   Review documents produced by Debtors in the JSN               3.00
               adversary proceeding, focusing on documents produced
               from custodian Sue Bode relating to accounting policies,
               borrowing base in March 2009 through approximately May
               2009 and other topics related to the Debtors claims, and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.00)
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                  5825         Filed 03/03/14
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08/19/13 RTH   Review documents produced by Debtors in the JSN                 5.80
               adversary proceeding, focusing on RCUCCJSN10655410
               to RCUCCJSN10657298, and mark the documents by
               issue and document‐type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (5.80)


08/20/13 MB    Review documents in connection with dispute with JSN's          3.70
               over lien value and purported entitlement to post-petition
               interest in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis, focusing on
               2012 Asset Sale documents (3.50); review
               correspondence from R. Abdelhamid of Morrison &
               Foerster regarding document review process in
               connection with same (.20)

08/20/13 DS    Review of documents produced by Debtors in JSN                  1.00
               adversary proceeding focusing on Bates ranges
               RCUCCJSN10014399-14625, and mark the documents
               by issue and document-type tags in order that documents
               may be used in preparation for upcoming deposition and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.00)

08/20/13 RH1   Attention to review of JSN Documents in light of                8.80
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, including review and
               tagging of issues / document type of various
               correspondence and documents related to Ally Financial
               Inc. (AFI) / Apollo European Principal Finance Fund L.P.
               transaction in June 2010, such as Mortgage Sale
               Agreements, Deeds of Assumption and Resignation,
               Security Agreements, First Director's Certificates, Second
               Director's Certificates, Servicing Agreements, Intercreditor
               Agreements, Deeds of Charge, Assignment and
               Indemnity Agreements, Cash Administration Agreements,
               Declarations of Trust, Third Director's Certificates, Crown
               Servicing Side Letter, Note Issuance Facility Deed (NIFD)
               and related transaction documents and exhibits involving
               GMAC-RFC Limited, Webb Residential Limited, Webb
               S.a.r.l., Webb II S.a.r.l., Barclays, and Residential Capital
               (as Guarantor of the GMAC-RFC Ltd. loans sold under
               the Mortgage Sale Agreements, and various documents
               related to Flume (No.8) Loan Sale and Purchase
               Agreement dated June 4, 2008 and amended July 19,
               2009) (8.60); correspondence with J. Weber to discuss
               general tagging guidance for AFI / Apollo and Flume
               (No.8) transactions in connection with same (.20)
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08/20/13 JO    Review documents produced by Debtors in the JSN                  6.60
               adversary proceeding, focusing on batch number Prod6
               CON 27, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (6.60)

08/20/13 HS2   Review documents produced by Debtors in the JSN                  3.30
               adversary proceedings, focusing on debtor financial
               statements from 2008 and sale of various assets in 2008,
               and mark the documents by issue and document-type
               tags so documents can be used in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.30)

08/20/13 EC    Review approximately 70 documents relating to Debtors'           2.60
               liquidity and general financial condition around the petition
               date and marking document to assist preparation for
               depositions and upcoming trial against JSNs in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (2.60)

08/20/13 MPJ   Review and issue tag documents already produced by the           5.40
               Debtors' relating to (a) the Debtors' efforts to sell the
               company in 2010 to various potential banks, and (b)
               Residential Capital's liquidity status in 2010 and 2011, in
               order to prepare for depositions and upcoming trial in
               connection with Curtis' representation as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (5.40)

08/20/13 BMK   Review documents 600-1100 produced by the Ad Hoc                 8.50
               Group of Junior Secured Noteholders in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties for use in
               preparing for deposition of Ad Hoc Group members (8.50)


08/20/13 SRM   Continue reviewing and issue coding the documents                1.50
               produced by the Debtors, focusing on custodian C.
               Dondzila in connection with the dispute with the JSNs
               over lien value and entitlement to post-petition interest
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.50)

08/20/13 JTW   Continue secondary review of documents that reviewers           12.50
               have tagged as hot, with focus on documents from July
               2008 through and including December of 2008, so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of
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                involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (12.50)

08/20/13 PK     Review documents produced by Debtors in the JSN                 3.00
                adversary proceeding, focusing on Correspondence and
                Board Presentations containing analysis of the Debtor's
                Pre-Petition Financial Condition and the AFI/GMAC
                Revolver and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (3.00)

08/20/13 DAB    Continue review of documents marked “further review” by         7.50
                document reviewers in connection with Consolidated JSN
                Adversary Proceeding where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (7.50)

08/20/13 SEP    Correspondence with E. Tobin, J. Berman, D. Bloom, and         11.50
                R. Abdelhamid of Morrison & Foerster regarding the
                appropriate issue coding of documents relating to the
                2012 asset sales in connection with Consolidated JSN
                Adversary Proceeding where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (.30);
                review documents which pertain to the 2012 asset sales,
                the AFI/GMAC revolver, and the Debtors’ use of cash held
                as of the bankruptcy filing that was subject to the liens of
                secured parties, among other issues, and mark the
                documents by issue and document type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding (11.20)



08/20/13 MS8    Review documents produced by Debtors in the JSN                15.20
                adversary proceeding, focusing on Batch Prod 5 PEO
                Batch 3, Review Documents xx-500, and mark the
                documents by issue and document-type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (3.00); review Prod5 CON Batch 24, Review Documents
                1-357, and mark the documents by issue and
                document-type tags (11.10); review Updated Document
                Review Protocol and corresponding exhibits (1.00);
                correspond with J. Berman, E Tobin, and R. Abdelhamid
                of Morrison & Foerster re: review batches in connection
                with same (.10)



08/20/13 PJB2   Review of emails and underlying documents, including            5.60
                financial spreadsheets and SEC filings, in connection with
                the JSN adversary proceeding commenced by the
                Debtors where Wells Fargo and noteholders Loomis and
                UBS are conflict parties and the issues of the
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               underlying collateral of the JSNs and release of liens in
               connection with same (5.60)

08/20/13 MK    Review documents produced by Debtors in the JSN               8.20
               adversary proceeding, focusing on documents in
               20130811 PROD005 CON00025 with Joe Ruhlin as
               custodian, referencing document review protocol
               memorandum and other relevant documents as
               necessary, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (8.20)

08/20/13 VA    Review documents produced by the Debtors in the JSN           6.30
               adversary proceeding, focusing on finance related
               documents belonging to custodian Sue Bode, contained in
               batch PROD 006 CON 33 (documents 28 to 85), and
               mark the documents by issue and document type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (5.80); correspondence with K. Behrouz re: issues related
               to the document review (.50)



08/20/13 KB    Review of first batch of documents produced by Debtors        8.90
               in the JSN adversary proceedings focusing on information
               relating to key custodians (documents 55-112) in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis for use in preparing for trial
               and plan confirmation (8.90)

08/20/13 DG2   Conduct review of documents in connection with dispute        3.80
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (including sale of certain
               MSRs) (3.80)

08/20/13 MB2   Review documents produced by Debtors in the JSN               8.80
               adversary proceeding, focusing on Bates ranges Prod003
               CON Batch 4, 138 - 431, and mark the documents by
               issue and document-type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (8.80)


08/20/13 HH    Continue review of documents in connection with dispute       2.30
               with JSN's over lien value and purported entitlement to
               post-petition interests, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (2.10);
               correspondence with internal team leaders E.
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               Tobin and J. Berman re: same (.20)

08/20/13 AVA   Review documents produced by Debtors in the JSN               5.50
               adversary proceeding, focusing on documents produced
               from custodian Sue Bode relating to accounting policies,
               borrowing base in February through March 2009 and
               other topics related to the Debtors claims, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (5.50)

08/20/13 KAM   Review documents produced by Debtors in the JSN               5.50
               adversary proceeding (RCUCCJSN10281283 to
               10281588) and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (5.50)

08/20/13 RTH   Review documents produced by Debtors in the JSN               5.70
               adversary proceeding, focusing on RCUCCJSN10657299
               to RCUCCJSN10659113, and mark the documents by
               issue and document‐type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (5.70)


08/21/13 MB    Review documents in connection with dispute with JSN's        5.90
               over lien value and purported entitlement to post-petition
               interest in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis, focusing on loan
               servicing documents (1.30); continue document review,
               with a focus on documents concerning Barclays DIP in
               connection with same (4.60)


08/21/13 RH1   Attention to review of JSN Documents in light of              7.70
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, including application of
               document tags by issue and document type, preparation
               of notes and comments regarding basis for tags, in order
               to assist with document categorization and identification
               for use in depositions and other potential adversary
               proceedings, including review and tagging of
               correspondence and transaction documents related to
               sale of UK / CE loan platform to Fortress (7.70)


08/21/13 JO    Review protocol and background documents in relation to       4.70
               the review of documents produced by the Debtors in the
               JSN Adversary Proceeding, focusing on batch
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               number Prod6 CON 27, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.20); review
               correspondence re: same and proper tagging protocol
               (.30); confer with T. Laurer, V. Atkinson, B. Doline, K.
               Behrouz, J. Ogilvie, and S. Tsikata on the status of same
               (1.20)

08/21/13 HS2   Review documents produced by the Debtors in the JSN           7.90
               adversary proceedings, focusing on, among other things,
               debtor financial statements in 2012 prior to filing of
               petition and various correspondence related to repos, and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (7.90)

08/21/13 MPJ   Review and issue tag documents from J. Young's                7.10
               electronic folder of board meeting presentations in order
               to prepare for upcoming depositions and trial in
               connection with Curtis' representation as conflicts counsel
               in the dispute with the Junior Secured Noteholders
               regarding the extent and value of the JSNs' liens, as
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (7.10)

08/21/13 BMK   Review documents 1100-1300 produced by the ad hoc             7.40
               group in connection with the JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties to prepare for 30(b)(6) deposition of Ad
               Hoc Group members (3.70); review relevant docket filings,
               case pleadings, and orders in connection with same for
               outline of 30(b)(6) depositions of UMB and the ad hoc
               group handled by Curtis, including questions relating to
               cash collateral and asset sales (3.70)


08/21/13 SRM   Continue reviewing and issue coding the documents             3.60
               produced by the Debtors, focusing on custodian C.
               Dondzila in connection with the dispute with the JSNs
               over lien value and entitlement to post-petition interest
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (3.60)

08/21/13 JTW   Continue review of "hot" documents focusing on                2.20
               documents from Jan. 2009 through and including Feb.
               2009, to identify possible deposition and trial exhibits in
               connection with Consolidated JSN Adversary Proceeding
               and plan confirmation where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (2.20)
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08/21/13 PK    Review documents produced by Debtors in the JSN                5.00
               Adversary Proceeding, focusing on JSN Indenture/Pledge
               Agreements, JSN offering documents, pre-petition
               financial condition, borrowing base reports and related
               board presentations and correspondence, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial and in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (5.00)


08/21/13 DAB   Continue review of documents marked “further review” by        6.70
               document reviewers in connection with dispute with JSNs
               over extent, nature, and validity of the lien and in
               connection with Plan Confirmation as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (6.70)

08/21/13 SEP   Correspondence with E. Tobin, J. Berman, D. Bloom, and        11.80
               R. Abdelhamid of Morrison & Foerster regarding the
               appropriate issue coding of documents to be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40); review documents produced by
               Debtors in connection with same which pertain to the
               2012 asset sales, the AFI/GMAC Revolver, postpetition
               cash collateral, and the DOJ/AG settlement, and mark the
               documents by issue and document type tags (11.40)



08/21/13 MS8   Review documents produced by Debtors in the JSN               14.90
               adversary proceeding, focusing on Prod5 CON Batch 24,
               Re-review and fix issues in Documents 1-357, and mark
               the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.60); review documents re: same, focusing on Prod5
               CON Batch 24, Documents 357-500 (4.10); review Prod5
               CON Batch 24 Review documents in connection with
               same, focusing on Prod5 CON Batch 62, Documents
               1-349, and mark the documents by issue and
               document-type tags in connection with same (8.00);
               review Updated Document Review Protocol and
               corresponding exhibits in connection with same (1.10);
               correspond with J. Berman, E. Tobin and R. Abdelhamid
               of Morrison & Foerster re: review batches and solution of
               technical issues (.10)



08/21/13 MK    Review documents produced by Debtors in the JSN                6.60
               adversary proceeding, focusing on documents in
               20130811 PROD005 CON00025 with Joe Ruhlin as
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                  5825         Filed 03/03/14
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               custodian and 20130808PROD003 CON Batch00032,
               referencing document review protocol memorandum and
               other relevant documents as necessary, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (6.60)

08/21/13 GES   Review documents produced by Debtors in the JSN                7.60
               adversary proceeding, focusing on identifying and valuing
               collateral relevant to claims relating to transactions at
               issue, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (7.60)

08/21/13 VA    Attend portion of update meeting with T. Laurer, B. Doline,    0.70
               K. Behrouz, J. Ogilvie, and S. Tsikata to discuss progress
               made with the document review and to discuss any issues
               raised in connection with same relating to the JSN
               Adversary Proceeding and in connection with Plan
               Confirmation where Wells Fargo and noteholders UBS
               and Loomis are conflict parties (.70)


08/21/13 KB    Review first batch of documents produced by Debtors in         6.30
               the JSN adversary proceedings focusing on information
               relating to key custodians (documents 113-250) in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (5.10); attend Curtis London
               office discussion with T. Laurer, V. Atkinson, B. Doline, J.
               Ogilvie, and S. Tsikata regarding progress with issue
               tagging documents produced by Debtors in connection
               with same (1.20)

08/21/13 DG2   Conduct review of documents in connection with dispute         4.80
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (including review of LOC
               borrowing base reports) (4.80)

08/21/13 MB2   Review documents produced by Debtors in the JSN                7.00
               adversary proceeding, focusing on Bates ranges Prod003
               CON Batch 4, 432 - 500 and Prod7 CON 14, 1 - 200, and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (7.00)

08/21/13 HH    Continue review of documents in connection with                5.60
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                  5825         Filed 03/03/14
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               dispute with JSN's over lien value and purported
               entitlement to post-petition interests, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (5.60)


08/21/13 AVA   Continue to review background materials in order to           1.10
               prepare to review documents produced by Debtors in the
               JSN adversary proceeding in preparation for depositions
               and trial in the JSN adversary proceeding and in
               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (1.10)

08/21/13 KAM   Review documents produced by Debtors in the JSN               7.90
               adversary proceeding (RCUCCJSN10281589 to
               10283682 and RCUCCJSN10411842 to 10412307) and
               mark the documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (7.90)

08/21/13 RTH   Review documents produced by Debtors in the JSN               3.90
               adversary proceeding, focusing on RCUCCJSN10659113
               to RCUCCJSN10660185, and mark the documents by
               issue and document‐type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (3.90)


08/22/13 MB    Review documents in connection with dispute with JSN's        4.40
               over lien value and purported entitlement to post-petition
               interest in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis, focusing on
               2012 asset sales (4.30); review correspondence from R.
               Abdelhamid of Morrison & Foerster regarding review
               process in connection with same (.10)


08/22/13 RH1   Attend to review of JSN documents in Relativity database      5.90
               in light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis, tag correspondence and
               transaction documents by issue and document type in
               accordance with review protocol so as to identify key
               documents for potential use in adversary proceedings,
               including review of various correspondence and
               transaction materials related to Fortress purchase of
               UK/CE loan platform in 2010 (5.80); attend to
               correspondence with R. Abdelhamid of Morrison &
               Foerster re: suspension of JSN document review and
               tagging (.10)

08/22/13 JO    Review protocol and background documents in relation to       2.40
               the document discovery review of documents
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                  5825         Filed 03/03/14
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               produced by Debtors in the JSN adversary proceeding,
               focusing on batch number Prod6 CON 27, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (2.40)

08/22/13 EC    Review documents previously tagged for AFI LOC in                2.10
               order to generate relevant search terms for use in building
               deposition files for fact discovery in connection with Curtis’
               role as conflicts counsel, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (1.40); review
               documents produced by to the JSNs in the adversary
               proceeding that relate to analysis of prepetition financial
               condition and business reports and forecasts of
               Residential Capital by issue and document type in
               connection with same (.70)

08/22/13 MPJ   Analyze and issue tag documents relating to Residential          2.80
               Capital's use of electronic pool notifications, capital
               contributions to the BMMZ facility, and the use of TARP
               funds in order to prepare for upcoming depositions and
               trial in connection with Curtis' role as conflicts counsel in
               the dispute over the extent and value of the Junior
               Secured Noteholders' liens, as Wells Fargo, UBS, and
               Loomis are conflict parties (2.80)


08/22/13 BMK   Finish review of documents 1300-1500 produced by ad              6.70
               hoc group in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders UBS and Loomis are
               conflict parties for use in connection with 30(b)(6)
               deposition (3.10); review entire first batch of documents,
               1-120 produced by UMB Bank in connection with same
               (2.70); review case pleadings, orders, and relevant
               documents found in connection with same for 30(b)(6)
               deposition outline and questions of UMB and the ad hoc
               group relating to counterclaims and certain prepetition
               background to the bankruptcy filing and valuation (.90)



08/22/13 SRM   Continue reviewing and issue coding the documents                7.20
               produced by the Debtors, focusing on batch Prod 6 Con
               108 in connection with the dispute with the JSNs over lien
               value and entitlement to post-petition interest where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (7.20)

08/22/13 JTW   Continue review of Debtors' document production re: "hot"        3.20
               documents for use in preparing for depositions and trial in
               the JSN adversary proceeding and in connection with
               Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               with particular focus on
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                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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                documents from Feb. 2009 through and including April
                2009 (3.20)

08/22/13 SEP    Review documents produced by Debtors in the JSN               9.20
                adversary proceeding which pertain to the 2012 asset
                sales, the AFI/GMAC revolver, the DOJ/AG settlement,
                and the Debtors' prepetition financial condition and mark
                the documents by issue and document type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding and in connection
                with Plan Confirmation where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (9.10);
                correspondence with E. Tobin, J. Berman, D. Bloom, and
                R. Abdelhamid of Morrison & Foerster regarding the
                appropriate issue coding of documents to be used in
                preparation for same (.10)

08/22/13 MS8    Review documents produced by Debtors in the JSN               5.90
                adversary proceeding, focusing on Prod6 CON 56,
                Documents 1-47, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                certain members of Ad Hoc Group (4.70); review Updated
                Document Review Protocol and corresponding exhibits in
                connection with same (1.10); correspond with J. Berman,
                E. Tobin, and R. Abdelhamid of Morrison & Foerster re:
                review batches and solution of technical issues in
                connection with same (.10)



08/22/13 PJB2   Review of emails and underlying documents, including          7.90
                spreadsheets and draft contracts, in connection with the
                JSN adversary proceeding and the issue of the underlying
                collateral of the JSNs where Wells Fargo and noteholders
                Loomis and UBS are conflict parties (7.90)


08/22/13 MK     Review documents produced by Debtors in the JSN               9.20
                adversary proceeding, focusing on documents in
                20130808PROD003 CON Batch00032, referencing
                document review protocol memorandum and other
                relevant documents as necessary, and mark the
                documents by issue and document-type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (9.20)

08/22/13 GES    Review documents produced by Debtors in the JSN               6.20
                adversary proceeding, focusing on identifying and valuing
                collateral relevant to claims relating to transactions at
                issue, as well as legal rights and obligations with respect
                to same, and mark the
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               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (6.20)

08/22/13 VA    Review documents produced by the Debtors in the JSN            2.30
               adversary proceeding, focusing on finance related
               documents belonging to custodian Sue Bode, contained in
               batch PROD 006 CON 33, and mark the documents by
               issue and document type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (2.10);
               correspond with T. Laurer re: issues related to the
               document review in connection with same (.20)



08/22/13 KB    Review of first batch of documents produced by Debtors        10.60
               in the JSN adversary proceedings focusing on information
               relating to key custodians (documents 251-500) in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (8.10); review of second
               batch of documents produced by Debtors in the JSN
               adversary proceedings focusing on information relating to
               key custodians (documents 1-100) in connection with
               same (2.50)

08/22/13 MB2   Review documents produced by Debtors in the JSN                4.30
               adversary proceeding, focusing on Bates ranges Prod7
               CON 14, 200 - 501, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (4.30)

08/22/13 KAM   Review documents produced by Debtors in the JSN                2.70
               adversary proceeding (RCUCCJSN10412307 to
               10412438) and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.70)

08/22/13 RTH   Review documents produced by Debtors in the JSN                4.90
               adversary proceeding, focusing on RCUCCJSN10660186
               to RCUCCJSN10661441, and mark the documents by
               issue and document‐type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and
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                  5825         Filed 03/03/14
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               noteholders UBS and Loomis (4.90)

08/23/13 JO    Review documents produced by Debtors in the JSN                3.30
               adversary proceeding, focusing on batch number Prod6
               CON 27, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.30)

08/23/13 MPJ   Review and issue tag documents relating to the Debtors'        4.10
               use of TARP funds prior to the filing of bankruptcy in order
               to utilize such documents for deposition and trial
               preparation in connection with Curtis' representation as
               conflicts counsel regarding the dispute over the extent
               and value of the Junior Secured Noteholders' liens, as
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (1.10); conduct secondary review of documents
               tagged by prior document review team as "Hot" to verify
               content and relevance to deposition and trial preparations
               (3.00)

08/23/13 BMK   Review second batch of documents (1-170) produced by           5.00
               UMB Bank in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders UMB and Loomis are
               conflict parties in preparation for 30(b)(6) deposition of
               same (3.30); review relevant case pleadings re: same
               including sale documents, first day pleadings and
               motions, and cash collateral orders for including into
               30(b)(6) deposition outline and questions (1.70)


08/23/13 SRM   Continue reviewing and issue coding the documents in           7.00
               batch Prod 6 Con 108 in connection with the dispute with
               the JSNs over lien value and entitlement to post-petition
               interest where Wells Fargo and noteholders Loomis and
               UBS are conflict parties (7.00)

08/23/13 DAB   Review documents for R. Abdelhamid of Morrison &               4.10
               Foerster in connection with H5 review of Debtors'
               production in connection with JSN litigation in which Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.60); correspond with J. Weber in connection with
               same (.20); draft email summarizing analysis of same
               (.30); review JSN custodian list per Carpenter Lipps email
               in connection with same (.40); review transactional
               documents per R. Abdelhamid email in connection with
               same (1.00); further review of "Hot" documents per E.
               Tobin request (1.60)

08/23/13 MK    Review documents produced by Debtors in the JSN                4.20
               adversary proceeding, focusing on documents in
               20130808PROD003 CON Batch00032, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in
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               connection with Plan Confirmation, in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (4.20)

08/23/13 GES   Review documents produced by Debtors in the JSN               6.90
               adversary proceeding, focusing on identifying and valuing
               collateral relevant to claims relating to transactions at
               issue, as well as legal rights and obligations with respect
               to same, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (6.90)


08/23/13 KB    Review of second batch of documents produced by               7.70
               Debtors in the JSN adversary proceedings focusing on
               information relating to key custodians (documents
               101-244) in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis (7.70)

08/23/13 DG2   Conduct review of documents in connection with dispute        7.10
               with JSNs over, among other things, lien value and
               purported entitlement to post-petition interest in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (including review of various
               borrowing base reports) (7.10)

08/23/13 MB2   Review documents produced by Debtors in the JSN               0.40
               adversary proceeding, focusing on Bates ranges Prod7
               CON 14, 502 - 546, and mark the documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.40)

08/23/13 AVA   Continue to review background materials in order to           3.50
               prepare to review documents produced by Debtors in the
               JSN adversary proceeding, including documents
               produced for custodian Sue Bode, in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (3.50)

08/23/13 KAM   Review documents produced by Debtors in the JSN               5.20
               adversary proceeding (RCUCCJSN10412438 to
               10413975) and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (5.20)

08/23/13 RTH   Review documents produced by Debtors in the JSN               3.40
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                        Filed 11/18/13   EnteredEntered 03/03/14
                                                  11/18/13       22:56:28
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               adversary proceeding, focusing on RCUCCJSN10661442
               to RCUCCJSN10662574, and mark the documents by
               issue and document‐type tags so documents can be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (3.40)


08/24/13 EC    Review documents relating primarily to prospective sale of    2.60
               Debtors' business prepetition and related topics, including
               second level review of documents relating to AFI LOC
               incurrence of indebtedness, and marking documents for
               use in connection with upcoming depositions in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (2.60)

08/24/13 MPJ   Review, analyze, and categorize documents identified as       2.70
               especially relevant by the original document review team
               in order to use said documents to prepare for upcoming
               depositions and trial in connection with Curtis'
               representation as conflicts counsel in the dispute with the
               Junior Secured Noteholders regarding the extent and
               value of the JSNs' liens where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.70)


08/24/13 MK    Review documents produced by Debtors in the JSN               3.80
               adversary proceeding, focusing on documents in
               20130808PROD003 CON Batch00032, referencing
               document review protocol memorandum and other
               relevant documents as necessary, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (3.80)

08/24/13 KB    Review of second batch of documents produced by               4.20
               Debtors in the JSN adversary proceedings focusing on
               information relating to key custodians (documents
               245-500) in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis (4.20)

08/24/13 AVA   Continue to review background materials in order to           1.20
               prepare to review documents produced by Debtors in the
               JSN adversary proceeding, including documents
               produced for custodian Sue Bode, in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.20)

08/25/13 JO    Review documents produced by Debtors in the JSN               2.10
               adversary proceeding, focusing on batch number Prod6
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
                                                  11/18/13       22:56:28
                                                           16:21:23          Exhibit
                                                                     Main Document
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               CON 27, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.10)

08/25/13 HS2   Review documents produced by Debtors in the JSN                0.70
               adversary proceedings, focusing on, among other things,
               debtor financial statements in 2012 prior to filing of
               petition, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.70)

08/25/13 EC    Second level review of documents relating to AFI LOC           3.10
               indebtedness in order to assist preparation of depositions
               on collateral release issues in connection with Curtis’ role
               as conflicts counsel, as Wells Fargo and noteholders
               UMB and Loomis are conflict parties (2.60); review
               Examiner's Report and other synopsis documents with
               additional information informing document review in
               connection with AFI LOC (.50)

08/25/13 MPJ   Review and categorize correspondence relating to the AFI       1.00
               LOC in order to use said correspondence in preparation
               for upcoming depositions and trial in connection with
               Curtis' representation as conflicts counsel in the dispute
               with the Junior Secured Noteholders regarding the extent
               and value of the noteholders' liens, as Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.00)


08/25/13 MK    Review documents produced by Debtors in the JSN                3.60
               adversary proceeding, focusing on documents in
               20130808PROD003 CON Batch00032, and mark the
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and certain members of Ad Hoc
               Group (3.60)

08/26/13 MB    Review documents in connection with dispute with JSN's         5.20
               over lien value and purported entitlement to post-petition
               interest in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis, focusing on
               AFI/GMAC senior revolver and BMMZ documents (5.10);
               review correspondence from E. Tobin concerning
               discovery review status in connection with same (.10)


08/26/13 DS    Review of documents produced by Debtors in JSN                 2.70
               adversary proceeding focusing on Bates ranges
               RCUCCJSN10014625-869, and mark the documents
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
                                                  11/18/13       22:56:28
                                                           16:21:23          Exhibit
                                                                     Main Document
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               by issue and document-type tags in order that documents
               may be used in preparation for upcoming deposition and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (2.70)

08/26/13 JO    Review documents produced by Debtors in the JSN                4.30
               adversary proceeding, focusing on batch number Prod6
               CON 27, and mark the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (4.30)

08/26/13 MPJ   Review and issue code documents relating to the BMMZ           5.10
               facility, Residential Capital's potential IPO in 2011, and
               Residential Capital's 2011 Business Plan in order to
               prepare for upcoming depositions and trial in connection
               with Curtis' role as conflicts counsel in the dispute
               regarding the extent and value of the Junior Secured
               Noteholders' liens on the Debtors' assets, as Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (4.70); conduct secondary level review of documents
               identified as particularly relevant in connection with same
               (.40)

08/26/13 SRM   Continue reviewing documents produced in connection            4.00
               with the dispute with the JSNs over lien value and
               entitlement to post-petition interest, and finish issue
               coding batch Prod 6 Con 108 in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (4.00)

08/26/13 DAB   Further review of "hot" documents in Debtors' production       2.80
               in connection with JSN litigation in which Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.40);
               correspond with J. Weber re: open issues with respect to
               certain "hot" documents in connection with same (.40)


08/26/13 SEP   Review documents produced by Debtors in the JSN                5.20
               adversary proceeding which pertain to the GMAC
               revolver, GNMA, the 2012 asset sales, the DOJ/AG
               settlement, and the Debtors' prepetition financial condition
               and mark the documents by issue and document type
               tags so documents can be used in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation where Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (5.20)

08/26/13 MS8   Review documents produced by Debtors in the JSN                6.10
               adversary proceeding, focusing on Prod6 CON 56,
               Documents 47-102, and mark the documents by issue
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
                                                  11/18/13       22:56:28
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                                                                     Main Document
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                and document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (5.50); review Updated
                Document Review Protocol and corresponding exhibits in
                preparation for reviewing the documents produced in
                connection with same (.50); correspond with J. Berman,
                E. Tobin, and R. Abdelhamid of Morrison & Foerster re:
                review batches (.10)


08/26/13 PJB2   Continue review of emails and underlying documents in         6.80
                connection with the JSN adversary proceeding
                commenced by the Debtors where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (6.80)

08/26/13 MK     Review documents produced by Debtors in the JSN               5.10
                adversary proceeding, focusing on documents in
                20130808PROD003 CON Batch00032, referencing
                document review protocol memorandum and other
                relevant documents as necessary, and mark the
                documents by issue and document-type tags so
                documents can be used in preparation for depositions and
                trial in the JSN adversary proceeding and in connection
                with Plan Confirmation, in light of involvement of conflict
                parties Wells Fargo and noteholders UBS and Loomis
                (5.10)

08/26/13 GES    Review documents produced by Debtors in the JSN               4.60
                adversary proceeding, focusing on identifying and valuing
                collateral relevant to claims relating to transactions at
                issue, as well as legal rights and obligations with respect
                to same, and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (4.60)


08/26/13 KAM    Review documents produced by Debtors in the JSN               2.00
                adversary proceeding (RCUCCJSN10413975 to
                10414583) and mark the documents by issue and
                document-type tags so documents can be used in
                preparation for depositions and trial in the JSN adversary
                proceeding and in connection with Plan Confirmation, in
                light of involvement of conflict parties Wells Fargo and
                noteholders UBS and Loomis (2.00)

08/27/13 MB     Correspond internally with E. Tobin concerning status of      0.10
                document review in connection with Consolidated JSN
                Adversary Proceeding where Wells Fargo and
                noteholders Loomis and UBS are conflict parties (.10)

08/27/13 JO     Review correspondence regarding review of documents           0.30
                produced by Debtors in the JSN adversary
   12-12020-mgDocDoc
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                  5825         Filed 03/03/14
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               proceeding and mark of the documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.30)

08/27/13 MPJ   Review and analyze documents previously identified by             3.60
               the Curtis review team as "hot" and categorize such
               documents for use in upcoming depositions and trial in
               connection with Curtis' representation as conflicts counsel
               in the dispute regarding the extent and value of the Junior
               Secured Noteholders' liens, as Wells Fargo, UBS, and
               Loomis are conflict parties (3.60)

08/28/13 DAB   Further review of "Hot" documents in connection with JSN          4.70
               litigation where Wells Fargo and noteholders Loomis and
               UBS are conflict parties (4.30); correspond with J. Weber
               re: open issues in connection with same (.40)


08/29/13 DAB   Additional review of "Hot" documents from Debtors'                5.50
               production in JSN litigation in where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (5.50)

08/30/13 DAB   Additional review of "Hot" documents from Debtors'                5.30
               production in JSN litigation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (5.00);
               correspond with E. Tobin re: H5 review process in
               connection with same (.30)

                                          TOTAL HOURS                        1,894.80
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       Summary of Services
                                          Title           Hours     Rate     Amount
       Myles K. Bartley                 Counsel            49.90     635     31,686.50
       Hum, Raymond T                   Counsel            29.60     635     18,796.00
       Dora Straus                      Associate          31.50     600     18,900.00
       Douglas Glazer                   Associate          79.60     600     47,760.00
       James V. Drew                    Associate          33.10     590     19,529.00
       Ryan Hansen                      Associate          44.90     560     25,144.00
       Susan E. Park                    Associate         140.50     520     73,060.00
       George E. Spencer                Associate          85.40     520     44,408.00
       Daniel A. Bloom                  Associate          99.90     480     47,952.00
       Maria Stookey                    Associate         185.30     480     88,944.00
       Peter Josef Buenger              Associate          61.70     425     26,222.50
       Heather Hiznay                   Associate          47.30     395     18,683.50
       Kevin Arthur Meehan              Associate          55.20     375     20,700.00
       Martin Brown                     Associate          69.10     345     23,839.50
       Holly Sawyer                     Associate          48.20     305     14,701.00
       Edward Combs                     Associate         115.70     305     35,288.50
       Michael P. Jones                 Associate         100.30     305     30,591.50
       Bryan M. Kotliar                 Associate          98.70     305     30,103.50
       Stephanie R. Morris              Associate         114.80     305     35,014.00
       John Thomas Weber                Associate          75.50     305     23,027.50
       Paisley Kadison                  Associate          61.90     305     18,879.50
       Jamie Ogilvie                    Associate          39.10     300     11,730.00
       Ada Victoria Anon                Associate          37.50     300     11,250.00
       Michael Katoski                  Associate         101.50     290     29,435.00
       Victoria Atkinson                Legal Assistant    30.30     285      8,635.50
       Karl Behrouz                     Legal Assistant    58.30     285     16,615.50

                                                          1,894.8          $770,896.50

                                            TOTAL SERVICES                               $770,896.50

       Summary of Expenses
         External Photocopy Services                            49.40

         Intercall Audio Conferencing                         229.02

                                            TOTAL EXPENSES                                 $278.42
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                            Exhibit I-12  Pg 259 of
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                                    TOTAL THIS INVOICE                     $771,174.92
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                                  Exhibit I-12  Pg 260 of
                                           Pg 377 of 474  357



                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                  November 14, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                          Inv. # 1592013
Fort Washington PA 19034
                                                                                          Our Ref. 062108-000400
                                                                                          SJR
Attention:   Residential Capital, LLC
Re: General Litigation Matters




      08/01/13 MG8        Review and further revise memorandum prepared by P.           1.60
                          Buenger regarding issues raised by conflict party PNC
                          Bank with respect to the Kessler Settlement involving the
                          bar order, releases, and judgment credit (.70); confer with
                          P. Buenger throughout the day regarding the same (.30);
                          review M. Cohen suggestions to memo regarding PNC
                          Bank issues with Kessler settlement and correspond with
                          P. Buenger regarding same (.20); draft correspondence to
                          J. Wishnew and N. Rosenbaum of Morrison & Foerster as
                          well as M. Biggers and L. Marshall of Bryan Cave
                          regarding research on bar order, releases, and judgment
                          credit issues raised by PNC Bank in connection with
                          Kessler class action settlement (.40)



      08/01/13 PJB2       Correspondence with M. Gallagher re: Debtors' Motion to       9.80
                          Approve settlement agreement between RFC and the
                          Kessler Class Claimants in connection with non-mutual
                          bar order in favor of debtor RFC against conflict party
                          PNC Bank (.10); review Kessler Settlement Agreement
                          and provisions in connection with same as filed with the
                          Court (1.20); review Debtors' Motion to Approve Kessler
                          Settlement Agreement and multiple declarations and
                          exhibits in support of same (1.80); research re: effect of
                          whether judgment credit provided to non-settling
                          defendants in a settlement agreement between settling
                          defendants and plaintiffs can be based upon settlement
                          amount as recovered against settling defendants in their
                          bankruptcy cases (2.40); research whether a judgment
                          credit is required to non-settling defendants if settlement
                          agreement provides for a nonmutual bar in favor of the
                          settling defendants against potential contribution claims
                          (1.70); update research email memorandum re: judgment
                          credits and nonmutual vs. mutual bar orders (.60);
                          follow-up correspondence with M. Gallagher and M.
                          Cohen re: same (.10); revise memorandum re: same
                          pursuant to comments from M. Cohen and convert into
                          memorandum for providing to Morrison & Foerster (1.20);
                          discussions with M. Gallagher throughout the day re:
                          same (.30); further revisions to same and provide to M.
                          Gallagher and M.
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                Cohen (.40)

08/02/13 MAC    Review research provided by P. Buenger in connection            1.80
                with Bar Order and judgment credit issues raised in the
                context of conflict party PNC Bank's objection to the
                Kessler settlement and case law in connection with same
                (1.80)

08/02/13 PJB2   Research in connection with conflict party PNC Bank's           6.60
                objection to current non-mutual bar order in favor of
                Debtor RFC re: under proportionate share method of
                determining judgment credit provided within a settlement
                to a non-settling defendant based upon the settlement
                amount as indicated within such agreement or the amount
                actually recovered or paid to plaintiffs (3.70);
                correspondence with J. Walsh re: impact of potential bar
                order in favor of RFC in proposed settlement agreement
                on Debtors' objection to PNC claim (.30); correspondence
                with M. Biggers of Bryan Cave re: research memorandum
                on judgment credits and mutuality of releases (.20);
                research re: case law in which non-mutual bar order was
                provided against nonsettling defendants in which
                non-settling defendants did not have the right of
                contribution and/or indemnification under statutory or
                contractual law against settling defendants (2.40)



08/04/13 PJB2   Correspondence with J. Walsh re: research on mutual vs.         6.10
                nonmutual release orders within a settlement agreement
                in connection with objections by conflict party PNC Bank
                to proposed settlement agreement between debtor RFC
                and Kessler class action plaintiffs (.20); research in
                connection with same re: state or federal level cases in
                which a court has denied a non-mutual release, injunction
                or bar order (3.80); research same for denial of same
                (2.00); follow-up correspondence with J. Walsh re: same
                (.10)

08/05/13 JJW    Conference with M. Gallagher M. Cohen, and P. Buenger           1.40
                re: conflict party PNC Bank objection to settlement with
                Kessler class and settlement bar order (.50); review and
                comment on draft objection (.40); participate in call with N.
                Rosenbaum of Morrison & Foerster, and M. Biggers, E.
                Dill of Bryan Cave, and M. Gallagher to discuss strategy
                for addressing issues raised by PNC Bank in connection
                with bar order and release provisions for Kessler
                Settlement (.50)

08/05/13 MG8    Review updated research regarding contribution and              1.30
                indemnity issues with respect to conflict party PNC Bank
                proposed bar order, release and judgment reduction
                language for Kessler settlement order (.20); meet with M.
                Cohen, J. Walsh, and P. Buenger to discuss bar order
                and release issues raised by PNC Bank in connection
                with Kessler settlement (.50); teleconference with J.
                Wishnew of Morrison & Foerster
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                regarding same (.10); participate in call with N.
                Rosenbaum of Morrison & Foerster, and M. Biggers, and
                E. Dill of Bryan Cave, and J. Walsh to discuss strategy for
                addressing issues raised by PNC Bank in connection with
                bar order and release provisions for Kessler Settlement
                (.50)

08/05/13 MAC    Conference with M. Gallagher J. Walsh, and P. Buenger         0.50
                re: conflict party PNC Bank objection to Kessler
                settlement and related issues (.50)

08/05/13 PJB2   Multiple correspondence with J. Walsh, M. Gallagher and       1.70
                M. Cohen re: settlement bar and judgment credit as
                drafted in current proposed settlement agreement
                between RFC and Kessler class claimants and objections
                raised by conflict party PNC Bank (.20); meet with J.
                Walsh, M. Cohen and M. Gallagher to discuss same and
                next steps (.50); review of underlying Kessler class action
                litigation documents in connection with same and named
                defendants within same in order to determine whether
                such co-defendants of the debtors have filed claims within
                the chapter 11 cases for potential indemnification or
                contribution claims (1.00)



08/14/13 MG8    Review conflict party PNC Bank Limited Objection to           2.00
                Kessler Class Action Settlement (.50); correspondence
                with P. Buenger regarding the same (.20); corresponence
                with J. Walsh regarding potential reply to PNC Bank
                Objection to Kessler Class Action Settlement (.30); attend
                to multiple correspondence with J. Wishnew and N.
                Rosenbaum of Morrison & Foerster regarding PNC Bank
                Objection to Kessler Class Action Settlement (.50); review
                Debtors' motion seeking approval of Kessler Class Action
                Settlement in preparation for responding to PNC Bank
                Objection (.50)

08/14/13 PJB2   Correspondence with M. Gallagher re: conflict party PNC       0.60
                Bank's objection to the Debtors' motion to settle the
                Kessler Class action lawsuit (.20); review of same (.40)


08/14/13 FRG    Assemble cases cited by conflict party PNC Bank in their      1.60
                Limited Objection to Kessler Settlement and submit same
                to M. Gallagher for review (1.60)

08/15/13 JJW    Conference with M. Gallagher re: adjournment of hearing       2.80
                on conflict party PNC Bank's objection to Kessler class
                action settlement (.50); conference with M. Gallagher and
                counsel for the Kessler Plantiffs re: adjournment (.50);
                review and comment on Notice of Adjournment (.30);
                conference with M. Biggers of Bryan Cave and M.
                Gallagher re: PNC Bank's objection to Kessler class
                settlement (.50); review cases on RICO, TELA and other
                statutory claims in Kessler class action in connection with
                PNC Bank's objection to Kessler class settlement (1.00)
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                  5825         Filed 03/03/14
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08/15/13 MG8    Telephone conference with J. Wishnew of Morrison &            6.60
                Foerster regarding conflict party PNC Bank Objection to
                Kessler Class Action Settlement (.20); attend to
                correspondence with J. Walsh regarding handling PNC
                Bank objection to Kessler Class Action (.20); draft
                correspondence to Committee counsel and Plaintiff's
                counsel regarding approach for addressing PNC Bank
                objection to Kessler Class Action (.30); telephone
                conference with D. Mannal of Kramer Levin regarding the
                same (.20); telephone conference with M. Biggers of
                Bryan Cave and J. Walsh regarding PNC Bank objection
                to Kessler Class Action Settlement (.50); telephone
                conference with J. Walsh and counsel to Kessler Class
                action plaintiffs regarding PNC Bank Objection to Class
                Action Settlement (.50); telephone conference with J.
                Wishnew of Morrison & Foerster to follow up on PNC
                Objection to Kessler Class Action settlement (.20);
                telephone conference with V. Marriott, counsel to PNC, a
                conflict party, regarding proposed continuance of PNC
                Bank objection to final hearing (.20); numerous follow-up
                correspondence with J. Walsh regarding same (.40);
                correspond with V. Chopra, insurance counsel at Perking
                Coie, with respect to issues related to PNC Bank
                Objection to Kessler Class Action Settlement, and related
                follow-up correspondence with J. Walsh regarding same
                (.40); follow-up telephone conference with D. Mannal of
                Kramer Levin regarding discussions with various parties
                regarding PNC Bank objection (.20); numerous
                conferences throughout the day with P. Buenger
                regarding draft reply to PNC Bank Objection to Kessler
                Class Action Settlement (.50); review and revise draft
                reply to PNC Bank Objection to Settlement Motion (2.10);
                attend to follow-up correspondence from M. Biggers of
                Bryan Cave in connection with same (.30); attend to
                follow-up correspondence with V. Chopra of Perkins Coie
                regarding insurance implications to PNC Bank Objection
                (.20); attend to correspondence with B. Buenger regarding
                draft reply to PNC Bank Objection (.20)




08/15/13 PJB2   Draft Debtors' reply to limited objection of conflict party   3.60
                PNC Bank, N.A. to the Joint Motion of the Debtors and
                Kessler class action claimants to approve the settlement
                agreement and related relief (3.10); multiple discussions
                throughout the day with M. Gallagher re: same (.50)


08/16/13 JJW    Review and comment on Notice of Adjournment, including        2.40
                reservation of rights language in connection with conflict
                party PNC Bank objection to Kessler settlement (.50);
                correspondence with counsel for PNC Bank regarding
                notice (.50); conference with M. Gallagher re: PNC Bank's
                objection and hearing on preliminary approval of Kessler
                settlement (.50);
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                correspond with counsel for Kessler Plaintiffs and D.
                Mannal counsel for Creditors' Committee of Kramer Levin
                regarding adjournment (.50); review PNC Bank objection
                in connection with request for adjournment (.40)


08/16/13 MG8    Further review and revise draft reply to conflict party PNC    2.10
                Bank Objection to Settlement with Kessler Class Plaintiffs
                (.80); attend to correspondence with J. Walsh regarding
                draft reply and action plan for the day in addressing
                objections (.20); correspond with C. Cu at KCC regarding
                service for reply to PNC Bank Objection to Kessler Class
                Settlement (.20); review affidavit of service for Motion to
                Approve Settlement with Kessler Class Plaintiffs (.20);
                follow-up correspondence with P. Buenger regarding the
                same (.10); correspond with J. Walsh regarding PNC
                Bank agreement to adjourn PNC Bank Objection to Bar
                Order in Settlement with Kessler Class Plaintiffs and
                related follow-up with Bryan Cave and Class Plaintiffs'
                counsel (.30); review and comment on draft notice of
                adjournment and follow-up correspondence with J. Walsh
                and P. Buenger regarding the same (.30)



08/16/13 PJB2   Draft notice of adjournment of limited objection of conflict   1.30
                party PNC Bank, N.A. to the Joint Motion of the Debtors
                and Kessler class action claimants to approve the
                settlement agreement and related relief (.80); multiple
                correspondence throughout the day with M. Gallagher re:
                same (.30); correspondence with J. Walsh re: same (.20)


08/17/13 MG8    Attend to correspondence with M. Biggers of Bryan Cave         0.50
                regarding Perkins Coie review of conflict party PNC Bank
                Objection to class action settlement (.10); attend to
                correspondence from B. Carlson and F. Walters, counsel
                to Kessler plaintiffs, regarding plaintiffs' review of
                proposed notice of adjournment of PNC Bank objection to
                Kessler Class Action settlement (.20); attend to
                correspondence with D. Mannal of Kramer Levin
                regarding the same (.20)

08/19/13 TF1    Review Objection to Kessler Class Action Settlement by         0.40
                conflict party PNC Bank (.40)

08/19/13 JJW    Conference with counsel for conflict party PNC Bank re:        1.70
                adjournment of limited objection to Kessler settlement
                (.40); conference with M. Gallagher re: notice of
                adjournment re: same (.20); prepare for hearing on
                preliminary approval of Kessler settlement, including
                review of motion, class notice, and related documents
                (1.10)

08/19/13 MG8    Correspond with J. Walsh regarding timing of conflict          2.10
                party PNC Bank comments on reservation of rights
                regarding objection to Kessler Class Settement (.20);
                telephone conference with V. Chopra of Perkins Coie
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               regarding issues raised to insurance provisions of
               Settlement Agreement by PNC Bank objection and
               problem with respect to PNC Bank's request for a mutual
               bar order (.20); attend to follow-up correspondence with
               V. Chopra with respect to same (.10); telephone
               conference with J. Walsh regarding V. Chopra comments
               with respect to PNC Bank objection to Kessler Class
               Settlement (.20); review proposed comments to
               reservation of/from V. Marriott, counsel to PNC Bank and
               confer with J. Walsh regarding same and additional
               Debtors' reservation of rights (.30); correspond with
               counsel to Kessler plaintiffs regarding changes to Notice
               of Adjournment and Reservation of Rights of PNC Bank
               with respect to the objection to the proposed bar order to
               be included in the Final Order for the Kessler Class Action
               Settlement (.20); telephone conference with J. Wishnew
               of Morrison & Foerster regarding same (.10); supervise
               finalization and filing of Notice of Adjournment and
               Reservations of Rights with respect to PNC Objection to
               Kessler Class Action Settlement, and follow-up with P.
               Buenger regarding the same (.40); correspond with C. Cu
               of KCC regarding additional service parties (.10);
               correspond with J. Walsh regarding August 21 hearing on
               Kessler Class Action settlement and related follow-up with
               F. Guenthner with respect to preparation of materials (.30)



08/19/13 FRG   Assist P. Buenger with filing of Notice of Adjournment of      0.30
               conflict party PNC Bank limited objection in connection
               with objection to Kessler settlement (.30)

08/20/13 JJW   Conference with J. Wishnew, and N. Rosenbaum of                2.30
               Morrison & Foerster, as well as W. Thompson and M.
               Biggers of Bryan Cave and M. Gallagher regarding
               hearing on preliminary approval of Kessler settlement and
               conflict party PNC Bank Objection (.80); prepare for
               hearing, including review of motion for preliminary
               approval and related documents (1.20); correspondence
               with M. Gallagher re: same (.30)

08/20/13 MG8   Attend to review of proposed preliminary order and             2.00
               proposed notice to Class in connection with the Debtors'
               proposed Settlement with the Kessler Class plaintiffs, in
               preparation for hearing on preliminary approval of the
               Settlement in connection with conflict party PNC Bank
               objection to same (.80); participate in call with J. Wishnew
               and N. Rosenbaum of Morrison & Foerster, E. Frejka of
               Kramer Levin, as well as W. Thompson and M. Biggers of
               Bryan Cave, and J. Walsh and counsel to plaintiffs in
               order to prepare for hearing on preliminary approval of
               settlement (.80); attend to follow-up correspondence with
               the same people regarding revisions to the proposed
               preliminary order (.20); correspondence with F. Guenthner
               regarding materials for the hearing on preliminary
               approval of the class action Settlement (.20)
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08/20/13 FRG   Prepare chambers copies of Notice of Adjournment, along     3.40
               with cover letter and accompanying disc, and send out
               upon receiving sign-off from M. Gallagher (.50); prepare
               materials re: Kessler class action settlement in
               preparation for August 21 hearing and submit to M.
               Gallagher for distribution (2.90)

08/21/13 TF1   Correspondence with J. Walsh on issue regarding Kessler     0.30
               Class Action settlement and objection raised by conflict
               party PNC Bank and resolution for same (.30)

08/21/13 JJW   Prepare for hearing on preliminary approval of Kessler      6.50
               settlement, including review of motion papers, conflict
               party PNC objection and settlement documents (.50);
               correspond with M. Gallagher and counsel for Kessler
               plaintiffs re: same (.20); attend court hearing on
               preliminary approval of Kessler settlement and notice to
               class (2.00); conference with J. Wishnew and N.
               Rosenbaum of Morrison & Foerster, E. Frejka of Kramer
               Levin, W. Thompson and M. Biggers of Bryan Cave, and
               M. Gallagher regarding revisions to notice to class and
               settlement agreement regarding bar order and judgment
               credit (2.30); conference with V. Chopra of Perkins Coie,
               insurance counsel, M. Gallagher, N. Rosenbaum of
               Morrison & Foerster, as well as B. Thompson and M.
               Biggers of Bryan Cave regarding bar order and judgment
               credit (.80); review and comment on revised notice to
               class and amended settlement agreement (.30); review
               research on bar orders and judgment credits (.40)



08/21/13 MG8   Attend preliminary hearing on Kessler Class Settlement      7.40
               (.30); meet in court conference room with J. Wishnew and
               N. Rosenbaum of Morrison & Foerster, E. Frejka of
               Kramer Levin, as well as W. Thompson and M. Biggers of
               Bryan Cave, in an effort to address concerns raised by
               court with respect to notice to class members regarding
               judgment reduction (2.30); participate in conference call
               with V. Chopra of Perkins Coie, J. Walsh, N. Rosenbaum
               of Morrison & Foerster, as well as B. Thompson and M.
               Biggers of Bryan Cave regarding insurance related issues
               implicated by a mutual bar order and strategy for going
               forward on issues related to bar order (.80); review
               memorandum prepared by Curtis addressing bar orders
               and judgment reduction provisions and cases cited therein
               (.60); participate in numerous conference calls with the
               same group of attorneys for the Committee, the Debtors,
               and the Kessler Class Members to review proposed
               language to Kessler Settlement Agreement, Notice to
               Class Members and Proposed Final Approval Order to
               address concerns raised by court and related issues
               raised by Class Members counsel (2.50); review final
               agreed to drafts of the revised settlement agreement,
               notice and proposed final order (.40); review filed
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               versions of revised Settlement Agreement with Kessler
               Class Members, proposed Final Approval Order, and
               Notice to Class (.30): attend to correspondence with M.
               Biggers of Bryan Cave regarding adjournment of PNC
               Bank Objection to Kessler Settlement (.20)

08/21/13 MAC   Prepare for and attend hearing on approval of the               4.40
               Disclosure Statement (1.90); review solicitation
               procedures for potential impact on various conflict
               matters, including the impact on Kessler Settlement as it
               implicates claims of conflict party PNC Bank (2.50)

08/21/13 AVA   Research judgment credit methodology applicable to              7.80
               settlement of RICO, RESPA, TILA, and HOEPA claims in
               connection with objection of PNC Bank to Joint Motion for
               approval of Kessler Class Settlement, addressed at
               August 21, 2013 hearing before Judge Glenn (7.60);
               correspond with P. Buenger regarding objection of PNC
               Bank to Joint Motion for approval of Kessler Class
               Settlement (.20)

08/22/13 JJW   Conference with counsel to the Kessler Class Plaintiffs, E.     3.60
               Frejka of Kramer Levin, B. Thompson of Bryan Cave, N.
               Rosenbaum of Morrison & Foerster, and M. Gallagher re:
               revised notice to class and hearing on preliminary
               approval (.60); attend and argue in support of preliminary
               approval of Kessler settlement and notice to class (1.50);
               conference with counsel for Creditors' Committee, counsel
               for Kessler plaintiffs and others re: preliminary approval
               order (.50); review objection to conflict party PNC Bank's
               proof of claim and related case law in connection with
               preliminary approval order (.40); correspondence with A.
               Anon re: same (.30); conference with PNC Bank counsel
               re: objection to Kessler class settlement (.30)



08/22/13 MG8   Review case law on judgment reduction and bar orders            4.30
               against non-settling defendants (.80); participate in call
               with counsel to the Kessler Class Plaintiffs, E. Frejka of
               Kramer Levin, B. Thompson of Bryan Cave, N.
               Rosenbaum of Morrison & Foerster, as well as J. Walsh to
               discuss the Gerber case with respect to judgment
               reduction and other related decisions (.60); correspond
               with J. Walsh on strategy for hearing on preliminary
               approval of Kessler Class Settlement (.30); confer with S.
               Shindler-Williams and J. Walsh regarding PNC Bank
               position with respect to revised exhibits to Motion to
               Approve settlement with Kessler Class Members (.30);
               confer with counsel to Kessler Class Plaintiffs, N.
               Rosenaum of Morrison & Foerster and M. Biggers of
               Bryan Cave in connection with approach to hearing (.40);
               attend hearing on preliminary approval of Kessler Class
               Settlement (.50); follow-up research on judgment
               reduction in light of comments made at preliminary
               hearing (1.20); review revised draft of preliminary order for
               Kessler Class
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                Settlement (.20)

08/23/13 MG8    Correspond with J. Walsh on Eichenholz case mentioned              0.80
                by counsel to conflict party PNC Bank at preliminary
                hearing on Kessler Class Settlement (.20); review order
                entered preliminarily approving Kessler Class Settlement
                (.30); correspond with J. Walsh regarding order (.10);
                correspond with counsel to PNC Bank regarding order
                preliminarily approving Kessler Class Settlement (.20)


                                          TOTAL HOURS                            101.60



       Summary of Services
                                          Title              Hours     Rate          Amount
       Jonathan J. Walsh                Partner               20.70        740      15,318.00
       Theresa A. Foudy                 Partner                 0.70       730            511.00
       Michael Ari Cohen                Partner                 6.70       730       4,891.00
       Maryann Gallagher                Counsel               30.70        625      19,187.50
       Peter Josef Buenger              Associate             29.70        425      12,622.50
       Ada Victoria Anon                Associate               7.80       300       2,340.00
       Franklin R. Guenthner            Legal Assistant         5.30       235       1,245.50

                                                             101.60                $56,115.50

                                            TOTAL SERVICES                                          $56,115.50

       Summary of Expenses
         External Photocopy Services                              276.60

         Intercall Audio Conferencing                              87.91

         Pacer - ECF                                              250.00

                                            TOTAL EXPENSES                                            $614.51




                                            TOTAL THIS INVOICE                                     $56,730.01
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                   November 14, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                           Inv. # 1592014
Fort Washington PA 19034
                                                                                           Our Ref. 062108-000410
                                                                                           SJR
Attention:   Residential Capital, LLC
Re: Adversary Proceedings and Contested Matters




      08/01/13 SJR        Review of JSNs' Opposition to Motion to Dismiss                2.20
                          Counterclaims and related e-mail correspondence re:
                          same in connection with Consolidated JSN Adversary
                          Proceeding where Wells Fargo and noteholders Loomis
                          and UBS are conflict parties (2.20)

      08/01/13 TF1        Exchange correspondence with client, Committee                 2.50
                          counsel, and Morrison & Foerster on issuing subpoenas
                          for trading records (.30); conference call with J. Morris of
                          Pachulski on same (.20) Finish review of supplemental
                          statement by JSNs objecting to FGIC settlement for
                          impact on JSN Adversary Proceeding where Wells Fargo
                          and noteholders Loomis and UBS are conflict parties
                          (.40); begin review of JSNs' opposition to motion to
                          dismiss counterclaims (.40); review new draft of memo on
                          Wells Fargo production and draft emails forwarding same
                          to Morrison & Foerster and Committee counsel (.50);
                          exchange emails with Morrison & Foerster and Committee
                          re: coordination of document review (.30); participate in
                          pre-call on OID discovery requests with Morrison &
                          Foerster and Committee (.40)



      08/01/13 EC         Meet with M. Jones to discuss interpretation of the JSN        0.60
                          Indenture's collateral release provision in connection with
                          Consolidated JSN Adversary Proceeding where Wells
                          Fargo and noteholders Loomis and UBS are conflict
                          parties (.20); draft memorandum section relating to JSNs'
                          potential ratification of Wells Fargo releases by failure to
                          object (.40)

      08/01/13 MPJ        Review and revise memorandum regarding whether the             3.20
                          release of the Junior Secured Noteholders' liens in
                          connection with the AFI-LOC was consistent with the
                          Junior Secured Notes Indenture in connection with Curtis'
                          representation as conflicts counsel, as Wells Fargo and
                          noteholders UBS and Loomis are conflict parties (3.00);
                          meet with E. Combs re: same (.20)

      08/01/13 BMK        Finalize memorandum re: liens on avoidance actions and         3.90
                          prepetition state law claims in connection with JSN
                          Adversary Proceeding where Loomis, UBS and Wells
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               Fargo are conflict parties (2.10); correspondence with D.
               Bloom re: same and re: open issues and edits and
               comments to same to finalize remaining open issues
               (.50); review and revise same (.50); email
               correspondence with S. Reisman, T. Foudy, and M.
               Moscato re: final memo re: same and issues analyzed
               (.10); email correspondence with E. Tobin re: follow up
               issues in connection with memo such as certain phase I
               and phase II issues relating to liens on avoidance actions
               (.30); revise memorandum re: research projects and
               issues open/resolved by lien avoidance and prepetition
               state law claim memo (.40)

08/01/13 JTW   Correspondence with E. Tobin re: research assignment           6.30
               re: valuation of litigation claims in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); conference with E. Tobin re: case update
               and next steps going forward with JSN Litigation including
               open research issues (.40); conduct research re:
               settlement litigation claim in connection with adequate
               protection and diminution arguments (2.10); research re:
               effect of Debtors' schedules and filings and analysis of
               same (2.30); research settlement approvals and right to
               seek valuation or allocation (1.10)



08/01/13 DAB   Correspond with B. Kotliar and J. Weber re: adequate          11.60
               protection memorandum in connection with JSN
               adversary proceeding in which Wells Fargo, UBS and
               Loomis are conflict parties (.30); extensive review and
               revisions to memorandum re: avoidance action proceeds
               (3.90); correspond with B. Kotliar re: open issues and
               revisions to same (1.10); further review and analysis of
               case law cited by JSNs in their motion to dismiss re:
               Section 506(c) surcharge issues (2.50); draft new section
               of existing memorandum to address arguments raised by
               JSNs in same (1.30); correspond with J. Weber re: same
               (.50); correspond with J. Berman re: all-hands Morrison &
               Foerster meeting for impact on current research projects
               (.30); further revisions to draft section of adequate
               protection memo re: use of cash collateral (.80); circulate
               same to S. Reisman, T. Foudy and M. Moscato for review
               (.10); review of caselaw provided by J. Weber re:
               evidentiary weight of scheduled claim value (.60);
               correspond with same re: same (.10); correspond with E.
               Tobin re: open issues outline and revision of same (.10)



08/01/13 ET    Conference with J. Weber re: valuation of litigation claims    7.40
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.40); review documents and
               case law provided by J. Weber re: settlement of a
               litigation claim and impact on adequate protection
               arguments (.90); correspondence with T.
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               Foudy, J. Morris of Pachulski, S. Engelhardt of Morrison &
               Foerster, and G. Horowitz of Kramer Levin re: response to
               defendants' request to take additional discovery regarding
               the OID issue (.50); attend telephonic meet-and-confer
               between counsel for the Debtors and Creditors'
               Committee and counsel for defendants re: defendants'
               request to take additional discovery regarding the OID
               issue (.40); follow-up correspondence with T. Foudy and
               M. Moscato re: same (.10); correspond with R.
               Abdelhamid, D. Brown, and J. Levitt of Morrison &
               Foerster re: strategy for reviewing documents produced
               by the Debtors in the JSN adversary proceeding by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in connection with
               Plan Confirmation (1.60); conference call with R.
               Abdelhamid re: issues related to review of documents
               produced by the Debtors in the JSN Adversary
               Proceeding (.40); review and revise list of issue tags
               provided by counsel for the Creditors' Committee (.50);
               and review and revise document review protocol, focusing
               on descriptions of issue tags (1.90); follow-up
               correspondence with R. Abdelhamid re: same (.70)



08/01/13 JCB   Research case law re: valuing settled litigation claims and    5.20
               diminution of value in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.80);
               review memoranda re: equitable liens and burden shifting
               in connection with establishing a claim for postpetition
               interest in an adversary proceeding (1.40)

08/02/13 TF1   Meet with M. Moscato to discuss staffing of document           3.70
               review in connection JSN Adversary Proceeding due to
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.30); meet with M.
               Moscato, J. Weber, and E. Tobin to discuss adequate
               protection research (.90); review document review
               protocol (.70); finish review of JSN opposition to motion to
               dismiss counterclaims (.50); attend to staffing and other
               logistics of commencing project of reviewing Debtor
               production for use in depositions and trial in order to
               ensure most efficient and productive review process
               (1.30)

08/02/13 MJM   Discussion with T. Foudy re: staffing email review in JSN      2.30
               litigation in which Wells Fargo and noteholders UBS and
               Loomis are conflict parties (.30); review memo re:
               measurement of diminution of value in context of
               adequate protection lien (.50); meet with T. Foudy, J.
               Weber, and E. Tobin re: adequate protection research re:
               settled claims (.90); review JSNs' Opposition to Debtors'
               and Creditors' Committee's Motion to Dismiss Certain of
               JSNs' Counterclaims (.60)

08/02/13 MAC   Conduct research on background information and                 2.40
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               document review, including draft protocol in connection
               with JSN litigation where Wells Fargo, Loomis and UBS
               are conflict parties (2.40)

08/02/13 EC    Draft memorandum re: propriety of lien releases by Wells      4.20
               Fargo in connection with AFI LOC in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.90); review security documents including JSN
               pledge, JSN Indenture, and Intercreditor agreement in
               connection with same (1.30)

08/02/13 JTW   Confer with D. Bloom re: research on a party's ability to     9.50
               conduct a post-confirmation valuation of collateral for
               purposes of a diminution claim in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.60); review of e-mail correspondence from E.
               Tobin re: document production and discovery issues (.30);
               review of e-mail correspondence from D. Bloom re:
               research as to adequate protection claims arising from
               settlement of claims (.40); internal meeting with E. Tobin,
               M. Moscato and T. Foudy re: adequate protection memo
               (.90); conduct research re: settlements as "use" of
               property under section 363 of the Bankruptcy Code (2.30);
               continue research re: settlements and adequate
               protection issues arising therefrom (2.60); continue
               research re: evidentiary weight of Debtors' schedules and
               filed documents in connection with same (2.40)



08/02/13 DAB   Review secondary sources regarding settlements                6.00
               pursuant to section 363 of the Bankruptcy Code and case
               law discussing settlement valuation in connection with
               follow-up adequate protection research requested by E.
               Tobin in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.30); review cases sent by
               J. Weber re: same (.90); draft email memorandum
               summarizing open issues and proposed next steps to T.
               Foudy per meetings with E. Tobin and J. Weber re: same
               (1.20); review transcript of recent status conference in
               connection with same (.40); correspond with E. Tobin re:
               document review for JSN litigation and drafting of case
               protocol in connection with same (.60); conference with J.
               Weber re: post-confirmation valuation of collateral and
               related issues (.60)



08/02/13 ET    Confer with T. Foudy, M. Moscato and J. Weber re:             8.60
               research issues related to diminution claims arising from
               settlement in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90);
               extensive discussions with R. Abdelhamid of Morrison &
               Foerster via telephone and email re: strategy for
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               reviewing documents produced by the Debtors in the JSN
               adversary proceeding by issue and document-type tags
               so documents can be used in preparation for depositions
               and trial in the JSN adversary proceeding and in
               connection with Plan Confirmation (1.80); conference call
               with B. Salerno, D. Brown, and R. Abdelhamid of Morrison
               & Foerster and G. Marty re: setting up substantive review
               of documents produced by the Debtors in the JSN
               Adversary Proceeding (.70); review and revise list of issue
               codes, including updates of descriptions of the issue
               categories (1.80); follow-up correspondence with R.
               Abdelhamid, J. Morris and J. Rosell of Pachulski, and C.
               Siegel, A. Goodman, and P. Farber of Kramer Levin re:
               same (1.20); email correspondence with T. Foudy and M.
               Moscato re: updated issue tag list and document review
               issues (.60); draft and revise email to attorney reviewers
               re: substantive review of documents produced by the
               Debtors in the JSN Adversary Proceedings (.80);
               correspond with T. Foudy, M. Moscato and S. Reisman
               re: same (.40); conference call with G. Marty and R.
               Abdelhamid re: substantive document review issues and
               review protocol (.40)



08/03/13 EC    Research ratification of collateral releases under New         3.40
               York's relevant recording rules and general principles set
               forth by the Bankruptcy Court with respect to the JSNs'
               purported equitable liens in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (1.80); draft memorandum
               incorporating results of equitable lien research (1.60)


08/03/13 DAB   Review case law re: valuation of assets in settlement          2.00
               context in connection with the JSN litigation in which
               Wells Fargo and noteholders UBS and Loomis are conflict
               parties (.50); further research regarding adequate
               protection issues in connection with same (1.50)


08/03/13 ET    Correspondence re: review of documents produced by             0.50
               Debtors in the consolidated adversary proceeding, in
               connection with the JSN adversary proceeding in light of
               involvement of conflict parties Wells Fargo and Ad Hoc
               Group members Loomis and UBS in preparation for
               review project (.30); email correspondence with J. Rosell
               of Pachulski re: document review protocol and plaintiffs'
               document review (.20)

08/04/13 EC    Review and revise memorandum relating to release of            1.30
               collateral under the New York UCC and the adequacy of
               collateral release under relevant lending transaction
               documents in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (1.30)
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08/04/13 ET    Review and revise Debtors' responses and objections to         2.00
               Defendants' second set of document requests in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50); email correspondence with T. Foudy
               and M. Moscato re: same (.30); review materials re:
               document review protocol for documents produced by
               Debtors in preparation for review project (.90); correspond
               with M. Moscato and T. Foudy re: same (.30)


08/04/13 JCB   Review coding list for document review protocol in             1.10
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.10)

08/05/13 SJR   Attend to e-mails and follow up regarding document             3.30
               production and review project in connection with JSN
               litigation where Wells Fargo and noteholders UBS and
               Loomis are conflict parties and staffing and scheduling of
               same (.60); review documentation in connection with
               preparing for JSN document review including document
               summary memos, Amended Complaint, JSN Answer and
               related background documents (2.70)

08/05/13 TF1   Review latest draft Work In Process list circulated by         3.70
               Kramer Levin in connection with JSNs Adversary
               Proceeding due to involvement of conflict parties Wells
               Fargo and noreholders UBS and Loomis (.50); meet with
               E. Tobin and M. Moscato on agenda for document review
               introduction meeting (.50); review list of issue tags to be
               used in review of Debtors' documents in preparation for
               depositions and trial (.20); review emails from J. Morris of
               Pachulski on bankruptcy court jurisdiction consent (.20);
               meet with J. Berman to discuss presentation for
               introduction meeting for attorneys staffed to review
               Debtors' production to flag issues for preparation for
               depositions and trial (.30); correspond with M. Cohen in
               regards to same (.30); introductory meeting for attorneys
               staffed to review Debtors' production to tag issues for
               preparation for depositions and trial (.80); participate in
               Relativity on-line training session for document review
               software (.80); review letter to Debtors regarding
               production of OID documents (.10)



08/05/13 MJM   Meet with T. Foudy and E. Tobin to discuss logistics for       0.50
               document review project in JSN litigation where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.50)

08/05/13 MAC   Review background pleadings including Examiner Report          3.80
               and other important case documents in connection with
               JSN litigation document review project where Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (2.20); attend initial JSN document
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               review meeting led by T. Foudy, E. Tobin, and J. Berman
               (.80); attend online Relativity meeting for training with
               respect to document review project in connection with
               document review to conflict parties (.80)


08/05/13 EC    Research relating to equitable considerations re:              7.20
               reduction of postpetition interest for an oversecured
               creditor in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (3.20); revise and update
               portion of memorandum relating to collateral release by
               Wells Fargo relating to authorization of releases as a
               matter of law under New York UCC (2.30); revise and
               update portion of memorandum relating to ratification of
               lien releases by the JSNs to reflect additional research on
               issue (.90); revise and update portion of memorandum on
               collateral release relating to authorization to release
               established by the Indenture and Intercreditor agreement
               (.80)

08/05/13 MPJ   Review memorandum from E. Tobin and J. Berman                  4.50
               discussing document review protocol and background of
               litigation in connection with the dispute with the Junior
               Secured Noteholders over whether the Junior Secured
               Noteholders are oversecured and entitled to post-petition
               interest, as Wells Fargo and noteholders Loomis and UBS
               are conflict parties (1.30); attend meeting led by T. Foudy,
               E. Tobin, and J. Berman discussing document review
               protocol (.80); participate in training session for document
               review platform Relativity in advance of issue-tagging
               review of documents produced by Residential Capital in
               the litigation with the Junior Secured Noteholders (.90);
               review and edit memorandum regarding the validity of
               releases of collateral from the Junior Secured Notes and
               the subsequent liens granted to secure the AFI LOC credit
               facility in connection with same (1.50)



08/05/13 BMK   Conference with J. Berman and D. Bloom re: drafting            5.10
               summaries of issue tags for document review in
               connection with JSN Adversary Proceeding where
               Loomis, UBS, and Wells Fargo are potential conflict
               parties (1.60); draft tag summaries for issues arising in
               JSN Adversary Proceeding to use as tags in document
               review including various counts of Debtor and Committee
               Complaint and the amended counterclaims (2.20); review
               and revise same (.80); correspond with D. Bloom re:
               remaining open issues to be resolved (.50)


08/05/13 JTW   Internal meeting with D. Bloom, B. Kotliar and J. Berman       8.80
               re: providing document reviewers with critical background
               information and specific details re: documents in
               connection with the JSN Litigation where noteholders
               David Kempner, Silverpoint, UBS, and
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               Loomis are conflict parties (.30); draft sections of
               document review protocol in coordination with D. Bloom
               and B. Kotliar re: summary of issues related to the use of
               cash collateral, alleged diminution in value of the JSNs'
               collateral, prepetition release of collateral, and the offering
               and value of the junior secured notes in 2008 and
               thereafter amended in 2009 (2.90); draft Memorandum re:
               settlement of claims and potential impact on secured
               party's liens on general intangibles such as causes of
               action in connection with Consolidated JSN Adversary
               Proceeding (2.50); draft memorandum re: bankruptcy
               court's methodologies of valuing litigation claims in
               connection with a settlement (1.80); conduct research re:
               treatment of payments on global settlements (1.30)



08/05/13 DAB   Research re: import of settlement value in intercompany           12.50
               claims context per T. Foudy and E. Tobin request in
               connection with the JSN litigation in which Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (3.00); research regarding diminution in the value of a
               secured creditor’s collateral due to a debtor’s settlement
               of a litigation claim in connection with same (2.40); review
               case law sent by J. Weber re: same (.90); confer with J.
               Berman and B. Kotliar re: drafting of document review
               tagging summaries and detail (1.60); extensive drafting of
               same per J. Berman request (3.70); draft descriptions of
               various financing facilities in connection with same (.90)



08/05/13 ET    Review and revise Debtors' objections and responses to             8.70
               Defendants' second set of document requests, and draft
               email to D. Brown of Morrison & Foerster re: same in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis, UBS,
               Davidson Kempner, and Silverpoint are conflict parties
               (.30); email correspondence with M. Crespo of Morrison &
               Foerster and B. Kotliar re: research issues for the Debtors'
               reply brief in further support of the motion to dismiss
               certain of Defendants' counterclaims (.30); meet with T.
               Foudy and M. Moscato to discuss upcoming document
               review meeting and agenda (.50); correspond with M.
               Moscato and T. Foudy re: preparation for review of
               documents produced by the Debtors in the JSN adversary
               proceeding (.30); confer with J. Berman and review
               relevant documents in preparation for meeting with Curtis
               attorneys regarding document review (1.20); lead meeting
               with Curtis attorneys regarding upcoming review of
               documents produced by the Debtors in the JSN adversary
               proceeding, in light of involvement of conflict parties Wells
               Fargo and certain members of Ad Hoc Group (.80); attend
               Relativity training session led by Night Owl in preparation
               for review of documents produced by the Debtors in the
               JSN adversary proceeding (.80); extensive discussions
               with R.
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               Abdelhamid and J. Berman re: issues pertaining to
               upcoming review of documents produced by the Debtors
               in the JSN adversary proceeding (1.20); continue to
               review and revise list of issue tags and document review
               protocol in preparation for review of documents produced
               by the Debtors in the JSN adversary proceeding, and
               confer with J. Berman re: same (3.30)


08/05/13 JCB   Prepare agenda and talking points for meeting with            11.00
               document reviewers in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are potential conflict parties (2.30); lead,
               together with T. Foudy and E. Tobin, document review
               meeting to discuss case and review guidelines (.80);
               participation in document review training session with
               Night Owl (.80); draft and revise issue coding list and
               document review protocol (4.00); conference with D.
               Bloom, B. Kotliar, and J. Weber re: drafting review
               protocol (1.60); meet with T. Foudy to discuss introductory
               document review project logistics (.30); confer with E.
               Tobin to prepare for document review introduction
               meeting (1.20)

08/06/13 SJR   Review of Debtors' Responses and Objections to the             4.50
               JSNs and UMB's Second Request for Production of
               Documents in connection with discovery issues arising in
               connection with the Phase I trial on the JSN Adversary
               Proceeding where Wells Frgo and noteholders Loomis,
               UBS, Davidson Kempner, and Silverpoint are conflict
               parties (1.80); confer with Counsel at Morrison & Foerster
               regarding interrogatory responses to JSNs and review of
               same in connection with discovery dispute arising in the
               JSN Adversary Proceeding (1.40); follow up regarding
               issues related to upcoming depositions of Defendants in
               connection with same (1.30)



08/06/13 TF1   Review and provide comments on interrogatory                   3.60
               responses to JSNs to S. Engelhardt of Morrison &
               Foerster in connection with JSN Adversary Proceeding
               due to involvement of conflict parties Wells Fargo and
               certain Ad Hoc Group members, including Loomis, UBS,
               Davidson Kempner, and Silverpoint (2.10); review emails
               concerning Morrison & Foerster inquiry regarding
               equitable lien research for replies to motion to dismiss
               (.20); review letters and emails among counsel to parties
               on production of documents and emails among Morrsion
               & Foerster, Pachulski and Kramer Levin on division of
               labor for document review (.50); review proposed Rule
               30(b)(6) deposition topic list for JSNs and review
               inventory of issues for purposes of analyzing
               completeness of same (.80)


08/06/13 MJM   Meet with E. Combs to discuss legal memo re: propriety         2.10
               of release of AFI LOC liens in connection with
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               assisting with portions of motion to dismiss pleadings in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis, UBS,
               Davidson Kempner, and Silverpoint are conflict parties
               (.90); review list of potential JSN litigation 30(b)(6)
               deposition topics (1.20)

08/06/13 MAC   Review JSN adversary proceeding pleadings in                     1.90
               connection with document review project being handled
               by Curtis in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis,
               UBS, Davidson Kempner, and Silverpoint are conflict
               parties (1.20); review memo and protocol in connection
               with same (.70)

08/06/13 EC    Meet with M. Moscato to discuss interpretation of the JSN        6.70
               indenture collateral release provisions in connection with
               assisting with motions to dismiss as Wells Fargo and
               noteholders Loomis, UBS, Davidson Kempner, and
               Silverpoint are conflict parties (.90); review proposed
               30(b)(6) deposition topics in order to identify additional
               areas or subject matters for deposition (.50); prepare
               condensed research memorandum relating to authority to
               release collateral under state law for liens released by
               secured party and responding to JSN arguments re: same
               for use in drafting motion to dismiss reply (2.40);
               teleconference with D. Bloom discussing arguments
               favoring and opposing JSN position regarding authority to
               release liens in connection with drafting condensed
               memorandum (.20); research relating     g to availabilityy of
               alternative means off reducing g the rate of interest ppayable
                                                                          y
               to the JSNs, includingg applicability
                                         pp        y of the federal jjudgment
               rate or additional reduction as the result of creditor
               misconduct (2.70)



08/06/13 MPJ   Review e-mail circulated by T. Foudy regarding potential         0.30
               Rule 30(b)(6) deposition topics in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis, UBS, Davidson Kempner,
               and Silverpoint are conflict parties (.30)

08/06/13 BMK   Correspond with J. Berman and D. Bloom re: outstanding           4.90
               issues of descriptions of document tags describing
               Debtors' asset sales in connection with document review
               for JSN adversary proceeding involving conflict parties
               Wells Fargo and noteholders, including UBS and Loomis
               (.40); conferences with J. Berman and D. Bloom re:
               update document tags to reflect categories/subcategories
               of case issues to streamline procedures (1.30); review
               and revise same (2.10); begin detailing document tags in
               order to inform document reviewers and staff of relevant
               facts and legal arguments in connection with same (1.10)



08/06/13 JTW   Draft memorandum re: which party will bear the burden            7.30
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               of proof with respect to the alleged diminution in value of
               the intercompany balances in connection with the JSN
               Litigation where Wells Fargo and noteholders, including
               UBS and Loomis are conflict parties (2.80); research re:
               analogous contexts to the settlement of claims in which a
               third party holds interest and whether that third party can
               demand a valuation of the claim for purposes of assessing
               damages against the settling party (3.10); confer with D.
               Bloom re: adequate protection research and new case law
               (.20); review and revise issue coding list and summary of
               issues for use in document review project re: coding and
               tagging documents produced by the Debtors in the JSN
               Adversary Proceeding (1.20)



08/06/13 DAB   Continue drafting document review tagging summaries               8.20
               and detail in connection with JSN litigation where Wells
               Fargo and noteholders, including UBS and Loomis are
               conflict parties (2.70); review and revise billing protocol for
               E. Tobin in connection with same (.20); confer with J.
               Berman and B. Kotliar throughout the day re: necessary
               analysis and revisions to proposed document review tags
               (1.30); correspond with M. Gallagher, T. Foudy and E.
               Tobin re: conflicts issues pertaining to JSN litigation (.80);
               correspondence with E. Tobin re: equitable lien research
               (.20); review JSNs’ opposition to Motion to Dismiss with
               respect to equitable lien issue and analyze same (.60);
               review cases cited by JSNs for purpose of distinguishing
               same (1.10); confer with E. Combs re: same (.20); review
               and comment on draft JSN 30(b)(6) deposition topics per
               T. Foudy email (.50); review Applied Theory case in
               connection with adequate protection research (.40);
               confer with J. Weber re: same (.20)



08/06/13 ET    Review the Creditors' Committee's responses and                   9.30
               objections to interrogatories and confer with D. Brown of
               Morrison & Foerster re: same in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40); review and revise the Debtors' responses to
               the interrogatories served by the Ad Hoc Group of Junior
               Secured Noteholders and Wells Fargo, and confer with S.
               Engelhardt Morrison & Foerster re: same (.70);
               correspondence with M. Crespo Morrison & Foerster and
               E. Combs re: research of issues in connection with the
               reply memorandum of law in further support of the
               Debtors' motion to dismiss (.40); participate in conference
               call with C. Breyer of Night Owl, G. Marty and R.
               Abdelhamid Morrison & Foerster and J. Berman re:
               preparation of database containing documents produced
               by the Debtors in the JSN Adversary Proceeding (1.00);
               continue to review documents and draft and revise
               document review protocol and list of issue tags to facilitate
               review of documents produced in the JSN Adversary
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               Proceedings, in order to prepare for depositions and trial
               (4.20); confer and work with J. Berman and R.
               Abdelhamid re: issue coding list and document review
               protocol (2.20); follow-up emails with C. Breyer of Night
               Owl in connection with technical issues related to
               document review (.40)

08/06/13 JCB   Discussions with E. Tobin and R. Abdelhamid re: issue         7.90
               coding list and document review protocol in connection
               with the JSN Adversary Proceeding as Wells Fargo and
               noteholders Loomis, UBS, Davidson Kempner, and
               Silverpoint are conflict parties (2.20); draft issue coding
               list in connection with same (1.30); conference call with
               Kramer Levin and Morrison & Foerster attorneys and
               Night Owl re: preparing database for document review
               (1.00); conferences with D. Bloom and B. Kotliar re:
               document review protocol re: same (1.30); draft document
               review protocol re: same to ensure accusing of
               background descriptions and proper tagging procedures
               (2.10)

08/07/13 SJR   Follow up regarding document production related to JSN        1.30
               litigation correspondence including allocation of work for
               completion of project under significant time constraints
               and tight deadlines in the JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis, UBS,
               Davidson Kempner, and Silverpoint are conflict parties
               (1.30)

08/07/13 TPS   Review file memos to prepare for client call regarding        0.70
               indemnity issues in connection with CMH dispute with
               Cerberus, a conflict party (.70)

08/07/13 TF1   Attend to logistics concerning document review of             7.70
               Debtor-produced documents for issue tagging for
               preparation for trial and depositions in connection with
               JSN Adversary Proceeding due to involvement of conflict
               parties including Wells Fargo and certain members of Ad
               Hoc Group, such as Loomis and UBS, including ensuring
               accuracy of protocol memorandum and logging
               procedures (1.00); work on 30(b)(6) deposition topic list
               and review counterclaims in connection with same (1.30);
               confer with M. Moscato on same (.30); review J. Levitt of
               Morrison & Foerster letter to Defendant UMB on OID
               discovery (.20); attend meeting at Morrison & Foerster to
               discuss work-in-progress and trial preparation (2.50);
               review, edit and finalize interrogatory responses to Wells
               Fargo and JSNs (2.40)



08/07/13 MJM   Discussion with T. Foudy re: draft 30(b)(6) notices to        2.80
               JSNs and various legal issues concerning the JSNs
               litigation where Wells Fargo and noteholders Loomis and
               UBS are conflict parties (.30); participate in weekly JSN
               Adversary Strategy Meeting, with T. Foudy, E. Tobin, J.
               Levitt and S. Engelhardt of Morrison &
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               Foerster, and counsel for the Creditors' Committee (2.50)


08/07/13 MG8   Attend to correspondence from L. Delehey regarding call        0.20
               to further review CMH Holdings dispute with Cerberus, a
               conflict party (.10); related follow-up correspondence with
               T. Smith re: same (.10)

08/07/13 EC    Correspondence with M. Moscato and T. Foudy regarding          3.70
               the interpretation of Section 4.10 of the JSN Indenture
               and release of collateral provisions in connection with the
               JSN Adversary Proceeding as Wells Fargo and
                                                           p
               noteholders UBS and Loomis are conflict parties     ( )
                                                                   (.50);
               research relatingg to use of creditor misconduct as a basis
                          g postpetition
               for reducing p p          interest rate to be paid to
               oversecured creditors (2.40); draft email to E. Tobin and
               J. Berman discussing possible arguments re: same (.80)


08/07/13 BMK   Continue detailing document tags in order to inform            1.80
               document reviewers and staff of relevant facts and
               contentions in connection with JSN adversary proceeding
               where Wells Fargo and noteholders UBS and Loomis are
               conflicts parties (1.20); correspondence with D. Bloom re:
               same (.20); review same for outstanding issues and
               finalize portions of document (.40)


08/07/13 JTW   Review correspondence with B. Kotliar and D. Bloom re:         7.00
               detailing document review tags in order to inform
               document review team and staff of relevant facts and
               legal arguments in connection with the JSN Litigation
               where Wells Fargo and noteholders UBS and Loomis are
               conflict parties (.30); assist J. Berman and B. Kotliar in
               drafting summary of document tags re: same (1.30); draft
               sections of memorandum re: JSNs alleged general
               intangibles lien on settlement proceeds and related
               adequate protection implications (3.10); research re:
               valuation of settlement in bankruptcy context (1.70);
               continue drafting of memorandum re: effect of settlement
               of the Intercompany Balances on the JSNs' alleged claims
               for adequate protection (.60)

08/07/13 DAB   Draft tagging “glossary” for use by document reviewers         6.50
               per J. Berman direction in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (4.00);
               correspondence with B. Kotliar and J. Weber re: same
               (.50); review and revise to same per J. Berman comments
               (2.00)

08/07/13 ET    Conference call with R. Abdelhamid of Morrison &              14.10
               Foerster and S. Martin of Morrison & Foerster, J. Morris
               and J. Rosell of Pachulski, and C. Siegel and A.
               Goodman of Kramer Levin re: categories of "issue tags" to
               be used by the Debtors and the Committee to review
               documents produced in the JSN Adversary
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                  5825         Filed 03/03/14
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               Proceedings, in order to prepare for depositions and trial,
               in light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.70); revise list of "issue
               tags" and confer with R. Abdelhamid of Morrison &
               Foerster and J. Rosell of Pachulski re: same (1.10);
               confer with J. Berman, R. Abdelhamid and C. Breyer of
               Night Owl re: database for review and issue tagging of
               documents in connection with same (1.60); draft and
               revise document review protocol, focusing on procedural
               history in the JSN Adversary Proceedings, relevant issues
               in same and in connection with confirmation of the
               proposed liquidation plan, and descriptions of the "issue
               tags" that will be used in the review of documents
               produced by the Debtors in the JSN Adversary
               Proceedings (5.00); related correspondence with J.
               Berman, D. Bloom and R. Abdelhamid re: open issues in
               same (.90); review and revise the Debtors' responses to
               the interrogatories served by the Ad Hoc Group of Junior
               Secured Noteholders and Wells Fargo (1.20); correspond
               with B. Kotliar re: service of Debtors' responses to same
               (.30); attend meeting with counsel for the Debtors and the
               Creditors' Committee re: discovery, preparation for
               depositions and preparation for trial in the JSN Adversary
               Proceedings (2.50); follow-up email correspondence with
               A. Goodman and C. Siegel of Kramer Levin re: document
               responses and interrogatories served by the Debtors and
               the Committee (.80)




08/07/13 JCB   Revise document review protocol and issue tag                  9.40
               descriptions in connection with the JSN Adversary
               Proceeding as Wells Fargo and noteholders UBS and
               Loomis are conflict parties, including editing descriptions
               of background events and specific issues that are focus of
               review (5.10); extensive follow-up correspondence with E.
               Tobin, D. Bloom and R. Abdelhamid of Morrison &
               Foerster re: same (.90); conference call with E. Tobin, R.
               Abdelhamid and S. Martin of Morrison & Foerster, J.
               Morris and J. Rosell of Pachulski, and C. Siegel and A.
               Goodman of Kramer Levin re: categories of "issue tags" in
               connection with same (.70); assist E. Tobin with revising
               list of "issue tags" (.60); correspond with R. Abdelhamid
               and J. Rosell re: same (.50); confer with E. Tobin, R.
               Abdelhamid and C. Breyer of Night Owl re: database for
               review and issue tagging of documents produced by the
               Debtors (1.60)



08/08/13 TPS   Review research memo on indemnity claim asserted with          1.80
               respect to fraudulent transfer in connection with potential
               claims analyzed by Curtis in connection with CMH dispute
               where Cerberus is a conflict party (.60); conference call
               with L. Delehey and Bill Tyson to review CMH claims
               (.60); attention to proposed budget and potential litigation
               strategy in connection with same
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               (.60)

08/08/13 TF1   Review correspondence on issue tags and document                 2.50
               review protocol in connection with JSNs' Adversary
               Proceeding due to involvement of conflict parties and
               certain members of Ad Hoc Group, including Loomis and
               UBS (.60); meet with M. Moscato re: ongoing tasks and
               division of labor (.20); review JSNs' and UMB's responses
               and objections to interrogatory requests from Committee
               (.30); review updated agendas for Wednesday
               coordination meetings (.10); continue review Rule 30(b)(6)
               topics in light of amended counterclaims and complaint
               (.80); review and draft emails regarding research on
               collateral release issue requested by Morrison & Foerster
               (.50)

08/08/13 MJM   Review legal memo re: Adequate Protection and                    4.20
               Post-Petition Interest Pertaining to Claims of JSNs in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (1.00); discuss legal memo re: same with D.
               Bloom (.30); begin review of cases cited and discussed in
               same (.90); review draft email re: legal research
               concerning remedies for breach of contract for improperly
               releasing liens (.40); review Document Review Protocol
               for email review in connection with documents produced
               by Debtors (.60); meet with T. Foudy re: document review
               project tasks (.20); attend web-based Night Owl training
               session re: same (.80)

08/08/13 MG8   Review materials on CMH Holdings in order to prepare for         1.00
               call with L. Delehey, B. Tyson and B. Thompson in
               connection with potential claims in connection with CMH
               dispute with Cerberus, a conflict party (.40); participate in
               call with L. Delehey, B. Tyson, B. Thompson and T. Smith
               regarding strategy for addressing withheld distributions
               owed to ResCap by CMH Holdings (.60)


08/08/13 MAC   Attend web-based meeting on document review in                   1.70
               connection with Curtis' review of documents in connection
               with JSN litigation and plan confirmation where Wells
               Fargo and noteholders UBs and Loomis are conflict
               parties (.80); review issues related to document protocol
               in connection with same (.90)

08/08/13 EC    Research relating to rescission of collateral releases on        7.30
               the basis of fraud or mistake to assist in drafting portion of
               reply brief to the motions to dismiss filed in the JSN
               Adversary Proceeding as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (3.60); meet with J.
               Berman and E. Tobin to discuss availability of equitable
               relief to reform collateral releases in connection with same
               (.40); research relating to availability of money damages
               against a collateral agent or similar custodian for the
               release of collateral in
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               violation of the terms of a security agreement (2.40);
               research whether suit against collateral agent who
               wrongly authorizes release of collateral precludes
               injunctive relief to reinstate liens (.60); draft email
               discussing results of research relating to availability of
               equitable relief to reinstate loans (.30)

08/08/13 BMK   Review JSNs' and UMB's objections to plan and                  1.10
               disclosure statement for impact on arguments and issues
               raised in the JSN Adversary proceeding where Wells
               Fargo and certain Ad Hoc Group members Loomis and
               UBS are conflict parties (.80); review and revise D. Bloom
               summary of same (.30)

08/08/13 JTW   Continue research re: settlement of Intercompany              10.30
               Balances re: diminution security interest in general
               intangibles and related valuation issues in connection with
               the JSN Litigation where Wells Fargo and noteholders
               UBS and Loomis are conflict parties (3.40); research re:
               evidentiary weight re: Debtors' schedules re: same (2.80);
               continue drafting memorandum re: adequate protection
               and settlement of Intercompany Balances in connection
               with diminution arguments (3.60); correspond with B.
               Kotliar, D. Bloom, J. Berman and E. Tobin re: revisions to
               the document review protocol (.50)



08/08/13 DAB   Meet with M. Moscato to discuss memorandum re:                 6.30
               adequate protection issues in connection with legal
               research re: motions to dismiss filed in the JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.30); review of cases
               referenced in meeting in connection with same (1.20);
               correspond with J. Weber re: same (.30); coordinate with
               K. Kim re: production of materials for M. Moscato in
               connection with same (.40); follow-up correspondence
               with M. Moscato re: same (.10); correspond with E. Tobin
               re: JSN-related transactional documents in connection
               with document review protocol (.20); correspondence with
               J. Berman re: tagging protocol (.10); review revised tag
               list per E. Tobin email (.40); further revise tags for
               document review (2.50); correspond with J. Weber and J.
               Berman re: same (.80)



08/08/13 LT    Research re: adequate protection claims in connection          4.30
               with settled litigation claims in the Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (4.30)

08/08/13 FRG   Prepare document review materials for B. Kotliar for use       1.50
               in drafting tagging protocol in connection with the
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.50)

08/08/13 ET    Draft emails to J. Berman, R. Abdelhamid of Morrison          10.00
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               & Foerster, A. Goodman, C. Siegel, and P. Farber of
               Kramer Levin, and J. Morris and J. Rosell of Pachulski re:
               updated document review protocol and issue tag list in
               connection with coordinating document review project re:
               documents produced by the Debtors in the JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.70); attend Relativity
               training session conducted by Night Owl in connection
               with same (.80); follow-up conference with J. Berman, R.
               Abdelhamid and C. Breyer re: preparation for the review
               of documents in connection with same (.50); extensive
               follow-up discussions by phone and email with R.
               Abdelhamid and Night Owl staff (2.40); discussions via
               telephone and email with Curtis attorneys reviewing
               documents re: questions about the documents and
               procedures for reviewing the documents, and review
               documents and portions of the Examiner's Report in
               connection with the same (3.10); work with J. Berman to
               address technical issues arising during review (.40);
               correspond with D. Bloom and B. Kotliar re: factual issues
               related to document review (.60); correspondence with A.
               Ruiz, M. Moscato, E. Combs and J. Berman re: research
               for reply memorandum in further support of the Debtors'
               motion to dismiss, focusing on remedies available against
               collateral agent for improper release of collateral in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.70); review and revise email to A. Ruiz
               summarizing research re: same (.40); meet with E.
               Combs and J. Berman to discuss postpetition interest rate
               research (.40)




08/08/13 JCB   Research re: remedies available against collateral agent       11.30
               for alleged improper release of collateral in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (1.60); draft summary of findings re: same (1.20);
               correspondence throughout the day with D. Straus, G.
               Spencer, E. Tobin, S. Park, M. Bartley, P. Kadison, D.
               Glazer, and M. Jones re: proper document review
               procedures and explaining relevant facts (3.30);
               participate in Night Owl Relativity platform training (.80);
               follow-up conference with E. Tobin, R. Abdelhamid, and
               C. Breyer re: same and resolving open issues (.50);
               review documents marked as "Hot" or "Further Review
               Required" (.60); correspondence with Night Owl re:
               preparing documents for review (.50); prepare agenda for
               meeting with document reviewers (.30); determine review
               assignments for document reviewers (.30);
               correspondence with reviewers re: assignments and
               procedures to follow during review (.80); review Examiner
               Report and other case documents for information about
               documents in database in connection
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               with same (1.00); address technical issues arising during
               review in connection with same (.40)

08/08/13 KK    Assemble cases cited re: adequate protection arguments       2.00
               in motions to dismiss and related pleadings filed in
               support and opposition per request of M. Moscato and D.
               Bloom in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.00)

08/09/13 TPS   Follow up with L. Delehey and D. Marquardt of ResCap         0.30
               on budgeting questions for proposed standards regarding
               CMH dispute with Cerberus, a conflict party, for impact on
               litigation strategy (.30)

08/09/13 TF1   Review and attend to responding to request to permit         0.90
               production received from U.S. Bank in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.30); email correspondence with E. Tobin, B.
               Kotliar, and Morrison & Foerster regarding filing of
               amended answer to counterclaims (.10); review Morrison
               & Foerster draft of section of reply brief on motion to
               dismiss concerning released collateral and provide
               comments on same (.50)

08/09/13 MJM   Discussion with J. Berman and E. Tobin re: identifying       3.60
               statements by Ocwen and Walter re: Platform Sale, and
               beginning to prepare witness files based on Examiner
               Report references in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.50);
               complete review of cases cited in Curtis legal memo re
               Adequate Protection issues (1.20); review draft sections
               of Reply Brief in support of Motion to Dismiss JSNs'
               Counterclaims in connection with same (.70);
               correspondence with M. Cohen, M. Gallgher, J. Weber,
               and D. Bloom re: adequate protection legal memo and
               related bankruptcy-specific issues (.40); participate and
               partially lead meeting with J. Berman, E. Tobin, and
               numerous document reviewers re: email review protocols
               in JSN litigation (.80)



08/09/13 SKC   Meet with E. Tobin to discuss assignment on Examiner's       6.30
               Report and background of case in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.20); review of complaint and Answer to retrieve
               relevant information regarding Examiner's Report and
               background (1.20); review of Examiner's Report to pull
               "hits" relevant to Farley, Westman, Tyson, Horner, Ruhlin
               and Goldin Associates for use in preparing witnesses for
               trial (4.90)

08/09/13 MAC   Participate in team meeting with respect to document         2.40
               review related to plan confirmation and the JSN
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               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90);
               follow-up correspondence on issues in connection with
               same (1.50)

08/09/13 GF    Work with J. Weber on preparation and filing on adversary      1.60
               dockets the Plaintiffs' Answer and Affirmative Defenses to
               the First Amended Counterclaims of Defendants UMB
               Bank, N.A. and the Ad Hoc Group of Junior Secured
               Noteholders where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.40); emails with J. Weber
               re: as filed versions of same relating to each docket (.20)


08/09/13 JTW   Review and revise Debtors' Answer to JSNs' First               5.00
               Amended Counterclaims in preparation for filing in
               connection with the JSN Litigation where Wells Fargo and
               noteholders UBS and Loomis are conflict parties (.90);
               supervise G. Faust filing and service re: same (.50);
               correspondence with M. Moscato and D. Bloom re:
               conclusions reached in memorandum re: JSNs' adequate
               protection claims as to cash collateral and other collateral
               and open questions left unresolved by same in connection
               with motions to dismiss (.90); review Ocwen SEC filings
               re: purchase price allocation with focus on allocation of
               purchase price to goodwill (2.70)



08/09/13 DAB   Extensive review of documents produced by Debtors in           3.80
               JSN litigation in which Wells Fargo and noteholders UBS
               and Loomis in connection with updating review protocol
               (1.50); review and analyze references to Cerberus in
               Examiner Report and other case documents in connection
               with research re: certain factual issues related to tagging
               documents produced by the Debtors (.80); review,
               analyze and respond to open issues regarding tagging of
               certain produced documents per J. Berman and E. Tobin
               request (1.50)

08/09/13 ET    Confer with M. Moscato and J. Berman re: analysis of           6.10
               Ocwen’s public statements regarding purchase of the
               servicing platform assets, and analysis of portions of the
               Examiner’s Report focusing on individuals identified by
               the Debtors as potential witnesses in the Initial
               Disclosures, in preparation for depositions and trial in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50); review operative documents and
               meet with K. Kim, S. Kindya-Culley and J. Weber re:
               analysis of same in connection with same (1.00);
               follow-up discussions with K. Kim, S. Kindya-Culley and J.
               Weber re: same (.50); confer with J. Berman and R.
               Abelhamid of Morrison & Foerster re: review of
               documents by issue and document-type tags (1.40);
               follow-up correspondence with same re: same (.30);
               co-lead meeting with J.
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               Berman and M. Moscato (partial) re: reviewing documents
               by issue and document-type tags (.90); respond to
               correspondence from document reviewers J. Rosenberg
               and B. Barath regarding questions about documents
               produced by the Debtors pertaining to the Debtors'
               prepetition financial condition (.90); further discussions
               with J. Berman and R. Abdelhamid re: progress of the
               document review and resolving issues raised by reviewers
               (.60)

08/09/13 JCB   Confer with E. Tobin and M. Moscato re: analysis of          8.10
               Ocwen’s public statements regarding purchase of the
               servicing platform assets, and analysis of portions of the
               Examiner’s Report focusing on individuals identified by
               the Debtors as potential witnesses in the Initial
               Disclosures, in preparation for depositions and trial in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50); confer with E. Tobin and R.
               Abelhamid re: review of documents by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation
               (1.40); follow-up correspondence with E. Tobin and R.
               Abdelhamid re: same (1.20); prepare agenda for meeting
               re: proper tagging and review procedures with E. Tobin
               and M. Moscato (partial) re: document review protocol
               (.90); review documents flagged by document reviewers
               as requiring second level review (2.80); organize and
               distribute review assignments and additional review
               instructions to document reviewers (.70); further discuss
               with E. Tobin and R. Abdelhamid progress of the
               document review and resolving issues raised by reviewers
               in connection with same (.60)



08/09/13 KK    Meet with E. Tobin and J. Weber re: SEC filings research     3.00
               in connection with goodwill arguments raised in the
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.50); conduct searches for all Ocwen SEC 8K,
               10K, and 10Q reports to find language regarding
               "goodwill" of ResCap sale in connection with same (1.50);
               expand search time frame and pull relevant reports and
               exhibits in connection with same (1.00)


08/10/13 ET    Email correspondence with document reviewers, including      1.20
               J. Drew and G. Brandt re: questions in connection with
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.40); follow-up emails with
               same re: same (.40); confer with J. Berman, J. Weber, B.
               Kotliar, and R. Abdelhamid of
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               Morrison & Foerster re: same (.40)

08/10/13 JCB   Review and respond to questions raised by attorneys          1.40
               conducting document review in connection with JSN
               adversary proceedings where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.40)

08/11/13 TF1   Review emails with comments on draft reply to motion to      0.40
               dismiss JSNs' counterclaims and page limit for same in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40)

08/11/13 JTW   Correspond with P. Kadison and M. Stookey to clarify         0.60
               inquiries raised as to particular documents produced by
               the Debtors in the JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.60)

08/11/13 DAB   Correspond throughout the day with J. Drew, B. Kotliar, J.   2.30
               Weber, P. Kadison, E. Tobin and J. Berman re: open
               issues relevant to document review of Debtors’ production
               in JSN litigation in which Wells Fargo and noteholders
               UBS and Loomis are conflict parties (2.30)

08/11/13 ET    Review and analyze Ocwen’s public statements regarding       1.90
               purchase of the servicing platform assets in connection
               with the Ocwen Asset Purchase Agreement, related to
               goodwill issues in JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.90); email correspondence with document
               reviewers, including M. Stookey, B. Kotliar, P. Kadison
               and J. Drew re: questions in connection with the review of
               documents produced by the Debtors in the JSN Adversary
               Proceeding (.70); correspondence with J. Berman, J.
               Weber, D. Bloom, and R. Abdelhamid of Morrison &
               Foerster re: same (.30)



08/11/13 JCB   Review and respond to numerous questions raised              3.50
               reviewing Debtors' document productions in JSN
               adversary proceedings in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (3.10); organize review
               process going forward to streamline responding to
               inquiries in connection with same (.40)

08/12/13 SJR   Attention to matters regarding potential for deposition of   3.80
               members of Ad Hoc Group of JSNs and discussions
               regarding same both internally and externally with
               Committee Counsel (1.60); review Reply on Motion to
               Dismiss and comments to same in connection with same
               (2.10); confer with T. Foudy re: staffing issues in
               connection with JSN document review (.10)

08/12/13 TF1   Meet with E. Tobin and M. Moscato to discuss status and      5.20
               progress of document review in connection with
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               JSN Adversary Proceeding due to involvement of conflict
               parties Wells Fargo and certain members of Ad Hoc
               Group, including Loomis and UBS (.20); review emails
               from E. Tobin and J. Berman reporting on same
               throughout day (.30); conference call with S. Reisman to
               discuss progress and staffing (.10); review and send
               emails to J. Berman and E. Tobin in regards to staffing
               (.10); meet with M. Moscato to discuss legal research and
               work assignments (.40); review letters regarding discovery
               dispute concerning late OID discovery (.30); review emails
               on page limits, progress and comments with respect to
               reply brief on motion to dismiss counterclaims (.50);
               emails with Pachulski on status of deposition notices
               (.20); draft email to counsel for U.S. Bank regarding
               confidentiality waiver request (.20); review and revise draft
               reply on motion to dismiss counterclaims in order to draft
               email with comments to Morrison & Foerster and Kramer
               Levin (2.90)


08/12/13 MJM   Discussion with E. Tobin and T. Foudy re: status of             1.90
               document review project for JSN litigation where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (.20); discussion with T. Foudy re: tasks and work
               assignments and status of legal research in JSNs
               litigation (.40); review current version of draft Reply Brief
               in Support of Debtors' Motion to Dismiss JSNs'
               Counterclaims (.80); review draft Rule 30(b)(6) Notice to
               JSNs (.50)

08/12/13 SKC   Continue review of Examiner's Report re: "hits" relevant to     8.40
               Farley, Westman, Tyson, Horner, Ruhlin and Goldin
               Associates to prepare same for trial in the Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (5.30);
               print and analyze documents in connection with same
               (2.10)

08/12/13 ET    Meet with M. Moscato and T. Foudy re: to provide update         6.10
               on document review project in connection with the JSN
               Adversary Proceeding and Plan confirmation as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (.20); revise list of issue tags in connection with
               same (2.20); review Relativity database and draft email to
               T. Foudy and M. Moscato re: status of the document
               review (.50); correspondence with document reviewers,
               including D. Straus, D. Bloom, B. Kotliar, J. Weber, H.
               Hiznay, H. Sawyer and T. Kapur re: designations for
               particular documents, focusing on Debtors' assets sales
               (among other issues) in connection with same (2.70);
               email correspondence with M. Moscato, T. Foudy, V.
               Hing, M. Harwood, J. Semmelman and S. Reisman re:
               availability of associates to participate in review project
               and related staffing matters in connection with same (.50)



08/12/13 JCB   Discussions with E. Tobin and R. Abdelhamid of                  7.10
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
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                                                  11/18/13       22:56:28
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               Morrison & Foerster re: document review and revised list
               of issue tags in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.20);
               respond to correspondence with document reviewers,
               including P. Kadison, D. Straus, D. Bloom, B. Kotliar and
               J. Weber, H. Hiznay, H. Sawyer and T. Kapur re:
               appropriate tags for documents (2.20); update review
               spreadsheet and determine new assignments for
               reviewers in connection with same (1.20); prepare for
               lunch meeting with document reviewers, including drafting
               outline of issues to discuss in connection with same
               (1.10); draft email to reviewers re: revised issue tags in
               connection with same (.40)

08/13/13 TPS   Follow up with M. Gallagher regarding strategy for CMH         0.20
               dispute with Cerberus, a conflict party (.20)

08/13/13 TF1   Review and provide comments on multiple drafts of reply        4.30
               brief in support of motion to dismiss counterclaims in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.10); review comments to reply brief
               circulated by Morrison & Foerster and Pachulski (.40);
               review reply brief filed by JSNs in support of their partial
               motion to dismiss complaint (.30); review Court order
               denying UMB request for OID discovery for impact on
               document review (.10); participate in meeting with E.
               Tobin, J. Berman, and M. Moscato to discuss progress of
               document review and methods for making tagging more
               efficient (1.10); attend to matters regarding staffing of
               review in connection with same (.30)



08/13/13 MJM   Attend portion of meeting with T. Foudy, J. Berman, and        0.90
               E. Tobin to discuss status and strategy for document
               review project in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90)


08/13/13 TL    Attention to correspondence re: organization and staffing      1.70
               to review documentation in the JSN adversary proceeding
               in light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.70)

08/13/13 SKC   Continue review of Examiner's Report to identify "hits"        4.80
               relevant to Farley, Westman, Tyson, Horner, Ruhlin and
               Goldin Associates for preparing same for trial in the JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.50);
               correspondence with E. Tobin on document hits in
               connection with same (.10) create chart of hit documents
               footnotes with corresponding potential witness information
               in connection with same (1.20)

08/13/13 MG8   Correspond with T. Smith regarding strategy for CMH            1.40
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               Holdings payment dispute situation with Cerberus, a
               conflict party, and related follow-up (.60); review Court's
               written opinion denying and granting in part UMB motion
               to dismiss Committee's adversary complaint with respect
               to the JSNs litigation where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (.80)


08/13/13 BMK   Collaborate with E. Tobin, J. Berman, J. Weber and R.           5.30
               Abdelhamid of Morrison & Foerster re: review and revise
               tagging protocol to streamline document review
               procedures, including overhaul of and revisions to tag
               descriptions and review protocol to be distributed to
               document reviewers in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (4.60); respond to email
               correspondences re: same from E. Tobin and J. Berman
               re: tagging procedures and protocol for certain prepetition
               and postpetition documents, including a review of the
               Examiner Report and relevant background/facts in
               connection with same (.70)

08/13/13 JTW   Review of Memorandum Opinion signed on 8/13/2013                5.60
               Granting in Part and Denying in Part UMB Bank's Motion
               to Dismiss which dismisses count V of the committee's
               complaint re: BMMZ facility recharacterization in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties for impact on document review (1.10);
               participate in internal meeting with E. Tobin, J. Berman, R.
               Abdelhamid of Morrison & Foerster, and B. Kotliar re:
               refining issuing tagging list for document reviewers in
               effort to facilitate the document review and streamline
               procedures re: same in light of tight project deadlines
               (4.50)



08/13/13 DAB   Review and analyze Court’s decision re: UMB Bank’s              3.60
               Motion to Dismiss re: pre-petition BMMZ facility and OID
               issues in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.40); correspond with B.
               Kotliar re: same (.10); analyze open tagging issues
               relevant to same re: E. Tobin and J. Berman request
               (.80); correspond with M. Castillo, B. Kotliar, J. Weber, E.
               Tobin and J. Berman re: same (1.00); confer with E. Tobin
               and J. Berman re: revision to issue tags (.80); review
               revised tags for accuracy and completness (.50)



08/13/13 ET    Draft and review emails with J. Berman, T. Lauer, V. Hing,     10.10
               B. Kotliar, R. Hansen, R. Hum, D. Bloom, J. Weber, G.
               Brandt, and R. Abdelhamid of Morrison & Foerster re:
               review of documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN
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                  5825         Filed 03/03/14
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               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (2.10);
               telephone call with A. Goodman re: same and draft
               follow-up email to A. Goodman of Kramer Levin re: same
               (.20); telephone call with R. Abdelhamid re: update of
               issue tag list for review of documents produced by the
               Debtors in the JSN Adversary Proceeding (.20); meet with
               M. Moscato (partial), T. Foudy and J. Berman update and
               status of document review (1.10); work with J. Berman, R.
               Abdelhamid, B. Kotliar, D. Bloom (partial) and J. Weber to
               revise issue tag list and document review protocol,
               focusing on updating revising descriptions of issue tags
               (4.60); work with J. Berman to review and revise finished
               product re: same to prepare to circulate (1.70); draft
               emails to T. Foudy, M. Moscato, and A. Goodman, C.
               Siegel, and P. Farber of Kramer Levin, and J. Morris and
               J. Rosell of Pachulski enclosing updated list of issue tags
               (.20)


08/13/13 JCB   Draft and review emails with R. Abdelhamid of Morrison &       10.90
               Foerster, E. Tobin, T. Lauer, V. Hing, B. Kotliar, R.
               Hansen, R. Hum, D. Bloom, J. Weber, G. Brandt, A.
               Anon, S. Morris and other reviewers about review of
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (2.20); meet with M. Moscato (partial), T. Foudy and E.
               Tobin re: documents produced by the Debtors in the JSN
               adversary proceeding (1.10); work with E. Tobin, R.
               Abdelhamid, B. Kotliar, D. Bloom and J. Weber to revise
               issue tag list and document review protocol, focusing on
               updating revising descriptions of issue tags (4.60); assist
               E. Tobin in finalizing product re: same to circulate (1.70);
               review of E. Tobin draft email enclosing updated list of
               issue tags (.80); reviewing batch assignments and
               determining new reviewer assignments (.50)



08/13/13 KK    Pull requested OCWEN APA SEC reports in connection              1.50
               with goodwill arguments raised in the Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.50);
               assemble materials re: same (1.00)

08/14/13 SJR   Attend to issues regarding possible service of subpoenas        1.50
               on Ad Hoc Group members and feedback from various
               parties including Morrison & Foerster, Pachulski, and
               Kramer Levin in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.10);
               review e-mails in connection with same as well as draft of
               deposition notices and subpoenas to prepare same for
               possible service (.40)
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08/14/13 TPS   Follow up with client regarding potential turn-over motion        0.80
               in connection with CMH dispute with Cerberus, a conflict
               party (.30); review indemnity language in operative
               agreements in connection with same (.50)

08/14/13 TF1   Revise 30(b)(6) notice to JSNs and draft email to Morrison        2.80
               & Foerster, Pachulski and Kramer Levin in regards to
               same in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.80); exchange emails with
               Pachulski, Morrison & Foerster and Kramer Levin re:
               possible additional deposition notices and subpoenas
               (.50); conference M. Moscato, with E. Tobin and J.
               Berman to discuss revision of issue tags in connection
               with JSN Adversary Proceeding document review project
               (.30); review revised list of issue tags in connection with
               same (.20)

08/14/13 MJM   Discuss revised issue tags and email review project in            0.30
               general with T. Foudy, J. Berman, and E. Tobin in
               connection with JSN Adversary Proceeding due to
               involvement of conflict parties Wells Fargo and certain
               members of Ad Hoc Group, including Loomis and UBS
               (.30)

08/14/13 TL    Correspondence and organization of Curtis London office           4.50
               to review documentation in the JSN adversary proceeding
               in light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50); meet with J. Ogilvie,
               V. Atkinson, B. Doline, and K. Behrouz discussing case
               and assignment in connection with same (1.20); review of
               document review protocol and ancillary documentation in
               connection with same (1.80)


08/14/13 SKC   Continue review of Examiner's Report in hard copy and             8.50
               online to identify further pages for "hits" relevant to Farley,
               Westman, Tyson, Horner, Ruhlin and Goldin Associates in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties for use in trial and deposition preparation
               (3.90); continue to update chart of potential documents
               from footnotes with corresponding potential witness
               information in connection with same (4.60)


08/14/13 MAC   Review open issues and questions in connection with               0.90
               document review project related to JSN Adversary
               Proceeding and Plan Confirmation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90)


08/14/13 MPJ   Correspond with J. Berman re: potential for drafting and          0.30
               serving a Rule 30(b)(6) subpoena on UMB Bank
               defendant in the JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are
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               conflict parties (.30)

08/14/13 JTW   Review of Ocwen public SEC filings including 8-K's,                5.20
               10-Q's in connection with goodwill arguments raised in the
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.40); confer with E. Tobin re: same and discuss
               strategy and next steps re: including potential arguments
               and evidentiary weight (2.30); correspond with D. Bloom
               and B. Kotliar re: revised tagging issues list (.10);
               correspond with B. Kotliar, E. Tobin, J. Berman and D.
               Bloom re: significance of certain documents pertaining to
               "borrowing base" within the JSN Document Production as
               well as issues related to bilateral facilities and exhibit 7.01
               of the 2009 AFI Revolver (.40)



08/14/13 DAB   Analyze open tagging issues relevant to same re: E.               10.10
               Tobin and J. Berman request in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.00); correspond with S. Morris, S. Balian, B.
               Patterson, S. Jude, B. Kotliar, J. Weber, E. Tobin and J.
               Berman, and R. Abdelhamid of Morrison & Foerster re:
               bilateral facilities issues, tax treatment issues, and other
               open document tagging issues in connection with same
               (1.00); confer with E. Tobin and R. Abdelhamid re:
               revision to issue tagging summary list (.40); review
               revised tags (.50); correspond with J. Berman re:
               presentation to document reviewers of sample issue
               tagged documents (.80); extensive review of Debtors’
               production database to locate sample documents for
               same (4.40)


08/14/13 ET    Confer with J. Weber to review financial statements filed         11.40
               by Ocwen Loan Servicing, LLC, focusing on Ocwen's
               statements regarding goodwill in connection with the
               assets purchased from ResCap in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.30); correspond with S. Kindya-Culley re:
               analysis of portions of the Examiner’s Report focusing on
               individuals identified by the Debtors as potential witnesses
               in the Initial Disclosures, in preparation for depositions
               and trial in the JSN Adversary Proceeding (.20); draft and
               review email correspondence with attorneys reviewing
               documents, including T. Laurer, J. Ogilvie, S. Tsikata, K.
               Behrouz, V. Atkinson, R. Hum, R. Hansen, and A. Anon
               re: same (1.40); meet with T. Foudy, M. Moscato and J.
               Berman re: updated issue tags in connection with same
               (.30); email correspondence with P. Farber of Kramer
               Levin, J. Rosell of Pachulski, R. Abdelhamid of Morrison &
               Foerster, and J. Berman re: review of documents and
               update list of issue tags per comments from P. Farber in
               connection with same (.60); continue to review and
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               update issue tag list for review of documents produced by
               the Debtors in connection with same (2.60); work with J.
               Berman to draft search terms and additional protocols for
               review of documents by issue so documents can be used
               in preparation for depositions and trial (3.10); correspond
               with R. Abdelhamid, J. Berman, B. Kotliar, J. Weber, and
               D. Bloom in order to respond to questions from document
               reviewers re: appropriate issue tags (.90)


08/14/13 JCB   Draft and review email correspondence with attorneys          9.20
               reviewing documents, including S. Jude, T. Laurer, J.
               Ogilvie, S. Tsikata, K. Behrouz, V. Atkinson, R. Hum, R.
               Hansen, and A. Anon re: review of documents by issue
               and document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.20); meet with T. Foudy,
               M. Moscato and E. Tobin re: updated issue tags in
               connection with same (.30); email correspondence with P.
               Farber of Kramer Levin, J. Rosell of Pachulski, and R.
               Abdelhamid of Morrison & Foerster, and E. Tobin re:
               review of documents and update list of issue tags per
               comments from P. Farber in connection with same (.80);
               continue to review relevant documents in connection with
               revising issue tag list for review in connection with same
               (2.90); work with E. Tobin to draft search terms and
               additional protocols for review of documents by issue
               (3.10); correspond with R. Abdelhamid, E. Tobin, B.
               Kotliar, J. Weber, and D. Bloom and respond to questions
               from document reviewers re: appropriate issue tags (.90)



08/14/13 KK    Assembe folder of Ocwen APA SEC filings relating to           0.50
               goodwill issues per request of E. Tobin in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.50)

08/15/13 SJR   Attend to review of e-mails regarding discovery in            4.30
               connection with JSN litigation over purported entitlement
               to post-petition interests and review of underlying
               documentation and materials in connection with same
               (4.30)

08/15/13 TF1   Review new drafts of work-in-progress reports circulated      4.30
               by Committee in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30);
               review letter from D. Baumstein of White & Case
               regarding Debtors' production in connection with same
               (.20); review relevant FIGC settlement filings, including
               objection by Monarch and transcript of Court's rulings on
               Mediation privilege and reliance for impact of JSN
               litigation (.40); attend weekly litigation
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               coordination meeting with E. Tobin, S. Engelhardt of
               Morrison & Foerster, P.B. O'Neill, G. Horowitz, C. Siegel,
               A. Goodman, E. Lintz, P. Farber, and R. Feinstein of
               Kramer Levin, and J. Morris and J. Rosell of Pachulski
               (2.00); review and edit drafts of 30(b)(6) subpoenas to Ad
               Hoc Group, UMB and Wells and provide comments on
               same (1.20); emails regarding Akin Gump's request to
               add additional affirmative defense (.20)


08/15/13 MB    Telephone call with D. Bloom concerning serving                    0.40
               subpoena upon US Bank in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.40)


08/15/13 TL    Attention to organization of London office attorneys in            3.00
               document review for the JSN adversary proceeding in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.80); resolve organization
               and staffing issues and respond to various procedural
               questions in connection with same (.70); correspondence
               with E. Tobin and J. Berman in connection with same
               (.50)

08/15/13 SKC   Continue review of Examiner's Report in hard copy and              6.40
               on line to identify futher pages for "hits" relevant to Farley,
               Westman, Tyson, Horner, Ruhlin and Goldin Associates in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (3.10); continue to update chart of potential
               documents from footnotes with corresponding potential
               witness information in connection with same (3.30)


08/15/13 BMK   Respond to email correspondences from E. Tobin and J.              0.40
               Berman re: document review protocol and preparations
               re: meeting to discuss updated protocol and ensure
               consistent procedures in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.40)


08/15/13 JTW   Draft memorandum re: Ocwen's public SEC filings and the            5.70
               reported valuation of goodwill associated with Ocwen's
               purchase of the Debtors' servicing segment and
               diversified fee based business in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.90); conduct research re: additional Ocwen
               materials re: same such as earnings calls and board
               minutes (2.30); conference with E. Tobin re: research
               findings re: same (.50)

08/15/13 DAB   Further review of documents in Debtors’ JSN litigation            12.90
               production in order to identify exemplars for each of
               several dozen tagging categories in connection with
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               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (7.60); discuss US Bank subpoena with M. Bartley
               in connection with same (.40); draft presentation in
               connection with same for reviewer meeting (1.50);
               correspond with J. Berman re: review of presentation
               (.40); correspond with S. Morris, R. Abdelhamid of
               Morrison & Foerster, B. Kotliar, J. Weber, E. Tobin and J.
               Berman re: open document tagging issues and factual
               issues (1.20); correspond with R. Abdelhamid re: master
               set of documents in connection with same (.20); analyze
               Examiner Report, secondary sources, and Debtors’
               production for references to Flume pledge (1.30);
               correspond with J. Berman re: revision to Broker
               Agremeent tag (.30)


08/15/13 SS2   Per B. Kotliar's request, assemble materials for binder re:    1.50
               motion to dismiss and complaints in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.50)

08/15/13 ET    Confer with J. Weber re: Ocwen's public SEC filings in        11.50
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.50); draft email to M. Moscato and T.
               Foudy re: same (.40); review documents and draft
               memorandum analyzing issues related to Ocwen's
               allocation of the purchase price paid for the origination
               and servicing platform assets (1.60); attend weekly
               strategy meeting with counsel for the Debtors and the
               Creditors' Committee, including T. Foudy, S. Engelhardt of
               Morrison & Foerster, P.B. O'Neill, G. Horowitz, C. Siegel,
               A. Goodman, E. Lintz, P. Farber, and R. Feinstein of
               Kramer Levin, and J. Morris and J. Rosell of Pachulski re:
               preparation for depositions and trial in the JSN adversary
               proceeding (2.00); correspond with B. Kotliar re: review of
               documents produced by the Ad Hoc Group in response to
               the Debtors' discovery requests, in preparation for the
               Debtors' 30(b)(6) deposition of the Ad Hoc Group's
               designated witness (.40); review correspondence re:
               discovery disputes (.60); confer with R. Abdelhamid re:
               same (.40); draft and review email correspondence with
               Nightowl and attorneys reviewing documents, including K.
               Meehan, D. Glazer and E. Combs, re: review of
               documents by issue and document-type tags so
               documents can be used in preparation for depositions and
               trial (1.80); correspond with J. Berman and R. Abdelhamid
               re: status of document review, following meeting of
               Debtors' and Creditors' Committee's counsel (.70); confer
               with R. Abdelhamid and J. Berman to respond to
               questions from document reviewers re: appropriate issue
               tags for documents produced by Debtors in the JSN
               adversary proceeding (2.20); review documents in
               preparation for August 16,
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               2013 presentation to document reviewers (.50);
               correspond with D. Bloom, J. Berman and J. Weber re:
               same (.40)

08/15/13 JCB   Confer with E. Tobin and R. Abdelhamid of Morrison &          6.20
               Foerster re: status of document review in connection with
               documents produced by Debtors in the JSN Adversary
               Proceeding where noteholders UBS and Loomis are
               conflict parties (.70); confer with R. Abdelhamid and E.
               Tobin in order to respond to questions from document
               reviewers (2.40); follow up correspondence re: same with
               B. Kotliar, J. Weber, and D. Bloom (.50); update
               document review chart to reflect completed assignments
               and allocating new batches to document reviewers (.60)


08/16/13 SJR   Review issues regarding original issue discount in            1.10
               connection with document review tagging in the JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.10)

08/16/13 TF1   Review served subpoenas and deposition notices in             3.20
               connection with JSN adversary proceeding due to
               involvement of conflict parties Wells Fargo and certain
               members of Ad Hoc Group, including Loomis and UBS
               (.20); email correspondence providing instructions re:
               same to E. Tobin and M. Jones (.20); review research
               regarding deposition number limits under Rule 30 (.80);
               review and edit multiple drafts of letter to JSNs on same
               (.60); exchange multiple emails with J. Levitt and S.
               Engelhardt of Morrison & Foerster, and G. Horowitz of
               Kramer Levin regarding same (.30); attend portion of
               document review protocol meeting to address reviewer
               questions (.80); review memo on Ocwen public
               statements and filings and send follow-up inquiry with E.
               Tobin and J. Weber on same (.30)


08/16/13 TL    Review of document review protocol and ancillary              6.00
               documents, studying bankruptcy case and pending
               dispute in the JSN adversary proceeding in light of
               involvement of conflict parties Wells Fargo and certain
               members of Ad Hoc Group (2.50); attend meeting with V.
               Atkinson, J. Ogilvie, and K. Behrouz explaining ResCap,
               GMAC, Ally Financial and origination, securitization and
               servicing of residential mortgages (1.00); attend telephone
               conference regarding review procedures led by E. Tobin,
               J. Berman, and D. Bloom in connection with same (1.50);
               respond to correspondence re: document review tagging
               issues (1.00)



08/16/13 SKC   Continue to Review Examiner's Report in Hard copy and         6.40
               on line to identify further pages for "hits" relevant to
               Farley, Westman, Tyson, Horner, Ruhlin and Goldin
               Assoc., providing all updated information to E. Tobin in
               connection with Consolidated JSN Adversary
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               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (6.40)

08/16/13 MAC   Prepare for and attend meeting led by J. Berman, E.           1.80
               Tobin, and D. Bloom with document review team in
               connection with review of documents related to JSN
               litigation and plan confirmation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.50);
               confer with E. Tobin and J. Berman re: same (.30)

08/16/13 EC    Confer with E. Tobin, J. Drew, M. Jones, B. Kotliar, J.       0.40
               Weber, D. Bloom, J. Berman, and E. Tobin to discuss
               strategy for additional level of document review and
               receive assignments of specialized topics for review in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40)

08/16/13 MPJ   Research Second Circuit case law interpreting Federal         2.80
               Rules of Civil Procedure presumptive 10 deposition limit in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.70); draft memorandum re: same (.70);
               meet with E. Tobin, J. Berman, J. Drew, D. Bloom, J.
               Weber, and B. Kotliar regarding strategies for conducting
               higher-level review of documents relating to the extent
               and value of the JSNs' liens (.40)


08/16/13 BMK   Assist meeting led by E. Tobin, J. Berman, and D. Bloom       3.60
               re: review of updated protocol and sample documents
               highlighting proper tagging procedures in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.50); prepare for same with E. Tobin, D. Bloom,
               and J. Berman by reviewing facts and tagging procedures
               (.40); respond to email correspondence from T. Foudy re:
               documents produced by Ad Hoc Group and whether
               production includes certain emails of noteholders (.50);
               discuss with E. Tobin new assignment re: deposition of Ad
               Hoc Group and individual noteholders and project tasks
               for review of documents re: same (.30); respond to
               various correspondences from E. Tobin and J. Berman re:
               questions re: tagging procedures (.50); meet with E.
               Tobin, J. Berman, J. Drew, D. Bloom, J. Weber, and M.
               Jones regarding strategies for conducting higher-level
               review of documents relating to the extent and value of
               the JSNs' liens (.40)



08/16/13 JTW   Continue review of Ocwen's public filings and other           4.00
               relevant documents for impact on JSNs' alleged lien on
               intangible value associated with Residential Capital Asset
               Sales in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.10);
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               prepare, participate and assist in leading discussion at
               meeting led by E. Tobin, J. Berman, and D. Bloom re:
               update on document review process to clarify certain
               issues in response to reviewers questions re: background
               and tagging protocol (1.50); participate in internal meeting
               with E. Tobin, J. Drew, J. Berman, B. Kotliar, M. Jones, E.
               Combs, and D. Bloom re: second level review in
               preparation for depositions (.40)

08/16/13 DAB   Further review of documents in Debtors’ JSN litigation         5.60
               production in order to identify exemplars for each tagging
               category in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.90); further prepare for
               presentation in connection with same for reviewer meeting
               (1.80); lead meeting with E. Tobin and J. Berman re:
               same (1.50); participate in internal meeting with E. Tobin,
               J. Drew, J. Berman, B. Kotliar, M. Jones, E. Combs, and
               J. Weber re: second level review in preparation for
               depositions (.40)

08/16/13 SS2   Per E. Tobin's request, assemble materials for binder          5.00
               titled "Depositions and Subpoenas" in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.50); create chart re: deposition and subpoenas
               on same (1.50)

08/16/13 ET    Telephone calls with R. Abdelhamid of Morrison &               8.80
               Foerster re: substantive document review in preparation
               for depositions and trial in the JSN adversary proceeding
               and in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.70); review documents
               and email correspondence and draft and revise agenda
               for meeting with document reviewers, and confer with J.
               Berman and R. Abdelhamid re: same (2.30); meet with J.
               Berman, D. Bloom and B. Kotliar to prepare for meeting
               with all document reviewers (.40); lead meeting along with
               J. Berman and D. Bloom with document reviewers from
               Curtis, Morrison & Foerster, and Pachulski re: review of
               documents by issue and document-type tags so
               documents can be used in connection with same (1.50);
               review relevant documents and follow-up email
               correspondence with R. Abdelhamid, J. Weber and D.
               Bloom re: document issue tagging, focusing on issues
               related borrowing base reports and the AFI LOC facility
               (1.10); respond to questions from document reviewers re:
               appropriate issue tags for documents produced by
               Debtors (1.10); correspond with J. Berman, D. Bloom, B.
               Kotliar, and J. Weber re: same (.50); email
               correspondence with J. Rosell of Pachulski re: follow-up
               meeting re: review of documents produced in the JSN
               adversary proceeding, plan follow-up meeting for August
               17, 2013 (.40); correspondence with J.
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               Weber and B. Kotliar re: same (.20); correspond with B.
               Kotliar re: review of documents produced by the Ad Hoc
               Group in response to the Debtors' discovery requests, in
               preparation for the Debtors' 30(b)(6) deposition of the Ad
               Hoc Group's designated witness (.60)


08/16/13 JCB   Review documents and email correspondence and                    5.80
               preparing agenda for meeting with document reviewers,
               and confer with E. Tobin and R. Abdelhamid of Morrison &
               Foerster re: same in connection with preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation, in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (2.20); meet with E. Tobin,
               D. Bloom and B. Kotliar to prepare for meeting with all
               document reviewers (.40); assist in leading meeting with
               E. Tobin and D. Bloom re: review of documents by issue
               and document-type tags so documents can be used in
               connection with same (1.50); correspond with R.
               Abdelhamid, E. Tobin, B. Kotliar, J. Weber and D. Bloom,
               responding to questions from document reviewers re:
               appropriate issue tags for documents produced by
               Debtors in the JSN adversary proceeding (1.60)



08/17/13 TF1   Review emails from M. Jones regarding deposition                 0.80
               limitations and presence of privileged documents in
               Debtors' production in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30);
               emails regarding division of labor for taking depositions
               (.20); emails with Morrison & Foerster and Committee
               regarding research of effect of consolidation on deposition
               number limitations (.10); review emails regarding
               involvement of H5 in developing search terms and
               expediting review process in connection with JSN
               document review (.20)

08/17/13 BMK   Respond to email correspondences re: miscellaneous               3.20
               bilateral facilities and securitizations and proper tagging of
               same in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40); prepare for call re: resolving open
               issues in doc review by reviewing materials circulated by
               E. Tobin and J. Rosell of Pachulski (.20); teleconference
               with J. Rosell of Pachulski, R. Abdelhamid of Morrison &
               Foerster, E. Tobin, J. Berman, and J. Weber re:
               preparation for larger conference and review of
               documents for appropriate tagging protocol, including
               general rules and guidelines (.50); teleconference with J.
               Rosell and Pachulski attorneys and E. Tobin, J. Berman,
               and J. Weber re: revised tagging protocol and resolving
               open issues re: same (2.10)
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08/17/13 JTW   Participate in initial call with J. Rosell of Pachulski, R.   2.70
               Abdelhamid of Morrison & Foerster, and E. Tobin re:
               sample set of document exemplars for review meeting in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.50); conference call with same and Pachulski
               attorneys re: same explaining relevant background
               information and resolving tagging issues in connection
               with same (2.10); follow-up correspondence with J. Rosell
               re: clarification of particular issues that arose during
               conference call (.10)

08/17/13 ET    Draft and review emails from M. Moscato, T. Foudy, M.         5.50
               Jones, and J. Weber re: research re: application of
               ten-deposition limit under the Federal Bankruptcy Rules in
               consolidated actions in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90);
               review and respond to substantive questions from
               document reviewers, including G. Brandt, G. Schrader, B.
               Barath, B. Patterson and P. Kadison, re: appropriate issue
               tags for documents produced by Debtors (.70); follow-up
               correspondence with R. Abdelhamid, B. Kotliar, and J.
               Weber re: same (.40); review documents and confer with
               J. Rosell of Pachulski via email in preparation for meeting
               with document reviewers (.50); conference call with J.
               Rosell, E. Tobin, J. Weber, and B. Kotliar regarding
               substantive issue tagging of documents produced by third
               parties in the JSN adversary proceeding (.50); attend
               portion of conference call with J. Rosell and Pachulski
               team regarding substantive issue tagging of documents
               (1.30); conference call with R. Abdelhamid, C. Siegel of
               Kramer Levin and J. Natividad (partial) re: retainer of H5
               for document review and deposition preparation (.70);
               follow-up telephone call with R. Abdelhamid re: same
               (.10); email correspondence with M. Moscato, T. Foudy
               and R. Abdelhamid re: services provided by H5 to
               efficiently review documents (.40)



08/17/13 JCB   Review of documents identified by Pachulski in                4.60
               preparation for call with document reviewers re:
               appropriate tagging of documents in connection with
               Curtis’ role as conflicts counsel, as Wells Fargo and
               noteholders UBS and Loomis are conflict parties (1.30);
               conference call with E. Tobin (partial), B. Kotliar, J.
               Weber, J. Rosell of Pachulski, and document reviewers to
               discuss tagging determinations (2.10); respond to
               questions emailed by document reviewers re: tagging of
               documents in connection with same (1.20)

08/18/13 TF1   Review email from UMB counsel seeking permission to           0.30
               add affirmative defense in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict
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               parties (.10); review Committee email responses in
               connection with same (.10); exchange emails with
               Morrison & Foerster in regards to response to same (.10)


08/18/13 MPJ   Research whether the Federal Rules of Civil Procedure's       1.20
               presumptive limit to 10 deposition applies to consolidated
               actions in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.00); draft summary of
               research results to M. Moscato, T. Foudy, E. Tobin and J.
               Berman (.20)

08/18/13 JTW   Correspondence with B. Kotliar, E. Tobin, and J. Rosell of    0.90
               Pachulski and R. Abdelhamid of Morrison & Foerster re:
               issue tagging of documents and correspondence with
               document review team to clarify the tagging of certain
               documents in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.90)

08/18/13 DAB   Respond to open questions regarding document review           2.30
               from R. Abdelhamid of Morrison & Foerster, E. Tobin, P.
               Kadison, J. Levine, J. Drew, J. Weber in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (2.30)

08/18/13 ET    Review and analyze documents produced by the Ad Hoc           5.00
               Group in response to the Debtors' document requests, in
               the JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties, in
               preparation for the Debtors' 30(b)(6) deposition of the Ad
               Hoc Group (1.10); review and analyze case law re:
               application of the ten-deposition limit under the Federal
               Rules of Bankruptcy Procedure in connection with the
               discovery dispute with the JSNs (1.20); follow-up
               correspondence with M. Moscato and M. Jones re: same
               (.20); call with R. Abdelhamid of Morrison & Foerster re:
               services provided by H5 in connection with
               technology-assisted review of documents produced by the
               Debtors in the JSN adversary proceeding in preparation
               for depositions and trial (.30); email correspondence with
               R. Abdelhamid of Morrison & Foerster and C. Siegel of
               Kramer Levin, regarding services provided by H5 (.80);
               confer with J. Rosell of Pachulski, J. Weber, and R.
               Abdelhamid re: appropriate issue tags for documents
               produced by Debtors and third-parties in the JSN
               adversary proceeding (1.40)



08/19/13 TF1   Participate in call with Ally counsel regarding preparation   1.40
               for depositions in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.40);
               draft email to C. Shore, counsel to the Ad
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               Hoc Group, following up on Aurelius production (.20);
               review emails on UMB motion to amend answer (.30);
               follow-up correpsondence with M. Moscato and E. Tobin
               re: division of labor and issues surrounding depositions
               (.50)

08/19/13 JD3   Review OID-related documents for issue tagging                 0.70
               purposes in connection with JSN document review project
               in light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.70)

08/19/13 MJM   Begin preparations for 30(b)(6) depositions of the Ad Hoc      1.70
               Group (1.70)

08/19/13 TL    Attend to document review in connection with JSN               2.50
               adversary proceeding in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (.60); respond to inquiries and questions of V. Atkinson, B.
               Doline, K. Behrouz, J. Ogilvie and S. Tsikata in
               connection with proper categorization of documentation
               pursuant to review protocol in connection with same
               (1.90)

08/19/13 MAC   Review status of document review project related to plan       0.50
               confirmation and JSN litigation in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.50)

08/19/13 BMK   Respond to email correspondence from document                  0.80
               reviewers re: relevant background and appropriate
               tagging procedures in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.80)

08/19/13 JTW   Correspondence with E. Tobin re: Ocwen research re:            2.50
               public filings implicating potential goodwill arguments in
               connection with JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.30); correspondence with J. Rosell of Pachulski
               re: review of inquiries as to certain issues surrounding the
               collateral value of the assets securing the GMAC/AFI
               Revolver in connection with depositions and trial in the
               JSN adversary proceeding and in connection with Plan
               Confirmation (.80); attend to correspondence with J.
               Rosenberg, C. Stakim, J. Levine, and S. Jude of Morrison
               & amp; Foerster re: clarification on certain documents as
               to proper marking of the documents by issue and
               document-type tags so documents can be used in
               connection with same (1.40)


08/19/13 DAB   Respond to open questions regarding document review            3.50
               from J. Berman, R. Abdelhamind of Morrison & Foerster,
               C. Stakim, S. Park, S. Jude, J. Rosenberg, E. Tobin, P.
               Kadison, J. Levine, J. Drew, J. Weber in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders
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               Loomis and UBS are conflict parties (3.50)

08/19/13 FRG   Assist B. Kotliar with materials re: pleadings in               0.40
               consolidated JSN adversary proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.40)

08/19/13 SS2   Per E. Tobin's request, re-assemble materials for binder        2.50
               titled "Depositions and Subpoenas" to reflect chart in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties for use in assisting with discovery and
               related disputes (2.00); per. B. Kotliar's request, assemble
               materials re: same and circulate to M. Moscato (.50)


08/19/13 ET    Meet with S. Englehardt, T. Goren and R. Abdelhamid of         10.00
               Morrison & Foerster re: substantive discussion of issues
               in the JSN Adversary Proceeding based on the Debtors'
               witnesses identified as deponents by UMB and the Ad
               Hoc Group in connection with JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.70); meet with R. Abdelhamid prior to
               meeting to prepare for same (.60); follow-up meeting with
               R. Abdelhamid and draft outline re: identification of issues
               relevant to the deponents noticed by UMB and the Ad Hoc
               Group (2.00); confer with R. Abdelhamid and C. Siegel of
               Kramer Levin re: services provided by H5 re:
               technology-assisted review and issue tagging of
               documents produced by the Debtors in preparation for
               depositions in the JSN adversary proceeding (.50); review
               relevant documents, witness declarations and deposition
               transcripts, and revise outline of issues relevant to the
               deponents noticed by UMB and the Ad Hoc Group in the
               JSN adversary proceeding (5.20)



08/19/13 JCB   Respond to questions raised by document reviewers in            1.60
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (1.20); update review spreadsheet and assign new
               batches to reviewers to facilitate review process (.40)


08/20/13 SJR   Analysis of issues regarding JSNs postpetition interest         2.20
               disoute in connection with valuation of collateral issues in
               the JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.20)


08/20/13 TF1   Review email from J. Morris of Pachulski raising issues for     8.90
               "meet and confer" and correspond re: same with M.
               Moscato in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.30); participate in pre-call
               for "meet and confer" with defendants on depositions and
               document production
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               (.40); participate in "meet and confer", and follow-up calls
               with Court and with G. Horowitz of Kramer Levin, J. Morris
               of Pachulski and S. Engelhardt of Morrison & Foerster in
               connection with same (1.40); meet with E. Tobin, M.
               Jones and M. Moscato to discuss drafting letter to court
               on ten-deposition limit (.70); meet with E. Combs, B.
               Kotliar and M. Moscato to discuss preparation for Rule
               30(b)(6) depositions of UMB and Ad Hoc Group (3.70);
               review and edit multiple drafts of letter to court on
               ten-deposition limit (2.10); follow-up on scheduling of
               defendants' depositions (.30)

08/20/13 JD3   Continue review OID-related documents in connection             2.10
               with JSN document review project in light of involvement
               of conflict parties Wells Fargo and noteholders UBS and
               Loomis (1.80); prepare and circulate list of search terms
               related to OID (.30)

08/20/13 MJM   Review materials to prepare for 30(b)(6) depositions of         7.20
               UMB and the Ad Hoc Group of JSNs in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.20); meet with T. Foudy, E. Combs, and B.
               Kotliar to discuss preparations and examination scripts for
               Rule 30(b)(6) depositions of UMB and the Ad Hoc Group
               (3.70); review draft letter to J. Glenn re: requiring
               Defendants to adhere to the 10-deposition limit of the
               Federal Rules of Civil Procedure (.70); meeting with T.
               Foudy, M. Jones, and E. Tobin re: revising draft letter to J.
               Glenn re: requiring Defendants to adhere to the
               10-deposition limit (.70); edit revised draft of letter to J.
               Glenn re: JSNs' violation of 10-deposition limit (.60);
               correspond with E. Tobin re: edits to 10 deposition letter
               (.30)


08/20/13 TL    Address inquiry of London document review in connection         2.20
               with JSN adversary proceeding in light of involvement of
               conflict parties Wells Fargo and certain members of Ad
               Hoc Group re: questions in connection with proper
               categorization of documentation pursuant to review
               protocol (2.20)

08/20/13 EC    Meet with B. Kotliar, T. Foudy, and M. Moscato in               9.90
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are potential
               conflict parties to discuss deposition of Ad Hoc Group
               corporate representative and script (3.70); draft deposition
               script for corporate representative of Ad Hoc Group on
               topics relating to releases of collateral (1.50); review
               documents, including complaint and counterclaims, as
               well as produced documents for information relating to
               substance of JSN counterclaims and to identify
               documents for examination (2.90); continue drafting
               deposition script for Ad Hoc Group for topics relating to
               collateral releases (1.80)
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08/20/13 MPJ   Meet with M. Moscato, T. Foudy, and E. Tobin to discuss          3.00
               draft of letter to Judge Glenn arguing the Junior Secured
               Noteholders should be barred from taking beyond 10
               depositions in connection with Curtis' representation as
               conflicts counsel in the dispute with the Junior Secured
               Noteholders regarding the extent and value of their liens,
               as Wells Fargo and noteholders UBS and Loomis are
               conflict parties (.70); draft legal argument section of letter
               to Judge Glenn arguing that the Junior Secured
               Noteholders should be limited to ten depositions in
               connection with same (2.30)



08/20/13 BMK   Conference with T. Foudy, M. Moscato, and E. Combs to            4.40
               discuss strategy and outline for depositions pursuant to
               30(b)(6) of UMB Bank and the Ad Hoc Group to be
               handled by Curtis in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (3.70);
               respond to email correspondence re: background to
               various loan and credit agreements, special purpose
               entities and bilateral facilities, and other financing
               questions (.70)

08/20/13 JTW   Correspond with P. Kadison re: clarification of issues           0.80
               related to document issue tags in connection with review
               of documents produced by the Debtors in the JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30);
               correspondence with D. Bloom and R. Hansen re:
               clarification on issue tagging documents with respect to
               european asset sales in 2010-2011 related to certain
               affiliated entities including Viaduct (UK) (.50)

08/20/13 DAB   Correspond with P. Kadison, J. Berman and J. Weber re:           3.70
               references to Management Buyout scenario referenced in
               Debtors’ document production in JSN litigation where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.40); extensive review of documents referencing
               same in connection with same (.80); respond to open
               questions regarding document review from J. Berman, R.
               Abdelhamind, C. Stakim, S. Park, S. Balian, E. Tobin, P.
               Kadison, J. Levine, J. Drew, J. Weber (2.50)


08/20/13 ET    Meet with T. Foudy, M. Moscato, and M. Jones re: dispute         9.90
               between the Debtors/Creditors' Committee and the
               Defendants re: Defendants' assertion that they are
               entitled to take more than ten depositions without leave of
               court in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.70); conduct research and
               review relevant documents, including deposition notices
               and subpoenas and the parties' correspondence in
               connection with same (2.90); draft
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               and revise letter to Court re: applicability of ten-deposition
               limit under Federal Bankruptcy Rule 7030 re: same (2.60);
               review edits to the draft letter from G. Horowitz and revise
               letter per the same (1.50); confer with R. Abdelhamid of
               Morrison & Foerster in preparation for August 21, 2013
               meeting with H5 re: document review (.50); review emails
               from document reviewers re: substantive review and issue
               tagging of documents produced by the Debtors' in the
               JSN adversary proceeding, so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation
               (.80); follow-up correspondence with R. Abdelhamid, D.
               Bloom, J. Weber and B. Kotliar re: same (.30); correspond
               with D. Bloom and J. Weber re: second-level review of
               documents tagged "for further review" and "hot" (.30);
               correspond with J. Berman and R. Adbelhamid re: status
               of document review and additional batch assignments
               (.30)



08/20/13 JCB   Update document review spreadsheet to reflect new                5.70
               batches added to Relativity and to indicate batches that
               have been reviewed in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (2.20); allocate new
               document review assignments (.80); respond to questions
               from document reviewers re: factual issues relating to
               same (1.40); perform quality control re: tagging of
               documents (1.30)

08/21/13 TF1   Review and finalize draft of letter to Court on dispute          3.70
               regarding number of depositions in connection with JSN
               Adversary Proceeding due to involvement of conflict
               parties Wells Fargo and certain members of Ad Hoc
               Group, including Loomis and UBS (.80); draft email to
               defendants regarding scheduling of their depositions (.20);
               review email from defendants on their preferred witnesses
               (.10); review S. Engelhardt of Morrison & Foerster email
               on correction to document production letter (.10); emails
               on scheduling of weekly litigation meeting and call to
               discuss response to Defendants' letters to court on
               discovery dispute (.10); review defendants' letters to court
               on discovery disputes and analyze responses (.80);
               participate in call with S. Engelhardt of Morrison &
               Foerster, Pachulski and Kramer Levin to discuss potential
               responses and preparation for hearing (.80); follow-up call
               with Committee Counsel at Kramer Levin re: same (.80)



08/21/13 MJM   Final review and edits to letter to J. Glenn re: 10              1.10
               deposition issue in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30);
               participate in conference call with S. Engelhardt of
               Morrison & Foerster, T. Foudy, and counsel for Creditors'
               Committee re: strategy for tomorrow's
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               discovery conference before J. Glenn in connection with
               same (.80)

08/21/13 TL    Meet with V. Atkinson, K. Behrouz, and J. Ogilvie in              3.00
               connection with JSN adversary proceeding in light of
               involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.20); correspondence with
               same re: issues and questions encountered during
               document review and addressing questions relating to
               litigation and bankruptcy proceeding (1.00); respond to
               inquiries and questions in connection with proper
               categorization of documentation pursuant to review
               protocol (.80)

08/21/13 MG8   Telephone conference w/ L. Delehey regarding CMH                  0.20
               Holdings dispute with Cerberus, a conflict party, regarding
               withheld distributions (.10); follow up with T. Smith and N.
               Rosenbaum regarding same (.10)

08/21/13 EC    Draft portions of script for 30(b)(6) deposition of the Ad       11.40
               Hoc Group of Junior Secured Noteholders designee
               relating to topics on excluded assets, bilateral facilities,
               and GNMA servicing rights in connection with Curtis’ role
               as conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (4.20); review claims
               subject to deposition topics and pleadings and other
               docket entry files relating thereto in connection with
               drafting deposition script (1.60); draft portion of deposition
               script relating to use of cash collateral and similar topics
               (2.90); draft and revise portion of deposition script relating
               to JSNs purported liens classified under "catchall"
               categories in the counterclaims (2.30); correspond with B.
               Kotliar re: documentation located in JSN productions and
               review synopsis of production that he prepared (.40)



08/21/13 JTW   Correspondence with K. Meehan, M. Stookey, J. Rosell of           1.90
               Pachulski, D. Bloom, and J. Berman re: clarification of
               issues related to documents in Debtors' production so
               documents can be used in preparation for depositions and
               trial in the JSN adversary proceeding and in connection
               with Plan Confirmation, in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.90)

08/21/13 DAB   Respond to open questions regarding document review               5.90
               from J. Berman, R. Abdelhamid of Morrison & Foerster, E.
               Tobin, J. Levine, S. Jude, C. Mackle, B. Patterson, J.
               Weber in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (3.00); review and analyze
               potential clawback documents per correspondence with J.
               Berman in connection with same (.80); analyze Broker
               Fee and Tax Allocation issues for R. Abdelhamid and E.
               Tobin in connection with same (1.80); correspond with R.
               Abdelhamid and
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               E. Tobin re: use of “further review” tag by certain
               reviewers in connection with same (.30)

08/21/13 ET    Review and revise letter to the Court re: applicability of    8.30
               ten-deposition limit under Federal Bankruptcy Rule 7030
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties based on comments from M.
               Moscato and T. Foudy, and circulate to C. Siegel and G.
               Horowitz of Kramer Levin, T. Foudy and M. Moscato for
               review prior to submission (.30); confer with R.
               Abdelhamid via telephone and email in preparation for
               meeting with H5 in connection with document review
               process (.40); attend meeting with G. Horowitz, C. Siegel,
               E. Lintz, B. Schulman, and P. Farber of Kramer Levin, J.
               Rosell of Pachulski, R. Abdelhamid of Morrison &
               Foerster, and consultants from H5 re: technology-assisted
               review of the documents produced by the Debtors in the
               JSN Adversary proceeding and the Examiner's database
               (3.30); coordinate with R. Abdelhamid to revise the outline
               of issues relevant to Debtors' witnesses noticed for
               deposition by UMB and the Ad Hoc Group, and compile
               documents relevant to deposition preparation including
               deposition transcripts, document review protocols,
               excerpts from the Examiner's Report and in order to
               provide to H5 (1.90); email correspondence with C.
               Siegel, E. Lintz, P. Farber, J. Rosell and R. Abdelhamid
               regarding preparation for and scheduling of depositions in
               the JSN Adversary Proceeding (.60); draft emails to M.
               Moscato and T. Foudy re: same (.20); correspond with R.
               Abdelhamid and J. Berman re: status of review of
               documents by issue and document-type tags so
               documents can be used in preparation and scheduling of
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation and draft follow-up
               email to T. Foudy and M. Moscato re: same (.30); review
               emails from document reviewers re: substantive issue
               tags (.50); correspond with R. Abdelhamid, J. Berman, D.
               Bloom, and J. Weber re: same (.80)




08/21/13 JCB   Respond to document reviewer questions and manage             7.70
               review assignments in connection with document review
               project re: JSN Adversary Proceeding and Plan
               Confirmation where Wells Fargo and noteholders UBS
               and Loomis are conflict parties (4.20); review mistagged
               documents and those marked "hot" or "further review" in
               connection with same (1.70); correspondence with E.
               Tobin and R. Abdelhamid of Morrison & Foerster re:
               status of review (.50); analysis of review completed to
               date and projecting estimated completion date in
               connection with same in order to plan adversary
               proceeding discovery process accordingly (1.30)
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08/22/13 TPS   Follow up with M. Gallagher re: informing Committee             0.20
               Counsel of current status of possible adversary action
               against Cerberus, a conflict party (.20)

08/22/13 TF1   Review and take notes on latest draft of Order of Proof in      6.50
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.00); prepare for hearing on discovery
               disputes and weekly status meeting with Morrison &
               Foerster, Kramer Levin, and Pachulski (.90); travel to
               court for discovery hearing billed at half-time (.40); attend
               court conference on discovery disputes (1.10); emails with
               Debtor and Committee Counsel regarding scheduling and
               logistics of deposition taking (.40); review, revise, and
               comment upon draft email demand for witness
               identification (.30); attend weekly update meeting with
               attend weekly meeting with counsel for the Debtors and
               the Creditors' Committee, including J. Levitt, R.
               Abdelhamid, and S. Engelhardt of Morrison & Foerster, J.
               Morris and J. Rosell of Pachulski, G. Horowitz, P.B.
               O'Neill, C. Siegel, and P. Farber of Kramer Levin, and M.
               Moscato and E. Tobin (1.30); meet with E. Tobin and M.
               Moscato on status of deposition scheduling (.60); follow
               up with E. Tobin and J. Berman in regards to transitioning
               of review to search protocol and emails in regards to
               same in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.50)



08/22/13 MJM   Meet with T. Foudy and E. Tobin re: document review and         3.80
               deposition preparation and scheduling in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.60); review latest version of outline and order of
               proof re: Phase I of JSN trial in preparation for weekly
               coordination meeting re: JSN litigation (1.10); participate
               in weekly coordination meeting re: JSN litigation with
               counsel for the Debtors and the Creditors' Committee,
               including J. Levitt, R. Abdelhamid, and S. Engelhardt of
               Morrison & Foerster, J. Morris and J. Rosell of Pachulski,
               G. Horowitz, P.B. O'Neill, C. Siegel, and P. Farber of
               Kramer Levin, and E. Tobin and T. Foudy (1.30); review
               and revise Rule 30(b)(6) deposition materials of the Ad
               Hoc Group and UMB (.40); correspond with E. Combs re:
               Rule 30(b)(6) deposition scripts of the Ad Hoc Group and
               UMB (.20); conference with E. Tobin and S. Engelhart re:
               deposition scheduling (.20)



08/22/13 TL    Address questions of V. Atkinson, K. Behrouz, and J.            1.70
               Ogilvie in connection with review protocol relating to JSN
               adversary proceeding in light of involvement of conflict
               parties Wells Fargo and noteholders UBS and Loomis
               (1.70)
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08/22/13 MG8   Telephone conference w/ D. Mannal of Kramer Levin to            0.30
               discuss dispute between Debtors and Cerberus, a conflict
               party, regarding withheld payments from CMH Holdings
               (.30)

08/22/13 MAC   Conduct review and analysis of issues in connection with        1.50
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (.90); review issues in connection with conclusion
               of document review project related to documents that
               could be used in connection with plan confirmation or the
               JSN Adversary Proceeding (.60)

08/22/13 GF    Draft and circulate internal calendar notifications re: court   0.50
               dates and deadlines in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.50)


08/22/13 EC    Draft script for the JSNs' 30(b)(6) designee for topics         5.30
               including the JSNs' affirmative defenses, document
               production, as well as others in connection with Curtis’
               role as conflicts counsel, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (3.20); review case
               pleadings, document requests and internal memoranda
               relating to deposition topics in connection with drafting
               script for 30(b)(6) designee (.80); continue reviewing and
               revising draft 30(b)(6) deposition script for use with Junior
               Secured Noteholders (1.30)

08/22/13 BMK   Review draft 30(b)(6) deposition script prepared by E.          1.70
               Combs per discussions with T. Foudy and M. Moscato in
               connection with Curtis taking deposition of UMB and the
               ad hoc group in connection with the JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.80); correspond with E.
               Combs re: same to highlight open issues and additional
               areas of focus in light of document review (.40);
               telephonically attend portion of hearing on discovery
               dispute relating to number and nature of depositions in
               connection with same and correspondence with E. Combs
               re: same highlighting impact on 30(b)(6) topics (.50)



08/22/13 JTW   Conduct review of amended provisions in the multiple            8.20
               amendments to the GMAC/AFI Revolver re: restrictions or
               provisions governing collateral pledges in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.60);
               review of Examiner's Report sections and significance of
               borrowing base reports and collateral rule reports for
               impact on same (2.30); finalize, review and circulate
               memorandum re: legal conclusions re: adequate
               protection package and diminution in value of the JSNs'
               collateral in connection with settling the Intercompany
               Balances as part of the global settlement (2.90);
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               correspondence with S. Park re: clarification on issue
               spotting and related document tagging re: AFI LOC and
               AFI/GMAC Revolver (.40)

08/22/13 DAB   Review, revise and circulate all memoranda and legal          12.90
               research emails regarding JSN litigation where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties issues to M. Moscato and T. Foudy per M.
               Moscato request, for transmittal to Committee Counsel at
               Kramer and Pachulski (.80); additional review of potential
               clawback documents in connection with Debtors’
               document production in JSN litigation (.30); confer with J.
               Berman re: same (.10); continue review of documents
               marked “further review” by document reviewers (4.50);
               review MCRC-related document and correspond with J.
               Berman re: same (.20); perform 'second level' review of
               documents tagged “hot” by primary reviewers per E. Tobin
               instruction (7.00)

08/22/13 ET    Meet with M. Moscato and T. Foudy re: document review          8.60
               and preparation for depositions in the JSN adversary
               proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.60); follow-up discussion
               with M. Moscato and S. Engelhardt of Morrison & Foerster
               re: deposition scheduling (.20); telephone call with B.
               Westman re: scheduling of deposition in the JSN
               adversary proceeding, and related email correspondence
               with J. Levitt and S. Engelhardt of Morrison & Foerster re:
               same (.40); review latest version of outline and order of
               proof re: Phase I of JSN trial in preparation for weekly
               coordination meeting re: JSN adversary proceeding (.50);
               confer with R. Abdelhamid (via telephone and email) re:
               preparation for depositions in the JSN adversary
               proceeding (.50); correspond with T. Foudy, R.
               Abdelhamid, S. Engelhardt, J. Morris of Pachulski, and G.
               Horowitz of Kramer Levin in preparation for status
               conference before Judge Glenn (.50); prepare for and
               attend status conference before Judge Glenn re: fact
               discovery and depositions (1.30); attend weekly meeting
               with counsel for the Debtors and the Creditors'
               Committee, including J. Levitt, R. Abdelhamid, and S.
               Engelhardt of Morrison & Foerster, J. Morris and J. Rosell
               of Pachulski, G. Horowitz, P.B. O'Neill, C. Siegel, and P.
               Farber of Kramer Levin, and M. Moscato and T. Foudy re:
               strategy and preparation for depositions and trial in the
               JSN adversary proceeding (1.30); draft email to counsel
               for UMB and the Ad Hoc Group re: the prioritization and
               scheduling of the depositions of the Debtors' witnesses in
               the JSN adversary proceeding (.60); correspond with J.
               Levitt and R. Abdelhamid re: procedures for review of
               documents produced by the Debtors in the JSN adversary
               proceeding by issue and document-type tags (.50);
               extensive discussions with J. Berman and R. Abdelhamid
               re: same (1.20); email correspondence
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               with Curtis attorneys reviewing documents re: modification
               of document review procedures, and correspond with T.
               Foudy, M. Moscato, J. Berman, and R. Abdelhamid re:
               same (.50); email correspondence with J. Semmelman, V.
               Hing, and S. Reisman re: modification of procedures for
               reviewing documents (.50)


08/22/13 JCB   Review materials in connection with preparation for            8.30
               depositions in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (1.50); confer with D. Bloom re:
               potential clawback of produced documents (.10); respond
               to reviewer questions about documents and appropriate
               tagging protocol in connection with same (2.40); review
               documents tagged "hot" by reviewers (2.80); related
               follow-up correspondence re: same with J. Weber and D.
               Bloom (.30); confernece with E. Tobin and R. Abdelhamid
               of Morrison & Foerster re: review of document review and
               protocol (1.20)

08/23/13 SJR   Attention to matters regarding JSN adversary proceeding        2.20
               and analysis of issues regarding lien releases, lien on
               certain assets and whether or not creditors are
               over-secured in connection with research performed by
               Curtis in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.20)

08/23/13 TF1   Conference call with C. Siegel of Kramer Levin to discuss      3.10
               comments to Phase I trial order of proof in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.00); review E. Combs' memo on lien releases
               (.80); review emails on set-up of depositions and logistics
               (.50); review UMB's motion to amend answer to add
               affirmative defense (.80)


08/23/13 MJM   Review research memos re: legal issues in the JSNs             3.20
               litigation where Wells Fargo and noteholders Loomis and
               UBS are conflict parties in preparation for meeting re:
               same (1.60); conduct meeting with J. Berman, E. Tobin,
               D. Bloom, B. Kotliar, E. Combs, M. Jones, and J. Weber
               to discuss revising their legal memos for circulation to
               co-counsel in the JSNs litigation (1.20); discussion with J.
               Berman, E. Combs, E. Tobin, and B. Kotliar re: script for
               30(b)(6) deposition of Ad Hoc Group (.40)


08/23/13 TL    Address questions of V. Atkinson, K. Behrouz, and J.           1.50
               Ogilvie in connection with JSN adversary proceeding in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (1.50)

08/23/13 GF    Draft and circulate notification internally regarding trial    0.70
               dates for JSN adversary proceeding where Wells Fargo
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               and noteholders Loomis and UBS are conflict parties at
               request of B. Kotliar (.70)

08/23/13 EC    Meet with M. Moscato, E. Tobin, J. Berman, J. Weber, D.        6.30
               Bloom, M. Jones and B. Kotliar to discuss research tasks
               performed in preparation for trial and results of research
               relating to adequate protection and collateral releases in
               order to formulate a strategy for addressing those issues
               and assess the need for more information or research
               with respect to important issues going forward in
               connection with Curtis’ role as conflicts counsel, as Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (1.20); meet with E. Tobin, M. Moscato, J.
               Berman, and B. Kotliar to discuss depositions of the Ad
               Hoc Group and UMB and changes to be made to
               deposition outlines in light of requests to limit contention
               questions (.40); review research memo relating to
               collateral releases and updating to include additional
               findings and revised arguments based on discussion with
               M. Moscato (3.60); prepare individual claim synopsis as
               guideposts for each line of questioning in deposition script
               (.80); correspond with B. Kotliar and discuss UMB
               appointment as trustee and potential effect of date of
               trusteeship transfer on deposition questioning (.30)



08/23/13 MPJ   Meet with M. Moscato, E. Tobin, J. Berman, D. Bloom, J.        1.70
               Weber and B. Kotliar to discuss status of legal research
               assignments and necessary updates to such assignments
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.20); review email and
               attached Order of Proof circulated by Kramer Levin
               regarding key issues to be addressed at the Phase I trial
               (.50)

08/23/13 BMK   Conference with M. Moscato, D. Bloom, E. Tobin, J.             4.40
               Berman, M. Jones, J. Weber, and E. Combs re: statement
               of issues and outline of legal and factual requirements for
               trial received from Committee counsel in connection with
               JSN Adversary Proceeding where Wells Fargo and
               noteholders UMB and Loomis are conflict parties (1.20);
               conference with M. Moscato, J. Berman, E. Tobin, and E.
               Combs re: revisions to 30(b)(6) deposition outline in light
               of Judge Glenn's comments from discovery dispute
               hearing (.40); numerous correspondence with E. Combs
               discussing UMB Bank acting as successor indenture to
               US Bank and potential need to revise script in light of that
               fact to account for UMB's knowledge of relevant
               facts/topics involved (.70); related follow-up
               correspondence with E. Combs and E. Tobin re: same
               (.20); review documents re: same including tripartite
               trustee resignation and transfer agreement and email
               correspondences between US Bank and UMB Bank re:
               same (.90); circulate relevant case pleadings such as
               Order
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               dismissing and granting in part UMB's motion to dismiss
               Committee complaint, debtors' motion for confirmation
               discovery procedures, and examiner's discharge motion
               (.50); correspondence with D. Bloom and J. Weber re:
               resolving open questions and issued raised by document
               reviewers and obtaining relevant prepetition loan
               agreements (.50)

08/23/13 JTW   Correspondence with D. Bloom and R. Abdelhamid of               6.70
               Morrison & Foerster re: issue tagging of documents and
               whether certain categories of documents should be used
               in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (.60);
               conduct research re: burden of proof in declaratory
               actions (2.80); internal meeting with M. Moscato, E. Tobin,
               E. Combs, B. Kotliar, M. Jones, J. Berman and D. Bloom
               to discuss research tasks, strategy and next steps with
               respect to the JSN adversary proceeding (1.20);
               correspond with D. Bloom re: potential arguments and
               counterarguments re: JSNs' adequate protection claims
               and application of certain arguments to JSNs status as an
               over- or-undersecured creditor (.50); continue research re:
               burden of proof in declaratory action with respect to
               determinants of second status (1.60)



08/23/13 FRG   Update binder re: pleadings in consolidated JSN                 1.60
               adversary proceeding where Wells Fargo and noteholders
               Loomis and UBS are conflict parties, per B. Kotliar (1.60)


08/23/13 ET    Confer with R. Abdelhamid of Morrison & Foerster, J.            9.70
               Berman, D. Bloom, J. Weber, M. Jones, R. Hanson, B.
               Patterson and C. Mackel re: review of documents,
               including "hot" documents, produced by the Debtors' in
               the JSN adversary proceeding, so documents can be
               used in preparation for depositions and trial in the JSN
               adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noteholders UBS and Loomis (1.10);
               meet with M. Moscato, J. Berman, J. Weber, B. Kotliar, E.
               Combs, M. Jones, and D. Bloom re: research of legal
               issues in preparation for deposition and trial in the JSN
               adversary proceeding where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (1.20); meet with M.
               Moscato, J. Berman, E. Combs, and B. Kotliar re:
               preparation for taking the 30(b)(6) depositions of the Ad
               Hoc Group of Junior Secured Noteholders and UMB Bank
               (.40); draft and review emails with S. Engelhardt, J. Levitt,
               and R. Abdelhamid of Morrison & Foerster and C. Siegel
               of Kramer Levin re: August 22, 2013 court status
               conference and scheduling of depositions of the Debtors'
               witnesses (.60); conference call with R. Abdelhamid, J.
               Berman,
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               C. Siegel, B. Schulman, E. Lintz, and P. Farber of Kramer
               Levin, J. Rosell of Pachulski, and H5 consultants re:
               technology-assisted review of the documents produced by
               the Debtors and the documents in the Examiner's
               database, in preparation for depositions and trial (.70);
               draft follow-up email to H5 re: same and follow-up
               discussion with R. Abdelhamid re: same (.30); telephone
               calls and email correspondence with potential deponents
               noticed by the JSNs, including B. Westman, J. Peterson,
               J. Horner, J. Whitlinger, J. Ruhlin, and T. Farley, as well
               as S. Engelhardt and J. Levitt re: same (2.70); draft
               document calendaring the witnesses' availability for
               depositions in the JSN adversary proceeding for
               scheduling purposes in light of prior discussions with
               witnesses (.70); correspondence with R. Abdelhamid, J.
               Berman and B. Kotliar re: preparations for depositions and
               review of documents produced by the Ad Hoc Group and
               UMB Bank (1.60); email correspondence with J. Morris of
               Pachulski, J. Rosell, R. Abdelhamid, T. Foudy, and M.
               Moscato re: Debtors' and the Committee's 30(b)(6)
               depositions of the Ad Hoc Group, UMB and Wells Fargo
               (.40)



08/23/13 JCB   Meeting with M. Moscato, E. Tobin, B. Kotliar, D. Bloom,        6.80
               E. Combs, M. Jones, and J. Weber to discuss preparation
               for depositions and other upcoming responsibilities in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.20); conference call with co-counsel for
               Debtors, committee counsel and H5 to discuss preparing
               document sets for depositions (1.00); review foundational
               case documents and drafting/revising outline for 30(b)(6)
               deposition of Ad Hoc Group (4.60)


08/24/13 JTW   Continue research re: burden re: determining secured            2.60
               status and validity of liens in adversary proceedings
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (2.60)

08/24/13 ET    Confer with R. Abdelhamid of Morrison & Foerster re:            0.40
               document review issues and preparation for depositions
               of the Debtors' witnesses in the JSN adversary
               proceeding, in light of involvement of conflict parties Wells
               Fargo and noteholders UBS and Loomis (.40)


08/25/13 GF    Attend to drafting and circulation of calendar updates re:      0.70
               court hearing and trial dates relating to the JSN
               proceedings where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.70)

08/25/13 JTW   Continue research re: burden to establish diminution and        2.30
               adequate protection in connection with Consolidated JSN
               Adversary Proceeding where Wells
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               Fargo and noteholders Loomis and UBS are conflict
               parties (2.30)

08/25/13 ET    Review and analyze Ocwen's publicly filed statements re:       2.90
               allocation of price paid for the Debtors' origination and
               servicing platform assets in connection with goodwill and
               intangible arguments in the Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (1.20); email correspondence
               with J. Levitt, S. Engelhardt, and R. Abdelhamid of
               Morrison & Foerster re: review of documents and
               preparation for depositions of the Debtors' witnesses in
               the JSN adversary proceeding and review and update
               proposed deposition calendar (.50); review and analyze
               portions of the Examiner's report, focusing sections
               related to the AFI LOC in connection with document
               review protocol and H5 guidance (1.20)



08/25/13 JCB   Review order of proof, complaints and counterclaims and        6.40
               other foundational documents in connection with Curtis’
               role as conflicts counsel, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties in connection with
               revising Ad Hoc Group and UMB Bank deposition script
               (2.10); review and revise 30(b)(6) deposition outline re:
               same (4.30)

08/26/13 SJR   Attend to discovery issues and document review issues in       2.20
               connection JSN litigation where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.20)

08/26/13 TF1   Participate in conference call with M. Moscato, J. Berman,     3.50
               E. Combs, and Pachulski, Morrison & Foerster, and
               Kramer Levin on preparation for taking depositions of
               Wells Fargo, UMB and Ad Hoc Group in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.10); follow-up discussion with M. Moscato, J.
               Berman, and E. Combs re: Wells deposition preparation
               (.30); meet with M. Moscato to discuss status of research
               memos and depositions (.40); exchange emails in regards
               to coordination of deposition responsibilities and division
               of labor among Pachulski and Curtis (.30); meet with M.
               Moscato, J. Berman, E. Combs, E. Tobin and B. Kotliar to
               discuss preparing deposition scripts for Curtis' portions of
               depositions of UMB, Ad Hoc Group, and Wells Fargo
               (1.00); review H-5 guide and emails commenting on same
               in connection with ensuring efficient document review
               (.40)



08/26/13 MJM   Review email exchanges re: coordination of UMB, Ad Hoc         5.90
               Group, and Wells Fargo 30(b)(6) depositions in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.40); review Rule
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               30(b)(6) deposition notice directed to Wells Fargo (.50);
               discussion with T. Foudy re: Wells Fargo, UMB, and Ad
               Hoc Group Rule 30(b)(6) notices (.40); review revised
               "Order of Proof" outline to prepare for UMB, Wells Fargo,
               and Ad Hoc Group Rule 30(b)(6) depositions (.40);
               meeting with T. Foudy, E. Tobin, J. Berman, E. Combs,
               and B. Kotliar re: preparations for Wells Fargo, UMB, and
               Ad Hoc Group 30(b)(6) depositions (1.00); review
               transcript of August 22, 2013 discovery conference before
               Judge Glenn (was not in attendance) (.50); review index
               of Wells Fargo document production (.60); discussion with
               E. Combs (joined by J. Berman) re: Wells Fargo 30(b)(6)
               deposition preparation (.40); meeting with J. Berman and
               E. Combs re: Wells Fargo (30)(b)(6) deposition prior to
               call with J. Morris re same (.30); teleconference with T.
               Foudy, J. Berman, E. Combs, J. Morris and other counsel
               for Creditors' Committee to discuss division of
               responsibility and substantive issues related to Rule
               30(b)(6) deposition of Wells Fargo (1.10); follow-up
               discussion with T. Foudy, J. Berman, and E. Combs re:
               preparation for 30(b)(6) deposition of Wells Fargo (.30)




08/26/13 GF    Draft and circulate calendar entries regarding deposition     0.30
               dates and scheduling in JSN adversary proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties at request of B. Kotliar (.30)


08/26/13 EC    Meet with B. Kotliar, J. Berman, M. Moscato, E. Tobin,       13.00
               and T. Foudy to discuss script for deposition of JSNs,
               UMB and potential deposition of Wells Fargo as well as
               documentary evidence gathered for use in those
               depositions in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (1.00); correspond with B.
               Kotliar to coordinate selection of documents for use in
               deposition and discuss findings from review of UMB and
               JSN produced documents in connection with drafting
               script for JSN and UMB depositions (.60); meet with M.
               Moscato and J. Berman (partial) re: lien release
               documentation needed for deposition of the JSNs and
               Wells Fargo (.40); attend conference call with counsel for
               Unsecured Creditors' Committee and Debtors and T.
               Foudy and M. Moscato to discuss depositions of Wells
               Fargo, UMB and the Ad Hoc Group (1.10); meet with J.
               Berman, B. Kotliar and M. Jones and S. Ballard to discuss
               documents located in the JSN, UMB and Wells Fargo
               productions and use of those items in connection with
               upcoming depositions (1.30); draft synopsis inserts for
               each area to be addressed in depositions of JSNs for
               deposition script (3.10); revise and update research
               memorandum addressing the propriety of releases of JSN
               collateral (1.40); revise and update research
               memorandum addressing
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               applicable interest rate determinations for JSNs'
               oversecured claim (2.20); review complaint and
               counterclaims in connection with additional inserts for
               deposition script describing basis for topics and claims
               (1.90)

08/26/13 MPJ   Meet with J. Berman, E. Combs, S. Ballard, and B. Kotliar      2.50
               to discuss upcoming deposition of Wells Fargo and (a) the
               UCC-3's filed by Wells Fargo relating to the disputed
               collateral and (b) possible deposition questions relating to
               the Junior Secured Noteholders' argument that they have
               an equitable lien on such collateral in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.30); review memoranda prepared by S.
               Reisman, M. Moscato, and D. Bloom to prepare to draft
               deposition script relating to whether or not the Junior
               Secured Noteholders possess an equitable lien on the
               released collateral (1.20)



08/26/13 BMK   Conference with M. Moscato, T. Foudy, J. Berman, E.            5.80
               Tobin, and E. Combs re: revisions to draft deposition
               outline and script for UMB and the Ad Hoc Group of
               Junior Secured Noteholders and need for supplemental
               documentation from document review to support
               questions re: same in connection with JSN Adversary
               Proceeding where Wells Fargo and noteholders UMB and
               Loomis are conflict parties (1.00); review documents
               relevant to supporting questions re: same, with particular
               view towards Asset Sale documents and prepetition PSA
               with JSNs (3.20); conference with J. Berman, E. Combs,
               and M. Jones re: producing all UCC-1s and UCC-3s filed
               by and held by Wells Fargo as collateral control agent for
               deposition (1.30); correspond with D. Bloom re: revising
               memorandum re: equitable liens to circulate to Committee
               counsel (.30)


08/26/13 JTW   Continue research as to which party will bear the burden       7.90
               of proof re: extent, validity and value of a secured
               creditor's claims in adversary proceedings and contested
               valuations in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.90); initial drafting of
               memorandum re: allocation the burden of proof when
               adverse parties each seek declarations from a court as to
               the extent, validity and value of a secured creditor's liens
               (4.50); confer with D. Bloom re: status of revisions to
               memorandum re: issues related to adequate protection in
               the JSNs adversary proceeding and possible claims for
               diminution and provide comments re: same (.50)



08/26/13 DAB   Review adequate protection valuation case law per M.           4.30
               Moscato request in connection with JSN litigation in which
               Wells Fargo and notheholdes UBS and Loomis
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               are conflict parties (1.50); revise draft adequate protection
               memo in connection with same (2.30); conference with J.
               Weber re: same and incorporating burden of proof
               research findings into same (.50)

08/26/13 SB    Meet with J. Berman, E. Combs, M. Jones, and B. Kotliar         2.30
               re: location of collateral release documents to be
               authenticated by Wells Fargo in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.30); review documents in Eclipse database for
               classification as Form UCC-1, Form UCC-3, or collateral
               release certificate per request of J. Berman (.80); tag and
               prepare collateral release documents per request of J.
               Berman (.20)

08/26/13 ET    Draft emails to and review emails from attorneys at Curtis,     8.60
               Morrison & Foerster, and Pachulski reviewing documents
               produced by the Debtors in the JSN adversary proceeding
               re: status of document review by issue and
               document-type tags so documents can be used in
               preparation for depositions and trial in the JSN adversary
               proceeding and in connection with Plan Confirmation, in
               light of involvement of conflict parties Wells Fargo and
               noteholders UBS and Loomis (.40); correspond with J.
               Berman and R. Abdelhamid of Morrison & Foerster re:
               same (.10); email correspondence with M. Moscato, T.
               Foudy, and R. Abdelhamid re: issues re: deposition
               preparation (.30); meet with M. Moscato, T. Foudy, J.
               Berman, and B. Kotliar re: preparation for the Debtors'
               30(b)(6) depositions of UMB, Ad Hoc Group and Wells
               Fargo (1.00); telephone call with R. Abdelhamid and P.
               Farber of Kramer Levin re: strategy for preparing for
               depositions of the Debtors' witnesses in the JSN
               adversary proceeding (.30); confer with R. Abdelhamid, J.
               Rosell of Pachulski, E. Lintz, P. Farber, A. Goodman, C.
               Siegel, and B. Schulman of Kramer Levin, and L. Troyer
               of H5 re: strategy for doc H5's technology-assisted review
               and issue tagging of documents, and attorney review of
               the same in preparation for depositions of the Debtors'
               witnesses (2.10); confer with R. Abdelhamid re:
               scheduling of the depositions of the Debtors' witnesses in
               the JSN adversary proceeding (.50); draft and revise
               proposed schedule re: same (1.10); email
               correspondence with J. Levitt and S. Engelhardt of
               Morrison & Foerster re: same (.60); draft email to J.
               Horner enclosing declaration and deposition transcript
               (.10); email correspondence with J. Levitt, S. Engelhardt,
               R. Abdelhamid, T. Foudy, G. Horowitz, C. Siegel and J.
               Morris of Pachulski re: proposed extensions for deadlines
               for completion of fact depositions, expert discovery and
               pre-trial submissions, and review Scheduling Order and
               Judge Glenn's Individual Practice Rules in connection
               with the same (.50);
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               review and analyze updated order of proof in connection
               with Phase I of the JSN adversary proceeding (.60);
               confer with C. Siegel and N. Foley of Kramer Levin re:
               research re: Ocwen's allocation of purchase price paid to
               the Debtors in the platform sale, and review documents
               and order of proof re: same (.70); correspond with R.
               Abdelhamid and J. Weber re: review of documents
               provided by H5 in preparation for depositions in the JSN
               adversary proceeding (.30)

08/26/13 JCB   Draft and revise deposition scripts for 30(b)(6) witnesses      8.80
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (5.10); conference with B.
               Kotliar, E. Combs, M. Jones, and S. Ballard re: production
               of UCC-1 and UCC-3 statements in connection with
               preparing for Wells deposition (1.30); attend portion of
               meeting with M. Moscato and E. Combs re: revising Wells
               deposition script (.30); conference with T. Foudy, M.
               Moscato, E. Tobin, E. Combs, and B. Kotliar re: same and
               strategy for UMB and Ad Hoc Group depositions (1.00);
               attend teleconference with T. Foudy, M. Moscato, E.
               Combs, and Committee Counsel re: same and division of
               labor among firms re: deposition assignments (1.10)



08/27/13 SJR   Review of matters related to upcoming hearing and oral          3.20
               argument on Motions to Dismiss Complaint and
               Counter-Claims in connection with JSN adversary
               proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.60); assist with preparing
               for same in connection with parties of argument to be
               handled by Curtis (.60)

08/27/13 TF1   Prepare for and participate in moot court on motions to        11.70
               dismiss complaint and counterclaims in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (4.10); correspond with J. Drew on legal research
               for motion to dismiss complaint concerning amendment of
               claims, review email results on same (.80); prepare script
               for argument on lien release issue, including review of
               briefing on same, pertinent transaction documents, and
               key caselaw (4.40); review and draft emails regarding
               content of amendment to scheduling order and review
               joint pre-trial order in connection with same (.40); discuss
               same with M. Moscato (.30); review emails regarding
               Wells productions content and releases and UCC-3
               statements (.30); review emails on deposition preparation
               and scheduling (.20); review draft designations of topics
               for 30(b)(6) for Debtors (.80); meet with R. Abdelhamid of
               Morrison & Foerster and M. Moscato and E. Tobin to
               provide comments on same (.40)
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08/27/13 JD3    Correspondence with M. Moscato and T. Foudy re: JSN               7.40
                argument that claims may be amended at each debtor in
                order to be oversecured on debtor by debtor basis in
                connection with Consolidated JSN Adversary Proceeding
                where Wells Fargo and noteholders Loomis and UBS are
                conflict parties (.20); review reply
                                                   y brief and other briefs re:
                same (.50);
                       ( ) review materials re: section 1111(b) and
               timing of election by way of analogy  gy in connection with
                same (.90); review materials re: amendments to proofs of
               claim in connection with same (.50);
                                                 ( ) review materials re:
                        p y Rule 3012 and timing
               Bankruptcy                          g of requests for valuation
               of collateral under Section 506 in connection with same
               ((.70);
                     ) research cases re: Rule 3012 and notice
               requirement for valuation at confirmation hearing in
                connection with same (.70); prepare draft e-mail
                summarizing issue and possible points to make (.40);
                follow up correspondence and discussions re: same (.70);
                research cases re: amendments to proofs of claim (1.30);
                review, edit and circulate e-mail to J. Levitt at Morrison &
                Foerster re: research results in connection with same
                (.80); conferences with M. Moscato and B. Kotliar re:
                same and related research issues (.70)



08/27/13 MJM   Correspondence with T. Foudy re: revised pre-trial                 8.00
               schedule in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.30); review Debtors' and
               JSNs' motions to dismiss and reply briefs in preparation
               for meeting with counsel for Debtors and Creditors'
               Committee to prepare for tomorrow's oral argument re:
               same (1.50); discussion with T. Foudy re: depositions of
               Debtors' witnesses and defendants' witnesses (.30);
               discussion with T. Foudy, E. Tobin, and R. Abdelhamid of
               Morrison & Foerster re: Rule 30(b)(6) depositions of
               Debtors (.40); meet with T. Foudy. G. Horowitz, J. Levitt
               and others to prepare for tomorrow's oral argument before
               J. Glenn re: motions to dismiss (4.10); exchange of emails
               with T. Foudy re: preparing for "release of liens" argument
               (.30); review J. Drew's draft email to J. Levitt of Morrison
               & Foerster re: whether JSNs can reduce their claim after
               the Disclosure Statement hearing in order to render
               themselves over-secured (.40); discussions with J. Drew
               and B. Kotliar re: research re: amending claims and
               providing same to Morrison & Foerster (.70)



08/27/13 SKC   Review expert report re: T. Marano in order to prepare             6.30
               spreadsheets of testimony in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.00); supplement contact/exhibit list in
               connection with preparing for deposition in connection
               with same (3.30)
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08/27/13 GF    Draft and circulate calendar entry re: court status                0.20
               conference re: Debtors' Objection to Proofs of Claim Filed
               by Certain Plaintiffs in California Litigation (.20)

08/27/13 EC    Draft synopsis inserts fully describing the relevant facts        13.30
               underlying each deposition topic for the deposition scripts
               in connection with the depositions of UMB and the Ad Hoc
               Group in connection with Curtis’ role as conflicts counsel,
               as Wells Fargo and noteholders UBS and Loomis are
               conflict parties (4.70); meet with J. Berman to discuss
               deposition scripts and redraft portions of script (.90);
               redraft portions of UMB script relating to claims of liens on
               certain debtor assets to reflect additional information
               (2.90); follow-up correspondence with M. Moscato and J.
               Berman (.40); prepare relevant materials to assist T.
               Foudy with preparation of the Debtors' oral argument
               relation to motions to dismiss on collateral release issues
               (2.10); correspondence with E. Tobin re: collateral release
               issues for email to T. Foudy relating to Wells Fargo's
               status as secured party (.30); prepare synopsis sections
               of the Examiner's report for T. Foudy to assist in oral
               argument preparation (.30); review documents relevant to
               collateral release and responding to questions and
               requests for documents re: collateral release (1.30);
               review final draft of UMB deposition script circulated by J.
               Berman (.40)



08/27/13 MPJ   Review memoranda circulated by counsel to the Creditors'           4.20
               Committee regarding the existence of an equitable lien in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.80); draft potential deposition script for
               upcoming Rule 30(b)(6) deposition of Wells Fargo
               regarding the Junior Secured Noteholders' claim to be
               entitled to equitable liens (2.00); draft declaration for Wells
               Fargo's signature regarding key facts relating to the Junior
               Secured Noteholders' claim regarding equitable liens
               (1.40)



08/27/13 BMK   Coordinate with F. Guenthner re: production of all motions        11.30
               to dismiss and relevant pleadings for T. Foudy and M.
               Moscato in consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders UBS and Loomis are
               conflict parties (.50); continue review of documents to
               supplement and support taking 30(b)(6) deposition
               testimony of UMB, Wells Fargo, and the Ad Hoc Group,
               including review of various productions with an eye
               towards lien releases, repledging, and cash collateral
               issues (1.10); review and revise memorandum re: liens on
               avoidance actions and contract claims in connection with
               same for circulating to Committee (.30); conference with
               J. Berman re: reviewing and revising draft 30(b)(6)
               deposition script
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               and outline re: targeted questions pertaining to factual
               bases for JSNs' counterclaims, including review of JSN
               Indenture and Pledge Agreement, Counterclaims,
               Complaints, relevant loan agreements, and other case
               filings (4.40); review and revise draft insert short
               descriptions of relevant documents and parties'
               contentions for deposition script cues (.90); coordinate
               with E. Combs and J. Weber re: preparing T. Foudy for
               oral argument on lien release issue raised in motion to
               dismiss for hearing next morning (.90); conferences with
               M. Moscato and J. Drew re: whether JSNs could amend
               claims and establish oversecurity at each individual debtor
               (.70); perform legal research re: same (2.20); review and
               revise email correspondence drafted by J. Drew to
               Morrison & Foerster re: same summarizing case findings
               and standards for amending claims (.30)



08/27/13 JTW   Finalize, review and circulate memorandum re: allocation         11.50
               of the burden of proof when both the JSNs and Debtors
               have sought declarations from the Court as to the extent,
               validity and value of the JSNs' liens in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (3.50);
               p        (    ) exchangeg correspondence
                                                 p          with E. Tobin re:
               Walter Assets as defined by  y the Ocwen APA, and the
               provisions of the Ocwen APA relating
               p                                     g to the assignment
                                                                   g       of
               rights
                 g    under the agreement
                                   g         enabling
                                                    g Walter to purchase
                                                                 p
               these assets and impact on goodwill arguments (.80);
               correspond with D. Bloom re: status of revisions to
               memorandum re: issues related to adequate protection in
               the JSNs adversary proceedings and provide comments
               re: same (.50); assist E. Combs and B. Kotliar with
               preparation of presentation of argument re: released
               collateral that T. Foudy will argue before the Court at the
               Motion to Dismiss hearing on Aug. 28, 2013 (.80);
               participate in meeting with R. Abdelhamid of Morrison &
               Foerster and E. Tobin to review documents identified by
               H5 as relating to important issues in Phase I of the JSN
               adversary proceeding, including identity of the JSNs'
               collateral and the 2012 asset sales, analyze documents
               and assist in drafting of email to H5 to provide feedback
               about search results, in preparation for depositions in
               Phase 1 of the JSN adversary proceeding (5.90)




08/27/13 DAB   Confer with R. Abdelhamid and E. Tobin regarding                  7.30
               analysis of H5 document deliveries pertaining to JSN
               Collateral topic in connection with JSN Litigation where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (2.80); correspond with M. Jones re: equitable lien
               issues in connection with same (.30); review and circulate
               UMB Bank's Reply in support of their Motion for
               Confirmation of Time to Answer in the JSN adversary
               proceedings (.20); review Wells Fargo's
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               Amended Answer in connection with same (.20); review
               portions of Examiner Report related to GNMA servicing
               per J. Berman request, in connection with same (.40);
               further revision to adequate protection memo (1.40);
               extensive correspondence with E. Tobin re: lien release
               issues in preparation for hearing on Motions to Dismiss
               (.80); review of GM-related materials in connection with
               same (.60); circulate same to T. Foudy and E. Tobin (.20);
               review UCC-3 releases in connection with same (.40)


08/27/13 GES   Prepare deposition outline for affirmative 30(b)(6)             3.90
               depositions of the Ad Hoc Group and UMB in connection
               with JSN Adversary Proceeding, in light of involvement of
               conflict parties Wells Fargo and noteholders UBS and
               Loomis (3.90)

08/27/13 FRG   Assist B. Kotliar with completion of materials re: JSN          2.00
               Motions to Dismiss in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.70);
               coordinate listen-only line telephonic appearance for
               August 28 hearing, per D. Bloom (.30)

08/27/13 ET    Numerous correspondence with T. Foudy, M. Moscato, R.          16.30
               Abdelhamid of Morrison & Foerster, C. Siegel and A.
               Goodman of Kramer Levin, and L. Troyer of H5 re: review
               of documents and preparation for fact depositions in the
               JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.70);
               work with R. Abdelhamid, D. Bloom and J. Weber to
               review documents identified by H5 as relating to important
               issues in Phase I of the JSN adversary proceeding,
               including identity of the JSNs' collateral and the 2012
               asset sales, analyze documents and draft email to H5
               providing feedback about search results, in preparation for
               depositions in Phase 1 of the JSN adversary proceeding
               (9.40); meet with M. Moscato and T. Foudy and R.
               Abdelhamid re: identification of witnesses to testify on
               behalf of the Debtors in the 30(b)(6) depositions noticed
               by UMB and the Ad Hoc Group (.40); telephone calls and
               email correspondence with N. Hamerman and P. Farber
               of Kramer Levin re: review of documents identified by H5
               and preparation for depositions in Phase 1 of the JSN
               adversary proceeding (.30); conduct research and review
               and analyze relevant documents re: lien releases, UCC3s
               filed by Wells Fargo, and applicable provisions of Article 9
               of the NY UCC (2.40); review relevant portions of the
               JSNs' counterclaims, the motion to dismiss briefing, case
               law and applicable provisions of the NY UCC in
               connection with same (.40); draft analysis re: JSNs' claims
               related to mortgage loans, in preparation for oral
               argument on the Plaintiffs' opposition to the JSNs' motion
               to dismiss Count 3 of the Amended Complaint (1.70)
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08/27/13 JCB   Draft and revise deposition outlines and accompanying          11.80
               summary of relevant issues in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (5.70); meet with E. Combs to discuss
               edits/comments to draft deposition scripts (.90);
               conference with B. Kotliar re: revising deposition script to
               incorporate relevant inquiries of various case douments
               (4.40); email correspondence with M. Moscato re: same
               (.80)

08/28/13 SJR   Review documentation in preparation for hearing on              2.30
               Motions to Dismiss Complaint and Counterclaims related
               to JSN litigation where Wells Fargo and noteholders
               Loomis and UBS are conflict parties (2.30)

08/28/13 TF1   Prepare argument on lien release points for motion to          11.60
               dismiss JSN counterclaims, by drafting and reviewing
               script, brief arguments, key documents and cases for JSN
               adversary proceeding in which Wells Fargo and
               noteholders UBS and Loomis are conflict parties (4.20);
               participate in court hearing on motion to dismiss JSN
               counterclaims (5.50); confer with counsel for Wells Fargo
               on deposition preparation and co-counsel on strategy
               during breaks (1.20); travel to and from court [billed at
               half-time] (.40); follow up correspondence with M.
               Moscato re: lien release issue (.30)

08/28/13 MJM   Review T. Foudy's outline for today's oral argument in          7.20
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties that the release of the JSNs' liens was
               effective in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (.40); draft email to T. Foudy
               with comments to above oral argument outline (.30);
               discussion with T. Foudy re: today's motion to dismiss oral
               argument before J. Glenn (.30); review case law cited by
               Ad Hoc Group and UMB re: equitable lien issue (.50);
               correspondence with E. Combs re: equitable lien issue
               (.20); attend hearing on motions to dismiss in order to
               assist T. Foudy with arguing parties of motion relating to
               lien release issue (5.50)



08/28/13 SKC   Continue to review Examiner's Report for searches on T.         5.50
               Marano in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.00); assemble "hits" of
               documents for E. Tobin with highlights in connection with
               same (3.00); add exhibits to potential deposition exhibit
               list (.50)

08/28/13 EC    Conduct research related to contents of Examiner's              2.10
               Report relating to release of JSN Collateral and
               assessment of JSN's claims as to the invalidity of
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               collateral releases in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are conflict parties (.80); provide research
               update to T. Foudy and M. Moscato describing points of
               distinction on Hunts Point case cited in JSN brief for oral
               arguments on validity of equitable lien claims and priority
               of equitable lien (.50); conduct research relating to
               collateral amendment provisions of New York UCC and
               applicability of section to termination of liens (.20); review
               relevant transaction documents and prepare synopsis of
               basis for assertion the Wells Fargo is the secured party
               and basis for asserting validity of releases in light of their
               status as principal (.60)

08/28/13 BMK   Attend oral argument on motions to dismiss filed in the          6.90
               consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders UBS and Loomis are conflict
               parties (5.50); summarize same, specifically highlighting
               court's granting in part the Debtors'/Committee's motion to
               dismiss and full denial of the JSNs' motion, with an eye
               towards impact on discovery moving forward in the JSN
               adversary proceeding (1.30); circulate same to S.
               Reisman, T. Foudy, M. Moscato, E. Tobin, J. Berman, D.
               Bloom, and J. Weber (.10)


08/28/13 JTW   Provide T. Foudy with clarification as to the 2001               0.90
               amendments to the UCC and effect of amendments re:
               "mistaken" filng such as GM decision by Judge Gerber in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (.90)

08/28/13 DAB   Further review of mortgage lien release issues per E.            1.40
               Tobin request in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               email M. Moscato re: issues implicated by GM decision in
               connection with same (.30); email same re: Crestar case
               (.20); correspond with E. Combs re: same (.30)

08/28/13 ET    Attend omnibus hearing in the Chapter 11 cases, oral             9.10
               argument on the JSNs' and the Debtors' motions to
               dismiss in the JSN adversary proceeding, and oral
               argument on defendants' motion to amend their
               counterclaims to assert additional affirmative defenses in
               the JSN adversary proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (5.50);
               follow-up correspondence with T. Foudy, M. Moscato, S.
               Reisman, E. Combs, and B. Kotliar re: same (1.50);
               conference call with J. Berman and H5 consultants re:
               technology-assisted review and issue-tagging of
               documents produced by the Debtors in the JSN adversary
               proceeding and the Examiner's investigation (.50);
               follow-up discussions with R. Abdelhamid and J. Berman
               (.50); review proposed
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               amended scheduling order and draft email to M. Moscato
               and T. Foudy re: same (.30); review statement of issues
               and draft email to S. Martin and R. Abdelhamid of
               Morrison & Foerster re: the same (.40); correspond with
               B. Kotliar and A. Ruiz of Morrison & Foerster re: motion to
               dismiss oral argument (.40)

08/28/13 JCB   Participate in hearing re: motions to dismiss in connection     9.10
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (2.60); prepare outline for UMB 30(b)(6) deposition
               (5.50); participate in conference call with E. Tobin, H5,
               and attorneys from Morrison & Foerster and Kramer Levin
               re: locating documents for depositions (.50); follow-up
               discussion E. Tobin and R. Abdelhamid of Morrison &
               Foerster re: same (.50)


08/29/13 SJR   Review order on Motion to Dismiss and attend to matters         3.10
               related to impact on potential for obtaining depositions
               and discovery related to JSN litigation where Wells Fargo
               and noteholders Loomis and UBS are conflict parties
               (3.10)

08/29/13 TF1   Attend weekly strategy/task assignment meeting with M.          5.50
               Moscato, E. Tobin, N. Hamerman, E. Lintz, A. Goodman,
               P. Farber, C. Siegel, and G. Horowitz of Kramer Levin, B.
               O'Neill, P. Bentley, J. Rosell, R. Feinstein and J. Morris of
               Pachulski, and J. Levitt, S. Engelhardt, S. Martin, A. Ruiz,
               and R. Abdelhamid of Morrison & Foerster on Wells Fargo
               deposition and releases in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.90);
               participate in conference call with M. Moscato, E. Combs,
               and S. Engelhardt of Morrison & Foerster re:
               completeness/obtaining Release documentation (.40);
               emails regarding compiling complete set of release
               documentation (.60); call with G. Horowitz on preparation
               for Wells Fargo deposition (.30); emails on deposition
               scheduling and logistics (.50); set-up meet and confer call
               on 30(b)(6) depositions an legal questions (.30);
               correspondence with M. Moscato and E. Tobin on
               preparation for depositions for UMB, Wells, and Ad Hoc
               Group (.50)



08/29/13 MJM   Review examination script and back-up materials for             7.90
               upcoming Rule 30(b)(6) deposition of defendant UMB in
               connection with Consolidated JSN Adversary Proceeding
               where Wells Fargo and noteholders Loomis and UBS are
               conflict parties (1.70); meet with J. Berman and E. Combs
               to discuss and revise examination script for Rule 30(b)(6)
               deposition of defendant UMB (2.30); review materials in
               preparation for weekly coordination meeting concerning
               JSNs litigation (.60); participate in weekly coordination
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               meeting re: JSNs litigation, with E. Tobin, T. Foudy, N.
               Hamerman, E. Lintz, A. Goodman, P. Farber, C. Siegel,
               and G. Horowitz of Kramer Levin, B. O'Neill, P. Bentley, J.
               Rosell, R. Feinstein and J. Morris of Pachulski, and J.
               Levitt, S. Engelhardt, S. Martin, A. Ruiz, and R.
               Abdelhamid of Morrison & Foerster (2.90); conference call
               with S. Engelhardt of Morrison & Foerster, E. Combs, T.
               Foudy, and additional counsel for Debtors and Creditors
               Committee re: production to JSNs of documents reflecting
               releases of collateral (.40)

08/29/13 SKC   Continue to review Examiner's Report for searches on               6.50
               Marano and Peterson in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (2.60);
               assemble "hits" of documents and prepare for E. Tobin
               with highlights (3.00); add exhibits to potential deposition
               exhibit list (.90)

08/29/13 EC    Prepare inserts for JSN and UMB scripts relating to the           12.70
               prepetition plan support agreement, the cash collateral
               order negotiations, and prepetition financial analysis
               prepared by Houlihan Lockey in connection with Curtis’
               role as conflicts counsel, as Wells Fargo and noteholders
               UBS and Loomis are conflict parties (2.20); prepare
               updated draft of UMB deposition script to include
               additional documents and reflect comments provided by
               M. Moscato (4.90); attend conference call with M.
               Moscato and T. Foudy relating to documents production
               and collateral release issues (.40); meet with M. Moscato
               and J. Berman to discuss UMB deposition script, strategy
               for addressing issues with UMB given limited knowledge
               and other issues relating to upcoming deposition (2.30);
               meet with B. Kotliar to discuss incorporation of UMB and
               JSN documents in to deposition script for UMB deposition
               and drafting additional insert relating to those documents
               (1.30); review documents relating to Wells 30(b)(6)
               deposition and for use with JSN and UMB designees
               relating to collateral releases and bilateral facilities issues
               (1.60)


08/29/13 BMK   Coordinate with E. Combs and S. Ballard re: preparing              4.70
               relevant documents for 30(b)(6) deposition of UMB Bank
               in connection with JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.40); correspondence with E. Combs, J. Berman,
               and M. Moscato re: roles of indenture trustees and
               collateral agents (.20); related follow-up correspondence
               with E. Combs and J. Berman re: outstanding tasks for
               30(b)(6) UMB deposition and additional assignments
               (.20); email correspondence with E. Tobin, J. Berman,
               and E. Combs re: updating draft UMB deposition script to
               include cash collateral order negotiations, prepetition
               financial analyses, and prepetition plan support
               agreement (.70); review UMB and US Bank
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               productions in connection with same (1.90); conference
               with E. Combs incorporating JSN and UMB documents
               such as Houlihan Lokey JSN prepetition financial
               analyses for deposition question topics such as prior
               valuations of collateral, bankruptcy expectations,
               categories of assets for liens, allocation of sale proceeds,
               and rights to postpetition interest (1.30)

08/29/13 DAB   Email R. Abdelhamid of Morrison & Foerster re:                     2.30
               Disqualification Motion and Order in connection with JSN
               litigation in which Wells Fargo and noteholders UBS and
               Loomis are conflict parties (.10); analyze Debtors’ Reply
               to the JSNs’ Objection to the Debtors’ Plan Confirmation
               Discovery Procedures/Protocol Motion for impact on JSN
               Phase I and II discovery (.20); correspondence with B.
               Kotliar re: bilateral facilities in connection with same (.90);
               review of various documents in connection with bilateral
               facilities issue in connection with same (1.00); review
               Judge Glenn's order re: Motions to Dismiss for impact on
               released liens issue and bilateral facilities collateral (.10)




08/29/13 SB    Prepare sets of UMB Bank deposition exhibits per request           1.00
               of J. Berman in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (1.00)

08/29/13 ET    Email correspondence with J. Levitt of Morrison &                 10.60
               Foerster re: proposed deposition schedule in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.20); confer with R. Abdelhamid and A. Ruiz of
               Morrison & Foerster re: preparation for strategy meeting
               with attorneys for the Debtors and the Unsecured
               Creditors' Committee (.50); correspond with M. Moscato
               and T. Foudy re: preparation for 30(b)(6) depositions of
               defendants and all-attorneys strategy meeting (.50);
               attend meeting with M. Moscato, T. Foudy, N. Hamerman,
               E. Lintz, A. Goodman, P. Farber, C. Siegel, and G.
               Horowitz of Kramer Levin, B. O'Neill, P. Bentley, J. Rosell,
               R. Feinstein and J. Morris of Pachulski, and J. Levitt, S.
               Engelhardt, S. Martin, A. Ruiz, and R. Abdelhamid of
               Morrison & Foerster re: strategy and planning for
               depositions and trial in the JSN adversary proceeding
               (2.90); meet with A. Ruiz, R. Abdelhamid, N. Hamerman,
               E. Lintz, A. Goodman, J. Rosell and P. Farber re: review
               of documents identified by H5 as relevant to specific
               issues so documents can be used in preparation for
               depositions and trial in the JSN adversary proceeding
               (.70); follow-up discussions with R. Abdelhamid and A.
               Ruiz re: same (.30); work with R. Abdelhamid to schedule
               and prepare for depositions of the Debtors' witnesses in
               the JSN adversary proceeding (1.50); conference call with
               S. Engelhardt
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               and R. Abdelhamid re: preparation for deposition by
               defendants in the JSN adversary proceeding (.40); review
               and analyze Judge Glenn's order denying UMB and the
               Ad Hoc Group's motion to dismiss for impact on discovery
               issues (1.00); draft and respond to emails to/from T.
               Farley, J. Horner, B. Westman, and J. Ruhlin re:
               scheduling of depositions in the JSN adversary
               proceeding and preparing witnesses (1.00); email
               correspondence with J. Levitt and S. Engelhardt re:
               scheduling of depositions in the JSN adversary
               proceeding (.40); email correspondence with R.
               Abdelhamid, N. Hamerman, E. Lintz, A. Goodman, J.
               Rosell and P. Farber re: updates to H5/Alix Partners
               database to enable review of key documents identified by
               H5 as relevant to specific issues, as part of preparation for
               depositions in the JSN adversary proceeding (.70);
               coordinate with S. Kindya-Culley re: review of Examiner's
               Report and creation of witness files containing relevant
               excerpts, and follow-up correspondence with R.
               Abdelhamid re: same (.50)


08/29/13 JCB   Review of UMB deposition outline, notice of deposition,         6.60
               Debtors' amended complaint and JSN/UMB amended
               counterclaims in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.60);
               meet with M. Moscato and E. Combs to discuss UMB
               outline and preparations for deposition (2.30); revise and
               finalize deposition outline consistent with M. Moscato
               comments (3.70)

08/30/13 TF1   Confer with M. Moscato on preparation for depositions           4.00
               and meet and confer in connection with Consolidated JSN
               Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30); set
               up meet and confer call on scope of 30(b)(6) topics (.10);
               email correspondence with M. Moscato and E. Tobin on
               arrangements for depositions (.10); review objection by
               JSNs to plan discovery protocol for impact on Phase II
               JSN litigation (.30); meet with M. Moscato, E. Combs and
               B. Kotliar on preparation for depositions of Wells Fargo
               and UMB (.90); call with S. Martin of Morrison & Foerster
               and E. Combs on same (.20); call with G. Horowitz of
               Kramer Levin, J. Levitt and S. Engelhardt of Morrison &
               Foerster, and M. Moscato in preparing for meet and
               confer call (.50); exchange emails following up on
               agreements reached during meet and confer (.40); review
               deposition scripts for affirmative depositions (1.20)



08/30/13 MJM   Discuss Wells Fargo and UMB Rule 30(b)(6) depositions           4.60
               in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties with T. Foudy (.30); review
               and revise script for 30(b)(6)deposition of defendant UMB
               (1.10); participate in
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               meeting with T. Foudy, E. Combs, and B. Kotliar re: Wells
               Fargo 30(b)(6) deposition (.90); participate in conference
               call with T. Foudy, G. Horowitz of Kramer Levin, J. Levitt
               and S. Engelhardt of Morrison & Foerster, and E. Combs
               re: strategy for limiting Rule 30(b)(6) deposition topics in
               JSNs litigation (.50); continue revision of script for Rule
               (30)(b)(6) deposition of UMB (.60); review various Rule
               30(b)(6) deposition notices in preparation for call with
               counsel for UMB and the Ad Hoc Group re: limiting
               deposition topics (.40); conference call with E. Combs, B.
               Kotliar, S. Engelhardt, G. Horowitz, and counsel for UMB
               and the JSNs re: limitations and parameters to the parties'
               respective Rule 30(b)(6) notices (.80)



08/30/13 SKC   Continue review of Examiner's Report for hits on                5.70
               Whitlinger in connection with Consolidated JSN Adversary
               Proceeding where Wells Fargo and noteholders Loomis
               and UBS are conflict parties (2.20); assemble documents
               for E. Tobin with highlighting of relevant passages for
               witness preparation (2.30); prepare exhibit list for
               Whitlinger exhibits, de-duping same (1.20)


08/30/13 EC    Join portion of meeting with T. Foudy, M. Moscato and B.       12.20
               Kotliar to discuss Wells Fargo deposition preparations and
               needs for documents and other analysis relating to
               depositions in connection with Curtis’ role as conflicts
               counsel, as Wells Fargo and noteholders UBS and
               Loomis are conflict parties (.60); attend teleconference
               with T. Foudy and S. Martin of Morrison & Foerster to
               discuss collateral release issues in preparation for
               upcoming Wells Fargo 30(b)(6) deposition (.20); review
               Revolver pledge agreement and loan documents for
               information relating to collateral release provisions and
               mechanics in that agreement (2.30); draft analysis of the
               authority and activities necessary to release collateral
               under the Revolver facility (2.00); meet with B. Kotliar to
               discuss release of collateral under Revolver pledge
               agreement (.30); review revised draft of UMB 30(b)(6)
               deposition script prepared by J. Berman (.80);
               correspondence with E. Tobin re: Asset Purchase review
               documents and tagging protocol (.50); review Wells Fargo
               documents to determine date range of documents
               provided in production in connection with collateral
               release issues to be raised at Wells Fargo deposition
               (1.90); revise script for upcoming UMB deposition to
               reflect discussions with M. Moscato and J. Berman,
               including addition of new substantive documents and
               areas of questioning as well as additional cues and other
               minor refinements (3.10); attend conference call with T.
               Foudy and M. Moscato re: 30(b)(6) limitation strategy
               (.50)



08/30/13 BMK   Conference with M. Moscato, T. Foudy and E. Combs              11.40
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               (partially) re: 30(b)(6) deposition of Wells Fargo and
               supplemental questions in connection with collateral
               agent's rights, duties, and obligations under the various
               loan documents and pledge agreements in connection
               with Consolidated JSN Adversary Proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (.90); review JSN Pledge, JSN Indenture, and
               Intercreditor Agreement in connection with same,
               specifically noting obligations owed to the JSNs and the
               rights of various parties to seek to inspect collateral,
               obtain audit reports, demand an accounting, and other
               duties (4.40); email to M. Moscato and T. Foudy
               summarizing affirmative obligations of Wells Fargo (.80);
               begin drafting outline of questions in connection with
               analysis of same (2.50); conference with E. Combs re:
               assisting with analysis of AFI Revolver and AFI Pledge in
               connection with same and Wells Fargo's duties and
               obligations thereunder (.30); incorporate draft outline of
               questions re: same from E. Combs into draft outline (.90);
               review and revise outline of same to include specific
               citations and references to relevant loan documents (1.60)



08/30/13 DAB   Correspond with E. Tobin and B. Kotliar re: deposition        0.80
               preparation documents in connection with Consolidated
               JSN Adversary Proceeding where Wells Fargo and
               noteholders Loomis and UBS are conflict parties (.30);
               review and analyze same for potential inclusion in
               deposition prep materials (.40); confer with S. Ballard re:
               same (.10)

08/30/13 SB    Prepare set of UMB Bank deposition exhibits for M.            3.00
               Moscato per request of E. Combs in connection with
               Consolidated JSN Adversary Proceeding where Wells
               Fargo and noteholders Loomis and UBS are conflict
               parties (1.30); prepare sets of J. Peterson deposition prep
               documents per request of E. Tobin (1.60); confer with D.
               Blom re: deposition prep materials (.10)

08/30/13 ET    Telephone calls with J. Horner, J. Ruhlin and T. Farley re:   8.60
               scheduling and preparation for depositions by the Ad Hoc
               Group and UMB in the JSN adversary proceeding where
               Wells Fargo and noteholders Loomis and UBS are conflict
               parties (1.50); update scheduling re: proposed deposition
               and preparation schedule (.30); discussions with J. Levitt,
               S. Engelhardt and R. Abdelhamid of Morrison & Foerster
               re: same (.40); email correspondence with R. Abdelhamid,
               N. Hamerman, P. Farber, and E. Lintz of Kramer Levin, D.
               Bloom, E. Combs, B. Kotliar, and H5 consultants re:
               review of documents identified by H5 in preparation for
               depositions and trial in the JSN adversary proceeding and
               in connection with Plan Confirmation (2.40); correspond
               with D. Bloom, B. Kotliar, and S. Ballard re: deposition
               preparation binder including JSN transaction documents
               for J. Peterson, and creation of data room
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               for the same (.50); conference call with R. Abdelhamid
               and S. Martin of Morrison & Foerster re: identification of
               relevant topics for Debtors' witnesses in depositions by
               defendants in the JSN adversary proceeding (.70); review
               and update Order of Proof to include witnesses relevant to
               each topic for Phase 1 of the JSN adversary proceeding
               (2.00); confer with R. Abdelhamid planning and strategy
               for review of documents in preparation for depositions in
               the JSN adversary proceeding (.40); email
               correspondence with J. Levitt of Morrison & Foerster, T.
               Foudy, and M. Moscato re: review of documents in
               preparation for depositions of the Debtors' witnesses in
               Phase 1 of the JSN adversary proceeding (.20);
               correspond with S. Kindya-Culley re: review of Examiner's
               Report and creation of witness files containing relevant
               excerpts (.20)


08/30/13 JCB   Participate in meet and confer teleconference with M.           0.80
               Moscato, T. Foudy, Committee Counsel, and Debtors re:
               30(b)(6) depositions in connection with Curtis’ role as
               conflicts counsel, as Wells Fargo and noteholders UBS
               and Loomis are potential conflict parties (.50); correspond
               with M. Moscato and B. Kotliar re: deposition preparation
               (.30)

08/31/13 EC    Draft additional insert for deposition script relating to       6.10
               negotiation of the Final Cash Collateral Order for
               depositions of UMB and the Ad Hoc Group in connection
               with Curtis’ role as conflicts counsel, as Wells Fargo and
               noteholders UMB and Loomis are conflict parties (.60);
               correspond with M. Moscato and B. Kotliar regarding likely
               scope of UMB's knowledge on negotiation of the Cash
               Collateral Order (.30); identify materials to be
               authenticated by UMB and draft additional lines of
               questioning re: authenticating documents (.50); research
               relating to requirements to authenticate documents in
               30(b)(6) deposition testimony in connection with drafting
               authentication questions (.10); draft insert questions
               relating to UMB's role in negotiating and knowledge of
               stipulation under cash collateral order relating to valuation
               of collateral and monitoring of Debtor's cash and other
               collateral positions during the bankruptcy (1.40); review
               and prepare comments relating to synopsis of Wells
               Fargo's responsibilities under the JSN and Revolver
               agreement documents (.90); revise the UMB deposition
               script to reflect limited scope agreed to by parties (1.10);
               review documents identified by consultants as relating to
               Ocwen Asset Purchase for improved, targeted searching
               and use in upcoming depositions (1.20)




08/31/13 BMK   Review Intercreditor Agreement in connection with               5.30
               drafting outline and supplemental questions for 30(b)(6)
               deposition of Wells Fargo in connection with JSN
               Adversary Proceeding where Wells Fargo and
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               noteholders Loomis and UBS are conflict parties (1.30);
               review and revise same incorporating findings from
               Intercreditor Agreement and specific sections relating to
               Wells Fargo's affirmative duties and obligations to the
               various parties with respect to collateral (1.40);
               correspondence with E. Combs re: same (.40); review and
               revise same (1.10); circulate to T. Foudy and M. Moscato
               for review (.20); review first 20 documents received from
               H5 regarding JSN Collateral in order to tailor and group
               targeted search H5 process (.80); conference with R.
               Abdelhamid of Morrison & Foerster re: same and updated
               review protocol for H5 deliveries (.10)



08/31/13 ET    Email correspondence with E. Combs, B. Kotliar and J.             4.90
               Natividad of Alix Partners re: review of documents
               identified by H5 as pertaining to collateral
               identification/tracking and the 2012 Asset Purchase
               Agreements, in preparation for depositions and trial in the
               JSN adversary proceeding and in connection with Plan
               Confirmation, in light of involvement of conflict parties
               Wells Fargo and noeholders UBS and Loomis (.40);
               revise Order of Proof to incorporate the 30(b)(6)
               deposition topics noticed by the JSNs and UMB and the
               Debtors' witness designations for the same (3.60); confer
               with R. Abdelhamid of Morrison & Foerster re: same (.40);
               email correspondence with J. Peterson, B. Kotliar, and R.
               Abdelhamid re: data room access to transaction
               documents re: 2008 Exchange Offer in preparation for
               depositions in the JSN adversary proceeding (.50)



                                          TOTAL HOURS                        1,286.90
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       Summary of Services
                                          Title           Hours     Rate      Amount
       Steven J. Reisman                Partner            37.20     830      30,876.00
       Turner P. Smith                  Partner              4.00    830       3,320.00
       Michael J. Moscato               Partner            69.20     785      54,322.00
       Theresa A. Foudy                 Partner           105.80     730      77,234.00
       Michael Ari Cohen                Partner            16.90     730      12,337.00
       Myles K. Bartley                 Counsel              0.40    635        254.00
       Thomas Laurer                    Partner            26.10     635      16,573.50
       Maryann Gallagher                Counsel              3.10    625       1,937.50
       Ellen Tobin                      Associate         236.10     600     141,660.00
       Jeffrey C. Berman                Associate         176.30     600     105,780.00
       James V. Drew                    Associate          10.20     590       6,018.00
       George E. Spencer                Associate            3.90    520       2,028.00
       Daniel A. Bloom                  Associate         135.80     480      65,184.00
       Edward Combs                     Associate         127.10     305      38,765.50
       Michael P. Jones                 Associate          23.70     305       7,228.50
       Bryan M. Kotliar                 Associate          86.00     305      26,230.00
       John Thomas Weber                Associate         124.20     305      37,881.00
       Georgia Faust                    Legal Assistant      4.00    235        940.00
       Franklin R. Guenthner            Legal Assistant      5.50    235       1,292.50
       Sheyla Soriano                   Legal Assistant      9.00    235       2,115.00
       Susan Kindya-Culley              Legal Assistant    64.80     230      14,904.00
       Kristine Kim                     Legal Assistant      7.00    210       1,470.00
       Samuel Ballard                   Legal Assistant      6.30    200       1,260.00
       Lauren Tauro                     Summer/Fall          4.30       0          0.00

                                                          1,286.9           $649,610.50

                                            TOTAL SERVICES                                $649,610.50

       Summary of Expenses
         Courier Expense                                        39.98

         External Photocopy Services                         1,213.10

         Intercall Audio Conferencing                           42.85

         Pacer - ECF                                          196.20

                                            TOTAL EXPENSES                                 $1,492.13
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                                    TOTAL THIS INVOICE                     $651,102.63
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                                              ATTORNEYS AND COUNSELLORS AT LAW
                                                      101 PARK AVENUE
                                              NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                     November 14, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                             Inv. # 1592016
Fort Washington PA 19034
                                                                                             Our Ref. 062108-000500
                                                                                             SJR
Attention:   Residential Capital, LLC
Re: Plan and Disclosure Statements




      08/01/13 TF1        Review emails on impairment research and provide E.              0.50
                          Combs with email guidance on same in connection with
                          potential disclosure statement objection by the Junior
                          Secured Noteholders where Loomis, UBS, David
                          Kempner, and Silverpoint are conflict parties (.50)

      08/01/13 EC         Research relating g to impairment
                                                   p          of p
                                                                 pledgee
                                                                     g who is not a        9.20
                          creditor of the individual p
                                                     pledgor
                                                         g debtor entity   y and whether
                          pledgee
                          p g has a "claim" in bankruptcy permitting a vote at
                                                         i connection with potential
                          plan confirmation if impaired in
                          disclosure statement objection by the Junior Secured
                          Noteholders where Loomis, UBS, Davidson Kempner, and
                          Silverpoint are conflict parties (5.60); draft email to M.
                          Moscato on T. Foudyy describing   g results of research
                          relating to equity pledgee voting in connection with same
                          (1.20); draft formal memorandum for review and use by
                          Morrison Foerster on same (2.40)



      08/02/13 SJR        Review documentation in connection with expected                 1.80
                          Objection to Disclosure Statement by JSNs where
                          noteholders Loomis, UBS, Davidson Kempner, and
                          Silverpoint are conflict parties and analyzing issues in
                          connection with same (1.40); review matters related to
                          conflict parties who will likely object to Disclosure
                          Statement and prepare for same (.40)

      08/02/13 TF1        Review and edit multiple
                                                p drafts of E. Combs memo                  2.30
                          regarding impairment of claims at equity or asset pledgors
                          in connection with potential disclosure statement objection
                          of the Ad Hoc Group of JSNs as noteholders UBS and
                          Loomis are conflict parties (1.40); meet with E. Combs
                          and M. Moscato to discuss same (.30); finalize memo and
                          send to Morrison & Foerster (.40); teleconference with D.
                          Harris of Morrison & Foerster and E. Combs to discuss
                          impairment research (.20)


      08/02/13 MJM        Meet with T. Foudyy and E. Combs re: legal
                                                                  g research               0.30
                          concerningg impairment
                                        p         of equity pledges in non-grantee
                          or guarantor subsidiaries in connection with potential
                          disclosure statement objection by the
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               Junior Secured Noteholders where Loomis, UBS, David
               Kempner, and Silverpoint are conflict parties (.30)

08/02/13 EC    Meet with T. Foudy and M. Moscato to discuss                    3.60
               memorandum relating to potential impairment objection of
               JSNs to Disclosure Statement as noteholders UBS,
               Loomis, Davidson Kempner, and Silverpoint are conflict
               parties (.30); attend conference call with D. Harris of
               Morrison & Foerster and T. Foudy     y of Curtis to discuss
               resolution of issues relating g to creditor impairment
                                                             p         at
               debtors where they hold only an asset or equity pledge in
               connection with same (.20);
                                        ( ) research relating   g to
               impairment
                 p          and votingg of equity
                                             q yp  pledgees
                                                        g     in p
                                                                 plan
               confirmation, pparticularly in context of a turnover of the
                                 creditor in connection with same ((1.30);
               equity securing credito                                     )
               update
                p      and revise draft memorandum on equity pledge
               voting to reflect additional research in connection with
               same (1.80)


08/02/13 BMK   Review treatment of equity interests under proposed plan        1.20
               and disclosure statement re: treatment of PATI entity
               equity in connection with potential objection to the
               Disclosure Statement by the JSNs, which include conflict
               parties Loomis, and UBS and and correspond with T.
               Foudy re: same (.50); review Debtors' disclosure
               statement motion in connection with assisting Debtors
               counsel with responding to objections raised by conflict
               parties (.70)

08/05/13 MG8   Review NCUAB objection to disclosure statement, as              0.80
               NCUAB is party to the subordination adversary
               proceeding handled by Curtis which sought declaratory
               relief under section 510 of the Bankruptcy Code and
               which is proposed to be resolved pursuant to the plan
               (.80)

08/05/13 DAB   Review and analyze NCUAB’s objection to the Disclosure          0.70
               Statement for potential impact on securities settlements
               preferably handled by Curtis as conflicts counsel (.70)


08/07/13 TF1   Meet with D. Bloom, M. Cohen, M. Gallagher, B. Kotliar,         0.30
               and J. Weber to discuss division of labor and plan for
               review/response to disclosure statement objections by
               conflict parties (.30)

08/07/13 MG8   Attend to correspondence with T. Foudy, M. Cohen, D.            1.10
               Bloom, J. Weber and B. Kotliar regarding preparations for
               responding to objection to the Disclosure Statement (.20);
               attend meeting with same re: same and coordinate efforts
               with Morrison & Foerster (.30); review briefly objection to
               Disclosure Statement filed by P. Papas and reservation of
               rights filed by Ambac (.30); review draft chart prepared in
               connection with objections PSA in preparation for
               addressing objections to disclosure statement (.30)
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08/07/13 MAC    Meet with D. Bloom, T. Foudy, M. Gallagher, B. Kotliar,       0.30
                and J. Weber re: responding to disclosure statement
                objections anticipated by conflict parties (.30)

08/07/13 BMK    Attend conference with T. Foudy, M. Cohen, M.                 0.30
                Gallagher, D. Bloom, P. Buenger, and J. Weber re: project
                tasks and assignments for assisting Morrison & Foerster
                with replies to disclosure statement, including handling of
                expected objections by conflict parties (.30)

08/07/13 JTW    Participate in meeting with T. Foudy, M. Cohen, M.            0.80
                Gallagher, B. Kotliar, P. Buenger, and D. Bloom re: tasks
                associated with the Debtors' responses to Disclosure
                Statement Objections expected by conflict parties (.30);
                update internal case materials and streamline access to
                Disclosure Statement Objections (.50)


08/07/13 DAB    Meet with T. Foudy, M. Gallagher M. Cohen, P. Buenger,        0.80
                B. Kotlir, and J. Weber re: Disclosure Statement
                objections and assisting Morrison & Foerster with same
                (.30); follow-up correspondence with B. Kotliar and J.
                Weber re: same (.50);

08/07/13 PJB2   Meet with T. Foudy, M. Cohen, M. Gallagher, J. Weber, B.      1.10
                Kotliar and D. Bloom re: various objections to Debtors'
                Disclosure Statement expected by conflict parties and
                next steps in filing reply to same (.30); multiple
                correspondence with M. Cohen and M. Gallagher re:
                same (.60); review precedent charts re: same in
                preparation for assisting Morrison & Foerster with
                preparing chart of objections to Disclosure Statement with
                summaries and replies (.20)

08/08/13 SJR    Review of Objections to Disclosure Statement and outline      3.30
                of potential responses to same (3.30)

08/08/13 TF1    Review sample charts/omnibus responses to Disclosure          4.80
                Statement Objections in connection with assisting with
                responding to the Disclosure Statement objections by
                conflict parties such as the Ad Hoc Group of JSNs as
                noteholders Loomis and UBS are conflict parties (.60);
                review and take notes on filed objections to Disclosure
                Statement in connection with same (4.20)

08/08/13 MJM    Review JSNs' Objections to the Debtors' Disclosure            0.90
                Statement as noteholders Loomis and UBS are conflict
                parties (.90)

08/08/13 MG8    Review numerous reservations of rights and objections to      3.50
                Disclosure Statement throughout the day, including those
                filed by JSNs, UMB Bank, Freddie Mac, Impac, FHFA,
                Residential Capital Plaintiffs, PBGC, Amherst ADvisory,
                Assured Guaranty and US Trustee in order to prepare for
                all-hands meetings and calls to address responses and
                language changes needed to address
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               the concerns raised by the objectors (3.20); attend to
               numerous correspondence throughout the day with D.
               Bloom and B. Kotliar with respect to same (.30)

08/08/13 MAC   Review disclosure statement objections in connection with     2.60
               assisting the Plan Proponents in responding to disclosure
               statement objections by conflict parties (2.60)


08/08/13 BMK   Review objections to proposed Disclosure Statement and        7.60
               Motion in connection with assisting lead counsel in
               responding to objections and handling objections of
               conflict parties (3.20); draft summaries of same, including
               highlighting key factual and legal issues raised by
               objections to assist with response discussions (2.90);
               review and revise same, incorporating additional late-filed
               objections (1.50)

08/08/13 DAB   Analyze and draft summary of NCUAB objection to               6.50
               Disclosure Statement (1.00); correspond with B. Kotliar
               and J. Weber re: procedure for summarizing all objections
               to same (.40); extensive drafting of summaries of
               Disclosure Statement objections (4.00); correspond with
               B. Kotliar re: same (.80); email to T. Foudy re: US Trustee
               objection (.30)

08/09/13 SJR   Attend to review of Objections to Disclosure Statement of     3.80
               conflict parties and responses to same (2.70); update
               regarding Objections to Disclosure Statement and
               allocation of tasks in dealing with objections of conflict
               parties (1.10)

08/09/13 TF1   Review chart of Disclosure Statement Objections               2.50
               circulated by Morrison & Foerster in connection with
               responding to objections to Disclosure Statement due to
               involvement of conflict parties, including certain members
               of JSN Ad Hoc Group such as Loomis and UBS, along
               with conflict parties Ambac Assurance and FHFA (.40);
               participate in call with Morrison & Foerster to discuss
               approach to responses and task assignment (.50);
               participate in call with Committee counsel to Kramer Levin
               regarding same (1.20); participate in call with counsel to
               Ally Financial at Kirkland and Ellis regarding same (.40)



08/09/13 MJM   Review memo summarizing objections to Debtors                 3.40
               Disclosure Statement (.50); participate in conference call
               with M. Gallagher, M. Cohen, D. Bloom, J. Weber, D.
               Kotliar, and G. Lee and other Morrison & Foerster
               attorneys re: responses to multiple objections to Debtors'
               Disclosure Statement (1.70); participate in conference call
               with M. Gallagher, M. Cohen, D. Bloom, J. Weber, B.
               Kotliar, and counsel for Creditors' Committee at Kramer
               Levin and Morrison & Foerster attorneys re: responses to
               multiple objections to Debtors' Disclosure Statement
               (1.20)
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08/09/13 MG8   Review summaries and chart of various Disclosure                  3.70
               Statement Objections (.80); participate in call with
               Morrison & Foerster team, including J. Marines, A.
               Barrage, G. Lee, L. Marinuzzi, T. Goren, Curtis lawyers,
               including M. Moscato, D. Bloom, B. Kotliar, M. Cohen, J.
               Weber and L. Kruger to review objections to Disclosure
               Statement, and responses, allocation of tasks, including
               with respect to Disclosure Statement Objections and
               reservations of rights filed by conflicts parties including the
               JSNs and AIG (1.70); participate in call with M. Moscato,
               M. Cohen, D. Bloom, B. Kotliar, and J. Weber and
               Debtors' counsel including, G. Lee of Morrison & Foerster
               and Commitee Counsel including S. Zide of Kramer Levin
               to further discuss objections to Disclosures Statement,
               responses and allocation of tasks (1.20)



08/09/13 MAC   Review objections to Disclosure Statement and conduct             5.80
               analysis of issues in connection with replying to same
               (2.90); participate in conference call with M. Gallagher, M.
               Moscato, D. Bloom, J. Weber, D. Kotliar, and G. Lee and
               other Morrison & Foerster attorneys re: responses to
               multiple objections to Debtors' Disclosure Statement
               (1.70); participate in call with M. Moscato, M. Gallagher,
               D. Bloom, B. Kotliar, and J. Weber and Debtors' counsel
               including, G. Lee of Morrison & Foerster and Commitee
               Counsel including Stephen Zide of Kramer Levin to further
               discuss objections to Disclosures Statement, responses
               and allocation of tasks (1.20)



08/09/13 BMK   Review objections, responses, and statements filed in             4.30
               connection with the Debtors' proposed Disclosure
               Statement in advance of calls with Morrison & Foerster
               and Committee counsel at Kramer Levin re: assisting with
               Debtors' reply as conflicts counsel and responding to
               specific allegations contained in the JSNs' objections, of
               which noteholders UBS and Loomis are conflict parties
               (1.40); attend teleconference with M. Cohen, M.
               Gallagher, M. Moscato, D. Bloom and J. Weber and
               counsel at Morrison & Foerster re: same, including
               assignment of project tasks to Curtis (1.70); attend
               teleconference with same and commmittee counsel at
               Kramer Levin such as S. Zade re: same (1.20)



08/09/13 DAB   Extensive further drafting of summaries of all filed              4.40
               Disclosure Statement objections (2.00); circulate draft of
               same to S. Reisman, T. Foudy, M. Gallagher, M. Moscato,
               and M. Cohen (.10); review and comment on Morrison &
               Foerster draft chart re: same (.80); participate in calls with
               Morrison & Foerster re: response to Disclosure Statement
               objections (1.20); follow-up communication with M.
               Moscato, M. Gallagher, B. Kotliar re: same (.30)
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08/09/13 FRG   Assist B. Kotliar in assembly of materials re: Disclosure     0.90
               Statement Objections periodically throughout the day (.90)


08/13/13 SJR   Review, edit and comment on Omnibus Reply to                  4.30
               Disclosure Statement as well as review Disclosure
               Statement Objections for Responses and feedback on
               same (4.30)

08/13/13 TF1   Edit and provide comments to Morrison & Foerster on           1.50
               Kramer Levin's inserts to omnibus reply to Disclosure
               Statement Objections due to objections to Disclosures
               Statements by conflict parties, including Amhearst and
               certain members of Ad Hoc Group of JSNs, including
               Loomis and UBS (1.40); review summary of late-filed
               objection to Disclosure Statement (.10)

08/13/13 MG8   Begin review of updated Disclosure Statement with             0.80
               particular focus on language changes to address
               concerns raised by conflict partners AIG and certain
               noteholders of the Junior Secured Notes, UBS and
               Loomis (.80)

08/14/13 SJR   Review additional comments to latest draft of Amended         3.80
               Disclosure Statement in the Residential Capital Chapter
               11 case in connection with conflict matters handled by
               Curtis (1.70); attend to review and comment on latest draft
               of Disclosure Statement in connection with same (1.30);
               review of Objections to Disclosure Statement by various
               conflict parties and responses to same (.40); review
               e-mails regarding responses to Objections to Disclosure
               Statement (.40)

08/14/13 TF1   Participate in conference call with Kramer Levin and          6.10
               Morrison & Foerster to review responses to objections to
               Disclosure Statement by conflict parties, including FHFA
               and certain members of Ad Hoc Group of JSNs including
               Loomis and UBS (1.50); begin review of and comment on
               latest draft of Disclosure Statement and redline to show
               changes (1.70); exchange emails with M. Gallagher on
               comments to latest draft of Disclosure Statement (.10);
               review chart of Disclosure Statement Objections and of
               professional fees (.40); review and revise omnibus reply
               to claims objections and exchange emails concerning
               comments to same (2.40)

08/14/13 MG8   Review and comment on suggested changes to rider to           2.60
               reply to objections to Disclosure Statement to address
               objections made by JSNs including conflict parties
               noteholders Loomis and UBS (.50); attend to review of
               updated draft of reply to Disclosure Statement circulated
               by Morrison & Foerster and related chart summarizing
               objections and proposed responses (.60); continue to
               review and comment on latest draft of amended
               Disclosure Statement (1.50)
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08/14/13 MAC   Review revised Disclosure Statement in connection with         2.30
               addressing Disclosure Statement Objections filed by
               conflict parties and respond to same (2.30)

08/15/13 SJR   Review and comment on revisions to draft Disclosure            3.20
               Statement in the ResCap case in connection with conflict
               matters handled by Curtis (1.70); review chart of
               responses to objections (.40); attend to review of revised
               draft Disclosure Statement in Residential Capital case
               (1.10)

08/15/13 TF1   Review and provide comments to new draft of Disclosure         3.40
               Statement in connection with Disclosure Statement
               objections by conflict parties including FHFA and certain
               members of Ad Hoc Group on JSNs, including Loomis
               and UBS (2.90); conference call with T. Goren of Morrison
               & Foerster on drafting rebuttal to JSNs' proposed litigation
               rider (.10); discuss with J. Berman and E. Tobin re: same
               (.20); call with Kramer Levin and Morrison & Foerster to
               go through chart of objections and responses (.20)


08/15/13 MG8   Review and provide comments to new draft of Disclosure         2.30
               Statement in connection with objections by conflict parties
               including FHFA and certain members of Ad Hoc Group of
               JSNs, as noteholder Loomis and UBS (1.90); email
               correspondence with T. Foudy and B. Kotliar re:
               coordinating same (.40)

08/15/13 BMK   Review and revise draft Disclosure Statement including         9.20
               incorporating edits/comments of M. Gallagher and
               updating relevant portions relating to JSN litigation and
               other general updates in connection with Disclosure
               Statement objections by conflict parties including FHFA
               and certain members of Ad Hoc Group on JSNs as
               noteholders Loomis and UBS (1.50); circulate same to T.
               Foudy for review (.20); conference with J. Berman re:
               drafting exhibit to Disclosure Statement stating position of
               the Plan Proponents' on Consolidated JSN Litigation in
               response to proposed exhibit submitted by JSNs (1.00);
               review JSN objection to Disclosure Statement Motion and
               exhibit 2 and attached chart re: statements of position in
               JSN litigation (.70); review all documents relating to same
               including Motions to Dismiss, Disclosure Statement and
               complaints for Plan Proponents' positions (.70); begin
               drafting counter exhibit to JSNs' statement on view of
               litigation (4.20); review and revise same, ensuring all
               arguments incorporated and consistency with views taken
               in filed pleadings (.90)



08/15/13 ET    Meet with T. Foudy and J. Berman re: JSNs' objections to       0.50
               the Debtors' disclosure statement as noteholders Loomis
               and UBS are conflict parties (.20); correspondence with
               J.Berman and B.Kotliar re: drafting rebuttal statement to
               re: same (.30)
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08/15/13 JCB   Meet with T. Foudy and E. Tobin re: reviewing JSNs'              2.50
               proposed exhibit to disclosure statement characterizing
               adversary proceedings and preparing responsive exhibit
               as noteholders Loomis, UBS, Silverpoint, and David
               Kempner are conflict parties (20); confer with B. Kotliar re:
               drafting response to same (1.00); initial structuring of draft
               exhibit re: same in preparation for Disclosure Statement
               hearing (1.30)

08/16/13 SJR   Review responses to Disclosure Statement Objections              3.40
               filed by securities investors, Ally Financial and Wilmington
               Trust Company as well as review of Plan proponents
               chart to draft Disclosure Statement Objections (3.40)


08/16/13 TF1   Review and provide comments on omnibus reply to                  2.60
               disclosure statement objections in connection with JSN
               adversary proceeding due to involvement of conflict
               parties Wells Fargo and certain members of Ad Hoc
               Group, including Loomis and UBS (1.70); meet with B.
               Kotliar, J. Berman, M. Moscato, and E. Tobin to discuss
               drafting rebuttal statement to JSNs' proffered disclosure
               regarding litigation (.50); review/analyze JSNs' proffered
               disclosure regarding litigation (.40)

08/16/13 MJM   Meet with T. Foudy, J. Berman, and E. Tobin re: response         1.10
               to JSNs' proposed insert to Disclosure Statement as
               noteholders Loomis and UBS are conflict parties (.50);
               review and comment on draft Reply to Motion for Order
               Approving Disclosure Statement (.60)

08/16/13 MG8   Review replies to Disclosure Statement objections,               1.70
               including those filed by conflict parties securities
               investors, Wilmington Trust and Ally (1.20); review Plan
               Proponents filed chart with respect to Disclosure
               Statement objections and response (.50)

08/16/13 MAC   Review revised Disclosure Statement and draft reply to           1.60
               Disclosure Statement Objections (1.60)

08/16/13 BMK   Prepare for meeting re: draft exhibit response to JSNs'          6.20
               proposed Disclosure Statement exhibit re: views on JSN
               litigation to be submitted in connection with Disclosure
               Statement and hearing, including revisions of draft and
               review of JSNs' positions as noteholders UBS and Loomis
               are conflict parties (.30); attend meeting with T. Foudy, M.
               Moscato, E. Tobin and J. Berman re: same and discuss
               certain views and positions to be included and structure of
               arguments (.50); review Disclosure Statement exhibit in
               connection with same, incorporating draft of reply to
               Disclosure Statement Motion (3.90); circulate as filed
               version of Disclosure Statement replies of Plan
               Proponents, and conflict parties AFI, and Wilmington
               Trust, and updated Revised Disclosure Statement and
               relevant exhibits (.20); conference with J. Berman and E.
               Tobin to
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               discuss edits to draft exhibit to Disclosure Statement re:
               views on JSN proceeding (.30); review and revise same in
               connection with same (.70); finalize for submission to T.
               Foudy and M. Moscato for review (.30)


08/16/13 ET    Meet with T. Foudy, M. Moscato, J. Berman and B. Kotliar         0.80
               re: Debtors' rebuttal exhibit to the JSNs' objections to the
               Disclosure Statement as noteholders Loomis and UBS
               are conflict parties (.50); discuss same with J. Berman
               and B. Kotliar (.30)

08/16/13 JCB   Meet with T. Foudy, E. Tobin and B. Kotliar re: JSNs'            3.40
               objections to the Debtors' Disclosure Statement and draft
               rebuttal exhibit re: same as noteholders Loomis and UBS
               are conflict parties (.50); discussions with B. Kotliar and E.
               Tobin in connection with draft response exhibit as
               noteholders Loomis and UBS are conflict parties re:
               drafting rebuttal statement to the JSNs' objections to the
               Disclosure Statement (.30); review and revise rebuttal
               statement (2.60)

08/18/13 TF1   Review emails from M. Moscato detailing comments to              0.30
               proposed rebuttal disclosure to JSNs' description of
               litigation in connection with Disclosure Statement
               objections by conflict parties, including certain members
               of Ad Hoc Group, such as noteholders Loomis and UBS
               (.30)

08/18/13 MJM   Edit draft insert to Disclosure Statement re: JSNs'              2.70
               non-entitlement to postpetition interest in connection with
               drafting response exhibit as noteholders Loomis and UBS
               are conflict parties (1.10); draft emails to B. Kotliar, J.
               Berman, and T. Foudy re: edits/revisions to draft insert to
               Disclosure Statement (.90); discussion with B. Kotliar re:
               edits/revisions to draft insert to Disclosure Statement re:
               JSNs (.50); discussion with J. Berman re: edits/revisions
               to draft insert to Disclosure Statement re: JSNs (.20)


08/18/13 MG8   Review disclosure filed by JSNs showing their analysis of        0.20
               the net value to JSNs from intercompany claims and
               related correspondence from B. Kotliar regarding the
               same as noteholders Loomis and UBS are conflict parties
               (.20)

08/18/13 BMK   Teleconference with M. Moscato re: exhibit to Disclosure         5.80
               Statement re: Plan Proponents' views on JSN Adversary
               Proceeding as noteholders Loomis and UBS are conflict
               parties (.50); review and revise same, incorporating
               edits/comments of M. Moscato to reflect Plan Proponents'
               views and arguments in the consolidated JSN Adversary
               Proceeding (3.30); conference with J. Berman re: same
               and verifying numbers relied upon and OID analysis of
               effect on postpetition interest and secured claims (1.20);
               review revised Disclosure Statement in connection with
               same
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               for range of numbers and recoveries and compare to
               information contained in same (.30); finalize draft exhibit
               to Disclosure Statement re: JSN adversary proceeding
               and circulate to T. Foudy and M. Moscato for review (.50)


08/18/13 JCB   Discussions with M. Moscato re: draft exhibit to Disclosure       3.50
               Statement setting forth Debtors' position re: JSN litigation
               as noteholders Loomis and UBS are conflict parties (.20);
               conference with B. Kotliar re: same (1.20); revise exhibit
               re: same incorporating M. Moscato comments (2.10)


08/19/13 SJR   Review of revised Disclosure Statement in the Residential         1.70
               Capital case and the revised Disclosure Statement
               approval Order as well as Plan Proponents Reply to
               Objections to Disclosure Statement (1.70)

08/19/13 TF1   Edit summary of Phase 1/Phase 2 discovery for L.                  4.10
               Marinuzzi presentation to Court for disclosure statement
               hearing in connection with responding to JSNs' objection
               to Disclosure Statement as noteholders Loomis and UBS
               are conflict parties (.80); revise draft rebuttal statement for
               Disclosure Statement exhibit to JSNs' proposed
               addendum disclosure on litigation positions (2.70);
               conference call with S. Zide and G. Horowitz of Kramer
               Levin discussing same (.20); correspondence with M.
               Moscato on same (.30); review agenda for disclosure
               statement hearing (.10)

08/19/13 MJM   Edit current version of draft insert to Disclosure Statement      1.10
               responding to JSNs' prepared exhibit re: JSNs'
               nonentitlement to postpetiton interest as noteholders
               Loomis and UBS are conflict parties (.80); review T.
               Foudy's revise draft of insert to Disclosure Statement re:
               same (.30)

08/19/13 MG8   Edit summary of Phase 1/Phase 2 discovery for L.                  4.80
               Marinuzzi presentation to Court for disclosure statement
               hearing in connection with objections to Disclosure
               Statement by conflict parties including FHFA and certain
               members of Ad Hoc Group, including noteholders Loomis
               and UBS (.80); attend to review of revised Disclosure
               Statement and review of Revised Disclosure Statement
               Approval Order, as well as Plan Proponents Reply to
               Objections to Disclosure Statement (3.80);
               correspondence with F. Guenther regarding materials for
               hearing on approval of Disclosure Statement (.20)



08/19/13 BMK   Review and revise draft exhibit to Disclosure Statement           0.50
               containing description of Plan Proponents' view of the
               consolidated JSN Adversary Proceedingas noteholders
               Loomis and UBS are conflict parties and circulate to T.
               Foudy and M. Moscato for review (.50)

08/20/13 TF1   Review Debtors' filed reply to disclosure statement               1.40
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               objections in connection with objections to Disclosure
               Statement by conflict parties including FHFA and certain
               members of Ad Hoc Group of Junior Secured
               Noteholders, including UBS and Loomis (.60); review
               latest drafts of disclosure statement, plan, and objection
               chart and emails circulated with comments on same (.80)


08/20/13 MG8   Correspondence with F. Guenther regarding materials for           1.40
               hearing on the approval of the Debtors' Disclosure
               Statement (.30); brief review of the same (.50); review
               NCUAB consent to approval of Disclosure Statement and
               related follow-up (.10); review motion regarding
               procedures for discovery in connection with confirmation
               (.40); brief review of various filings of individuals regarding
               the Disclosure Statement (.10)

08/20/13 MAC   Review revised Disclosure Statement in connection with            0.90
               issues related to conflicts parties such as FHFA and the
               Ad Hoc Group of JSNs as noteholders Loomis and UBS
               (.90)

08/20/13 BMK   Coordinate with S. Soriano re: production of materials for        0.80
               hearing on Plan Proponents' motion to approve disclosure
               statement, including solicitation materials and objections
               relevant to the JSNs as noteholders UPS and Loomis are
               conflict parties (.80)

08/20/13 DAB   Review and circulate NCUAB’s Consent to the Disclosure            1.60
               Statement (.30); review Debtors’ revised proposed order
               approving the disclosure statement and redlines reflecting
               changes made over the last month to the proposed plan
               and disclosure statement, as well as the Debtors’ updated
               objection chart to accompany their omnibus reply to
               disclosure statement objections (1.30)


08/20/13 FRG   Prepare materials re: Disclosure Statement and distribute         2.90
               to M. Cohen, M. Gallagher, D. Bloom and B. Kotliar in
               advance of hearing (2.90)

08/20/13 SS2   Per B. Kotliar's request, assemble materials for binder re:       4.00
               Disclosure Statement hearing on August 21 and circulate
               to M. Gallagher and T. Foudy (4.00)

08/21/13 TF1   Prepare for disclosure statement hearings, including by           3.90
               review revised chart of objection and redline of filed
               changes to Plan and Disclosure Statement in connection
               with objections to Disclosure Statement by conflict parties,
               including FHFA and certain members of Ad Hoc Group of
               JSNs, including noteholders Loomis and UBS (1.00);
               attend disclosure statement hearing (2.50); travel to and
               from hearing billed at half-time (.40)


08/21/13 MJM   Review newly-filed Disclosure Statement-related                   3.40
               documents in preparation for Disclosure Statement
   12-12020-mgDocDoc
12-12020-mg          6588-13
                  5825         Filed 03/03/14
                        Filed 11/18/13   EnteredEntered 03/03/14
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                                                                     Main Document
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               Hearing in connection with objections to Disclosure
               Statement by conflict parties, including FHFA and certain
               members of Ad Hoc Group of JSNs, including noteholders
               Loomis and UBS (.90); attend Disclosure Statement
               Hearing before J. Glenn (2.50)

08/21/13 MG8   Review briefly revised plan and disclosure documents             1.40
               filed late on August 20 and prepare for hearing on Motion
               Seeking Approval of Disclosure Statement in connection
               with objections to Disclosure Statement by conflict parties,
               including FHFA and certain members of Ad Hoc Group of
               JSNs, including Loomis and UBS (1.40)


08/21/13 DAB   Email S. Reisman re: Disclosure Statement hearing (.10);         1.10
               monitor portions of Disclosure Statement hearing
               involving objection of conflict parties PNC and the Ad Hoc
               Group as noteholders Loomis and UBS are conflict parties
               PNC (1.00)

08/21/13 SS2   Per B. Kotliar's request, retrieve certain materials re:         0.50
               Disclosure Statement (.50)

08/23/13 BMK   Circulate disclosure statement order and updated                 0.30
               disclosure statement, plan, and redlines to S. Reisman, T.
               Foudy, M. Moscato, J. Walsh, and M. Gallagher (.30)


08/27/13 DAB   Analyze and circulate JSNs’ and UMB’s Joint Limited              0.50
               Objection to the Debtors’ Motion for Authorization to
               Establish and Implement Procedures in Connection with
               Discovery Related to Plan Confirmation as noteholders,
               Loomis, UBS, and David Kempner, and Silverpoint are
               conflict parties (.50)

                                           TOTAL HOURS                        195.20
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                                                                     Main Document
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                                                                             Our Ref # 062108-000500

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       Summary of Services
                                         Title           Hours     Rate     Amount
       Steven J. Reisman               Partner            25.30     830     20,999.00
       Michael J. Moscato              Partner            12.90     785     10,126.50
       Theresa A. Foudy                Partner            33.70     730     24,601.00
       Michael Ari Cohen               Partner            13.50     730      9,855.00
       Maryann Gallagher               Counsel            24.30     625     15,187.50
       Ellen Tobin                     Associate            1.30    600       780.00
       Jeffrey C. Berman               Associate            9.40    600      5,640.00
       Daniel A. Bloom                 Associate          15.60     480      7,488.00
       Peter Josef Buenger             Associate            1.10    425       467.50
       Edward Combs                    Associate          12.80     305      3,904.00
       Bryan M. Kotliar                Associate          36.20     305     11,041.00
       John Thomas Weber               Associate            0.80    305       244.00
       Franklin R. Guenthner           Legal Assistant      3.80    235       893.00
       Sheyla Soriano                  Legal Assistant      4.50    235      1,057.50

                                                         195.20           $112,284.00

                                           TOTAL SERVICES                                $112,284.00

       Summary of Expenses
         External Photocopy Services                         373.50

                                           TOTAL EXPENSES                                   $373.50




                                           TOTAL THIS INVOICE                           $112,657.50
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                                             ATTORNEYS AND COUNSELLORS AT LAW
                                                     101 PARK AVENUE
                                             NEW YORK, NEW YORK 10178-0061


Residential Capital, LLC                                                                  November 13, 2013
1100 Virginia Drive
MC: 190_FTW-M01
                                                                                          Inv. # 1592017
Fort Washington PA 19034
                                                                                          Our Ref. 062108-000700
                                                                                          SJR
Attention:   Residential Capital, LLC
Re: Curtis Retention/Billing/Fee Applications




      08/01/13 MG8        Finalize redaction of fee statements to be attached to        3.00
                          Third Interim Fee Application to ensure compliance with
                          U.S. Trustee Guidelines and professional compensation
                          order (60); discuss same with B. Kotliar (.20); review and
                          comment on narratives for and charts to intitial draft of
                          Third Interim Fee Application (1.20); follow-up
                          correspondence with B. Kotliar and G. Faust regarding
                          same (.30); correspond with E. Richards of Morrison &
                          Foerster regarding obtaining from the Debtors information
                          needed to make certifications required by the fee
                          application guidelines (.20); review of materials from
                          billing department to complete portions of fee applications
                          (.50)

      08/01/13 GF         Coordinate April Fee Statement redaction process in           6.30
                          connection with finalizing and filing the Third Interim Fee
                          Application (.70); analyze numbers on Third Interim period
                          fee statements and attending to calculations relating to
                          same (2.30) draft summary charts and totals for inclusion
                          in fee application as required by the U.S. Trustee
                          Guidlines and professional compensation order (3.00);
                          follow-up correspondence re: same with M. Gallagher
                          (.30)

      08/01/13 BMK        Draft updated narratives for Third Interim Fee Application    3.80
                          providing sufficient description of work performed for the
                          fee period and detailed explanation of matters handled by
                          Curtis as conflicts counsel per the terms of the
                          professional compensation order and in accordance with
                          the U.S. Trustee Guidelines (3.60); discuss same and
                          redactions with M. Gallagher (.20)

      08/01/13 DAB        Correspond with B. Kotliar re: necessary tasks in             0.30
                          connection with drafting Third Interim Fee Application to
                          ensure compliance with U.S. Trustee Guidelines and
                          Professional Compensation order (.30)

      08/02/13 SJR        Review and provide comment upon Third Interim Fee             1.10
                          Application of Curtis Mallet for compensation, to ensure
                          compliance with U.S. Trustee Guidelines and Professional
                          Compensation order (1.10)
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                        Filed 11/18/13   EnteredEntered 03/03/14
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                                                                                 Our Ref # 062108-000700

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08/02/13 MG8   Review and revise draft of Curtis' Third Interim Application    1.80
               for Compensation to ensure compliance with U.S. Trustee
               Guidelines and Professional Compensation order (1.40);
               correspond throughout the day with D. Bloom and B.
               Kotliar regarding contents of narratives same (.40)


08/02/13 GF    Continue to work on draft of Third Interim Fee Application      6.00
               including completion of summary of compensation and
               expense request and totals charts by attorney and
               narrator as required by the U.S. Trustee Guidelines and
               professional Compensation order (3.60); attend to
               calculations re: payments received and prior fee
               applications to ensure compliance with same (2.40)


08/02/13 BMK   Review Third Interim Fee Application for accuracy of facts      4.40
               figures, and description of work performed in order to
               ensure compliance with the US Trustee Guidelines and
               professional compensation order (2.50); review and revise
               same per edits/comments of M. Gallagher and D. Bloom
               (1.60); email correspondence with S. Reisman, M.
               Gallagher, and D. Bloom circulating draft of same and
               highlighting open issues (.30)


08/05/13 MG8   Attend to review of materials re: voluntary writeoff of         0.90
               certain fees and expenses in connection with the Third
               Interim Fee Application and related follow-up
               correspondence with billing to ensure compliance with
               U.S. Trustee Guidelines and Professional Compensation
               order (.30); update draft fee application to revise certain
               narratives and address voluntary write offs (.40); attend to
               correspondence with E. Richards of Morrison & Foerster
               regarding logistics of service and filing of Third Interim
               Fee Applications and discuss same with B. Kotliar (.20)


08/05/13 GF    Attend to various tasks to ensure compliance with U.S.          1.90
               Trustee Guidelines and Professional Compensation order
               re: final steps and revisions in preparation of Third Interim
               Fee Application (1.90)

08/05/13 BMK   Review and revise Third Interim Fee Application per             0.50
               edits/comments of J. Zimmer to ensure compliance with
               U.S. Trustee Guidelines and Professional Compensation
               order (.30); review filing and service procedures per email
               correspondence of E. Richards of Morrison & Foerster
               and discuss same with M. Gallagher (.20)


08/06/13 MG8   Review and further revise latest draft of Curtis Third          2.90
               Interim Fee Application and coordinate with B. Kotliar and
               G. Faust regarding same to ensure compliance with U.S.
               Trustee Guidelines and Professional Compensation order
               (1.20); correspondence with B.
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               Kotliar regarding S. Reisman review of Third Interim Fee
               Application (.20); attend to correspondence with E.
               Richards of Morrison & Foerster regarding direction of
               Chambers to file redacted fee applications under seal,
               and follow-up call with E. Richards regarding same (.30);
               telephone conference with B. Masumoto of U.S. Trustee's
               Office regarding possible Motion to File under seal
               redacted Third Interim Fee Application (.10); commence
               draft of Motion to Seal portions of Curtis' Third Interim Fee
               Application, and follow-up correspondence with J. Weber
               regarding same (.50); review and revise initial draft of
               Motion to Seal portions of Curtis Third Interim Fee
               Application prepared by J. Weber (.60)



08/06/13 GF    Coordinate with internal billing department re: write-off         2.40
               figures and related calculations for inclusion in Third
               Interim Fee Application to ensure compliance with U.S.
               Trustee Guidelines and Professional Compensation order
               (.80); incorporate related figures into draft application (.20)
               revise draft to incorporate calculations and totals relating
               to prior interim periods and related footnotes (1.00);
               correspondence on same with B. Kotliar and M. Gallagher
               (.40)

08/06/13 BMK   Review prior U.S. Trustee objections to interim                   3.60
               applications in Debtors' Chapter 11 cases and ensure
               Third Interim Fee Application compliance with objections
               and other case requirements and compensation
               procedures (.80); finalize open facts and figures with M.
               Gallagher and G. Faust in order to comply with
               information required by local rules and general rule M447
               (2.10); review and revise third interim application per
               edits/comments of M. Gallagher (.70)


08/06/13 JTW   Prepare Motion to File Curtis' fee statement with the             2.60
               attorney time entries under seal as indicated as necessary
               by the U.S. Trustee's Office (1.80); research legal
               authority to support the relief request in the motion (.80)


08/07/13 SJR   Attend to issues regarding Motion to Seal Third Interim           1.90
               Fee Application and follow up regarding same (.60);
               review documentation in connection with Motion to Seal
               (.30); sign-off on same (.30); review Third Interim Fee
               Application and provide substantive comments related to
               compliance with U.S. Trustee Guidelines and Professional
               Compensation Order and sign-off on same to prepare for
               filing (.70)

08/07/13 MG8   Revise updated draft of Motion to Seal Curtis Third Interim       2.30
               Fee Application as Chambers indicated such a motion
               was required in order to redact (.70); telephone
               conference with A. Kernan of Judge Glenn's chambers
               regarding Motion to File Fee Application under seal due
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               to redactions (.10); attend to correspondence from E.
               Richards of Morrison & Foerster regarding same (.10);
               attend to correspondence with B. Masumoto of the U.S.
               Trustee's Office regarding change of view regarding
               Motion to Seal (.10); further revise Curtis Third Interim
               Fee Application to ensure compliance with U.S. Trustee
               Guidelines and Professional Compensation order and
               sign off with respect to the same (.60); correspondence
               with B. Kotliar and G. Faust throughout the day on
               completion, filing and service of Curtis Third Interim Fee
               Application (.50); review and revise cover letter for
               Chambers transmitting Curtis Third Interim Fee
               Application and follow-up correspondence with G. Faust
               regarding same, transmission of documents and disks
               and service (.20)


08/07/13 GF    Correspondence with B. Kotliar on finalization and service      5.30
               of Third Interim Fee Application per U.S. Trustee
               Guidelines and Professional Compensation Order (.30);
               prepare redacted and unredacted invoices for inclusion in
               Third Interim Fee Application (1.00); prepare electronic
               files for filing of same on court docket (.60); analyze and
               revise certain calculations to ensure accuracy and
               compliance with guidelines (.90); prepare, finalize and file
               Third Interim Fee Application on court docket as per B.
               Kotliar (1.50); draft chambers letter re: redaction issue
               and attend to preparation and service of same (1.00)



08/07/13 BMK   Review and revise Third Interim Fee Application per             2.40
               edits/comments of M. Gallagher and prepare same for
               filing (.50); review filing and service procedures, including
               compliance with professional compensation order, and
               special instructions for service of the U.S. Trustee from
               email correspondence from E. Richards of Morrison &
               Foerster (.70); correspond with G. Faust re: same to
               prepare for filing (.20); supervise filing and service of
               same (1.00)

08/08/13 GF    Draft affidavit of service for Third Interim Fee Application    2.80
               (1.00); correspond with B. Kotliar re: same (.40); revise
               same, finalize and file on case docket in accordance with
               case management order (1.40)

08/08/13 BMK   Review and revise G. Faust Affidavit of Service in              0.50
               connection with Third Interim Fee Application as required
               by case management orders and supervise and
               coordinate filing of same (.50)

08/30/13 MG8   Review and comment on chart containing all time entries         1.00
               subject ot the United States Trustee's Objection to Third
               Interim Fee Applications as it relates to Curtis (.40);
               telephone conference with M. Driscoll of the U.S.
               Trustee's Office regarding Objection to Curtis Third
               Interim Fee Application and Curtis' position with respect to
               same (.20); confer with S. Reisman regarding same
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                 (.10); correspond with D. Bloom regarding draft reply to
                 United States Trustee Objection to Curtis Third Interim
                 Fee Application and follow-up call with D. Bloom
                 regarding same (.30)

08/30/13 DAB     Review and comment on draft chart for purpose of                   0.50
                 responding to UST objection to Curtis' Third Interim period
                 fees (.30); call with M. Gallagher to dicuss same (.20)


                                            TOTAL HOURS                            58.20



        Summary of Services
                                           Title                Hours       Rate      Amount
        Steven J. Reisman                Partner                  3.00       830      2,490.00
        Maryann Gallagher                Counsel                 11.90       625      7,437.50
        Daniel A. Bloom                  Associate                0.80       480           384.00
        Bryan M. Kotliar                 Associate               15.20       305      4,636.00
        John Thomas Weber                Associate                2.60       305           793.00
        Georgia Faust                    Legal Assistant         24.70       235      5,804.50

                                                                 58.20              $21,545.00

                                              TOTAL SERVICES                                         $21,545.00


       Summary of Expenses
         Courier Expense                                              53.10

         External Photocopy Services                                 747.40

         Pacer - ECF                                                     6.40

                                             TOTAL EXPENSES                                            $806.90




                                             TOTAL THIS INVOICE                                     $22,351.90
